Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 1 of 232 PageID: 8139




                                 EXHIBIT 1
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 2 of 232 PageID: 8140


     Neutral
As of: January 26, 2017 5:34 PM EST


                           Eli Lilly & Co. v. Teva Parenteral Meds., Inc.
                                  United States Court of Appeals for the Federal Circuit
                                                January 12, 2017, Decided
                                                         2015-2067


Reporter
2017 U.S. App. LEXIS 555 *
                                                               inducing infringement of U.S. Patent No. 7,772,209 ("the
ELI LILLY AND COMPANY, Plaintiff-Appellee v. TEVA              '209 patent"), in violation of 35 U.S.C.S. § 271, because
PARENTERAL MEDICINES, INC., APP                                the '209 patent protected a method for using
PHARMACEUTICALS LLC, PLIVA HRVATSKA D.O.O.,                    pemetrexed that required patients to take specified
TEVA PHARMACEUTICALS USA, INC., BARR                           doses of folic acid and vitamin B12 to avoid side effects
LABORATORIES, INC., Defendants-Appellants                      that could occur, and that method was required to use
                                                               the generic drugs the pharmaceutical companies
Prior History: [*1] Appeal from the United States              proposed to manufacture; [2]-The '209 patent was not
District Court for the Southern District of Indiana in No.     invalid for indefiniteness under former 35 U.S.C.S. §
1:10-cv-01376-TWPDKL, Judge Tanya Walton Pratt.                112, para. 2 (replaced 2012) because it used the term
                                                               "vitamin B12" but did not define that term.

Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 126 F.         Outcome
Supp. 3d 1037, 2015 U.S. Dist. LEXIS 112221 (S.D.              The court of appeals affirmed the district court's
Ind., 2015)                                                    judgment.
Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 2014 U.S.
Dist. LEXIS 43885 (S.D. Ind., Mar. 31, 2014)                   LexisNexis® Headnotes
Eli Lilly & Co. v. Teva Parenteral Meds., Inc., 2012 U.S.
Dist. LEXIS 85369 (S.D. Ind., June 20, 2012)

Disposition: AFFIRMED.                                           Business & Corporate Compliance > ... > Infringement
                                                                 Actions > Infringing Acts > Indirect Infringement
Core Terms                                                       Evidence > Burdens of Proof > Preponderance of Evidence
vitamin, pemetrexed, folic acid, infringement, patent,           Patent Law > Jurisdiction & Review > Standards of
patients, skilled, district court, asserted claim, labeling,     Review > Clearly Erroneous Review
induce, pretreatment, toxicities, instructions, dose,
cyanocobalamin, artisan, administering, prior art,             HN1[ ] Pursuant to 35 U.S.C.S. § 271(b), whoever
references, invalid, steps, indefiniteness, ordinary           actively induces infringement of a patent shall be liable
person, supplementation, schedules, recites,                   as an infringer. Importantly, liability for induced
Prescribing, acid, double patenting                            infringement under § 271(b) must be predicated on
                                                               direct infringement. A patentee must also show that the
Case Summary                                                   alleged infringer possessed the requisite intent to induce
                                                               infringement, which requires that the alleged infringer
                                                               knew or should have known his actions would induce
Overview                                                       actual infringements. A patentee seeking relief under §
                                                               271(e)(2) bears the burden of proving infringement by a
HOLDINGS: [1]-The record supported the district court's        preponderance of the evidence. Infringement is a
judgment that pharmaceutical companies that proposed           question of fact that, after a bench trial, the United
to manufacture a generic form of the chemotherapy              States Court of Appeals for the Federal Circuit reviews
drug pemetrexed disodium could not do so without               for clear error. Reversal for clear error is appropriate

                                                      Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 3 of 232 PageID: 8141
                                                                                                              Page 2 of 15
                                               2017 U.S. App. LEXIS 555, *1

only when the court of appeals is left with a definite and       found "conditioning" based on evidence that a
firm conviction that a district court was in error.              defendant required all of its customers to sign a
                                                                 standard contract delineating the steps that customers
                                                                 had to perform to use the defendant's service. But the
                                                                 court did not limit "conditioning" to legal obligations or
  Patent Law > ... > Claims > Claim Language > Product by        technological prerequisites. The court cautioned that
  Process                                                        principles of attribution are to be considered in the
  Patent Law > Subject Matter > Utility Patents > Process        context of the particular facts presented, and expressly
  Patents                                                        held that 35 U.S.C.S. § 271(a) infringement is not
                                                                 limited   solely    to    principal-agent   relationships,
  Patent Law > Infringement Actions > Infringing Acts > Intent
                                                                 contractual arrangements, and a joint enterprise.
  & Knowledge

HN2[ ] Where no single actor performs all steps of a
method claim, direct infringement only occurs if the acts
                                                                   Business & Corporate Compliance > ... > Infringement
of one are attributable to the other, such that a single
                                                                   Actions > Infringing Acts > Indirect Infringement
entity is responsible for the infringement. The
performance of method steps is attributable to a single            Patent Law > Infringement Actions > Infringing Acts > Intent
entity in two types of circumstances: when that entity             & Knowledge
directs or controls others' performance, or when the
actors form a joint enterprise.                                  HN5[ ] The mere existence of direct infringement by
                                                                 physicians, while necessary to find liability for induced
                                                                 infringement, is not sufficient for inducement. To show
                                                                 inducement, a patent holder carries the burden of
  Business & Corporate Compliance > ... > Infringement           proving specific intent and action to induce infringement.
  Actions > Infringing Acts > Indirect Infringement              Mere knowledge of the acts alleged to constitute
                                                                 infringement is not sufficient.
HN3[ ] In its 2015 decision in Akamai Technologies,
Inc. v. Limelight Networks, Inc., the United States Court
of Appeals for the Federal Circuit held that directing or
controlling others' performance includes circumstances             Business & Corporate Compliance > ... > Infringement
in which an actor: (1) conditions participation in an              Actions > Infringing Acts > Indirect Infringement
activity or receipt of a benefit upon others' performance          Patent Law > Infringement Actions > Infringing Acts > Intent
of one or more steps of a patented method; and (2)                 & Knowledge
establishes the manner or timing of that performance. In
addition to this two-prong test, the Federal Circuit             HN6[ ] The intent for inducement must be with respect
observed that in the future, factual scenarios may arise         to the actions of an underlying direct infringer. The
which warrant attributing others' performance of method          United States Court of Appeals for the Federal Circuit
steps to a single actor. Going forward, principles of            has not required evidence regarding the general
attribution are to be considered in the context of the           prevalence of the induced activity. When an alleged
particular facts presented.                                      inducement relies on a drug label's instructions, the
                                                                 question is not just whether those instructions describe
                                                                 the infringing mode, but whether the instructions teach
                                                                 an infringing use such that the Federal Circuit is willing
  Business & Corporate Compliance > ... > Infringement           to infer from those instructions an affirmative intent to
  Actions > Infringing Acts > Indirect Infringement              infringe the patent. A label must encourage,
                                                                 recommend, or promote infringement. For purposes of
HN4[ ] The United States Court of Appeals for the                inducement, it is irrelevant that some users may ignore
Federal Circuit rejects the argument that an actor can           the warnings in a proposed label. Depending on the
only condition the performance of a step by imposing a           clarity of the instructions, the decision to continue
legal obligation to do so, by interposing that step as an        seeking FDA approval of those instructions may be
unavoidable technological prerequisite to participation,         sufficient evidence of specific intent to induce
or both. In its 2015 decision in Akamai Technologies,            infringement. The Federal Circuit held in AstraZeneca
Inc. v. Limelight Networks, Inc., the Federal Circuit            LP v. Apotex, Inc. that a label that instructed users to

                                                      Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 4 of 232 PageID: 8142
                                                                                                               Page 3 of 15
                                               2017 U.S. App. LEXIS 555, *1

follow the instructions in an infringing manner was              determinations made by a district court based on
sufficient even though some users would not follow the           extrinsic evidence for clear error.
instructions. That was true even though the product in
question     had    substantial   noninfringing     uses.
Conversely, "vague" instructions that require one to look
outside a label to understand the alleged implicit                 Patent Law > ... > Specifications > Definiteness > Fact &
encouragement do not, without more, induce                         Law Issues
infringement.
                                                                 HN10[ ] Understandings that lie outside patent
                                                                 documents about the meaning of terms to one of skill in
                                                                 the art or the science or state of the knowledge of one of
  Business & Corporate Compliance > ... > Infringement           skill in the art are factual issues.
  Actions > Infringing Acts > Indirect Infringement

HN7[ ] Where product labeling already encourages
infringement of asserted claims, a physician's decision            Patent Law > ... > Claims > Claim Language > Dependent
to give patients even more specific guidance is                    Claims
irrelevant to the question of inducement.                          Patent Law > Infringement Actions > Claim
                                                                   Interpretation > Claim Differentiation

                                                                 HN11[ ] The doctrine of claim differentiation presumes
  Patent Law > ... > Specifications > Definiteness > Precision   that dependent claims are of narrower scope than the
  Standards                                                      independent claims from which they depend.

HN8[ ] Pursuant to former 35 U.S.C.S. § 112, para. 2
(replaced 2012), a patent's specification must conclude
with one or more claims particularly pointing out and              Patent Law > ... > Claims > Claim Language > Duplication &
distinctly claiming the subject matter which the applicant         Multiplicity
regards as his invention.
                                                                 HN12[ ] Although the United States Court of Appeals
                                                                 for the Federal Circuit has in some instances interpreted
                                                                 claim terms to avoid redundancy, the rule is not
  Patent Law > ... > Specifications > Definiteness > Precision   inflexible.
  Standards

  Patent Law > ... > Specifications > Definiteness > Fact &
  Law Issues
                                                                   Patent Law > Nonobviousness > Elements &
  Patent Law > Jurisdiction & Review > Standards of                Tests > Ordinary Skill Standard
  Review > De Novo Review
                                                                   Patent Law > Nonobviousness > Elements & Tests > Prior
HN9[ ] In Nautilus, Inc. v. Biosig Instruments, Inc., the          Art
United States Supreme Court rejected the United States             Patent Law > Nonobviousness > Evidence > Fact & Law
Court of Appeals for the Federal Circuit's "not amenable           Issues
to construction or insolubly ambiguous" standard for
                                                                   Patent Law > Jurisdiction & Review > Standards of
indefiniteness and articulated, instead, that a patent is
                                                                   Review > De Novo Review
invalid for indefiniteness if its claims, read in light of the
specification delineating the patent, and the prosecution          Patent Law > Jurisdiction & Review > Standards of
history, fail to inform, with reasonable certainty, those          Review > Clearly Erroneous Review
skilled in the art about the scope of the invention.
                                                                 HN13[ ] To prevail on obviousness, an alleged
Indefiniteness is a question of law that the Federal
                                                                 infringer must prove by clear and convincing evidence
Circuit reviews de novo, and the Federal Circuit has
                                                                 that a skilled artisan would have been motivated to
reiterated post-Nautilus that general principles of claim
                                                                 combine the teachings of the prior art references to
construction apply to the question of indefiniteness. The
                                                                 achieve the claimed invention, and that the skilled
Federal       Circuit    reviews       subsidiary      factual

                                                      Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 5 of 232 PageID: 8143
                                                                                                         Page 4 of 15
                                           2017 U.S. App. LEXIS 555, *1

artisan would have had a reasonable expectation of           America. Also represented by SAMEER AHMED;
success in doing so. Obviousness is a question of law        JAMIE WISZ, Washington, DC.
based on underlying facts, and on appeal from a bench
trial, the United States Court of Appeals for the Federal    DAVID S. FORMAN, Osha Liang LLP, Alexandria, VA,
Circuit reviews the district court's conclusions of law de   for amicus curiae Biotechnology Innovation
novo and findings of fact for clear error.                   Organization. Also represented by HANSJORG SAUER,
                                                             Biotechnology Innovation Organization, Washington,
                                                             DC.

  Patent Law > Double Patenting                              Judges: Before [*2] PROST, Chief Judge, NEWMAN
                                                             and DYK, Circuit Judges.
HN14[ ]        The     judicially-created   doctrine    of
"obviousness-type double patenting" is intended to           Opinion by: PROST
prevent the extension of the term of a patent by
prohibiting the issuance of the claims in a second patent    Opinion
that are not patentably distinct from claims of the first
patent. After determining the differences in the claims of   PROST, Chief Judge.
the earlier and later patents, a court must determine if
the alleged infringer has proven by clear and convincing     Eli Lilly & Co. ("Eli Lilly") is the owner of U.S. Patent No.
evidence that the claims are not patentably distinct. A      7,772,209 ("'209 patent"). It filed this consolidated
later patent claim is not patentably distinct from an        Hatch-Waxman suit against Teva Parenteral Medicines,
earlier claim if the later claim is obvious over, or         Inc.; APP Pharmaceuticals LLC; Pliva Hrvatska D.O.O.;
anticipated by, the earlier claim. Even where a patent is    Teva Pharmaceuticals USA, Inc.; and Barr Laboratories,
found invalid for obviousness-type double patenting,         Inc. (collectively, "Defendants") to prevent Defendants
though, a patentee may file a terminal disclaimer.           from launching a generic version of a chemotherapy
Obviousness-type double patenting is a question of law       drug with accompanying product literature that would
based on underlying facts, so on appeal from a bench         allegedly infringe methods of treatment claimed by the
trial, the United States Court of Appeals for the Federal    '209 patent. The United States District Court for the
Circuit reviews a district court's conclusions of law de     Southern District of Indiana held two bench trials, one
novo and findings of fact for clear error.                   on infringement and one on invalidity. The district court
                                                             found that no single actor performs all steps of the
Counsel: ADAM LAWRENCE PERLMAN, Williams &                   asserted claims because the actions of both physicians
Connolly LLP, Washington, DC, argued for plaintiff-          and patients are required. Nonetheless, under Akamai
appellee. Also represented by DOV PHILIP                     Technologies, Inc. v. Limelight Networks, Inc. (Akamai
GROSSMAN, BRUCE GENDERSON, DAVID M.                          V), 797 F.3d 1020, 1022 (Fed. Cir. 2015) (en banc) (per
KRINSKY, ALLISON JONES RUSHING, ELLEN E.                     curiam), cert. denied, 136 S. Ct. 1661, 194 L. Ed. 2d
OBERWETTER.                                                  767 (2016), the court found direct infringement
                                                             attributable to physicians and held Defendants liable for
WILLIAM M. JAY, Goodwin Procter LLP, Washington,             inducing that infringement. The court also determined
DC, argued for defendants-appellants. Also represented       that the asserted claims were not invalid for, inter alia,
by DARYL L. WIESEN, ELAINE BLAIS, EMILY L.                   indefiniteness, obviousness, or obviousness-type
RAPALINO, HENRY C. DINGER, Boston, MA; BRIAN                 double patenting.
JOSEPH PREW, MICHAEL B. COTTLER, NATASHA
ELISE DAUGHTREY, New York, NY.                               For the reasons below, we affirm.

CHRISTINA JORDAN MCCULLOUGH, Perkins Coie,                   BACKGROUND
LLP, Seattle, WA, for amicus curiae Generic
Pharmaceutical Association. Also represented by              The '209 patent [*3] , which issued in 2010, relates to
SHANNON BLOODWORTH, Washington, DC.                          methods of administering the chemotherapy drug
                                                             pemetrexed disodium ("pemetrexed") after pretreatment
KEVIN SCOTT PRUSSIA, Wilmer Cutler Pickering Hale            with two common vitamins—folic acid and vitamin B12.
and Dorr LLP, Boston, MA, for amicus curiae                  Pemetrexed is an antifolate that kills cancer cells by
Pharmaceutical Research and Manufacturers of                 inhibiting the function of folates, a class of nutrients


                                                  Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 6 of 232 PageID: 8144
                                                                                                            Page 5 of 15
                                              2017 U.S. App. LEXIS 555, *3

necessary for cell reproduction. The purpose of the dual                 a) administration of between about 350 µg and
vitamin pretreatments is to reduce the toxicity of                       about 1000 µg of folic acid prior to the first
pemetrexed in patients. Eli Lilly markets pemetrexed                     administration of pemetrexed disodium;
under the brand name ALIMTA®, and the drug is used                       b) administration of about 500 µg to about
to treat certain types of lung cancer and mesothelioma.                  1500 µg of vitamin B12, prior to the first
                                                                         administration of pemetrexed disodium; and
Around 2008-2009, Defendants notified Eli Lilly that they                c) administration of pemetrexed disodium.
had submitted Abbreviated New Drug Applications
("ANDAs") seeking approval by the Food and Drug                 Id. at col. 11 l. 25-col. 12 l. 4 (emphasis added).
Administration ("FDA") to market generic versions of            Asserted claims 14, 15, 18, 19, and 21 depend from
ALIMTA®. After the '209 patent issued, Defendants sent          claim 12 and further limit the dose, schedule, or route of
Eli Lilly additional notices regarding their ANDAs,             folic acid or vitamin B12 administration. Id. at col. 12 ll.
including notices that they had filed Paragraph IV              7-11, col. 12 ll. 16-20, col. 12 ll. 24-27.
certifications under 21 U.S.C. § 355(j)(2)(A)(vii)(IV),
declaring that the '209 patent was invalid,                     The parties agree for purposes of this appeal that no
unenforceable, or would not be infringed. Eli Lilly             single actor performs all steps of the asserted claims;
subsequently brought this consolidated action against           rather, the steps are divided between physicians and
Defendants for infringement under 35 U.S.C. §                   patients. Though physicians administer vitamin B12 and
271(e)(2). Specifically, Eli Lilly alleged that Defendants'     pemetrexed, patients self-administer folic acid with
generic drugs would be administered [*4] with folic acid        guidance from physicians. Eli Lilly's theory of
and vitamin B12 pretreatments and, thus, result in              infringement therefore requires establishing liability for
infringement of the '209 patent. Defendants raised              divided infringement—an area of law that this court was
noninfringement and invalidity defenses.                        actively reconsidering during the pendency of this case.

Eli Lilly asserted claims 9, 10, 12, 14, 15, 18, 19, and 21     In June 2013, Defendants conditionally conceded
of the '209 patent at trial. Importantly, all of the asserted   induced infringement [*6] under then-current law set
claims require patient pretreatment by "administering" or       forth in Akamai Technologies, Inc. v. Limelight
"administration of" folic acid. Claims 9 and 10 depend          Networks, Inc. (Akamai II), 692 F.3d 1301 (Fed. Cir.
from claim 1, which recites:                                    2012) (en banc) (per curiam), rev'd, 134 S. Ct. 2111,
                                                                189 L. Ed. 2d 52 (2014).1 At the time, the Akamai II
    1. A method of administering pemetrexed disodium            decision was the subject of a petition to the Supreme
    to a patient in need thereof comprising                     Court for a writ of certiorari. The parties' stipulation
    administering an effective amount of folic acid and         included a provision reserving Defendants' right to
    an effective amount of a methylmalonic acid                 litigate infringement if the Supreme Court reversed or
    lowering agent followed by administering an                 vacated Akamai II.
    effective amount of pemetrexed disodium, wherein
    the methylmalonic acid lowering agent is selected           Eli Lilly and Defendants proceeded with a bench trial on
    from the group consisting of vitamin B12,                   invalidity, after which the district court held that the
    hydroxycobalamin,        cyano-10-chlorocobalamin,          asserted claims were not invalid for, inter alia,
    aquocobalamin perchlorate, aquo-10-cobalamin                obviousness or obviousness-type double patenting. The
    perchlorate,      azidocobalamin,        cobalamin,         court had also previously rejected Defendants'
    cyanocobalamin, or chlorocobalamin.                         contention that the asserted claims were invalid for
                                                                indefiniteness of the term "vitamin B12." Defendants
'209 patent col. 10 ll. 55-65 (emphasis added). The             filed an appeal on invalidity, which was docketed in this
additional limitations of claims 9 and 10 restrict the dose     court as Case No. 14-1455. While that appeal was
of folic acid to particular ranges. Id. at col. 11 ll. 19-22.   pending, the Supreme Court reversed Akamai II, holding
                                                                that liability for inducement cannot be found without
Asserted claim 12 is independent and recites:                   direct infringement, and remanding for this court to
                                                                possibly reconsider the standards for direct
    12. An improved method for administering
    pemetrexed disodium [*5] to a patient in need of
    chemotherapeutic   treatment,     wherein    the
                                                                1 Akamai II held that "induced infringement can be found even
    improvement comprises:
                                                                if there is no single party who would be liable for direct
                                                                infringement." 692 F.3d at 1317-18.

                                                    Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 7 of 232 PageID: 8145
                                                                                                             Page 6 of 15
                                               2017 U.S. App. LEXIS 555, *6

infringement. Limelight Networks, Inc. v. Akamai Techs.,         actions would induce actual infringements." DSU Med.
Inc. (Akamai III), 134 S. Ct. 2111, 189 L. Ed. 2d 52             Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed. Cir. 2006)
(2014). In view of that development, the parties in this         (en banc in relevant part) (internal quotation marks
case filed a joint motion to remand the matter to the            omitted). A patentee seeking relief under § 271(e)(2)
district court for the limited purpose of litigating             bears the burden of proving infringement by a
infringement. [*7] We granted the motion.                        preponderance of the evidence. Warner-Lambert Co. v.
                                                                 Apotex Corp., 316 F.3d 1348, 1366 (Fed. Cir. 2003).
The district court held a second bench trial in May 2015
and concluded in a decision issued on August 25, 2015            "Infringement is a question of fact that, after a bench
that Defendants would induce infringement of the '209            trial, we review for clear error." Alza Corp. v. Mylan
patent. As explained in further detail below, the court          Labs, Inc., 464 F.3d 1286, 1289 (Fed. Cir. 2006).
applied our intervening Akamai V decision, which had             Reversal for clear error is appropriate "only when this
broadened the circumstances in which others' acts may            court is left with a definite and firm conviction that the
be attributed to a single actor to support direct-               district court was in error." Id.
infringement liability in cases of divided infringement.2
                                                                 The district court relied in part on Defendants' proposed
See Akamai V, 797 F.3d at 1022. The court accordingly
                                                                 product labeling as evidence of infringement. For
entered final judgment against Defendants, barring them          purposes of this case, the parties have agreed that
from launching their generic products before the                 Defendants' product labeling would be materially the
expiration of the '209 patent.                                   same as the ALIMTA® product labeling, which consists
                                                                 of two documents: the Physician Prescribing Information
Defendants timely appealed. We have jurisdiction under           and the Patient Information. Both documents include
28 U.S.C. § 1295(a)(1).                                          instructions regarding the administration of folic acid—
                                                                 the step that the district court found would be performed
DISCUSSION                                                       by patients but attributable to physicians. For example,
                                                                 the Physician Prescribing Information provides, among
Defendants appeal the district court's finding of induced        other things: [*9]
infringement, as well as the court's decision that the                "Instruct patients to initiate folic acid 400 [µg] to
asserted claims are not invalid for indefiniteness,                   1000 [µg] orally once daily beginning 7 days before
obviousness, or obviousness-type double patenting. We                 the first dose of [pemetrexed] . . . ." J.A. 11256.
will address each of these issues in turn.                            "Instruct patients on the need for folic acid and
                                                                      vitamin B
I                                                                     12 supplementation to reduce treatment-related
                                                                      hematologic and gastrointestinal toxicity . . . ." J.A.
HN1[ ] Pursuant to 35 U.S.C. § 271(b), "[w]hoever                     11278.
actively induces infringement of a patent shall be liable        The Patient Information includes similar information:
as an infringer."3 Importantly, liability for induced                 "To lower your chances of side effects of
infringement under § 271(b) "must be predicated on                    [pemetrexed], you must also take folic acid . . . prior
direct infringement." Akamai III, 134 S. Ct. at 2117. The             to and during your treatment with [pemetrexed]."
patentee must also show that the alleged infringer                    J.A. 11253 (emphasis omitted).
possessed [*8]     the requisite intent to induce
infringement, which we have held requires that the                   "It is very important to take folic acid and vitamin
alleged infringer "knew or should have known his                     B12 during your treatment with [pemetrexed] to
                                                                     lower your chances of harmful side effects. You
                                                                     must start taking 400-1000 micrograms of folic acid
2 Following remand from the Supreme Court, a panel of this
                                                                     every day for at least 5 days out of the 7 days
court initially found that the accused infringer in Akamai was       before your first dose of [pemetrexed]. . . ." Id.
not liable for direct infringement, Akamai Techs., Inc. v.           (emphasis omitted).
Limelight Networks, Inc. (Akamai IV), 786 F.3d 899 (Fed. Cir.
2015), as had the first panel in the case, Akamai Techs., Inc.   A
v. Limelight Networks, Inc. (Akamai I), 629 F.3d 1311 (Fed.
Cir. 2010). We later vacated Akamai IV and took the case en      HN2[ ] Where, as here, no single actor performs all
banc, which resulted in the Akamai V decision.                   steps of a method claim, direct infringement only occurs
3 Section 271 was not amended by the Leahy-Smith America         if "the acts of one are attributable to the other such that
Invents Act ("AIA"), Pub. L. No. 112-29, 125 Stat. 284 (2011).

                                                      Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 8 of 232 PageID: 8146
                                                                                                                Page 7 of 15
                                                 2017 U.S. App. LEXIS 555, *9

a single entity is responsible for the infringement."                would be attributable to physicians.
Akamai V, 797 F.3d at 1022. The performance of
method steps is attributable to a single entity in two               1
types of circumstances: when that entity [*10] "directs or
controls" others' performance, or when the actors "form              With respect to the first prong—conditioning
a joint enterprise." Id. Eli Lilly did not pursue a joint            participation in an activity or receipt of a benefit upon
enterprise theory, so the question of direct infringement            performance of one or more method steps—Defendants
before us is whether physicians direct or control their              argue at the outset that the district court did not make a
patients' administration of folic acid.4                             relevant finding because it misidentified the benefit that
                                                                     would be conditioned as the "benefit of the patented
HN3[ ] In Akamai V, we held that directing or                        method, i.e., a reduction of potentially life-threatening
controlling others' performance includes circumstances               toxicities caused by pemetrexed." Appellants' Opening
in which an actor: (1) "conditions participation in an               Br. 21-22. We agree that a reduction in toxicities is not a
activity or receipt of a benefit" upon others' performance           benefit that physicians can condition (as it follows from
of one or more steps of a patented method, and (2)                   folic acid [*12] pretreatment) and that the relevant
"establishes the manner or timing of that performance."              benefit that may be conditioned on folic acid
Id. at 1023 (emphases added). In addition to this two-               administration is pemetrexed treatment. But the court's
prong test, we observed that, "[i]n the future, other                discussion of reducing pemetrexed toxicities in relation
factual scenarios may arise which warrant attributing                to its direction-or-control analysis was not erroneous. A
others' performance of method steps to a single actor.               reduction in pemetrexed toxicities is relevant only if
Going forward, principles of attribution are to be                   pemetrexed treatment is administered, and it provides a
considered in the context of the particular facts                    reason why physicians would condition the receipt of
presented." Id.                                                      pemetrexed treatment on folic acid administration. The
                                                                     court recognized this relationship and correctly identified
Here, the district court decided that "the factual                   pemetrexed treatment as the benefit to be conditioned:
circumstances [we]re sufficiently analogous to those in              "What is relevant is whether the physician sufficiently
Akamai [V] to support a finding of direct infringement by            directs or controls the acts of the patients in such a
physicians." Eli Lilly & Co. v. Teva Parenteral Meds.,               manner as to condition participation in an activity or
Inc. (Eli Lilly III), 126 F. Supp. 3d 1037, 1041 (S.D. Ind.          receipt of a benefit—in this case, treatment with
2015). The court observed initially that taking folic acid           pemetrexed in the manner that reduces toxicities—upon
in the manner recited by the asserted claims is a                    the performance of a step of the patented method and
"critical" [*11] and "necessary" step to "reduc[e] . . .             establishes the manner and timing of the performance."
potentially life-threatening toxicities caused by                    Eli Lilly III, 126 F. Supp. 3d at 1042 (emphasis added);
pemetrexed," i.e., to "receive the benefit of the patented           see also id. ("[T]aking folic acid in the manner specified
method." Id. at 1042. Regarding the first Akamai V                   is a condition of the patient's participation in pemetrexed
prong, the court found, based on the product labeling,               treatment." (emphasis added)).
that "taking folic acid in the manner specified is a
condition of the patient's participation in pemetrexed               The district court's finding that physicians "condition"
treatment." Id. Regarding the second prong, the court                pemetrexed treatment [*13] on the administration of folic
found that physicians would "prescrib[e] an exact dose               acid is supported by the record evidence. The Physician
of folic acid and direct[] that it be ingested daily." Id. at        Prescribing Information, which is "directed to the
1043. The court therefore held that, under Akamai V,                 physician," J.A. 2181, explains that folic acid is a
the performance of all steps of the asserted claims                  "[r]equirement for [p]remedication" in order "to reduce
                                                                     the severity of hematologic and gastrointestinal toxicity
                                                                     of [pemetrexed]." J.A. 11258. Consistent with the
4 Before   the district court, Eli Lilly also asserted theories of   importance of folic acid pre-treatment, the product
direct infringement that did not rely on showing physicians'         labeling repeatedly states that physicians should
direction or control of patient action, arguing that: (1) as a       "[i]nstruct patients" to take folic acid and includes
matter of claim construction, physicians "administer" folic acid;    information about folic acid dosage ranges and
and (2) under the doctrine of equivalents, physicians' actions       schedules. J.A. 11256; see also J.A. 11255, 11278. The
are equivalent to putting folic acid into patients' bodies. The      Patient Information also informs patients that physicians
district court did not reach those issues. Although Eli Lilly asks   may withhold pemetrexed treatment: "You will have
us to reach them in the alternative, we need not do so in light      regular blood tests before and during your treatment
of our decision to affirm the district court under Akamai V.

                                                         Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 9 of 232 PageID: 8147
                                                                                                                 Page 8 of 15
                                            2017 U.S. App. LEXIS 555, *13

with [pemetrexed]. Your doctor may adjust your dose of         performance or making threats.
[pemetrexed] or delay treatment based on the results of
your blood test and on your general condition." J.A.           HN4[ ] We also reject Defendants' argument that an
11253 (emphasis added).                                        actor can only condition the performance of a step "by
                                                               imposing a legal obligation to do so, by interposing that
Furthermore, Eli Lilly's expert, Dr. Chabner, testified that   step as an unavoidable technological prerequisite to
it is "the physician's responsibility to initiate the          participation, or, [*16] as in [Akamai V], both." Id. In
supplementation" of folic acid. J.A. 2181. He explained        Akamai V, we found "conditioning" based on evidence
that the product labeling shows that taking folic acid is      that the defendant required all of its customers to sign a
"an absolute requirement" before pemetrexed                    standard contract delineating the steps that customers
treatment [*14] because "it wouldn't be safe to take the       had to perform to use the defendant's service. 797 F.3d
drug without the vitamin supplementation. . . . [I]t must      at 1024. But we did not limit "conditioning" to legal
be done this way." J.A. 2192; see also J.A. 2195 ("[I]t's      obligations or technological prerequisites.5 We
an absolute requirement."), 2246 ("I think it's that           cautioned that "principles of attribution are to be
important."). He further testified that if a physician         considered in the context of the particular facts
realizes that a patient did not follow his or her              presented" and even expressly held that § 271(a)
instructions to take folic acid, then the "doctor will not     infringement "is not limited solely to principal-agent
give the pemetrexed." J.A. 2218. Even Defendants'              relationships, contractual arrangements, and joint
expert, Dr. Schulz, acknowledged that it is "standard          enterprise." Id. at 1023.
practice"—both his personally and physicians'
generally—that a patient "must have taken their required       The product labeling, combined with the testimony
folic acid in order to have the pemetrexed administered."      discussed above, provide sufficient evidence that
J.A. 2329-40; see also J.A. 2304 ("I would withhold the        physicians condition pemetrexed treatment on folic acid
pemetrexed therapy until [the patient] had initiated or        pre-treatment.
resumed their folic acid treatment . . . [s]o as to avoid
the toxicities associated with pemetrexed without              2
vitamin replacement."). Dr. Schulz agreed that he was
"not aware of any reputable institution or doctor . . . who,   With respect to the second prong—establishing the
when they think the patient hasn't taken the required          manner or timing of performance—Defendants argue
folic acid" would go ahead and administer pemetrexed.          that the product labeling "gives patients wide berth to
J.A. 2330-31.                                                  select the dose . . . , the dosage form . . . , and the
                                                               timing . . . of folic acid self-administration." Appellants'
The record is thus replete with evidence that physicians       Opening Br. 23. Eli Lilly submits that expert testimony
delineate the step of folic acid administration that           and product labeling demonstrate that "physicians
patients [*15] must perform if they wish to receive            prescribe or specify a dose of folic [*17] acid, specify
pemetrexed treatment.                                          that patients must ingest the folic acid daily during a
                                                               particular span of days, and withhold pemetrexed if
Defendants argue that mere guidance or instruction is          patients do not follow orders." Appellee's Br. 25. We
insufficient to show "conditioning" under Akamai V. But        agree with Eli Lilly.
the evidence regarding the critical nature of folic acid
pretreatment and physicians' practices support a finding       The product labeling is again informative. For instance,
that physicians cross the line from merely guiding or          the Physician Prescription Information instructs
instructing patients to take folic acid to conditioning        physicians not only to tell patients to take folic acid
pemetrexed treatment on their administration of folic
acid. If a patient does not take folic acid as instructed, a
physician, in his or her discretion, need not provide          5 As Eli Lilly points out, nor did we rely on legal obligations or
pemetrexed treatment based on the patient's failure to         technological prerequisites to reach our decision in Akamai V.
perform the step of folic acid administration. Defendants      The standard contract in that case was not significant for
also complain that there is no evidence that physicians        imposing potential civil liability but for "delineat[ing] the steps"
go further to "verify compliance" with their instructions or   that customers would have to perform "if [they] wish[ed] to use
to "threaten" denial of pemetrexed treatment.                  [defendant's] product." Akamai V, 797 F.3d at 1024. And we
Appellants' Opening Br. 22. Conditioning, however,             did not focus on whether a customer's failure to perform
does not necessarily require double-checking another's         certain steps might have made it technologically impossible for
                                                               other steps to occur. Id.

                                                    Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 10 of 232 PageID: 8148
                                                                                                                  Page 9 of 15
                                                  2017 U.S. App. LEXIS 555, *17

orally, but also to take "400 [µg] to 1000 [µg] [of folic              action to induce infringement." Takeda, 785 F.3d at 631.
acid] once daily beginning 7 days before the first dose of             Mere "knowledge of the acts alleged to constitute
[pemetrexed]," accompanied with warnings about the                     infringement" is not sufficient. DSU Med., 471 F.3d at
consequences of non-compliance. J.A. 11256. That                       1305.
dosage range and schedule overlaps with all of the
asserted claims' dosage ranges and schedules.6 In                      As noted before, the district court [*19] found that the
addition, Dr. Chabner testified that "it's the doctor" who             administration of folic acid before pemetrexed
"decides how much [folic acid] the patient will take and               administration was "not merely a suggestion or
when the patient takes it." J.A. 2197. In view of the                  recommendation, but a critical step." Eli Lilly III, 126 F.
record evidence, the court's finding that physicians                   Supp. 3d at 1042. It further held that Defendants induce
establish the manner and timing of patients' folic acid                physicians' infringement because physicians act "in
intake is not clearly erroneous. Even if, as Defendants                accordance with Defendants' proposed labeling." Id.
argue, patients are able to seek additional outside                    Accordingly, the district court concluded that Defendants
assistance regarding folic acid administration, such                   would induce infringement of the '209 patent.
guidance is beyond what is required here to establish
                                                                       Defendants submit that, even if there is direct
the manner or timing of performance [*18] and is
                                                                       infringement, their product labeling does not induce
therefore immaterial.
                                                                       such infringement. They argue that Eli Lilly has not
We therefore see no reversible error in the district                   offered any evidence of what physicians do "in general,"
court's finding that physicians condition patient                      offering instead only "speculation about how physicians
participation in an activity or receipt of a benefit                   may act." Appellants' Opening Br. 24 (second emphasis
(pemetrexed treatment) on folic acid administration and                added). Furthermore, they submit that physicians "who
also establish the manner or timing of performance. Our                merely follow the product label" are not induced to
holding today does not assume that patient action is                   infringe because physicians must go beyond the
attributable to a prescribing physician solely because                 labeling instructions—such as by prescribing specific
they have a physician-patient relationship. We leave to                doses of folic acid or requiring patients to keep "pill
another day what other scenarios also satisfy the                      counts" or "pill diaries"—to infringe. Id. at 23, 26. We
"direction or control" requirement. The two-prong test                 agree with Eli Lilly that Defendants' arguments are
that we set forth in Akamai V is applicable to the facts of            unavailing.
this case and resolves the existence of underlying direct
infringement.                                                          We make two observations at the outset. First, to be
                                                                       clear, HN6[ ] the intent for inducement must be with
B                                                                      respect to the actions of [*20] the underlying direct
                                                                       infringer, here physicians. Second, we have not required
Although we conclude that the two-prong Akamai V test                  evidence regarding the general prevalence of the
is met here, this does not end our inquiry. HN5[ ] "The                induced activity. When the alleged inducement relies on
mere existence of direct infringement by physicians,                   a drug label's instructions, "[t]he question is not just
while necessary to find liability for induced infringement,            whether [those] instructions describ[e] the infringing
is not sufficient for inducement." Takeda Pharms.                      mode, . . . but whether the instructions teach an
U.S.A., Inc. v. West-Ward Pharm. Corp., 785 F.3d 625,                  infringing use such that we are willing to infer from those
631 (Fed. Cir. 2015). To show inducement, Eli Lilly                    instructions an affirmative intent to infringe the patent."
carries the burden of further proving "specific intent and             Takeda, 785 F.3d at 631 (internal quotation marks
                                                                       omitted). "The label must encourage, recommend, or
                                                                       promote infringement." Id. For purposes of inducement,
6 Asserted claims 9, 12, 14, and 15 recite administering "about        "it is irrelevant that some users may ignore the warnings
350 µg to about 1000 µg" of folic acid. '209 patent col. 11 ll.        in the proposed label." AstraZeneca LP v. Apotex, Inc.,
19-20, col. 11 l. 25-col. 12 l. 4, col. 12 ll. 7-11. Asserted claims   633 F.3d 1042, 1060 (Fed. Cir. 2010).
10, 18, and 19 recite administering "350 µg to 600 µg" of folic
acid. Id. at col. 11 ll. 21-23, col. 12 ll. 16-20. Asserted claim 21   Depending on the clarity of the instructions, the decision
recites either of those folic acid dosage ranges. Id. at col. 12 ll.   to continue seeking FDA approval of those instructions
24-27. Asserted claim 19 further recites a schedule for folic          may be sufficient evidence of specific intent to induce
acid administration "wherein folic acid is administered 1 to 3         infringement. Id. at 1059. With respect to those
weeks prior to the first administration of the pemetrexed." Id. at     instructions, we held in AstraZeneca that a label that
col. 12 ll. 18-20.

                                                           Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 11 of 232 PageID: 8149
                                                                                                           Page 10 of 15
                                            2017 U.S. App. LEXIS 555, *20

instructed users to follow the instructions in an infringing   asserted claims, as it does here, a physician's decision
manner was sufficient even though some users would             to give patients even more specific guidance is
not follow the instructions. Id. at 1059-60. This was true     irrelevant to the [*23] question of inducement.7
even though the product in question had substantial
noninfringing uses. Id.                                        In sum, evidence that the product labeling that
                                                               Defendants seek would inevitably lead some physicians
Conversely, "vague" instructions that [*21] require one        to infringe establishes the requisite intent for
to "look outside the label to understand the alleged           inducement. The district court did not clearly err in
implicit encouragement" do not, without more, induce           concluding that Defendants would induce infringement
infringement. Takeda, 785 F.3d at 632, 634. Defendants         of the asserted claims of the '209 patent.
try to analogize the product labeling here to the labeling
in Takeda that we held did not provide clear enough            II
instructions for the infringing use to show inducement.
Takeda, however, is distinguishable. The generic               We turn next to the district court's holding that the
manufacturer in that case sought FDA approval for a            limitation "vitamin B12" was not indefinite. HN8[ ]
generic drug to be used as a prophylaxis for gout              Pursuant to 35 U.S.C. § 112, ¶ 2, a patent specification
flares—a use not covered by the patents that had been          must "conclude with one or more claims particularly
asserted. Id. at 628. The only link between the proposed       pointing out and distinctly claiming the subject matter
use described on the labeling and the patented use was         which the applicant regards as his invention."8 The
an instruction stating, "[i]f you have a gout flare while      district court considered the indefiniteness of the
taking [the drug], tell your healthcare provider." Id. at      asserted claims before the Supreme Court changed the
632 (first alteration in original) (internal quotation marks   relevant standard in Nautilus, Inc. v. Biosig Instruments,
omitted). The patent owner argued that physicians who          Inc., 134 S. Ct. 2120, 189 L. Ed. 2d 37 (2014), and held
are accordingly consulted might prescribe the drug for         that "vitamin B12" was not indefinite.9 Eli Lilly & Co. v.
the infringing, off-label use and that the accused             Teva Parenteral Meds., Inc. (Eli Lilly I), No. 1:10-cv-
infringer was willfully blind to this possibility. Id. We      1376-TWP-DKL, 2012 U.S. Dist. LEXIS 85369, 2012
rejected the patent owner's reliance on such "vague            WL 2358102, at *11-12 (S.D. Ind. June 20, 2012). The
label language" and "speculation about how physicians          district court further construed "vitamin B12" to mean
may act." Id. The product labeling here is not so              "cyanocobalamin," a particular vitamin supplement.
tenuously related to the use covered by the [*22]              2012 U.S. Dist. LEXIS 85369, [WL] at *12.
asserted claims, and Eli Lilly does not need to rely on
speculation about physician behavior.                          HN9[ ] In Nautilus, the Supreme Court rejected our
                                                               "not amenable to construction or insolubly ambiguous"
Again, the product labeling includes repeated                  standard for indefiniteness and articulated, instead, that
instructions and warnings regarding the importance of          "a patent is invalid for indefiniteness if its claims, [*24]
and reasons for folic acid treatment, and there is             read in light of the specification delineating the patent,
testimony that the Physician Prescribing Information, as       and the prosecution history, fail to inform, with
the name indicates, is directed at physicians. See J.A.
2181, 11253, 11255, 11256, 11258, 11278. The
                                                               7 As  Dr. Chabner testified, such additional instructions are
instructions are unambiguous on their face and
                                                               rightfully "left to the medical judgment of [the] doctor,"
encourage or recommend infringement.
                                                               depending on the circumstances. J.A. 2231.
Defendants rely heavily on evidence that physicians as
                                                               8 Paragraph 2 of 35 U.S.C. § 112 was replaced with § 112(b)
a matter of practice take steps beyond the instructions
                                                               by § 4(c) of the AIA, and § 4(e) makes that change applicable
in the product labeling, such as asking patients to keep
                                                               "to any patent application that is filed on or after" September
pill diaries or pill counts, or confirming compliance with
                                                               16, 2012. Pub. L. No. 112-29, § 4, 125 Stat. at 296-97.
folic acid administration. For example, they point to Dr.      Because the application resulting in the '209 patent was filed
Chabner's testimony that he gives patients instructions        before that date, we refer to the pre-AIA version of § 112.
"beyond what the instruction is in th[e] patient
information." J.A. 2235-36. But the asserted claims do         9 Under   the prevailing standard at the time, a term was
not recite additional steps such as pill diaries, pill         indefinite only if it was "not amenable to construction" or was
counts, and compliance measures. HN7[ ] Where the              "insolubly ambiguous." Datamize, LLC v. Plumtree Software,
product labeling already encourages infringement of the        Inc., 417 F.3d 1342, 1347 (Fed. Cir. 2005) (internal quotation
                                                               marks omitted), overruled by Nautilus, 134 S. Ct. at 2124.

                                                    Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 12 of 232 PageID: 8150
                                                                                                              Page 11 of 15
                                              2017 U.S. App. LEXIS 555, *24

reasonable certainty, those skilled in the art about the          to mean in different contexts is a question of fact. See
scope of the invention." 134 S. Ct. at 2124.                      id. (HN10[ ] "Understandings that lie outside the patent
Indefiniteness is a question of law that we review de             documents about the meaning of terms to one of skill in
novo. Teva Pharms. USA, Inc. v. Sandoz, Inc., 789 F.3d            the art or the science or state of the knowledge of one of
1335, 1341 (Fed. Cir. 2015). We have reiterated post-             skill in the art are factual issues."). Dr. O'Dwyer testified
Nautilus that "general principles of claim construction           that, although "vitamin B12" can refer to a class of
apply" to the question of indefiniteness. Biosig                  compounds in other contexts, it refers specifically to
Instruments, Inc. v. Nautilus, Inc., 783 F.3d 1374, 1377          cyanocobalamin when "vitamin B12" is prescribed [*26]
(Fed. Cir. 2015) (internal quotation marks omitted).              in the medical field. See, e.g., J.A. 3571 ("'Vitamin B12'
Accordingly,     we      review       subsidiary     factual      is used by medical oncologists to mean a particular
determinations made by the district court based on                vitamin supplement, and medical oncologists refer to
extrinsic evidence for clear error. Id.; see also Teva, 789       'vitamin B12,' and prescribe 'vitamin B12,' without further
F.3d at 1341-42 (reviewing subsidiary factual findings in         explanation or definition."). We see no clear error in the
the indefiniteness context for clear error).                      district court's acceptance of the understanding that
                                                                  "vitamin B12," when used to refer to vitamin B12
The parties do not dispute that, depending on the                 supplementation in a medical context, refers to
context, "vitamin B12" can be used in the art to refer            cyanocobalamin.11 In view of this understanding, and
either to cyanocobalamin specifically or, more broadly,           because the specification uses "vitamin B12" primarily in
to a class of compounds including pharmaceutical                  two ways, we do not face the problem that we did in
derivatives of cyanocobalamin. The parties do not                 Teva, in which the disputed term did "not have a plain
dispute that the written description of the '209 patent           meaning to one of skill in the art" that could be
uses the term both ways.10 Defendants argue that,                 determined from context. 789 F.3d at 1345.
because "vitamin B12" is used in two different ways in
the intrinsic record, "it is impossible to determine" which       The claim language here would inform a person of
meaning applies to the claims "with any reasonable                ordinary skill that the term "vitamin B12," as used in the
certainty," as required by Nautilus. [*25] Appellants'            '209 patent claims, refers to "cyanocobalamin." First, the
Opening Br. 31. Eli Lilly counters that the claims of the         claims, on their face, are directed to administering
'209 patent "involve administering a vitamin B                    vitamin supplements, including vitamin B12, followed by
12 supplement to a patient," and in that context, "the            chemotherapy treatment. This context informs persons
one and only meaning" of vitamin B12 to a person of               of ordinary skill that "vitamin B12" is being used to refer
ordinary skill is cyanocobalamin. Appellee's Br. 35.              to the supplementation form of vitamin B12,
                                                                  cyanocobalamin. Second, the structure of the
The district court expressly "accept[ed]" the testimony of        claims [*27] also supports such an understanding.
Eli Lilly's expert, Dr. O'Dwyer, who concluded that a             Claim 1 requires administering a "methylmalonic acid
person of ordinary skill would understand "vitamin B12"           lowering agent . . . selected from the group consisting
to mean cyanocobalamin in the context of the patent               of," inter alia, vitamin B12 and cyanocobalamin. '209
claims. Eli Lilly I, 2012 U.S. Dist. LEXIS 85369, 2012            patent col. 10 ll. 61-65. Claim 2, which depends from
WL 2358102, at *11. We do not defer to Dr. O'Dwyer's              claim 1, further requires that "the methylmalonic acid
"ultimate conclusion about claim meaning in the context           lowering agent is vitamin B12." Id. at col. 10 ll. 66-67. Eli
of th[e] patent," as that is a legal question. Teva, 789          Lilly asserts, and Defendants do not dispute, that if
F.3d at 1342. But the district court's underlying                 "vitamin B12" were to refer to a class of compounds,
determination, based on extrinsic evidence, of what a             then claim 2 would be the same scope as claim 1, as
person of ordinary skill would understand "vitamin B12"           claim 2 "would encompass the same methylmalonic acid
                                                                  lowering agents set forth in claim 1." Appellee's Br. 36.
                                                                  HN11[ ] The doctrine of claim differentiation, however,
                                                                  presumes that dependent claims are "of narrower scope
10 The  specification provides that "[t]he term 'vitamin B12'
refers to vitamin B12 and its pharmaceutical derivatives," and
that "[p]referably the term refers to vitamin B12, cobalamin,
and chlorocobalamin." '209 patent col. 5 ll. 5-10. The district   11 Indeed, Defendants' expert, Dr. Green, agreed that "in the

court held, and Defendants do not dispute on appeal, that this    strict biochemical nomenclature, the term 'vitamin B12' is
language did not signify that the patentee was redefining the     restricted to cyanocobalamin," J.A. 3767, and that it can refer
term "vitamin B12." Eli Lilly I, 2012 U.S. Dist. LEXIS 85369,     specifically to cyanocobalamin in the context of vitamin B12
2012 WL 2358102, at *10-11.                                       injections, J.A. 3748-49.

                                                      Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 13 of 232 PageID: 8151
                                                                                                          Page 12 of 15
                                            2017 U.S. App. LEXIS 555, *27

than the independent claims from which they depend."          "vitamin B12" with reasonable certainty. Applying
AK Steel Corp. v. Sollac & Ugine, 344 F.3d 1234, 1242         Nautilus in this case does not lead us to a different
(Fed. Cir. 2003). Reading the claims to require "vitamin      result from the district court's conclusion on the question
B12" to be a specific compound in the class of                of indefiniteness.
"methylmalonic acid lowering agents" would avoid this
problem, as it would render claim 2, and all of the claims    III
that depend from it, narrower than claim 1.
                                                              Next, we address Defendants' arguments that the
Defendants submit that, if "vitamin B12" means                asserted claims were obvious over several references
"cyanocobalamin," then claim 1 recites a Markush group        that are not disputed to be prior art as of the critical date
of "methylmalonic acid lowering agents" that lists the        in June 1999. HN13[ ] To prevail on obviousness, an
same compound [*28] twice. HN12[ ] Although we                alleged infringer must prove by clear and convincing
have in some instances interpreted claim terms to avoid       evidence "that a skilled artisan would have been
redundancy, "the rule is not inflexible." Power Mosfet        motivated to combine the teachings [*30] of the prior art
Techs., LLC v. Siemens AG, 378 F.3d 1396, 1409-10             references to achieve the claimed invention, and that
(Fed. Cir. 2004); see also Multilayer Stretch Cling Film      the skilled artisan would have had a reasonable
Holdings, Inc. v. Berry Plastics Corp., 831 F.3d 1350,        expectation of success in doing so." Procter & Gamble
1363-64 (Fed. Cir. 2016); Manual of Patent Examining          Co. v. Teva Pharm. USA, Inc., 566 F.3d 989, 994 (Fed.
Procedure § 2173.05(h)(I) ("The mere fact that a              Cir. 2009) (internal quotation marks omitted).
compound may be embraced by more than one member              Obviousness is a question of law based on underlying
of a Markush group recited in the claim does not              facts, and "[o]n appeal from a bench trial, this court
necessarily render the scope of the claim unclear.").         reviews the district court's conclusions of law de novo
Here, the redundancy is supported by the prosecution          and findings of fact for clear error." Prometheus Labs.,
history, during which the examiner stated that vitamin        Inc. v. Roxane Labs., Inc., 805 F.3d 1092, 1097 (Fed.
B12 and cyanocobalamin "are the same" agents. J.A.            Cir. 2015) (internal quotation marks omitted).
4239. Therefore, faced with an interpretation that would
read redundancy into claim 1 and another that would           In a thorough opinion, the district court found, inter alia,
violate the doctrine of claim differentiation, we hold that   that a skilled artisan would not have been motivated to:
the claims here support the former result over the latter.    (1) use folic acid pretreatment with pemetrexed; (2) use
                                                              vitamin B12 pretreatment with pemetrexed; or (3) use
We are not persuaded by Defendants' contention that           the claimed doses and schedules of folic acid and
the prosecution history fails to "provide reasonable          vitamin B12 pretreatments with pemetrexed. The court
confidence in any particular meaning of the term 'vitamin     also found that Eli Lilly had established several
B12.'" Appellants' Opening Br. 30. In response to the         secondary considerations in favor of nonobviousness.
examiner's statement that "vitamin B12" and                   On appeal, Defendants contend that all of those findings
"cyanocobalamin" are synonymous, the patentee initially       were erroneous. Eli Lilly submits that Defendants'
removed the term "cyanocobalamin" from the proposed           arguments "amount to nothing more than an effort to
claims. See J.A. 4825-27, 4832-33. Later during               reargue the facts." Appellee's Br. 46.
prosecution, the patentee added "cyanocobalamin"
back [*29] into the claim that eventually issued as claim     We agree with Eli Lilly that Defendants' arguments fail to
1. J.A. 4836. Defendants do not point to any reason,          raise reversible error with respect to at least the findings
though, that a person of ordinary skill would understand      that a skilled artisan [*31] would not have been
the patentee's decision to ultimately include                 motivated to use vitamin B12 pretreatment with
"cyanocobalamin" in the claim language to be a                pemetrexed, let alone the appropriate doses and
departure from the understanding expressed by the             schedules of such vitamin B12 pretreatment.
examiner that "vitamin B12" and "cyanocobalamin" refer
                                                              A
to the same compound. The prosecution history here
does not detract from, and is consistent with, the other      The district court found, based upon two abstracts
intrinsic evidence that would inform a skilled artisan        published in 1998 by Dr. Niyikiza ("the Niyikiza
regarding the scope of the claim term "vitamin B12."
                                                              abstracts"),12 that a skilled artisan "would have
We therefore hold that a person of ordinary skill in the
art would understand the scope of the claim term
                                                              12 C. Niyikiza et al., LY231514 (MTA): Relationship of Vitamin



                                                   Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 14 of 232 PageID: 8152
                                                                                                          Page 13 of 15
                                              2017 U.S. App. LEXIS 555, *31

concluded that vitamin B                                         knowledge, a person of ordinary skill would have known
                                                                 that folate deficiency is correlated with pemetrexed
12 deficiency was not the problem in pemetrexed                  toxicity and that vitamin B12 "directly affect[s] the
toxicity." Eli Lilly & Co. v. Teva Parenteral Meds., Inc.        amount of folate available to healthy cells." Appellants'
(Eli Lilly II), No. 1:10-cv-01376-TWP-DWL, 2014 U.S.             Opening Br. 45 (citing J.A. 2482, 7894, 7910-11, 8086).
Dist. LEXIS 43885, 2014 WL 1350129, at *10 (S.D. Ind.            As a result, they argue, skilled artisans would have been
Mar. 31, 2014). It further found that a skilled artisan          motivated to use vitamin B12, along with folic acid, to
would not have used vitamin B12 supplementation to               address pemetrexed toxicities. Id. Put another way, if
address antifolate toxicities because of "concern[] about        we assume that the prior art would have motivated
. . . a reduction of efficacy of the antifolate" treatment.      skilled artisans to use folic acid pretreatment to counter
2014 U.S. Dist. LEXIS 43885, [WL] at *11.                        pemetrexed toxicity (an issue we do not reach),
                                                                 Defendants submit that those skilled artisans would
Dr. Niyikiza was an Eli Lilly scientist at the time and is       have also used vitamin B12 as part of the pretreatment
the named inventor on the '209 patent. In 1997, he               because the biochemical pathways for vitamin B12 and
performed statistical analyses to try to determine which         folic acid are related. Defendants further submit that
clinical trial patients were likely to develop toxicities from   other prior art "expressly teaches that folic acid
pemetrexed treatment. J.A. 1045, 1071-72. He                     supplementation improves the therapeutic index of
published [*32] the results in the Niyikiza abstracts and        pemetrexed," so a skilled artisan would not have [*34]
reported a correlation between increased pemetrexed              been      concerned     about      using    vitamin   B12
toxicities and elevated homocysteine levels. J.A. 7948,          supplementation to reduce pemetrexed toxicities. Id. at
7950-51. Elevated homocysteine levels serve as an                46.
indicator of either a folic acid or vitamin B12 deficiency,
but they do not indicate which of those two vitamins is          But the parties' experts agreed that nothing in the
specifically lacking. J.A. 622, 719, 7910. Levels of             literature as of the critical date described "cancer
another marker, methylmalonic acid ("MMA"), serve                patients    being     provided    with   vitamin    B12
more specifically as an indicator of vitamin B12                 supplementation prior to receiving any antifolate," with
deficiency. J.A. 720. But the Niyikiza abstracts reported        or without folic acid. J.A. 597-98; see also J.A. 1957.
that "no correlation between toxicity . . . and [MMA             Defendants fail to point to evidence that, even if folic
levels] was seen." J.A. 7948.                                    acid supplementation were known to improve effects of
                                                                 pemetrexed treatment, a skilled artisan would have
Given the toxicity correlations that Dr. Niyikiza observed       thought the same of vitamin B12. Indeed, Eli Lilly
with homocysteine levels but not with MMA levels, Eli            offered expert testimony that a skilled artisan would
Lilly's experts testified that the Niyikiza abstracts            have viewed the use of vitamin B12 with antifolates as
"present[ed] no evidence for a relationship of vitamin           "a problem" based on "having to increase the [antifolate]
B12 and pemetrexed toxicity" and would not have                  dose to get the same activity" of cancer treatment. J.A.
motivated a skilled artisan to administer vitamin B12 to         1453-54.
patients to address pemetrexed toxicity. J.A. 1466-67;
see also J.A. 1475, 1942. Defendants' expert, Dr.                We are therefore not convinced that the district court
Ratain, confirmed that if a patient exhibits elevated            committed clear error in concluding that Defendants
homocysteine but normal MMA levels, a skilled artisan            failed to carry their burden of proving that it would have
"would conclude that that patient was folate deficient"          been obvious to a person of ordinary skill to use vitamin
but "not [*33] [vitamin] B12 deficient." J.A. 622-23.            B12 pretreatment to reduce pemetrexed toxicities.

To try to overcome this missing link between vitamin             B
B12 deficiency and pemetrexed toxicity, Defendants
turn to other prior art references. They argue that, based       Regarding the dose and schedule of vitamin B12, the
on those references and perhaps preexisting                      district court reiterated that "there are no prior art
                                                                 references where any amount [*35] of vitamin B
Metabolite Profile to Toxicity, 17 PROC. OF AM. SOCIETY OF
CLINICAL ONCOLOGY 558a, Abstract 2139 (1998); C. Niyikiza et     12 pretreatment had been used with an antifolate in the
al., MTA (LY231514): Relationship of Vitamin Metabolite          treatment of cancer." Eli Lilly II, 2014 U.S. Dist. LEXIS
Profile, Drug Exposure, and Other Patient Characteristics to     43885, 2014 WL 1350129, at *13 (emphasis added).
Toxicity, 9 ANNALS OF ONCOLOGY 126, Abstract 609P (4th           The court also discounted Defendants' citations to
Supp. 1998).

                                                     Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 15 of 232 PageID: 8153
                                                                                                          Page 14 of 15
                                            2017 U.S. App. LEXIS 555, *35

literature outside the field of oncology. 2014 U.S. Dist.     would purportedly "motivate a [skilled artisan] to review
LEXIS 43885, [WL] at *13-14.                                  literature regarding known doses and schedules for
                                                              vitamin     B12    supplementation."    Appellants' [*37]
Defendants argue that, "[o]nce a [skilled artisan] is         Opening Br. 51. But those references merely note in
motivated to use vitamin B12 pretreatment," selecting a       passing that vitamin B12 can be related to
dose and schedule for vitamin B12 "would have been            homocysteine levels and folate biochemical pathways.
routine." Appellants' Opening Br. 47. Setting aside           See J.A. 7894, 7910. Defendants do not cite to any
motivation to use vitamin B12 pretreatment in the first       testimony to support their contention that those
instance, Defendants only cite evidence of vitamin B12        references would motivate a skilled artisan to arrive at
doses and schedules that are "routine" in other medical       the claimed use of vitamin B12 as a pretreatment for
contexts. See, e.g., J.A. 8150, 8169, 756-57. There is        pemetrexed, especially in view of the evidence of gaps
no evidence that, considering the context of pemetrexed       and concerns regarding the prior art discussed above.
treatment and associated toxicity problems, a person of
ordinary skill would have applied such doses and              The district court did not commit reversible error in
schedules wholesale.                                          finding that the prior art fails to render obvious use of
                                                              vitamin B12 pretreatment with pemetrexed, or use of the
We therefore also see no clear error in the court's           doses and schedules of vitamin B12 that are recited in
finding that Defendants failed to carry their burden of       the asserted claims. We therefore affirm the
proving that the prior art disclosed the claimed doses        determination of nonobviousness. We need not reach
and schedules of vitamin B12 for purposes of                  the other grounds put forth for obviousness.
pemetrexed pretreatment.
                                                              IV
C
                                                              Finally, we address Defendants' argument that the
Defendants    make     two    additional,     overarching     district court erred in holding that the asserted claims
arguments that we also find unavailing.                       are not invalid for obviousness-type double patenting
                                                              over U.S. Patent No. 5,217,974 ("'974 patent"), an
First, Defendants cite PharmaStem Therapeutics, Inc. v.       earlier patent also owned by Eli Lilly.
ViaCell, Inc., 491 F.3d 1342 (Fed. Cir. 2007), to argue
that the district court erred by accepting [*36] expert       HN14[ ]        The     judicially-created     "doctrine     of
testimony that was inconsistent with the express              obviousness-type double patenting is intended to
disclosures of the prior art. But PharmaStem is               'prevent the extension of the term of a patent . . . by
distinguishable. In that case, we discounted testimony        prohibiting the issuance [*38] of the claims in a second
regarding prior art references that "[could not] be           patent not patentably distinct from the claims of the first
reconciled with statements made by the inventors in the       patent.'" Eli Lilly & Co. v. Teva Parenteral Meds., Inc.,
joint specification [of the asserted patents] and with the    689 F.3d 1368, 1376 (Fed. Cir. 2012) (alteration in
prior art references themselves." Id. at 1361. Here,          original) (quoting In re Longi, 759 F.2d 887, 892 (Fed.
despite Defendants' averments, we do not perceive any         Cir. 1985)). After determining the differences in the
irreconcilable differences between the prior art              claims of the earlier and later patents, the court must
disclosures on their face and the testimony regarding         determine if the alleged infringer has proven by clear
whether a person of ordinary skill would have been            and convincing evidence that the claims are not
motivated to use vitamin B12 pretreatment in the              patentably distinct. Eli Lilly & Co. v. Barr Labs., Inc., 251
claimed doses and schedules with pemetrexed                   F.3d 955, 962, 968 (Fed. Cir. 2001). "A later patent
treatment.                                                    claim is not patentably distinct from an earlier claim if
                                                              the later claim is obvious over, or anticipated by, the
Second, Defendants argue that the district court
                                                              earlier claim." Id. Even where a patent is found invalid
committed legal error by requiring an express prior art
                                                              for obviousness-type double patenting, though, a
disclosure of the claimed combination because KSR
                                                              patentee may file a terminal disclaimer. Boehringer
International Co. v. Teleflex Inc., 550 U.S. 398, 127 S.
                                                              Ingelheim Int'l GmbH v. Barr Labs., Inc., 592 F.3d 1340,
Ct. 1727, 167 L. Ed. 2d 705 (2007), rejected such a
                                                              1347 (Fed. Cir. 2010); see also Perricone v. Medicis
"rigid" formula in favor of a more flexible inquiry. Id. at
                                                              Pharm. Corp., 432 F.3d 1368, 1375 (Fed. Cir. 2005)
402-03. While KSR did make the obviousness inquiry
                                                              (noting that there is no "prohibition on post-issuance
more flexible, it does not advance Defendants' position
                                                              terminal disclaimers" and that "[a] terminal disclaimer
here. Defendants cite to two prior art references that

                                                   Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 16 of 232 PageID: 8154
                                                                                Page 15 of 15
                                            2017 U.S. App. LEXIS 555, *38

can indeed supplant a finding of invalidity for double
patenting"). Obviousness-type double patenting is a           End of Document
question of law based on underlying facts, so "[o]n
appeal from a bench trial, this court reviews the district
court's conclusions of law de novo and findings of fact
for clear error." Prometheus, 805 F.3d at 1097 (internal
quotation marks omitted).

Defendants argued to the district court that the asserted
claims of the '209 patent are obvious variants of claim
20 of the '974 patent. The court [*39] found that the
asserted claims differ from claim 20 of the '974 patent
"in that the Asserted Claims limit the drug to pemetrexed
and the administration to a patient, use a dose range for
folic acid of 350-1000 µg or 350-600 µg and add[]
vitamin B12, whereas claim 20 of the '974 Patent
discloses the use of a much greater amount of folic
acid—500-30,000 µg—with an antifolate . . .
administered to a mammal." Eli Lilly II, 2014 U.S. Dist.
LEXIS 43885, 2014 WL 1350129, at *17. In particular,
the '974 patent lacks any recitation of vitamin B12
pretreatment, let alone dosage ranges or schedules of
such pretreatment.

For many of the same reasons it articulated in its
obviousness analysis and with additional explanation,
the district court found that the use of pemetrexed, use
of vitamin B

12, and doses and schedules of the asserted claims
were patentably distinct from claim 20 of the '974 patent.
2014 U.S. Dist. LEXIS 43885, [WL] at *17-18. In
relevant part, the district court held that, "as previously
discussed, there would have been no reason for a
[skilled artisan] to add vitamin B12 to the folic acid
pretreatment." 2014 U.S. Dist. LEXIS 43885, [WL] at
*17. For the same reasons that we discussed with
respect to nonobviousness, the court did not err in
finding that those limitations regarding vitamin B12
would not have been obvious to a person of ordinary
skill.

Therefore, we affirm [*40] the district court's conclusion
that the asserted claims are not invalid for obviousness-
type double patenting.

CONCLUSION

For the foregoing reasons, we affirm the district court's
judgment.

AFFIRMED




                                                   Andrew McEligott
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 17 of 232 PageID: 8155




                                 EXHIBIT 2
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 18 of 232 PageID: 8156




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                            United States Patent and Trademark Office


                                                    May 19, 2015


           THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
           THE RECORDS OF THIS OFFICE OF:




           U.S. PATENT:   8,546,450
           ISSUE DATE:    October 01, 2013




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                              Under Secretary of Commerce for Intellectual Property
                              and Director of the United States Patent and Trademark Office




                                                    T. LAWRENCE
                                                    Certifying Officer




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 19 of 232 PageID: 8157



                                                                                                               US008546450B 1



         (12) United States Patent                                                          (10) Patent No.:     US 8,546,450 B1
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                                                                                         JP            62-263122             11/1987
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                                                                                         we            03/094905 A1          ! 1/2003
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 21 of 232 PageID: 8159




                                                                    US 8,546,450 B1
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 22 of 232 PageID: 8160




                                           FIG.

                            ~IEAN TEWL SCORES FOR REI"II~-A* BY DAY -

                          LSrnean TEWL SCORES FOR RETIN-A® BY DAY -




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 23 of 232 PageID: 8161




                                           FIG. 2




                           LSme(m TE~ SCORES FOR PENFISAII)® BY DAY - Ill’




                      TREATED PEI~AID         --,~-- UNTREA~’ED PEI~NSAIO




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 24 of 232 PageID: 8162




        U.S. Patent            Oct. 1, 2013           Sheet 3 of 7                    US 8,546,450 B1




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     Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 25 of 232 PageID: 8163




                U.S. Patent           Oct. 1, 2013           Sheet 4 of 7                    US 8,546,450 B1




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 26 of 232 PageID: 8164




        U.S. Patent                Oct. 1, 2013        Sheet 5 of 7                   US 8,546,450 B1




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 27 of 232 PageID: 8165




        U.S. Patent           oct. 1, 2013           Sheet 6 of 7                     US 8,546,450 B1




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 28 of 232 PageID: 8166




        U.S. Patent            Oct. 1, 2013           Sheet 7 of 7                    US 8,546,450 B1




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 29 of 232 PageID: 8167




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               TREAT~IENT OF PAIN WITH TOPICAL                                 acetaminophen or oval nonsteroidal anti-inflammatory drags
                   DICLOFENAC COMPOUNDS                                        ("NSAID"s) (American College of Rheumatology Subcom-
                                                                               mittee on Osteoarthritis Guidelines. Recommendations for
                     CROSS-REFERENCE TO RELATED                                the medical management of osteoarthritis of the hip and knee:
                                  APPLICATIONS                              s 2000 update. Arthritis Rheum. 2000; 43:I 905-15; National
                                                                               Collaborating Centre for Chronic Conditions. Osteoarthritis:
            This application claims priority under 35 USC 119 to U.S.          National clinical guideline for care and management in
        Provisional Application 61/211,600 filed. Mar. 31, 2009.               adults. London: Royal College Physicians, 2008. Available
                                                                               at: http://www.nice.org.uklnicemedia/pdf/CGO59FullGuide-
                                       FIELD                                10 line.pdf.; Zhang W, et al., Osteoarthritis Cartilage 2007;
                                                                               15:981-1000; Zhang W, et al., Osteoarthritis Cartilage 2008;
            The field involves the delivery of compounds usefu! for             16:137-62. Acetaminophen has been linked with an increased
        pain relief, including diclofenac formulations, methods of use         risk of hepatic, hypertensive and cardiovascular adverse
        thereol; articles of manufacture and kits that include provid-         effects (e.g., Chan A T, et al., Circulation. 2006; 113:1578-87.
        ing novel preclinical, clinical and other intbrmation to users. ~s Epub 2006 Mar. 13; Pincus T, et al., Ann Rheum Dis. 2004;
                                                                               63:931-9).
                                  BACKGROUND                                       NSAIDs are more effective (Towt~eed T E, J. Rheumatol.
                                                                               2006; 33:567-73) and carry more well-known gastrointesti-
            The following includes information that may be useful in           na! and cardiovascular risk (e.g., Antman E M, et al. Use of
        understanding the present invention. It is not an admission 2o nonsteroidal anti-inflammatory drugs: an update for Clini-
        that any of the information provided heroin is prior art, or           cians: a scientific statement from the Americarl Heart Asso-
        relevant, to the presently described or claimed inventions, or         ciation. Circulation. 2007; 115:1634-42; Chart A T, et al.
        that any publication or document that is specifically or implic-       Nonsteroida! anti-inflammatory drugs, acetaminophen, and
        itly referenced is prior ar~.                                          the risk of cardiovascular events. Circulation. 2006; i 13:
            Today, pain has become the universal disorder, a serious 25 1578-87). The attempt to minimize the risk of both morbidity
        and costly punic health issue, and a challenge for family,             and potential mortality by prescribing COX-2 selective
        friends, and health care providers who must give support to            NSAIDs (’coxifis’) has not achieved the goal (Kearney P M,
        the individual suffering from the physical as well as the emo-         et al. BM£ 2006; 332: ! 302-8; Mamdani M, et al., BMJ. 2004;
        tional consequences of pain. In general, there are two basic            328:1415-6).
        types of pain, acute and chronic.Acute pain, for the most part, t0         Diclofenac is used, most commonly, as the sodium or
        results from disease, inflammation, or Injury to tissues. This          potassium salt for relief from pain and inflammation such as
        type of pain generally comes on suddenly, for example, after            musculoskeletal and joint disorders including rheumatoid
        trauma or surgery. In some instances, it can become chronic.            arthritis, osteoarthritis, and ankylosing spondylitis. U.S. Pat.
        Chronic pain is widely believed to represent disease itself.            Nos. 4,575,515 and 4,652,557 disclose topical NSAID com-
        Chronic pain persists over a longer period of time than acute 3s positions, one of which, consisting of 1.5% diclofenac
        pain and is resistant to most medical treaunents. It can, and           sodium, 45.5% dimethylsulphoxide ("DMSO’), ethanol,
        often does, cause severe problems for patients.                         propylene glycol, glycerine, and water, has been shown to be
             Arthritis is considered to be one of the most pervasive            effective in the treatment of chronic osteoarthritis (e.g.,
        diseases in the United States and a leading cause of disability.        Towheed, Journal of Rheumatology 33:3 567-573 (2006);
        According to the Centers for Disease Control and Prevention, 40 Oregon Evidence Based Practice Center entitled "’Compara-
         it is estimated that 1 of every 3 Americans is affected by one         tive Safety and Effectiveness of.Analgesics for Osteoarthri-
         or more o f the more than i 00 types of arthritis. Pain, particu-      tis;’ AHRQ Pub. No. 06-EHC09-EF).
         larly of the joints throughout the body, characteriz~es arthritis.        The skin provides a protective barrier against foreign mate-
         Psoriasis, primarily a skin disorder, can progress to psoriatic        rials and infection. In mammals this barrier is created prima-
         arthritis if left untreated. Rheumatoid arthritis, osteoarthritis, 45 rily by the outermost epidermal layer, the stratum corneum.
         and ankTlosing spondylitis are all examples of degenerative            The stratum corneum is comprised of flat, extended, enucle-
         arthritic diseases.                                                    ated cells, termed corneocytes, the periphery of which com-
             In addition to, for example, arthritic causes, normal func-        prises a highly insoluble protein and lipid structure, called the
         tion of a joint and its movement, and other portions of the            comified envelope ("CE’), surrounded by lipids. (Downing et
         body, can be severely impaired as a result of trauma or fo!- so al., Dermatology in General Medicine, Fitzpatrick, et al.,
         lowing orthopedic and other surgical procedures. This may              eds., pp. 210-22I (1993); Ponec, M, The Keratinocyte Hand-
         result in tenderness; aching, pain, and lengthy recovery times,        book, Leigh, et al., eds., pp. 351-363 (I994)). The CE is
         as well as !oss of joint mobility or reduced range of motion,          composed of polar lipids, such as ceramides, sterols, and fatty
         tonicity, or elasticity of the joint/articular structures, such as     acids, and a complicated network of cross-linked proteins;
         for example, muscle, tendon, capsule, bone, or ligament. ss however, the cytoplasm of stratum corneum cells remains
         Reduced joint mobility may also involve permanently altered            polar and aqueous. The stratum corneum is extremely thin
         or shortened joint or tissue architecture. Altered or abnormal         (some 20 microns) but provides a substantial barrier. Never-
        joint mobility or joint architecture may also be associated             theless, the skin has been considered as a route for the admin-
         with or caused by a variety ofinjttries and conditions such as,        istration of drags. Various transdermal delivery systems
         for example, metabolic disorders, ischemia, injuryto joint 60 achieve epidermal penetration by using a skin penetration
         capsule, bone, cartilage, tendon, ligament or muscle, frac-            enhancing vehicle.
         tures, subluxation, dislocation, crush injuries, prolonged                Topical NSAIDs present a safer potential alternative to oral
         immobilization (e.g.. immobilization of a joint in a cast or           therapy, with decreased systemic exposnre to the active.
         splint), and paralysis.                                                 NSAID niolecule. While previous reviews (Masou L, et al.,
             When non-pharmacologigal measures are not sufficient to 65 BMC Musculoskelet Disord 2004;5:28)havesuggestedthat
         control the symptoms of osteoarthritis, current evidence-              topical NSAIDs are effective for osteoarthritis, Lin et at.
         based guidelines support pharmacological treatment with                 (BM£ 2004; 329:324-6) in their meta-analysis of the same




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 30 of 232 PageID: 8168




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         studies stressed that the various products showed symptom         and desired therapeutic effects as well as instructions on uses
         relief at 1 or 2 weeks but loss of benefit at 4 weeks, and        in conjunction with other topical agents. Such needs are met
         rejected them as there was insufficient evidence to justify a     by the inventions and discoveries provided herein.
         recommendation of long-term use.
             Subsequently published randomized controlled studies 5                                BRIEF SUMMARY
         have described a penetrating topical diclofenac solution in a
         dimethyl sulfoxide (DMSO)-containing vehicle as effica-              The inventions described and claimed herein have many
         cious and safe in relieving the symptoms of primary osteoar-      attributes and embodiments including, but not limited to,
         thritis of the knee over 4-, 6-, and 12-week treatment periods    those set forth or described or referenced in this Brief Sum-
         (Boer P A, et at. BMC Musculoskelet Disord. 2005; 6:44; L0 mary. It is not intended to be all-inclusive and the inventions
         Bookman A A, et al. CMAJ. 2004; 171:333-8; Roth S H,              describedand claimed herein are not limited to or by the
         Shainhouse J Z. Arch Intern Med. 2004; 164:2017-23; Tug-          features or nonlimiting embodiments identified in this Brief
         well P S, et al. JRheumatol. 2004; 31:2002-12). Recent            Summary, which is included for purposes ofillustration only
         topical NSAID reviews and meta-analyses (Banning M., BrJ          and not restriction.
         CommunityNurs2006; ll:487-92;BamfingM.,ExpertOpin 15                  Disclosedhereinaremethodsoftreatmentandmethodsof
         Pharmacother 2008; 9:2921-9; Biswal S, et alo, J. Rheumatol.      manufacturing and using a topical diclo fenac pharmaceutical
         2006; 33:1841-4; Haynes S, Gemmell H., Clinical Chiro-            productandrelatedarticlesandkits.Alsodisclosedhereinare
         practic 2007; 10:126-38; Moore R A, et at., Rheum Dis Clin        methods of preventing or treating pain, including joint pain,
         NAm 2008; 34:415-32; Ozgtmey I, Expert Opin Pharmaco-             and arthritis, including osteoarthritis.
       . thor 2008; 9:1805-16; Towheed T E, J RheumatoL 2006; 20               In one nonlimiting embodiment, amethodofusingtopical
         33:567-73; Zacher J, et al., Current Medical Research and         diclofenac, and related methods of treatment, comprises
         Opinions 2008; 24(4):925-950)have evaluated the data from         informing a user of certain information regarding topical
         these topical diclofenac solution studies, and subsequently       diclofenac, for example, a topical diclofenac solution corn-
         published national guidelines (Chou R, et al. Comparative         prising or consisting essentially of 1.5% diclofenac sodium
         Effectiveness and Safety of Analgesics for Osteoarthritis. 2s (2-[(2,6-dichlorophenyl)amino]benzeneacetic acid, monoso-
         Comparative Effectiveness Review No. 4: Reckville, Md.:           dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
         Agency for Healthcare Research and Quality. September             ine, and water, said information comprising one or more of
         2006. Available at: www.effectivehealthcare.ahrq.gov/re-          the following: (1) the clinical effects of topical diclofenac
         ports/fmal.cfm; National Collaborating Centre for Chronic         dosing, including, for example, (a) the effects of particular
         Conditions. Osteoarthritis: Nalional clinical guideline for 3o four times per day ("QID") dosing; (b) the effects of Q1D
         care and management in adults. London: Royal College Phy-         dosing in one or more clinical trials; (c) the results from a
          sicians, 2008. Available at: http:!/www.nice.org.uk/niceme-       12-week, double:blind, double-dummy, randomized con-
         diaipdf/CGO59FullGuideline.pdf; Tannenbaum H, et al., J.          trolled trial of topical diclofenac in a vehicle solution con-
         RheumatoL 2006; 33:140-57; Zhang W, et at. 2007, supra;           tainingdimethylsulfoxidein775 subjeetswithradiologically
          Zhang W, et al. 2008 supra) have cited these studies as evi- 35 confirmed, symptomatic primary osteoarthritis of the knee;
         dence lbr the use of topical NSAIDs as first line therapy for      (d) the effect of treating osteoarthritis of the knee in one or
         osteoarthritis. Topical diclofenac solution is used for the       more clinical trials, including the effect of treating one "knee
          treatment ofosteoarthfitis and is currently approved for sale    when both knees are affected with osteoarthritis; and (e)
          in Canada and several European countries,                        results of a human volunteer study on trans-epidermal water
             The efficacy of topical NSAIDs, such as topical diclofenac 4o loss in which no alteration in skin barrier function was
          solution, is thought to be due to local action of the active      observed; (2a) the adverse event profile of topical diclofenac,
          NSAIDmoleculefollowingitspenetrationthroughtheskinto              including, for example (a) that administration of topical
          the tissue sites of inflammation and pain. Diclofenac sodium      diclofenac does not increase the incidence of systemic
          is a member of the a~lacanoic acid group of NSAIDs with           adverse events over use of oral diclofenac alone; (b) that the
          lipophilic properties that limit its peroutaneous penetration 45 addition of topical diclofenac to oral diclofenac does not
          (Nishihata T, et al., Chem. Pharm. Bull 1987; 35:3807-12)o        increase the incidence of systemic adverse events in osteoar-
          The biological property of DMSO to enhance skin penetm-           thrifts patients; (c) the results of a clinical study demonstrat-
          tion of both hydrophilic and lipophilic molecules is known        ing that the addition of topical diclofenac to oral diclofenac
          (WilliamsA C, Barry B W, AdvDrugDelivRev2004; 56:603-             did not increase the incidence of systemic adverse events in
          18), with recent research focusing on the mechanism of 50 osteoarthritis patients; and (d)the results of a clinical study
          enhancement (Gurtovenko A A, Anwar J, J Phys Chem B               showing that no eye lens abnormalities were observed with
          2007; 111:10453-60). The percutaneous absorption of               DMSO-vehicle or topical diclofenac in DMSO treatment;
          diclofenac following a multidose regimen of a topical             (2b) the adverse event profile oftopical diclofenac, including,
          diclofenac solution (based on a DMSO-cuntaining vehicle)          for example (a) that administration of topical diclofenac
          was significantly enhanced compared to an aqueous 55 results in less frequent adverse events associated with the
          diclofenac formulation without DMSO (Hewitt, P G, et at.,         NSAID class than oral diclofenac alone; (b) the results of a
          PharmacoIRes. 1998; 15:988-92). Within the extensive lit-         clinical study demonstrating that the addition of topical
          erature on DMSO are unsubstantiated claims of therapeutic         diclofenac to oral diclofenac did not cause an elevation of
          efficacy in the treatment of osteearthritis, but no efficacy of   liver transaminnses in osteoarthritis patients over use of oral
          DMSO vehicle was shown in a previous, 4-week randomized 60 diclofenac alone; (3) preelinical study results with topical
          controlled study of a topical diclofenac solution (BookmanA       diclofenac, including, for example, (a) the effect of the use of
          A, et al. Effect of a topical diclofenac solution lbr relieving   topical diclofenac on absorption of envi~reamental toxins,
          symptoms of primary osteoarthfitis ofthe knee: a randomized       including, for example, the results of a study showing that
          controlled trial. CMAJ. 2004; 171:333-8).                         repeated application of topical diclol~nac did not increase
             There remains a need in the art for methods of dosing 65 systemic environmental toxinexposure; and, (b) the effects of
          topical diclofenac formulations, and providing users and pro-     use of other topical products in conjunction with topical
          scribers with information regarding drug product attributes       diclofenac, including, for example, that concomitant use of




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 31 of 232 PageID: 8169




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         diclofenac topical solution by repeated application with other       12-week, double-blind, double-dummy, randomized con-
         topical products, including N,N-diethyl-m-toluamine                  trolled trial of topical diclofenac in a vehicle solution con-
         ("DEET"~active ingredient in insect repellent), 2,4-dichlo-          taining dimethyl sulfoxide in 775 subj ects with radiologlcally
         rophenoxy acetic acid ("2,4-D"~active ingredient in com-             confgmed, symptomatic primary osteoarthrifis of the knee;
         monly used pesticides) and oxybenzone (active ingredient in 5 (d) the effect of treating osteoa~hritis of the knee in one or
         sunscreens) did not enhance the systemic absorption of these         more clinical trials, including the effect of treating one knee
         products.                                                            when both knees are affected with osteoarthritis; and (e)
             In another nonlimiting embodiment, a method of using             results of a human volunteer study on iNns-epidermal water
         topical diclofenac, for example, a topical diclofenac solution       loss in which no alteration in skin barrier function was
         comprising or consisting essentially of 1.5% diclofenac 10. observed; (2a) the adverse event profile of topical diclolbnac,
         sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,            including, for example (a) that administration of topical
         and water, and related methods of treatment, comprises               diclofenac does not increase the incidence of systemic
         obtaining topical diclofenac from a container providing infor-       adverse events over use of oral diclofenac alone; (b) that the
         mation regarding (1) the clinical effects of topical diclofanac      addition of topical diclofeaac to oral diclofenac does not
         dosing, including, for example, (a) the effects of particular ] 5 increase the incidence of systemic adverse events in osteear-
         QID dosing; (b) the effects of QID dosing in one or more             thrifts patients; (c) the results of a clinical study demonstrat-
         clinical trials; (c) the results from a 12-week, double-blind,       ing that the addition of topical diclofenac to oral diclofenac
         double-dummy, randomized controlled trial of topical                 did not increase the incidence of systemic adverse events in
         diclofenac in a vehicle solution containing dimethyl snlfox-         osteearthritis patients; and (d) the results of a clinical study
         ide in 775 subjects with radiologlcally confirmed, symptom- 2o showing that no eye lens abnormalities were observed with
         atic primary osteoarthritis of the knee; (d) the effect of treat-    DMSO-vehJcle or topical diclofenac in DMSO treatment;
         ing osteoarthritis of the knee in one or more clinical trials,       (2b) the adverse event profile of topical diclofenac, including,
         including the effect of treating one knee when both knees are        for example (a) that administration of topical diclofenac
         affected with osteoarthritis; and (e) results of a human volun-      results in less frequent adverse events associated with the
         teer study on trans-epidermal water loss in which no alter- 25 NSAID class than oral diclofenac alone; (b) the results of a
         ation in skin barrier function was observed; (2a) the adverse        clinical study demonstrating that the addition of topica!
         event profile of topical diclofenac, including, for example (a)      diclofenac to oral diclofenac did not cause an elevation of
         that administration of topical diclofenac does not increase the      liver tmnsaminases in osteoarthritis patients over use of oral
         incidence of systemic adverse events over use of oral                diclofenac alone; (3) preclirdcal study results with topical
         diclofenac alone; (b) that the addition of topical diclofenac to 30 diclofenac, iuchiding, for example, (a) the effect of the use of
         oral diclofenac does not increase the incidence of systemic          topical diclofenac on absorption of environmental toxins,
         adverse events in osteoarthfitis patients; (c) the results of a      including, for example, the results of a study showing that
         clinical study demonstrating that the addition Of topical            repeated application of topical diclofenac did not increase
         diclofenac to oral diclofenac did not increase the incidence of      systemic environmental toxin exposure; and, (b) the effects of
         systemic adverse events in osteoarthritis patients; and (d) the _35 use of other topical products in conjunction with topical
         results of a clinical study showing that no eye lens abnormali-      diclofenac, including, for example, that concomitant use of
         ties were observed with DMSO-vnhicle or topical diclofenac           diclofenac topical solution by repeated application with other
          in DMSO treatment; (2b) the adverse event profile of topical        topical products, including DEET (active ingredient in insect
         diclofenac, including, tbr example (a) that administration of        repellent), 2,4-D (active ingredient in commonly used pesti-
         topical diclo fenac results in less frequent adverse events asso- 40 cides) and oxybenzone (active ingredient in sunscreens) did
         ciated with the NSAID class than oral diclofenac alone; (b)          not enhance the systemic absorption of these products.
         the results of a clinical study demonstrating that the addition          In another nonlimiting embodiment, a method of using
         of topical diclofenac to oral diclofenac did not cause an eleva-     topical diclofenac, for example, a topical diclofenac solution
         tion of liver transaminases in osteoarthritis patients over use      comprising or consisting essentially of 1.5% didiofenac
          of oral diclofenac alone; (3) preelinical study results with 45 sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
          topical diclofenac, including, for example, (a) the effect of the   and water, and related methods of treatment, comprises
          use oftopica! diclofenac on absorption of environmental tox-        administering a topical diclofenac DMSO tbrmulation to a
          ins, including, for example, the results of a study showing that    patient, wherein the administration provides a therapeutic
          repeated application of topical diclofenac did not increase          diclofenac concentration by application of about 40 drops to
          systemic enviromnental toxin exposure; and, (b) the effects of 50 one or both knees to a subject having osteoarthrifis of the
         use of other topical products in conjunction with topical             knees, and the user is informed with regard to one or more of
          diclofenac, including, for example, that concomitant use of          the following: (1) the clinical effects of topical diclofenac in
          diclofenac topical solution by repeated application with other       DMSO dosing, including, for example, (a) the effects of
          topical products, including DEET (active ingredient in insect        particular QID dosing; (b) the effects of QID dosing in one or
          repellent), 2,4-D (active ingredient in commonly used pesti- 55 more clinical trials; (c) the results from a 12-week, double-
          cides) and oxybenzone (active ingredient in sunscreens) did          blind, double-dummy, randomized controlled trial of topical
          not enhance the systemic absorption of these products.               diclofenac in a vehicle solution containing DMSO in 775
             In still yet another nonlimiting embodiment, a method of          subjects with radiologically confirmed, symptomatic primary
          using topical diclofenac, for example, a topical dielofenac          osteoarthxitis of the knee; (d) the effect of treating osteoar-
          solution comprising or consisting essentially of 1.5% 60 thritis of the knee in one or more clinical trials, including the
          diclo fenac sodium, 45.5% DMSO, ethanol, propylene glycol,           effect of treating one knee when both knees are affected with
          glycerine, and water, and related methods of trealment, com-         osteoarthritis; (2a) the adverse event profile of topical
          prises providing a user with.topical diclofenac, and informing       diclofenac in DMSO, including, for example (a) that admin-
          the user of one or more of the lbilowiag: (l) the clinical           istration of topical diclo fenac does not iucrease the incidence
          effects of topical diclofenac dosing, including, for example, 65 of systemic adverse events; (b) that the addition of topical
          (a) the effects of particular QID dosing; (b) the effects of QID     diclofenac in DMSO to oral diclofenac does not increase the
          dosing in one or more clinical trials; (c) the results from a        incidence of systemic adverse events in osteoarthrifis




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 32 of 232 PageID: 8170




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         patients; (c) the results of a clinical study demonstrating that     application of topical diclofenace did not increase enviren-
         the addition of topical diclofenac in DMSO to oral diclofenac        mental systemic toxin exposure; and, (b) the effects of use of
         did not increase the incidence of systemic adverse events in         other topica! products in conjunction with topical diclofenac,
         osteoarthritis patients; (2b) the adverse event profile of topi-     including, for example, that concomitant use of diclofenac
         ca! diclofenac, including, for example (a) that administration 5 topical solution by repeated application with other topical
         of topical diclofenac results in less frequent adverse events        products, including DEET (active ingredient in insect repel-
         associated with the NSAID class than oral diclofenac alone;          lent), 2,4-D (active ingredient in commonly used pesticides)
         (b) the results of a clinical study demonstrating that the addi-     and oxybenzone (active ingredient in sunscreens) did not
         tion of topical diclofenac to oral diclofenac did not cause an       enhance the systemic absorption of these products.
         elevation of liver transaminases in osteoarthritis patients over 10      In one nonlimiting embodiment, an article of manufacture
         use of oral diclofenac alone; (3) preclinical study resultg with     comprises a container containing a dosage form of topical
         topical diclofenac in DMSO, including, for example, (a) of           diclofenac, for example, a topical diclofenac solution com-
         the effects o fuse of other topical products in conjunction with     prising or consisting essentially of 1.5% diclofenac sodium,
         topical diclofenac in DMSO, including, for example, that             45.5% DMSO, ethanol, propylene glyco!, glycerine, and
         concomitant topical use of diclofenac in DMSO by repeated 15 water, wherein the container is associated with published
         application with other topical products, including DEET (ac-         materi~l providing some or all of the following information:
         tive ingredient in insect repellent), 2,4-D (active ingredient in    (!) the clinical effects of topical diclofenac dosing, including,
         commonly used pesticides) and oxybenzone (active ingredi-            for example, (a) the effects of particular QID dosing; (b) the
         ent in sunscreens) did not enhance the systemic absorption of        effects of QID dosing in one or more clinical trials; (c) the
         these products; (b) the effect of the use of topical diclofenac 2o results from a 12-week, double-blind, double-dummy, ran-
         in DMSO on absorption of environmental toxins, including,            domized controlled trial of topical diclofenac in a vehicle
         for example, the results of a study showing that repeated            solution containing dimethy[ sulfoxide in 775 subjects with
         topical application of diclofenac in DMSO did not increase           radiologically confirmed, symptomatic primary osteoarthri-
         systemic environmental toxin exposure; (4) of the results of a       tis of the knee; (d) the effect of treating osteoarthritis of the
         human volunteer study on vans-epidermal water loss in 25 knee in one or more clinical trials, including the effect of
         which no alteration in skin barrier function was observed.           treating one knee when both knees are affected with osteoar-
             La yet another nonlimiting embodiment, a method of manu-         thritis; and (e) results of a human volunteer study on trans-
          facturing a topical diclofenac pharmaceutical product com-          epidermal water loss in which no alteration in skin barrier
         prises packaging a topical diclofenac dosage form, for                function was observed; (2a) the adverse event profile oftopi-
          example, a topical diclofenac solution comprising or consist- 30 ca! diclofenac, including, for example (a) that administration
          ing essentially of 1.5% diclofenac sodium (2-[(2,6-dichlo-           of topical diclofenac does not increase the incidence of sys-
          rophenyl)amino]benzeneacetic acid, monosodium salt),                 temic adverse events over use of 0ral diclofenac alone; (b)
          45.5% DMSO, ethanol, propylene glycol, glycerine, and                that the addition of topical diclofenac to oral diclofenac does
          water, with some or all of the following information, in writ-       not increase the incidence of systemic adverse events in
          ten or electronic form: (1) the clinical effects of topical 35 osteoarthritis patients; and, (c) the results of a clinical study
          diclofenac dosing, including, for example, (a) the effects of        demonstrating that the addition of topica! diclofenac to oral
          particular QID dosing; (b) the effects of QID dosing in one or       diclo fenac did not increase the incidence of systemic adverse
          more clinical trials; (c) the results from a 12-week, double-        events in osteoarthritis patients; (2b) the adverse event profile
          blind, double-dummy, randomized controlled trial of topical          of topical diclofenac, including, for example (a) that admin-
          diclofenac in a vehicle solution containing dimethyl sulfox- 4o istration of topical diclofenac results in less frequent adverse
          ide in 775 subjects with radiologically confirmed, symptom-          events associated with the NSAID class than oral diclofenac
          atic primary osteoarthritis of the knee; (d) the effect of treat-    alone; (b) the results of a clinical study demonstrating that the
          ing osteoarthritis of the knee in one or more clinical trials,       addition of topical diclofenac to oral diclofenac did not cause
          including the effect of treating one knee when both knees are        an elevation of liver transaminases in osteoarthritis patients
          affected with osteoarthritis; and (e) results of a human volun- 45 over use of oral diclo fenac alone; (3) preclinical study results
          teer study on trans--epidermal water loss in which no alter-         with topical dMofenac, including, for example, (a) the effect
          ation in skin barrier function was observed; (2a) the adverse        of the use oftopica! diclofenac on absorption of environmen-
          event profile of topical diclofenac, including, for example (a)      tal toxins, including, for example, the results of a study show-
          that administration of topical diclofenac does not increase the       ing that repeated application of topical diclofenac did not
          incidence of systemic adverse events over use of oral 5o increase systemic environmental toxin exposure; and, (b) the
          diclofenac alone; (b) that the addition of topical diclofenac to     effects of use of other topical products in conjunction with
          oral diclofenac does not increase the incidence of systemic           topical diclofenac, including, for example, that concomitant
          adverse events in osteoarthritis patients; and, (c) the results of    use of diclofenac topical solution by repeated application
          a clinical study demonstrating that the addition of topical          with other topical products, including DEET (active ingredi-
           diclofenac to oral diclofenac did not increase the incidence of 55 ent in insect repellent), 2,4-D (active ingredient in commonly
           systemic adverse events in osteoarthritis patients; (2b) the         used pesticides) and oxybertzone (active ingredient in sun-
           adverse event profile of topical diclofenac, including, for          screens) did not enhance the systemic absorption of these
           example (a) that administration of topical diclofeaac results        products.
           in less frequent adverse events associated with the NSAID               In one nonlimiting embodiment, the article of manufacture
           class than oral diclofenac alone; (b) the results of a clinical 60 is a kit. Thus, one aspect of the invention provides a no’zel kit
           Study demonstrating that the addition of topicaldiclofenac to        of parts comprising topical diclofenac (for example, a topical
           oral diclofenac did not cause an elevation of liver transami-        diclofenac solution or gel as described, or referenced, herein)
           nases in osteoarthritis patients over nse of oral diclofenac         and. information informing .a user or prescriber of novel
           alone; (3) preclinical study results with topical diclofenac,        results fiom preclinical and clinical studies.
           including, for example, (a) the effect of the use of topical 65         In one nonlimiting embodiment, the user or prescriber is
           diclofenac on absorption of environmental toxins, including,         informed of the results of or more preclinical studies in which
           for example, the results of a study showing that repeated            concomitant use of topical diclofenac with other topical prod-




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 33 of 232 PageID: 8171




                                                              US 8,546,450 B1
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        ucts, including DEET (active ingredient in insect repellent),         topical diclofenac may also include one or more pharmaceu-
        2,4-D (active ingredient in commonly used pesticides) and             tically acceptable carriers, thickening agents, solubilizing
        oxybenzone (active ingredient in sunscreens), was investi-            agents, dispersants, etc.
        gated. In one aspect of this embodiment, the user or prescriber           In certain embodiments, the diclofenac is in the form of a
        is informed that repeated application of topical diclofenac did 5 pharmaceutically acceptable salt or free acid. Examples of
        not enhance the systemic absorption of these products. In             pharmaceutically acceptable salts include metal salts, includ-
        another aspect of this embodiment, the user or prescriber is          ing alkali metal, alkaline earth metal, and nitrogen-based salts
        informed that before applying sunscreen, insect repellant,            such as ammonium salts. Sodium, potassium, epolamine and
        lotion, moisturizer, cosmetics, or other topical medication to
                                                                              diethylamine salts are preferred. In one preferred embodi-
        the same skin surface of the knee treated with topical to raent the diclofeaac is diclofer~c monosodium salt¯
        diclofenac, one should wait until the treated area is dry, which
                                                                                  In one nonhiniting embodiment, the topical diclotEnac is a
        occurs most often within 10 minutes. In another aspect of this
                                                                              solution.
        embodiment, the user or prescriber is informed that concomi-
                                                                                   In another nonlimiting embodiment, the topical diclofenac
        tant use of topical diclofenac and sunscreens and insect repel-
                                                                              is a gel.
        lants is safe. In another aspect of this embodiment, the user or 15
        prescriber is informed that use of topical diclofeuac does not             In one non.limiting embodiment, the topical diclofenac is a
        reduce the efficacy ofa sunscreen. In another aspect of this ¯ solution that comprises or consists essentially of diclofenac
        embodiment, the user or prescriber is informed that use of            and between about 40% and about 85% DMSO by weight of
        topica! diclofenac does not reduce the efficacy of an insect          the solution, preferably between about 40% and about 60%
        repellant.                                                         20 DMSO by weight of the solution, more preferably between
            In one noulimiting embodiment, the user or prescriber is          about 40% and about 50% DMSO by weight of the solution,
        informed of the results ofa transepidermal water loss study in         still more preferably between about 42.5% and about 48.5%
        which no alteration in skin barrier function following chronic         DMSO by weight of the solution, and most preferably about
        use of topical diclofenac was found. In one aspect of this             45.5% DMSO by weight of the solution; a polyalcohnl, pref-
        embodiment, the user or prescriber is informed that the study 25 erably having 3-5 carbon atoms, for the retention of moisture
        was performed on human vohmteers’ skin.                                in the skin which in certain embodiments is glycerol or
            In one nonlimitiug embodiment, the user or prescriber is           glycerine; a dispersant for assisting to disperse the compo-
        informed of the results of a clinical study demonstrating that         nents in solution to provide a homogeneous solution when
        the addition of topical diclofenac to oral diclofenac did not          applied to the skin and when penetrating the skin, which in
         increase the incidence of systemic adverse events in osteoar- 30 one embodiment is propylene glycol; and water.
        thritis patients. In one aspect of this embodiment, the user or            In one nonlimiting embodiment, the topical diclofenac is a
         prescriber is further informed that the combination of topical        solution comprising or consisting essentially of 1.5% w/w
         diclofenac and oral diclofenac did not increase the incidence         dicl0fenac sodium (2-[(2;6-dichlorophenyl)amino]benzene-
         of digestive system events over oral diclofenac alone. In             acetic acid, monosodium salt) and 45.5% wiw dimethyl sul-
         another nonlimiting embodiment, the user or prescriber is 35 foxide.
         informed of a study showing that administration of topical                In another noNimiting embodiment, the topical diclofeaac
         diclofeuac results in less frequent adverse events associated         is a solution that comprises or consists essentially of 1.5%
         with the NSAID class than oral diclofenac a!one and/or the            diclofenac sodium (2-[(2,6-dichlorophenyl)amino]benzane-
         results of a clinical study demonstrating that the addition of        acetic acid, monosodium salt), 45.5% DMSO, ethanol, pro-
         topical diclofenac to oral diclofenac did not cause an eleva- 40 pylene glycol, glycerine, and water.
         tion of liver transaminases in osteoarthritis patients over use           In another nonlimiting embodiment, the topical diclofenac
         of oral diclofenac alone.                                             is a gel formulation according to PCT/US2007/081674 (In-
             In another nonlimiting embodiment, the user or prescriber         ternational Publication No. WO 2008/049020 A2), the con-
         is informed of the results of a clinical trial in which one kalee     tents of which are incorporated herein in their entirety by this
         was successfully treated with topical diclofenac even though 45 reference. The topical diclofenac may be any of the formula-
         most subjects had bilateral osteoarthritis of the knees. In one       dons described or claimed therein. In another nonlimiting
         aspect of this embodiment, the user or prescriber is further          embodiment, the topical diclofenac is a gel formulation
         informed that topical diclofenac may be applied to only one           according to US Patent Application No. 20080300311 (pub-
         knee despite the existence of bilateral osteoarthritis.                lished Dec. 4, 2008), the contents of which are incorporated
             In another nonlimiting embodiment, the user or prescriber 50 herein in their entirety by this reference. The topical
         is informed that a regimen of topical diclofenac and oral             diclofenac may be any of the formulations described or
         dMofenac is useful for treating an individual with persistent         claimed therein.
         or breakthrough knee pain despite using an oral NSAID.                     In another uonlimifing embodiment, the topical diclofenac
             In another nonlimiting embodiment, the user or prescriber          is a gel formulation comprising diclofenac (e.g., diclofenac
         is informed that topical diclofenac, or a regimen of topical 55 sodium), dimethyl sulfoxide, ethanol, propylene glycol, one
         diclofenac and oral diclofenac, is useful when topical                or more thickening agents, and water. In one aspect of this
         diclofenac is applied to only one knee of a subject with              embodiment, the topical diclofenac gel formulation further
         osteoarthritis even though both knees of an individual may be          comprises glycerol. In another aspect, the thickening agent is
         affected.                                                              selected from the group consisting of cellulose polymers,
             In yet another uonlimiting embodiment, the user is pro- 60 carbomer polymers, a carbomer derivative, a celhilose deriva-
         vided with some or all of the topical diclofenac clinical and          tive, polyvinyl alcohol, poloxamers, polysaccharides, and
         preclinical information described herein for purposes of               mixtures thereof.
          enhancing the safety profiIe of topical diclofenac.                       In another nontimiting embodiment, theJopic91 diclofenac
             The topical diclofenac composition will comprise                   is a gel formulation comprising or consisting essentia!ly of
          diclofenac and at least one transdermal penetration enhancer 65 1-5% w/w diclofenac (preferably diclofenac monosodium);
          in an amount sufficient to aid in the delivery of a therapeuti-       30-60% wiw dimethyl sulfoxide; 1-50% w/w ethanol; 1-15%
          cally effective amount of diclofenac to a desired area. The           w/w propylene glycol; a thickener; and water (added to make




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 34 of 232 PageID: 8172




                                                              US 8,546,450 B1
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        100% w/w). In a preferred aspect of this embodiment, the gel    pain (acute or chronic, for example) and/or proximally
        formulation has a viscosity of 10-50,000 centipoise.            thereto (including, for example, areas of reflected or second-
           In another nonlimiting embodiment, the topical diclofenac    ary pain). Thus, for example, some or all of the user informa-
        is a gel formulation comprising or consisting essentially of    tion described herein is provided and the topical diclo fenac is
        about 2% w/w diclofenac (preferably diclofenac monoso- 5 administered to the skin at a site of pain and/or to skin loca-
        dium); about 45.5% wiw dimethyl sulfoxide; about 23-29%         tions proximal thereto in a supporting body structure of a
        w/w ethanol; about 1 I% wiw propylene glycol; about 0-6%        subject, including joints, muscles, tendons, ligaments, carti-
        w/w hydroxypmpylcellulose (HY119); and water (added to          lage and skin (including any one or more of these, together, or
        make 100% w/w). In a preferred aspect of this embodiment,
                                                                        in any combination), and/or in the musculoskeletal system,
        the gel formulation has a viscosity of 500-5,000 centipoise. to by topical administration as provided herein, whereby pain is
           In another noalimiting embodiment, the topical diclofenac
                                                                        reduced.
        is a gel lbrmulation comprising or consisting essentially of
                                                                           In one aspect, the present invention is directed to a method
        diclofenac (preferably diclofenac monosodium) at a concen-
                                                                        for reducing pain in a supporting body structure of a subject,
        tration selected from the group consisting of 1, 1.5, 2 and3%
        w/w; dimethyl sulfoxide at a concentration selected from the 15 comprising topically administering to said subject in need
        group consisting of 42, 43, 44, 45, 45.5 46, 47, 48 and 49%     thereofa pharmaceutical composition comprising a therapeu-
        w/w and fractions in between; ethanol at 23-29% w/w; pro-       tically effective amount of a transdermal diclofenac solution
        pylene glycol at a concentration selected from the group        or gel formulation comprising DMSO, whereby pain is
        consisting of 9, 10, 11, 12, 13% w/w and fractions in between;  reduced, and providing to a user some or all of the clinical and
        hydroxypropylcellulose (HY119) at 0-6% w!w;~ and water 20 preclinieal information described herein. According to one
        (included in an amount sufficient to make 100% w/w). In a             nonlimiting embodiment, the supporting body structure is a
        preferred aspect of this embodiment, the gel formulation has          joint. According to another nonlimiting embodiment, the sup-
        a viscosity of about 500-5000 centipoise.                             porting body structure is selected from the group consisting
            In certain embodiments, the above-described topical               of muscles, bones, lendons, ligaments and cartilage. These
        dic!ofenac gel formulations include 1-5% glycerol. In such 25 methods are suitable for treating a subject suffering from
        embodiments, the gel formulation will have a drying rote and          arthritis. Conditions which may be treated include osteoar-
        a transdermal flux that are greater than a comparative liquid         thritis, rheumatoid arthritis, and arddyosing spondylitis.
        topical diclofenac formulation. In other embodiments, the                 In a further noniimiting embodiment this method is suit-
        above-described topical diclofenac gel formulations will              able for treating a subject suffering from acute pain. Suitable
        have a pH of about 6.0 to about 10.0.                              30 pain coMitions for treatment by this method include back
            In another noniimiting embodiment, the topical diclofenac         pain, knee pain, hip pain, shoulder pain, ankle or leg pain,
        is a gel formulation comprising diclofenac (e.g.,. diclofenac         hand pain or finger pain, in which a user is also provided with
        sodium), ethanol, dimethyl sulfoxide, propylene glycol,                some or all of the clinical and preelinical information
        hydroxypropylcellulose and water. In one aspect of this                describedherein. Inan alternate nonlimiting embodiment, the
        embodiment, the hydroxypropylcellulose is substituted with 35 subject is suffering from chronic pain, which may include
        alklycellulose, hydroxyalkylcellulose, carboxyalkylcellu-              back pain, knee pain, hip pain, shoulder pain, ankle or leg
        lose, or sodium carboxyalklycellulose, where alkyl is methyl,          pain, hand pain or finger pain. In another nonlimiting embodi-
        ethyl or propyl, or a mixture thereof.                                 ment, the subject is suffering from postoperative pain.
            In another aspect of the present invention, some or all of the        In another aspect, the present invention is directed to a
        user information described herein is provided and pain is 40 method for applying multiple topical agents to an subject with
        reduced in a supporting body structure of a subject, including         pain comprising topically administering a pharmaceutical
        joints, muscles, tendons, ligaments, cartilage and skin, by            composition comprising a therapeutically effective amount of
        topically administering to a subject in need thereofa pharma-          a topical diclofenac comprising diclofenac in DMSO, waiting
        ceutical composition comprising a therapeutically effective            for the treated area to dry (the time for which can be depen-
        amount of diclofenac in dimethyl sulfoxide, preferably 45 dent on individual skin characteristics, environmental condi-
        45.5% wlw dimethy! sulfoxide, or a pharmaceutical compo-               tions such as temperature and humidity, and surface area,
         sition comprising a therapeutically effective amount of               being often about 5-30 minutes, or about 5-20 minutes, for
        diclofenac in a gel formulation, as described herein, in PCT!          example, or typically about 10 minutes or less for a topical
         US2007/081674, or in US Patent Application No.                        diclofenac preparation, including a topical dMofenac solu-
         20080300311. In another nonlimiting embodiment, pain in 50 tion as described in the Examples), and applying another
        the musculoskeletal system of a subject is reduced. In another         topical agent(s). In one nonlimiting embodiment, the subject
         nordimiting embodiment, pain in a supporting body structure           has osteoarthritis. In another nonlimiting embodiment, the
         of a subject and/or in the mnsculoskeletal system of a subject        subject has osteoarthritis of the knee. In one embodiment, the
         is reduced.                                                           topical agent administered after the topical diclotbnac is a
            Various uses of the information provided herein following 55 sunscreen or an insect repellant.
         new clinical and preclinical studies include uses for treat-             In another nonlimiting embodiment, the invention includes
         ment, or in the manufacture or preparation of formulations,           a method ofpretecting a subject with osteoarthritis from UV
         compositions, articles of manufacture and kits.                       exposure and alleviating the signs and symptoms ofosteoar-
            The invention also includes methods employing topical              thritis in the subject comprising the steps of applying a thera-
         diclofenac, kits and articles of manufacture useful for pain 60 peutically effective amount ofa transdermal diclofenac sohi,
         relief or prevention in the treatment of a subject, including in      tion or gel formulation comprising dMofenac in DMSO;
         the treatment of a subject following an invnsive medical pro-         waiting for the treated area to dry (the time for wttich can be
         cedure or sn~e _ry. including an orthopedic procednre or sur-         dependent on individual skin characteristics; envirotmaental
         gery, or a subject predisposed to or otherwise at risk lbr pain,      conditions such as temperature and humidity, and surlhce
         wherein said methods, kits and articles of manufacture com- 65 area, being often about 5-30 minutes, or about 5-20 minutes,
         prise some or all of the user information described herein. The       for example, or typically about 10 minutes or less for a topica!
         topical diclofenac described herein is administered to a site of       diclofenac preparation, including a topical diclotbnac sohi-




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 35 of 232 PageID: 8173




                                                              US 8,546,450 B1
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        tion as described in the Examples), and applying sunscreen to            As used herein, "musculoskeletal system" (also known as
        all or a portion of the same area of treatment.                      the locomotor system) refers to the system that gives animals
           In a further aspect, provided is an article of manufacture        the ability to physically move using the muscles and the
        comprising a topical diclofenac preparation (e.g., a solution        skeletal system. The musculoskeletal system includes the
        or gel formulation for transderma! administration as                 skeleton, made by bones attached to other bones with joints
        described herein) and a packaging material, wherein said             and ligaments, and skeletal muscle attached to the skeleton by
        topical diclofenac preparation comprises a pain relief effec-        tendons. Particularly useful applications of the present inven-
        tive amount of diclofenac in DMSO, wherein said packaging            tion include the prevention or treatment of musculnskeletaI
                                                                             pain, including pain that affects the joints, muscles, ligaments
        material comprises a label or insert that indicates that said
                                                                             and teudons, along with bones.
        composition may be used for reducing pain in a supporting
                                                                                 As used herein, "pain" includes acute pain and chronic -
        structure, and wherein a user is also provided with some or all
                                                                             pain.
        of the clinical and preclinical information described herein.
                                                                                 A "patient" means a subject in need of medica! treatment.
           Tt~ese and other aspects of the present inventions, which         Medical treatment can include treatment of an existing con-
        are not limited to or by the information in this Brief Summary,      dition, such as a disease or disorder, prophylactic or preven-
        are provided below.                                                  tative treatment. In some embodiments the patient is a human
                                                                             patient.
                BRIEF DESCRIPTION OF THE DRAWINGS                                A "pharmaceutical supplier’’ means a person (other than a
                                                                             medical care worker), business, charitable organization, gov-
            FIG. 1 shows mean TEWL scores for Retin-A® by Day-               ernmental organization, or other entity involved in the trans-
        ITI’.                                                                 fer of topical diclofenac, including a dosage form thereof,
            FIG. 2 shows mean TEWL Scores for PENNSAID® by                   between entities, for profit or not. Examples of pharmaceuti-
        Day-ITF.                                                             col suppliers include pharmaceutical distributors, pharmacy
            FIG. 3 shows mean plasma concentration-time profile for           chains, pharmacies (online or physical), hospitals, HMOs,
        diclofenac sodium (ngimL).                                        2s supermarkets, the Veterans Administration, or foreign busi-
            FIG. 4 shows mean plasma concentration-time profile for          nesses or individuals importing topical diclofenac into the
        dimethyl sulfo×ide (p.gimL).                                          United States.
            FIG. 5 shows mean plasma concentration-time profile for              As used herein, "preventing" or "prevention" means pre-
        diclofenac sodium (ng!mL).                                            venting in whole or in part, or ameliorating, reducing or
            FIG. (i shows mean plasma concentration-time profile for 3o controlling.
        dimethyl sulfoxide (gg/mL).                                               A "product" or "pharmaceutical product" means a dosage
            FIG. 7 shows mea~ plasma concentration-time profile for           form of topical diclnfenac plus published material and
        dimethyI sulfone (gg/mL).                                             optionally packaging.
                                                                                  "Providing" means giving, administering, selling, distrib-
                          DETAILED DESCRIPTION                                uting, transferring (for profit or not), manufacturing, com-
                                                                              pounding, or dispensing.
            As used herein, a "disorder" is any disorder, disease, or             "Published material" means a medium providing informa-
        condition involving pain that would benefit from topical              tion, including printed, audio, visual, or electronic medium,
        diclofenac.                                                           for example a flyer, an advertisement, a product insert, printed
            "Enhancing the safety pro file" o f topical diclofenac means 40 labeling, an interact web site, an internet web page, an inter-
        implementing actions or articles designed or intended to help         net pop-up window, a radio or television broadcast, a compact
        reduce the incidence of adverse events associated with                disk, a DVD, a podcast, an audio recording, or other recording
        administration of topical diclofenac, including adverse               or electronic medium.
        effects associated with patient-related i:actors (e.g., age, gen-         "Safety" means the incidence or severity of adverse events
        der, ethnicity, race, target illness, abnormalities ofcardiovas- 45 associated with administration of topical diclnfenac, inchid-
        cular, gastrointestinal, renal or hepatic function, co-morbid         ing adverse effects associated with patient-related factors,
        illnesses, characteristics such as pregnancy or environment,          including as noted above, and topical diclofenac-related fac-
        including sun exposure) and topical diclofenac-related fac-           tors, including as noted above.
        tors (e.g., dose, plasma level, duration of exposure, or con-             As used herein, "subject" refers to any mammal, including
        comitant medication).                                             50 humans, domestic and farm animals, and zoo, sports, or pet
            "Informing" means referring to or providing, published            animals, such as dogs, horses, cats, sheep, pigs, cows, etc.
        material, for example, providing published material to a user;,       Non-limiting preferred mammals are a human, including
        or presenting information orally, for example, by presentation        adults, children, and the elderly. Non-limiting preferred
         at a seminar, conference, or other educational presentation,          sports animals are horses and dogs. Non-limiting preferred
        by conversation between a pharmaceutical sales representa- 55 pet animals are dogs a~d cats.
        tire and a medical care worker, or by conversation between a              As used herein, "supporting body structure of a subject"
         medical care worker and a patient; or demonstrating the               refers to skeletal elements, joints, muscles, tendons, liga-
         intended information to a user for the purpose of comprehen-          ments, cartilage, and skin of that subject. Particularly useful
         sion.                                                                 applications of the present invention include the prevention or
            A "medical care worker" means a worker in the health care 6o treatment of pain in and around joints, including shoulders,
         field who may need or utilize information regarding topical           hips, knees, elbows, hands and fingers. Other particularly
         diclofenac including a dosage form thereof, including infor-          useful applications of the present invention include the pre-
         mation on safety, efficacy, dosing, administration,.or pharma-        vention or treatment of pain in the knee, including pain result-
         cokmetics. Examples of medical workers include physicians,            ing from osteoarthritis of the kmee. Each el these may be
         pharmacists, physician,s assistants, nurses, aides, caretakers 65 treated separately, as may each of joints, muscles, tendons,
         (which can include family members or guardians), emer-                ligaments, cartilage, and skin be the subject of separate treat-
         gency medical workers, and veterinarians.                             ment for pain.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 36 of 232 PageID: 8174




                                                                US 8,546,450 B1
                                       15                                                                        16
            As used herein, a "therapeutically effective amount" or                   c. the results from a 12-week, double-blind, double-
        "effective amount" in reference to the compounds or compo-                       dummy, randomized controlled trial of topical
        sitions of the instant invention refers to an amount sufficient                  diclofenac in a vehicle solution containing dimethyl
        to induce a desired biological, pharmaceutical, or therapeutic                   sulfoxide in 775 subjects with radiologically con-
        result. That result can be alleviation of the signs, symptoms, 5                 firmed, symptomatic primary osteoarthritis of the
        or causes of a disease or disorder or condition, or any other
        desired alteration of a biological system. In the present inven-               d. the effect of treating osteoarthritis of the knee in one or
        tion, the result will involve preventing pain.                                    more clinical trials, including the effect of treating
            The term "topical", as used herein, means the epicutaneeus
                                                                                          one knee when both knees are affected with osteoar-
        application of an agent to the skin.                                lO            thritis; and
            Topical diclofenac solutions include any of the diclofenac
                                                                                        e. results of a human volunteer study on trans-epidermal
        solutions described or claimed herein (or described or
                                                                                           water loss in which no alteration in skin barrier func-
        claimed in U.S. Pat. Nos. 4,575,515 or 4,652,557), which are
        useful for the transdermal administration of diclofer~ac to a                      tion was observed;
        subject, including, for example, a formulation containing 15                 2. An adverse event profile for topical diclofenac, includ-
         1.5% wiw/diclofenac sodium. (2-[(2,6-diehloropheny!)                           ing, for example
        amino]benzeneacefic acid, monosodium salt) and 45.5% w/w                        a. that administration of topica! diclofenac does not
        DMSO, and a formulation containing 1.5% wAv/diclofenac                             increase the incidence of systemic adverse events
        sodium (2-[(2,6-dichlorophenyl)aminolbenzeneacetic acid,                           over use of oral diclofenac alone;
        monosodium salt), 45.5% w/w DMSO ethanol, pmpylene 20                           b. that the addition of topical diclofenac to oral
        glycol, glycerine, and water.                                                      dic!ofenac does not increase the incidence of systemic
            Topical diclofenac gel formulations include any one or                          adverse events in osteoarthritis patients;
        more 0fthe diclofanac gel formulations described or claimed                     c. the results of a clinical study demonstrating that the
        herein (or described or claimed in PCT/US2007/081674 or                             addition of topical diclofenac to oral diclofenac did
        US Patent Application No. 20080300311), which are useful 25                         not increase the incidence of systemic adverse events
        for the transdermal administration of diclofenac to a subject.                      in osteoarthritis patients; and,
            The term "transdermal’, as used herein, means the delivery’                 d. the results of a clinical study showing that no eye lens
        of an agent into and!or through the skin for therapy.                               abnormalities were observed with DMSO-vehicle or
            The terms "treating" and "treatment" mean implementa-                           topical diclofenac solution treatment;
        tion of therapy with the intention of reducing the severity or 30            3. An adverse event profile for said topical diclofenac solu-
        frequency of symptoms. As used herein, the terms "treating"                     tion, including, for example,
        and "treatment" refer to both therapeutic treatment and pro-                    a. that administration of topical diclofenac results.in less
        phylacfic or preventative measures.                                                 frequent adverse events associated with the NSAID
            A "user" means a patient, a medical care worker, or a                           class titan oral diclofenac alone; and,
        pharmaceutical supplier.                                            35          b. the results of a clinical study demonstrating that the
            Disclosed herein are methods of using topical diclofenac                        addition of topical diclofenac to oral diclofenac did
         formulations, articles of manufacture incorporating topical                        not cause an elevation of liver transaminases in
        diclofenac formulations, and kits. Specifically disclosed are                       osteoarthritis patients over use of oral diclofenac
        methods of using topical dMofenac and informing users of                            alone;
        certain preclinical and/or clinical information.                    40       4. A preclinical study profile for topical diclofenac, inchid-
            In one nonlimiting embodiment, a method is provided in                      ing, for example,
        which a subject is treated for a disorder with a transdermally                  a. the effect of the use of topical diclofenac on absorption
        delivered therapeutically effective amount of topical                               of environmental toxins, including, for example, the
        diclofenac and a user is provided with some or all of the user                      results of a study showing that repeated application of
         information described herein. In another noniimiting 45                            topical diclofenac solution did not increase systemic
         embodiment, a method is provided in which a supporting                             environmental toxin exposure; and,
         body structure or the musculoskeletal system of a subject is                   b. the effects of use of other topical products in conjunc-
         treated for a disorder with topical diclofenac and a user is                       tion with topical diclofenac, including, for example,
         provided with some or all of the user information described                        that concomitant use ofdiclofenac topical solution by
         herein. In another nonlimiting embodiment, the supporting 50                       repeated application with other topical products,
         body structure is selected from joints, muscles, tendons, liga-                    including DEET (active ingredient in insect repel-
         ments, cartilage and skin, and includes treatment of pain in                       lent), 2,4-D (active ingredient in commonly used pes-
         and around joints, including shoulders, hips, knees, elbows,                       ticides) and oxybeazone (active ingredient in sun-
         hands and fingers, as well as the back; particularly the lower                     screens) did not enhance the systemic absorption of
         back. In one noniimiting embodiment the pain is acute pain. 55                     these products.
         In one nonlimiting embodiment the pain is chronic pain. In               This information, which relates to a topical diclofenac con-
         one nonlimiting embodiment the pain is treated. In another               taining 1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)
         nonlimiting embodiment the pain is prevented. In one pre-                amino]benzeneacetic acid, monosodium salt), 45.5%
         ferred nonlimiting embodiment, the pain results from                     DMSO, ethanol, prepylene glycol, glycerine, and water, is
         osteoarthrifis of the knee. Preferably, the subject is a human 60        sometimes referred to herein as the "Information.’"
         subject.                                                                    In one nonlimiting embodiment, a user is provided with the
            In one nonlimiting embodiment, inibrmation provided to                Information, or with some or all of the Information, or with
         the user consists off consists essentially of, or comprises              some orall of the topical diclofenac clinical and preclinical
            1. A clinical pronle Ibr topical diclol~nac including, lbr            inlbrnladon described herein and in tile Examples, for pur-
               example                                                       r5   poses of enhancing the safety profile of topical diclofenac
               a. the effects of particular QID dosing ofdiclofenac;              and!or enhancing its application to or by a subject in need
               b. the effects of QID dosing in one or more clinical trials;       thereof.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 37 of 232 PageID: 8175




                                                             US 8,546,450 B1
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           In one nonlimiting embodiment, information provided to               Diclofenac sodium is a benzene-acetic acid derivative that
        the user comprises information regarding the clinical effects        is a nonsteroidal anti-inflammatory drug, designated chemi-
        of dosing a topical diclofenac containing 1.5% diclofenac            cally as 2-[(2,6-dichlorophenyl)amino]benzeneacetic acid,
        sodium (2-[(2,6-dichlorophenyl)amino]benzeneacetic acid,             monosodium salt, and may be prepared by means known in
        monosoditun salt), 45.5% DMSO, ethanol, pmpylene glycol, s the art. See, for example, U.S. Pat. No. 4,575,515.
        glycerine, and water, including, [br example, (1) the effects o f       Following synthesis a topical diclofenac solution may be
        particular QID dosing of diclofenac; (2) the effects of QID          formulated by methods known in the art as 1.5% wiw
        dosing in one or more clinical trials including the results from     diclofenac sodium in DMSO (45.5% w/w). It is a clear, col-
        ~/ 12-week, double-blind’ double-dummy, randomized con-              orless to faintly pink-orange solution for topical application.
        trolled trial of topical diclofenac in a vehicle solntion con- to Each 1 mL of solution may contain 16.05 mg ofdiclofenac
                                                                             sodium. In addition, the topical diclofenac solution will pref-
        taining dimethyl sulfoxide in 775 subjects with radiologically
                                                                             erably contain the tbllowing inactive ingredients: propylene
        confirmed, symptomatic primary osteoarthritis of the knee;
                                                                             glycol, alcohol, glycerin and purified water.
        (3) the effect of treating osteoarthritis of the knee in one or
                                                                                In this disclosure, examples relating to new preclinical and
        more clinical trials, including the effect of treating one knee
                                                                          15 clinical discoveries regarding topical diclofenac are pro-
        when both k~ees are affected with osteoarthritis; and/or (4)         vided.
        results of a human volunteer study on trans-epidermal water             While topical non-steroidal anti-inflammatory drags are
        loss in which no alteration in skin barrier function was             considered safe, their long4erm efficacy for osteoarthrifis has
        observed.                                                            been suspect. Example 1 describes the results of a 12-week,
           In another nonlimiting embodiment, information provided 2o double-blind’ double-dummy, randomized controlled trial of
        comprises information regarding the adverse event profile of         a topical diclofenac solution containing 1.5% diclofenac
        a topical diclofenac containing 1.5% diclofenac sodium (2-           sodium (2-[(2,6-dichlorophenyl)amino]benzeneacefic acid,
        [(2,6-dichlorophenyl)amino]beazeneacetic acid, monoso-               monosodium salt), 45.5% DMSO, ethanol, propylene glycol,
        dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-           glycerine, and water was conducted in 775 subjects with
        ine, and water, including, for example (1) that administration 25 radiologically confirmed, symptomatic primary osteoarthri-
        of topical diclofenac does not increase the incidence of sys-        tis of the knee. This 5-arm study compared the topical
        ten’tic adverse events over use of oral diclofenac alone; (2)        diclofeuac solution with a placebo solution, DMSO vehicle,
        that the addition of topical diclofenac to oral diclofenac does      oral diclofenac and a combination of the topical diclofenac
        not increase the incidence of systemic adverse events in             solntion+oral diclofenac for relieving the signs and syrup-
        osteoarthritis patients; (3) the results of a clinica! study dem- 30 toms of knee osteoarthritis. Subjects applied study solution,
        onstrating that the addition of topical diclofenac to oral           40 drops QID (four times daily), and took one study tablet
        dictofenac did not increase the incidence of systemic adverse        daily for 12 weeks. Co-primary efficacy variables were West-
        events in osteoarthrifis patients; and/or (4) the results of a       em Ontario McMaster Universities Osteoarthritis Index
        clinical study showing that no eye lens abnormalities were           ("WOMAC") pain and physical function scores and a patient
        observed with DMSO-vehicle or topical diclofenac solution 35 overall health assessment. Secondary variables were
        treatment.                                                           WOMAC stiffness and patient global assessment ("PGA") of
           In yet another noalimifing embodiment, information pro-           the knee osteoarthritis. The topical diclofenac solution was
        vided comprises information regarding preclinical study              superior to placebo for pain (-6.0 vs.-4.7, P=0.015), physical
        results with a topical diclofenac containing 1.5% diclofenac         function (-15.8 vs.-12.3, P=0.034), overall health (-0.95
        sodium (2-[(2,6-dichlorophenyl)~,axfino]bonzeneacetic acid, 40 vs.-0.37, P<0.0001), and PGA (-I.36 vs.-1.01, P=0.016),
        monosodium salt), 45.5% DMSO, ethanol, propylene glycol,             and was superior to DMSO vehicle for all efficacy variables.
        glycerine, and water, including, for example, (1) the effect of      The most common adverse event was dry skin (18.2%). Sur-
        the use of the topical diclofanac on absorption of environ-          prisingly, no significant difference was observed between
        mental toxins, including, for example, the results of a study        DMSO vehicle and placebo or between the topical diclofenac
        showing that repeated application of the topical diclofenac 45 solution and oral diclofenac, yet fewer digestive system and
        did not increase systemic environmenta! toxin exposure; and,         laboratory abnormalities were observed with topical
        (2) the effects of use of other topical products in conjunction      diclofenac than oral diclofenac. Further, addition of the topi-
        with the topical diclofenac, including, for example, that con-       ca! diclofenac solution to oral diclofenac did not increase the
        comitant use of diclofenac topical solution by repeated appli-       incidence of systemic adverse events. Additionally, adminis-
        cation with other topical products, including DEET (active so tration of topical diclofenac resulted in less frequent adverse
        ingredient in insect repellent), 2,4-D (active ingredient in         events associated with the NSAID class than oral diclofenac
        commonly used pesticides) and oxybenzone (active ingredi-            alone, andthe addition of topical diclofenac to oral diclofenac
        ent in sunscreens) did not enhance the systemic absorption of        did not cause an elevation of liver transaminases in osteoar-
        these products.                                                      thrifts patients over use of oral diclofenac alone. Users may be
           In still another nonlimiting embodiment, information pro- 55 apprised of the above information according to the invention.
        vided comprises information regarding the clinical effects of        A further unexpected discovery of the study, the results for
        topical diclofenac dosing, information regarding the adverse         which are provided as Example 1, is that in the study the
        event profile of topical diclofenac, and!or information regard-      topical dMofenac solution was applied to only one knee.
        ing preclinical study results with topical diclofenac, as            Most patients suffer from osteoarthrifis equally in both knees,
        described herein, wherein the topical diclofenac contains 6o yet single knee application yielded a clinical benefit in both
         1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)amino]               knees. Users or prescribers may be further apprised of this
        benzeneacetic acid, monosodium salt), 45.5% DMSO, etha-              additional information according to the invention.
         nol, propylene glycol,, glycerine, and water.                          Topical diclofenac in a DMSO vehicle is an effective treat-
           In one notflimiting embodiment, the diclol)nac is in the          ment optiou 1br osteoarthritis of the knee with ellicacy similar
        form of a topical diclofenac solution formulation. In another 65 to, but tolerability better than, oral diclofenac. DMSO vehicle
        nonlimiting embodiment, the diclofenac is in the form of a           was no more efficacious than placebo. According to the inven-
        topical diclofenac gel formulation.                                  tion, users may be apprised of this information with regard to




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 38 of 232 PageID: 8176




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        use of topical diclofenac, particularly with regard to the use of    systemic exposure to diclofenac caused by use of the topical
        a topical diclofenac solution comprising 1.5% w/w                    diclofenac to treat osteoarthritis of the knee (40 drops per
        diclofenac sodium and 45.5% w/w DMSO, which also                     knee QID) is much lower tl~n that caused by a typical oral
        optionally contains pmpylene glycol, alcohol, glycerin and           dose of diclofenac used in treatment ofosteoarthritis (e.g., 50
        purified water as inactive ingredients.                           5 mg three times per day or "TID"). The fact that the topical
            Examples 2 and 3 describe the results of environmental           diclot~nac can be shown to be comparable to oral diclofenac
        toxin studies. Surprisingly in light of the efficacy o fDMSO in      sodium for treatment ofosteoarthritis (see Example 1) is very
        thcilitating the skin penetration of diclofenac, these studies       surprising in view of these facts, especially as it is widely
        show that concomitant, repeated use of a topical diclofenac          believed that NSAIDs, such as diclofenac, exert their analge-
        solution containing 1.5% diclofenac sodium (2-[(2,6-dichlo- 10 sic effects both locally and centrally. From the data in
        rophenyl)amino]benzeneacetic acid, monosodium salt),                 Example 8 it also can be computedthat C~,~.~ of orally admin-
        45.5% DMSO, ethanol, propylene glycol, glycerine, and                istered diclofenac is more than one hundred fold higher than
        water, with other topical products, including DEET (active           C~ for the topical diclofenac.
        ingredient in insect repellent), 2,4-D (active ingredient in            In one nonlimiting embodiment, the user is provided with
        commonly used pesticides) and oxybenzone (active ingredi- 15 information in the fom~ of(or substantially in the form of) the
        ent in sunscreens), did not enhance the systemic absorption of       Attachment. In another noulimiting embodiment, the infor-
        these products. According to the invention, users may be             mation in the Attachment is provided in a form that has been
        apprised of this information with regard to use of topical           modified where appropriate to refer to the subject product as
        diclofenac, particularly with regard to the use of a topical         a topical diclofenac gel or other formulation rather than a
        diclofenac solution containing 1.5°/6 diclofenac sodium (2- 20 topical solution. In another noniimiting embodiment, the user
        [(2,6-dich!orophenyl)amino]benzeneacetic acid, monoso-               is provided with information comprising or consisting essen-
        dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-           tially of in the Attachment. in another noulimiting embodi-
        ine, and water.                                                      ment, the user is provided with information consisting essen-
            Example 4 describes the results ofa transepidermal water         tially of the Attachment.
        loss ("TEWL’) study performed on human voltmteers’ skin. 25             Many embodiments are suitable for treatment of subjects
        TEWL is a parameter useful for measuring changes to stra-            either as a preventive measure (e.g., to avoid pain) or as a
        tum corneum barrier fimcfion. Unexpectedly given the role of         therapeutic composition to treat subjects who are suffering
        DMSO in permeabilizing the skin for diclofenac uptake, the           from acute or chronic pain. In one noulimiting embodiment,
        results show no alteration in skin barrier fimction following        for example, a method of treatment or prevention of pain,
        chronic use of topical diclofenac. According to the invention, 30 including pain associated with an arthritic condition, and
        users may be apprised of this information with regard to use         related kits and articles of manufacture, comprises using a
        of topical diclofenac, particularlywith regard to the use of a       topical dic!ofenac solution or topical gel formulation
        topical diclofenac solution comprising 1.5% w/w diclofenac           described herein together with some or all of the clinical
        sodium and 45.5% w/w DMSO, which also optionally con-                and/or preclinical information described herein. Arthritic
        taius propylene glycol, alcohol, glycerin and purified water as 35 conditions include the various forms of arthritis, including
         inactive ingredients. Users may also be informed that, before       rheumatoid arthritis, osteoarthritis, and ankylosing spondyli-
        applying sunscreen, insect repellant, lotion, moisturizer, cos-      tis.
        metics, or other topical medication to the same skin surface,            Disclosed herein are topical diclofenac formulations, kits,
        for example, a knee, that has been treated with topical              and methods of using topical diclofenac and topical
        diclofenac, the user should wait until the treated area is dry, 40 diclofenac formulations. Specifically disclosed are methods
        which occurs most often within 10 minutes.                           of using topical diclofenac and informing the user of certain
            Example 5 describes the results of a study to evaluate the        information as provided herein. With the knowledge of the
         ophthalmologic effects of topically applied DMSO in a               particular information, the administration of topical
         52-week non-occluded dermal toxicity study in Grttingen              diclofenac to the patient can be optimized to provide safer and
        minipigs. It provides information about the ocular safety pro- 45 more effective use of topical diclofenac, alone or together
         file of dermally applied formulations containing purified           with oral diclofenac. As used herein, topical diclofenac for-
         DMSO. Results showed that there was no increased risk for            mulations include topical diclofenac solutions and topical
         development of lens opacities or changes in refractive indices       diclofenac gel formulations, including a topical diclofenac
         associated with DMSO. In fact no test article-related ophthal-       preparation containing 1.5% diclofenac sodium (2-[(2,6-
         moscopic abnormalities were detected during the stud),.          5o dichlorophenyl)amino]benzeneacetic acid, monosodium
             Example 6 describes the results of a study to evaluate the       salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,
         toxicity of test articles containing 9, 45.5, and 90% wiw            and water.
         DMSO after dermal administration for 26 weeks, three times              Topical diclofenac therapy can be considered optimal
         per day, and to evaluate reversibility of any observed changes       when combined with the new clinical, preclinical, adverse
         following a 12-week postdose observation period in male and 55 event information provided and described herein. Disclosed
         female Sprague-Dawley rats. No test article-related ophthal-         herein are methods of using topical diclofenac for transder-
         mological abnormalities were detected in any animal during           real administration, which may provide an increase in the
         the pretest, terminal, and recovery ophthalmoscopic exami-           safety or efficacy of topical diclotEnac lreatment. Extensive
         nations.                                                             research has been performed on administering topical
             Examples 7 and 8 describe studies to evaluate the pharma- 60 diclofenac that now reveal several developments relating to
         cokinetics ofdiclofenac sodium, dimethyl sulfoxide (DMSO)            improvements in safe and effective treatment using topical
         and dimethyl sulfone (the major metabolite of DMSO) after a          diclofenac. In certain preferred embodiments, the topical
         single- and multiple-dose applications of a topical diclofenac       dic!ofenac for transdermal.administration.is inthe form of a
         preparation containing 1.5% diclofenac soditma (2-[(2,6-             solution or a gel.
         dichlorophenyl)amino]benzeneacetic acid, monosodium 65                   In one noniimiting embodiment, such noulimifing infor-
         salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,             mation provided to a user includes the information described
         and water. These data provide compelling evidence that the           in Example 1, or a summary thereof.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 39 of 232 PageID: 8177




                                                             US 8,546,450 B1
                                     21                                                                   22
           In another nonlimiting embodiment, such nonlimiting               lished Dec. 4, 2008), the contents of which are Incorporated
        information provided to a user includes the inlbrmation              herein in their entirety by this reference. The topical
        described in Examples 2 and/or 3, or a summary thereof.              diclofenac may be any of the gel formulations described or
            In another nonlimiting embodiment, such nonlimiting              claimed therein.
        information provided to a user includes the information 5                In another nonlimiting embodiment, the topical diclofenac
        described in Example 4, or a summary thereof.                        is a gel formulation comprising diclofenac sodium, dimethyl
            In another nonlimiting embodiment, such nonlimiting              sulfoxide, ethanol, propylene glycol, one or more thickening
        information provided to a user includes the information              agents, and water. In one aspect of this embodiment, the
        described in Example 5, or a summary thereof.                        topical diclofenac gel formulation further comprises glyc-
            In another nonlimiting embodiment, such noniimiting 10 emL In another aspect, the thickening agent is selected from
        information provided to a user includes the information              the group consisting of.cellulose polymers, carbomer poly-
        described in Example 6, or a summary thereof.                        mers, a carbomer derivative, a cellulose derivative, polyvinyl
            In another nonlimiting embodiment, such nonlimiting              alcohol, poloxamers, polysaccharides, and mixtures thereof.
        information provided to a user includes the information                  In another nonlimiting embodiment, the topical diclofenac
        described in Examples 7 and/or 8, or a summary thereof.           15 is a gel formulation comprising or consisting essentially of
            In .another nonlimiting embodiment, such nonlimiting              1-5% w/w diclofenac sodium; 30-60% w/w dimethyl sulfox-
        information provided to a user includes the information              ide; 1-50% way etbanol; 1-15% w/w propylene glycol; a
        described in two or more or all of Examples 1-6. In another          thickener; and water (added to make 100% w/w). In a pre-
        noulimiting embodiment, such nonlimiting information pro-            ferred aspect of this embodiment, the gel formulation has a
        vided to a user includes the information described in two or 2o viscosity of 10-50,000 ceutipoise.
        more or all of Examples 1-8.                                             In another nonlinfiting embodiment, the topical diclo fenac
            In yet another nonlimiting embodiment, such nonlimiting          is a gel formulation comprising or consisting essemia!ly of
        information provided to a user is the information in the             about 2% w/w diclofenac sodimn; about 45.5% wiw dimethyl
        Attachment.                                                          sulfoxide; about 23-29% w/w ethanol; about 11% w/w pro-
            In one embodiment, such nonlimiting information pro- 25 pylene glycol; about 0-6% w/w hydroxypropylcellulose
        vided to a user is or comprises the information in one or more       (HY119); and water (added to make 100% w/w). In a pre-
        or all of Sections 5.9 ("Ophthamologic Effects"), 6 ("Adverse         ferred aspect of this embodiment, the gel formulation has a
        Reactions"), 7.8 ("Oral Nonstemidal Anti-inflammatory                viscosity of 500-5,000 centipoise.
        Drugs"), 7.9 ("Topical Treatments"), 12.3 ("Pharmacokinet-               In another nonlimiting embodiment, the topica! dicIo fenac
        ics) and 14 (’’Clinical Studies") of the Attachment.              3o is a gel formulation coraprising or consisting essentially of
            Topical diclofenac can be formulated for administration           diclofenac sodium at a concentration selected from the group
        where the formulation generally contains DMSO and one or              consisting of 1, 1.5, 2 and 3% w/w; dimethyl snlfoxide at a
        more pharmaceutically acceptable excipients. As used herein,          concentration selected from the group consisting of 42, 43,
        "pharmaceutically acceptable excipient" means any other               44, 45, 45.5 46, 47, 48 and 49% w/w and fractions In between;
         component added to the pharmaceutical formulation other 35 ethanol at 23-29% w/w; pmpylene glycol at a concentration
         than the diclofenac and the DMSO. Excipients may be added            selected from the group consisting of 9, 10, 11, 12, 13% w/w
        to facilitate manufacture, enhance stability, control release,        and fractions in between; hydroxypropylcellulose (HY119)
         enhance product characteristics, enhance bioavailability,            at 0-6% w/w; and water (included in an amount sufficient to
         enhance patient acceptability, etc. Pharmaceutical excipients        make 100% w/w). In a preferred aspect of this embodiment,
         include, for example, carriers, fillers, binders, disintegrants, 40 the gel formulation has a viscosity of about 500-5000 eenti-
         lubricants, glidants, colors, preservatives, suspending agents,      poise.
         dispersing agents, film formers, buffer agents, pH adjusters,            In certain embodiments, the above-described topical
         preservatives etc.                                                   diclofenac gel formulations include 1-5% glycerol. In such
             In certain embodiments, the diclofenac is in the form of a       embodiments, the gel formulation will have a drying rate and
         pharmaceutically acceptable salt or free acid. Examples of 45 a transdermal flux that are greater than a comparative liquid
         pharmaceutically acceptable salts include metal salts, inclnd-       topical diclofenac formulation. In other embodiments, the
         ing alkali metal, alkaline earth metal, and nitrogen-based           above-described topical diclofenac gel formulations will
         salts, such as ammonium salts. Sodium, potassium, epola-             have a pH of about 6.0 to about 10.0.
         mine and diethylamine salts are preferred. In one preferred              In another nonlimiting embodiment, the topical diclofenac
         embodiment the diclofenac is diclofenac monosodium salt. 50 is a gel formulation comprising diclofenac sodium, ethanol,
             In one nonlimiting embodiment, the topical diclo fenac is a      DMSO, pmpylene glycol, hydroxypmpylcellulose and water.
         solution.                                                            In one aspect of this embodiment, the hydroxypropylcellu-
             In another nonlimiting embodiment, the topical diclofenac        lose is substituted with alklycellulose, hydroxyalkylcellu-
         is a gel.                                                            lose, carboxyalkylcelhilose, or sodium carboxyalklycellu-
             In one embodiment, the topical diclofenac is 1.5% w/w 55 lose, where alkyl is methyl, ethyl or propyl, or a mixture
         diclofenac sodium in a vehicle solution containing DMSO              thereof. In a fuxther aspect of this embodiment, the said alk-
         45.5 % w/w and other excipients. In one aspect o fthis embodi-       lycellulose, hydroxyalkylcellulose, carboxyalkylcelhilose, or
         ment, the other excipients comprise propylene glycol, alco-           sodium carboxyalklycellulose is replaced in whole or in part
         hol, glycerin and purified water.                                    by an acrylic polymer (for example, Carbopol polymers,
             In one nonlimiting embodiment, the topical diclofenac is a 60 Noveon polycarbophils and Pemulen polymeric emulsifiers
         gel formulation according to PCTKIS2007/081674 (Interna-             available commercially from Noveon Inc. of Cleveland,
         tional Publication No. WO 2008/049020 A2), the contents of            Ohio), an acrylic polymer derivative, a cellulose polymer
         which are incorporated herein in .their entirety by this refer-       deri~ative, polyvinyt.alcobol ("P’v:~V’), p01yvinylpyrr01idone   .
         euce. The topical diclofenac may be any of the gel lbrmula-           ("PVP"), a poloxamer, a polysaccharide, or a mixture tt~ereof.
         tions described or claimed therein. In another nonlimiting 65            In another aspect, gel formulations usefid in the invention
         embodiment, the topical diclofenac is a gel formulation               are NSAID gel formulations, such as a topical diclofemac gel
         according to US Patent Application No. 20080300311 (pub-              formulation, and components of the formulations are as fel-




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 40 of 232 PageID: 8178




                                                            US 8,546,450 B1
                                     23                                                                 24
        lows: The gel formulations comprise an active agent, prefer-     ethylenediaminetet mmethy lenephosphonic                    acid
        ably a non-steroidal anti-inflanmaatory drug or pharmaceuti-     ("EDTMP"), sodium citrate, sodium EDTMP, and mixtures
        cally acceptable salts thereof. More preferably, the non-        thereof. In addition, the topical gel formulations can also
        steroidal anti-inflammatory is diclofenac in the form of a       comprise a pH adjusting agent. In one particular embodiment,
        pharmaceutically acceptable salt or free acid. Examples of s the pH adjusting agent is a base. Suitable pH adjusting bases
        pharmaceutically acceptable salts include metal salts, includ-   include bicarbonates, carbonates, and hydroxides such as
        ing alkali metal, alkaline earth metal, and nitrogen-based       alkali or alkaline earth metal hydroxide as well as transition
        salts, such as ammonium salts. Sodium, potassium, epola-         metal hydroxides. Alternatively, the pH adjusting agent can
        mine and diethylamine salts are preferred. In one preferred      also be an acid, an acid salt, or mixtures thereof. Further, the
        embodiment the diclofenac is diclofenac monosodium salt.         pH adjusting agent can also be a buffer. Suitable buffers
            In a preferred embodiment, the sodium salt ofdiclofenac is   include citrate/citric acid buffers, acetate/acetic acid buffers,
        used. Diclofenac may be present in a range ofappreximately       phosphate/phosphoric acid buffers, formate/formic acid buff-
        0.1% to 10%, such as 1, 2, 3, 4, or 5% w!w. In another           ers, propionate!propionic acid buffers, lactate/lactic acid
        embodiment, the present invention includes a penetration         buffers, carbonate/carbonic acid buffers, ammonium/ammo-
        enhancer. The penetration enhancer may be dimethyl sulfox- I5 nia buffers, and the like. The pH adjusting agent is present in
        ide ("DMSO") or derivatives thereof. The DMSO may be             an amount sufficient to adjust the pH of the composition to
        present in an amount by weight of 1% to 70%, and more            between about pH 4.0 to about 10.0, more preferably about
        preferably, between 25% and 60%, such as 25, 30, 40, 45, 50,     pH 7.0 to about 9.5. In certain embodiments, the unadjusted
        55, or 60% w/w. Preferably, DMSO is used in the present          pH of the admixed components is between 8 and 10, such as
        invention at a concentration of about 40 to about 50% w/w, 2o 9, without the need for the addition of any pH adjusting
        such as 41, 42, 43, 44, 45, 46, 47, 48, 49 and 50% and all       agents.
        fractions in between such as 44, 44.5,45,45.5,46, 46.5%, and         "[’he present invention includes a method for applying mul-
        the like. In certain embodiments, the gel formulation includes   tiple topical agents to a subject with pain comprising topically
        a lower alkanol, such as methanol, ethanol, propanol, butanol    administering a pharmaceutical composition comprising a
        or mixtures thereof. In certain embodiments, the alkanol is 25 therapeutically effective mnount of a topical diclofenac in
        present at about 1 to about 50% w/w. Preferably, ethanol is      DMSO, waiting lbr the treated area to dry (the time of which
        used at about 1-50% w/w, such as 1, 5, 10, 15, 20, 25, 30, 35,   can be dependent on individual skin characteristics, environ-
        40, 45, or 50% w/w, and all fractions in between. In certain     mental conditions such as temperature and humidity, and
        embodiments, the gel formulation includes a polyhydric alco-     surface area, ot~en about 5-30 minutes, about 5-20 minutes,
        hol, such as a glycol. Suitable glycols include ethylene glycol,  for example, and typically about 10 minutes or less for a
        pmpylene glycol, butylene glycol, dipropylene glycol, hex-       topical diclofanac preparation, including a topical diclofenac
        anetriol and a combination thereof. Preferably, propylene        solution as described in the Examples), and applying another
        glycol is used at about at 1-15% w/w, such as 1, 2, 3, 4, 5, 6,  topical agents. In one nonlimiting embodiment, the subject
        7, 8, 9, 10, 11, 12, 13, 14, or !5% w/w, and all fractions in    has osteoarthritis. In another nonlimiting embodiment, the
        between. In certain embodiments, the gel formulation              subject has osteoarthritis of the knee. In one embodiment, the
        includes glycerol (also referred to as glycerine) at a concen-   topical agent administered after the topical diclofenac is a
        tration of 0-12% w/w. Preferably, glycerol is used at 0-4%        stmscreen or an insect repellant. In another nonlimiting
        w/w, such as 0, 1, 2, 3, or 4% w/w, and all fractions in         embodiment, the invention includes a method of protecting a
        between. In some embodiments, no glycerol is used in the          subject with osteoarthritis from UV exposure and alleviating
         formulation. In a preferred embodiment, the gel formulation 40 the signs and symptoms of osteoarthritis in the subject com-
        provides comprises a diclofenac solution aM at least one         prising the steps of applying a therapeutically effective
        thickening agent to make a gel. The at least one thickening      amount of a topical dMofenac in DMSO; waiting for the
        agent of the present invention may be an acrylic polymer (for     treated area to dry (the time of which can be dependent on
        example, Carbopol polymers, Noveon polycarbophils and             individual skin characteristics, environmental conditions
        Pemulan polymeric emulsifiers available commercially from 45 such as temperature and humidity, and surface area, often
        Noveon Inc. of Cleveland, Ohio), an acrylic polymer deriva-       about 5-30 minutes, about 5-20 minutes, for example, and
        tive, a cellulose polymer, a cellulose polymer derivative,        typically about 10 minutes or less for a topical diclofenac
        polyvinyl alcohol, poloxamers, polysaccharides or mixtures        preparation, including a topical diclofenac solution as
        thereof. Preferably the at least one thickening agent is          described in the Examples), applying sunscreen to the same
        hydroxypropylcellulose (HPC) used such that the end viscos-       area of treatment.
         ity is between 10 and 50000 centipoise (cps). More preferably       Also included herein are pharmaceutical products (kits)
        the end viscosity is between 500 and 20000 cps. The gel           useful, for example, for the treatment or prevention ofpaha,
         formulation may optionally include at least one antioxidant      including pain caused by arthritis, such as osteearthritis, for
        and/or one chelating agent. Preferred antioxidants may be         example, which comprise one or more containers containing
         selected from the group consisting ofbutylated hydroxytofu- 55 a topical dic!ofenac formulation and information or published
         ene (BHT), butylated hydroxyanisole (BHA), ascorbyl              material, e.g., as product inserts or product labels. The infor-
         linoleate, ascorbyl dipalmitate, ascorbyl tocopherol maleate,    mation can indicate quantities of the components to be
         calcium ascorbate, carotenoids, kojic acid, thioglycolic acid,   administered, guidelines for administration, safety issues,
         tocopherol, tocopherol acetate, tocophereth-5, tocophereth-      and the like, all as disclosed and provided herein.
         12, tocophereth-18, tocophereth-80, and mixtures thereof. 60        The kits may further comprise one or more conventional
         Preferred chelating agents may be selected from the group        pharmaceutica! kit components, such as, for example, one or
         consisting ofethylenediamine tetraacetic acid (EDTA), diam-      more containers to aid in facilitating compliance with a par-
         moninm EDTA, dipotassium EDTA, calcium disodium                  ticular dosage regimen, etc. Exemplary kits can be in the forn~
         EDTA, HEDTA, fEA-ED°IA, tetrusodium ED’fA, tripotas-             of a package. Suitable packages and packaging are "known in
         slum EDTA, trisodium phosphate, diammonium citrate, 65 the art or easily ascertained by one of ordinary skill in the art.
         galactaric acid, galacturonic acid, gluconic acid, ghicuronic       In one nonlimiting embodiment, the topical diclofenac for-
         acid, humic acid, cyclodextrin, potassium citrate, potassium     mulation is packaged with information informing the user




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 41 of 232 PageID: 8179




                                                              US 8,546,450 B1
                                      25                                                                   26
        that the topical diclo fenac solution will not cause an uptake of    the United States following approval by the appropriate insti-
        one or more environmental toxins. In another nonlimiting             tutional review boards. Eligible subjects, after written
        embodiment, the topical diclofe~ac formulation is packaged           informed consent, included men and non-pregnant women
        with information that includes reference to a lack of antici-        aged 40-85 with primary OA of the knee based on (i) standard
        pated or expected adverse events or adverse reactionsin 5 mdiological criteria for OA (Altman, R D, et al., Atlas of
        patients from exposure to one or more enviroanlental toxins          nidMdual radiographic features in osteoarthritis. Osteoar-
        fol!owing the acute and/or chronic use of a topical diclofenac       thritis Cartilage 1995; 3 (Suppl A):3-70) on a recent (within
        solution, for example a topical diclofenac preparation con-          3 months) examination, (ii) pain, with regular use of an
        taining 1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)              NSAID or other analgesic medication (at least 3 days a week
                                                                          10 for the previous month) and (iii) a flare of pain and minimum
        amino]benzeneacetic acid, monosodinm salt), 45.5%
                                                                             Likert pain score of 8 (40 on a scale normalized to 0-100; see
        DMSO, ethanol, propylene glycol, glycerine, and water.
                                                                             below, Efficacy Measures) at baseline, fo!lowing washout of
            In one nonlimiting embodiment, a method of manufactur-
                                                                             that medication. A flare was defined as an increase in total
        hag a topical diclofenac pharmaceutical product comprises            Likert pain score of 25% and at least 2, and a scorn of at least
        packaging a topical diclofenac dosage form with the Infor- 15 moderate on one or more of the five items/questions of the
        mation. Additional information can include the information           WOMAC LK3.1 pain subscale (Bellamy, N, et al., Validation
        disclosed, summarized or otherwise provided herein, includ-          study of WOMAC: a health status instrument for measuring
        hag the information provided in any of Examples 1-4.                 clinically important patient relevant outcomes to antirheu-
            In another nonlimiting embodiment, an article of manufac-        mafic drug therapy in patients with osteoarthritis of the hip or
        ture comprises a container containing a dosage form of topi- 2o knee. J. Rheumatol. 1988 December; 15(12):1833-40). All
        cal diclofenac, wherein the container is associated with pub-        knee films were reviewed by a single radiologist and each
        lished material informing the user of some of all of the             compartment was scored (none=l, mild=2, moderate=3,
        Information. Additional information can include the informa-         severe=4). Only one knee was treated; where both knees met
        tion disclosed, summarized or otherwise provided herein,             all entry criteria, the more painful knee (or dominant knee if
         including the information provided in any of Examples 1-4. 25 they scored the same) was selected. Standard exclusion cri-
            In one nonlimithag embodiment of the methods and articles        teria were employed, as described in Roth S H, Shainhouse J
        of manufacture provided herein, a topical diclofenac dosage          Z. Efficacy and safety of a topical diclofenac solution
         form can comprise about 40 drops per knee, QID. In one               (Pennsaid®) in the treatment of primary osteoarthritis of the
         aspect ofthis embodiment, a diclofenac oral dosage form may         knee: a randomized, double-blind, vehicle-controlled clinical
         also be provided or recommended or included within the 30 trial. Arch Intern Med. 2004; !64:2017-23.
         methods and articles of manufacture provided herein. In                 Study Design: Eligible subjects were stratified by the
         another nonlimithag embodiment of the methods and articles          .investigator at baseline into stratum 1 (no pain and normal
         of manufacture provided herein, a topical diclofenac dosage          radiological examination in the non-study ka~ee) or stratum 2
         tbrm can comprise application of a topical diclofenac gel            (pain and/or abnormal radiological examination ha the non-
         formulation twice daily.                                         3s study knee), and then randomized into the trial by receiving
            The following examples further illustrate the invention but,      the next numbered study kit at that clinic for that stratum.
         of course, are not to be construed as ha any way limiting its        Each study kit contained topical solution and oral tablets for
         scope.                                                               one of the five treatment regimens: (i) Topical Diclofenac
                                                                              Solution [Pennsaid® Topical Solution, Nuvo Research Inc.,
                                                                          4o Mississanga, Canada] plus oral placebo tablets, (ii) ’DMSO
                                                                              vehicle’; vehicle solution plus oral placebo tablets (vehicle
                                   EXAMPLES                                   solution was the complete carrier, including 45.5% DMSO
                                                                              and other excipients, with no diclofenac), (iii) ’placebo’;
                                    Example 1                                 placebo solution plus oral placebo tablets (placebo solution
                                                                          45 was a modified vehicle solution with only 2.3% DMSO, for
                   12-Week, Double-Blind, Double-Dummy,                       blinding purposes, and no diclofenac), (iv) ’oral diclofenac’;
              Randomized Controlled Trial of Topical Diclofenac               placebo solution plus oral diclofenac tablets (100 mg slow
                                      8olution                                release), or (v) ’topical diclofenac+oral diclofenac’; Topical
                                                                              Diclofenac Solution plus oral diclofenac tablets. Subjects
            This Example describes novel clinical information that 50 applied 40 drops of solution (approximately 1.2 mL) around
         may, for example, be provided to a user according to the             the entire circumference of the study knee, without massage,
         present invention, comprising safety and efficacy results from       4 times daily, and took one study tablet daily for up to 12
         a 12-week, double-blind, double-dummy, randomized con-               weeks.
         trolled trial of a topical diclofenac preparation containing            Concomitant analgesic and anti-inflammatory medica-
          1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)amino] 55 tions, including over the counter NSAIDs and other analge-
         benzeneacetic acid, monosodiam salt), 45.5% DMSO, etha-              sics, were prohibited. Continuation of stable treatment with
         nol, propylene glycol, glycerine, and water ("Topical                glucosamine, chondroitha, anti-depressants or a proton pump
         Diclofenac Solution") ha 775 subjects with radiologically            inhibitor (previous 90 days), or low-dose (-~325 mg!day) ace-
         confirmed, symptomatic primary’ osteoarthritis of the knee.          tylsalicylic acid (previous 30 days) was permitted. Acetami-
         The study included a placebo arm to establish eff~cacy, a 60 nophen was provided, and permitted (up to four 325-mg
         DMSO vehicle arm to address possible DMSO efficacy, an               caplets per day) except during the 3 days before each efficacy
         oral diclofenac arm for comparison with the topical                  assessment. Other topical products on the knee, including
         diclo fenac solution, and a combination of Topical Diclofenac         skin emollients, were prohibited. A patient with a gastrointes-
          Solution plus oral diclo~&nac to assess combined treatment.         tinal adverse event was allowed to start a proton pump iuhibi-
             Study Subjects: This randomized, double-blind, double- 65 tor. Compliance with the treatment regimen was assessed by
         dummy, placebo-, vehicle- and active-controlled study was            weighing the solution bottles and counting study tablets at
         conducted at 40 outpatient centers in Canada and 21 centers in        each clinic visit.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 42 of 232 PageID: 8180




                                                             US 8,546,450 B1
                                     27                                                                  28
           All study solutions appeared as identical clear, colorless       rection for analysis of multiple primary variables (regulatory
        liquids. It was expected that some subjects applying Topical        design required superiority for each primary variable). The
        Diclofenac Solution or DMSO vehicle would report a garlic           sample size required to show the superiority of topical
        taste or odor from exhaling dimethyl sul fide, a volatile DMSO      diclofenac over placebo was 142 subjects per arm, based on
        metabolite; therefore, a token amount of DMSO (2.3%) was 5 an estimate from previous trials of the difference (standard
        included in the placebo solution. Previous trials with topical      deviation) between groups lbr the change in score of 1.5 (4.5)
        diclofenac confirmed the success of this blinding procedure         for pain, 5.0 (15) for physical function and 0.4 (1.2) for PGA,
        as the incidence of ’taste perversion" adverse events was no        power of 80% and Type I error rate ofet=0.05~.~i~e,~ (Baer P A,
                                                                            et al., Treatment of osteoarthritis of the knee with a topical
        different with placebo solution from topical diclofenac. Oral
        diclofenac and placebo tablets appeared identical (Novop-. ~0 dic!ofenac solution: a randomised controlled, 6-week trial
                                                                            [ISRCTN53366886]. BMC Musculoskelet Disord. 2005;
        harm® Inc.). Each study kit was assembled according to a
                                                                            6:44; Bookman A A, et al., Effect of a topical diclofenac
        computer-generated randomization schedule created by an
                                                                            solution for relieving symptoms of primary osteoartlwitis of
        external statistician for each stratum using a block size of 5.
                                                                            the knee: a randomized controlled trial. CMAJ. 2004; 171:
        The randomization sequence was concealed from investiga-
                                                                            333-8; Roth S H, Shainhouse J Z. Efficacy and safety of a
        tors, subjects and the sponsor’s clinical research personnel 15
                                                                            Topical Diclofenac Sohition (Pennsaid®) in the treatment of
        until after data lock.
                                                                            primary osteoarthritis of the knee: a randomized, double-
            Efficacy Measures: Each subject completed a full efficacy
                                                                            blind, vehicle-controlled clinical trial. Arch Inter~ M~d.
        assessment questionnaire after randomization at baseline and        2004; 164:2017-23).
        at 4, 8 and 12 weeks, or at drop out. The co-primary efficacy 20        A post hoe sensitivity analysis of the primary efficacy data
        variables (Bookman A A, et al., Effect era topical diclofenac       was performed by imputing no improvement (i.e., baseline
        solution for relieving symptoms of primary osteoarthritis of        score carried forward and imputed as final score ("BOCF") to
        the knee: a randomized controlled trial. CMA,L. 2004; 171:          non-completers by reason of art adverse event or lack of effect
        333-8) were defined a priori as WOMAC pain and physical             and for subjects excluded from mITT.
        function, measured by the 5-point Likert scale (Biswal S, et 25         Secondary comparisons included topical diclofenac vs.
        al., Lnngterm efficacy oftopicaI nonstemidal anti-inflamma-         placebo for the secondary variables, and topical diclofenae
                                                                            vs. DMSO vehicle and DMSO vehicle vs. placebo for all
        tory drugs in knee osteoarthritis: metaanalysis of randomized
                                                                            variables. A post hoc efficacy analysis compared topical
        placebo controlled clinical trials. ,L. RheumatoL 2006;
                                                                            diclofenac vs. oral diclofenac and topical diclofenac+oral
        3 3 :1841-4 ), and patient overall health assessment ("POHA"). 30
                                                                            diclofenac vs. oral dic!ofenac. For a missing final score, last
        The POHA asked the question, "Considering all the ways              observation was carried forward ("LOCF"). Safety analyses
        your osteoarthritic (study) knee and its treatment affect you,      were performed On all subjects who received even one dose of
        including both positive and negative effects, how would you         either study medication. There was no imputation of missing
        rate your overall state of health in the past 48 hours?" Sec-       safety data. Results were as follows.
        ondary efficacy variables were WOMAC stiffnes s and patient 35          Study Subjects: Of 1396 subjects screened, 775 were ran-
        global assessment ("PGA") of knee osteoarthritis. The PGA           domized to one of the 5 treatment arms and 527 subjects
        asked the question, "[tow has the osteoan!~tis in your study        completed treatment. Over 95% of patients had bilateral dis-
                                                                             ease (pain or abnormal radiological examination also in non-
        joint been over the last 48 hours.’?" The POHA and PGA were
                                                                             study knee) with pain in the contralateral knee in 90%. A total
        scored on a 5-point Likert scale. There was no assessment of 40
                                                                            of 88% of subjects met the modified (Hochbe~g M C, et al.,
         the non-treated knee. Safety Measures: At all visits, vital         Guidelines for the Medical Management of Osteoarthritis
         signs were measured, dermatological evaluation of the study         Part II. Osteoarthritis of the Knee. Arthritis & Rheumatism
        knee was done according to a standard numerical (0-4) scale          1995; 38(1 ): 1541-1546) American College of Rheumatology
         (Shirley H H, et al. Efficacy and safety era tropical dMofenac      (ACR) criteria (Airman R, et at., Development of criteria for
         solution (Pennsaid®) in the treatment of primary osteearthfi- 45 the classification and reporting ofosteoarthritis: classification
        tis of the knee: a randomized, double-blind, vehicle-con-            ofosteoarthxitisoftheknee.ArthritisRheum. 1986; 29:1039-
         trolled clinical trial. Arch. Intern. Meal. 2004; 164:2017-23)      1049) for osteoarthritis, pain and osteophytes, and the
         and adverse events were solicited using open-eacled ques-           remaining had pain with either joint space narrowing or sub-
                                                                             chondral sclerosis. Subjects in each treatment arm had similar
         tions. Adverse events were categorized according to Coding
                                                                         50 demographic and baseline characteristics, duration of expo-
         Symbols for Thesaurus of Adverse Reaction Terms ("COS-
                                                                             sure and compliance (>89% of expected use for topical solu-
         TART’’). Blood and urine samples were obtained for routine
                                                                             tion and oral tablets). Withdrawals for an adverse event were
         laboratory analysis at baseline, 4 and 12 weeks. OcuIar             similar among treatment groups. Withdrawals for lack of
         examination (visual acuity test, slit lamp examination and          effect were similar among topical diclofenac, placebo and
         lens assessment) was conducted at the baseline and final visit. 55 DMSO vehicle arms, but fewer with the oral diclofenac arms.
            Statistical Analysis Plan: All planned analyses were speci-         There were 772 subjects included in the mITT group.
         fied a priori. Analysis of the Likert efficacy data was by          Excluded were 3 subjects who did not take at least one dose of
         modified intent to treat ("mITF’), excluding only those sub-        both topical and oral medication, or had no data. Individual
        jects who had no baseline data or did not administer at least        subjects who omitted baseline assessment for a specific effi-
         one dose of both study solution and tablets. Statistical tests 60 cacy variable were excluded from that analysis.
         were two-sided at the 5% level of significance. All efficacy           Efficacy: The primary efficacy analyses, as shown in the
         analyses were by analysis ofcovariance of the change in score       below Table 2 ("Efficacy Variable Sco~’es’), show the superi-
         from baseline to landmark final assessment, with baseline           ority of topical diclofenac over placebo for the three co-
         score as the covariate. Subjects in both randomization strata       primary variables----pain (P=0.015), physical function
         were combined for all analyses.                                 65 (P=0.034), and POHA (P<0.0001). Superiority was observed
            The primary efficacy comparison was topical diclofenac           also for the secondary variable PGA (P=0.016), but not for
         vs. placebo for the primary efficacy variables, with no cor-        stiffness. There was greater improvement with topical




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 43 of 232 PageID: 8181




                                                                                     US 8,546,450 B1
                                                   29                                                                                                 3O
        diclofenac (P<0.05) compared to DMSO vehicle for all five    (0.55 [0.82], P=0.41) or topical diclofenac+oral diclofenac
        variables (Table 2). A post-hoe BOCF sensitivity analysis of (0.46 [0.70I; P=O.10).
        the primary efficacy data of all 775 patients did not change    Safety: Skin adverse events predominated with topical
        any of the conclusions of superiority of topical diclofenac  diclofenac, most beingdry sldn.Theoverallincidenceofs "kin
        compared with placebo (pain, P=O.031; physical function, 5 adverse events was similar in topical diclofenac+oral
        P=0.041; POHA, P=0.0001).                                    diclofenac, and lower in placebo, and oral diclofenac arms.

                                                                         TABLE 2

                                                                 Efficacy variable score¢’


                                                                                                                           P value


                                                                                                             TDiclo         TDiclo           TDMo
                                                                                            TDiclo +           vs.            vs.              vs.
                                  TDiclob       placebob         DMSO’~       ODiclot’       ODiclo~’       placebo         DMSO             ODiclo


        WOMAC Pain               (n= 154)       (n = 155)      (n = 161)      (D = 151)      (n= tS1)
        Baseline score           I3.2 (3.4)     12.9 (3.3)     13.0 (3.2)     I3.2 (3.0)    13,2 (3,4)
        Clmuge in score~         -6.0(4.5)      -4.7(4.4)      -4.7(4.3)     -6.4(4.i)      -7.0(4.8)         0.015          0.009           0.429
        WOMAC                    (n=154)        (n=153)        (n=161)        (n=15l)        (a=!50)
        Physical
        Function
        Baseline score             41 ~7           41.6           41.4          42.1           41.0
                                   (I2.8)         (11.7)         (11.4)        (12.0)         (11.2)
        Change in scorec          -15.8          -12.3           -12.1         -17,5         -18.7            0,034          0,026            0.319
                                   (15.I)         (14.7)         (14.6)        (14.3)         (14.0)
        POHA                     (n = 154)      (n = 152)      (n = 160)      (n = 150)      (n = 148)
        Baseline                     2.34             2.22         2.30           2.23           2.19
                                    (1.02)            (1.03)      (1.i4)         (1.12)         (1.04)
                                    -0.95          -0.37          -0.65         -0.88          -0.95        <0.000i          0,0!6            0.956
                                    (1.30)            (1.04)      (1.12)         (1.31)         (1.21)
        PGA                       (n=i54)       (n=153)        (n=161)        (n=151)        (n=150)
        Baseline                     3.12             3.04         3.13          3.04            3.08
                                    (0.78)            (0.82)      (0.74)         (0.87)         (0.81)
                                    -1.36          -1.01          -1.07         -1.42          -1.53          0.016          0.018            0.439
                                    (1.19)            (1.18)      (1.10)         (1.29)         (1.27)
        WOMAC                     (n=154)       (n=153)        (n=161)        (n=151)        (n=lS0)
        Stiffness
        Baseline                     5.14             5.01         5.12           5.21           5.07
                                    (1.63)            (1.70)      (1.61)         (l.72)         (I.53)
        Change ~ score~             -1.93          -I.52          -I,48         -2.07          -2.30          0,112          0.035            0,596
                                     (2.01)           (2.05)      (2.07)         (2.02)         (2.00)


        Abbrcviations:

        TDiclo, Topical Diclo f¢nae Solution plus oral #acetm;

        placebo, topical placebo plus oral placebo;

        DMSO, topical dimethyl sulfoxide-conlaini~g vehicle plus ora! phcebo;

        ODielo. oral diclo fenae plus topical placebo;

        TDielo + ODielo, Topical Dielofeaac Solution plus oral di¢lofenac;
        WOMAC, Western OntmSo MeMaster UNve~Ries LK3.1 O~teoa,ql~ritis Index;

        POHA, patient overall health assessmeot;

        PGA, patient globa! assessment of the study knee

        aData are presented as mean (SD). Maximum score for pain, 20; physical f~anetion, 68; POHA and PGA~ 4; s6ffnes~, 8.
        Vt’he number of subjects (n) varied by efficacy parameter because individual subjects did not submit a full baseline assessrnertt.

        ~:inal sent   minus baseline score




        Additionally, the Efficacy Variable Score shows that no sig-      The rate with DMSO vehicle was intermediate between topi-
        nificant efficacy advantage of the DMSO vehicle over pla-         cal dMofenac and placebo. Only 5 (3.2%) subjects in topical
        cebo was observed for the primary or secondary variables, 55 diclofenac withdrew due to an application site reaction.
        except for the POHA. Furthermore, a comparison of oral            Importantly, as shown in the below Table 3 ("Incidence of
        diclofenac vs. topical diclofenac found no statistical differ-    Adverse Events") the incidence of adverse events of the
        once for any of the 5 efficacy variables. The combination of      digestive system with topical diclofenac was no greater than
        topical diclofenac+oral diclofenac was no better than oral        placebo and much lower than oral diclofenac and topical
                                                                       60
        diclofenac aione for all variables (pain, P=030; physical         diclofenac+oral diclofenac. Withdrawal due to a digestive
        function, P=0.33; POHA, P=0.43; stiffness, I~0.16; PGA,       system adverse event was higher in oral diclofenac (11
        P~-~3.50). ¯  .. -. ,                                         [7.3%]) vs.. topical diclofenac(4 [2.6%]) and placebo (3
           Mean [SD] acetmzlinopizen use with topical diclofenac      [1.9%1). Additionally, as sb, own in the heir,’,* ii~ble 3, the
        (0.64 [0.83] caplets per day) was lower than with placebo 65 combination topical diclofenac+oral diclofenac did not
        (0.95 [1.14], P=0.005) and DMSO vehicle (0.99 [I.11],         increase the incidence of digestive system events over oral
        P=0.002), and was not different than that for oral diclofenac diclofenac alone.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 44 of 232 PageID: 8182




                                                                                  US 8,546,450 B1
                                                 31                                                                                            32
                       "][’able 3. Incidence of Adverse Events=

                                                          TABLE 3

                                                Incidence of adverse events"

                                                                                                              TDiclo +
                                                     TDiclo        placebo        DMSO          ODiclo         ODiclo
                                                    (n=i54)        (n=157)        (n=161)      (n=15I)        (n=152)

        Adverse Event

        Any adverse event                            96 (62.3)      99   (57.3)   97 (60.2)     94 (62.3)      98    (64.5)
        Abnormat taste sensntion or odor              0 (0.0)        1   (0.6)     1 (0.6)       0 (0.0)        1    (0.7)
        Auy digestive system event                   10 (6.5)       15   (9.6)    18 (11.2)     36 (23.8)      39    (25~7)
        AbdomialalpaLu                                5 (3.2)        I   (0.6)     5 (3.1)      I1 (7.3)        3    (2.0)
        Dyspepsia                                     4 (2.6)        6   (3.8)     6 (3.7)       6 (4.0)        5    (3.3)
        Diarrhea                                      2 (1.3)        3   (1.9)     2 (1.2)       7 (4.6)       12    (7.9)
        Liver fuactiontests~bnormal                   3 (1.9)        1   (0.6)     6 (3.7)      12 (7.9)       11    (7.2)
        Rectal hemorrhage                             1 (0.6)        0   (0.0)     0 (0.0)       0 (0.0)        5 (3.3)
        Nausea                                        0 (0.0)        0   (0.0)     I (0.6)       3 (2.0)        5 (3.3)
        Any skin/appendages event                    4! (26.6)      t2   (7.6)    27 (16.8)     11 (7.3)       47 (30.9)
        Dry skin (epplication site)                  28 (18.2)       5   (3.2)    18 (11.2)      4 (2.6)       30 (19.7)
        Contact dermatitis (application site)         4 (2.6)        1   (0.6)     5 (3.1)        ! (0.7)      (2 (7.9)
        Rash                                          4 (2.6)        0   O.0)      2 (1.2)        0 (0.0)       0 (0.0)
        Contact dermatitis with vesicles              3 (1.9)        0   (0.0)     0 (0.0)        ! (0.7)       6 (3.9)
        (application site)
        PmritJs (application site)                     2 (1.3)       0 (0.0)       0 (0.0)        0 (0.0)        1 O.7)
        Other system events


        Headache                                      27 (17.5)     !8   (11.5)   21 (13.0)      26 (17.2)     21 (I3.8)
        BackpaLa                                      15 (9.7)      I0   (6.4)    15 (9.3)       11 (7.3)       4 (2.6)
        Arnltralgia                                   14 (9.1)      15   (9.6)    25 (15.5)      12 (7.9)       7 (4.6)
        PaN                                            7 (4.5)       5   (3.2)     11 (6.8)       8 (5.3)       1 (0.7)
        Respiratory disorder                           5 (3.2)       6   (3.8)      4 (2.5)       8 (5.3)       7 (4.6)
        Accidental injury                              4 (2.6)       6   (3.8)      7 (4.3)       4 (2.6)       6 (3.9)
        Abnormalvision                                 4 (2.6)       5   (3.2)      4 (2.5)       4 (2.6)       1 (0.7)
        Conjtmctivitis                                 4 (2.6)       1   (0.6)      0 (0.0)       3 (2.0)       0 (0.0)

        Abbreviations: T~)iclo, Topical Diclofenac Solution plus oral plac£bo; placebo, topical placebo plus oral placebo;
        DMSO, topical dimethyl sul foxJde-con~aining vehicle plus oral placebo; ODMo, oral diclofenae plus topical placebo;
        TDielo + ODic!o, Topical Diclo fe~ac Solution plus oral dielofenae
        aI)alz are presented as number (%) of subjects.
        bOther adver ~e events with incidence z9% in the TDielo group




        No difference between treatment groups was observed for                                         brovascular accident, 1 fractured hip, 1 dislocated prosthetic
        cardiovascular events, which were <2% in each treatment                                         hip), 1 in DMSO vehicle (acute enteritis), 1 in oral diclofenac
        group. The incidence of hypertension was similar for all
                                                                                                        (post-polypectomy lower gastrointestinal bleed, 8 days after
        groups (1.3% for Topical Diclofenac Solution, oral 4o
        diclofenac and Topical Diclofenac Solution+oral diclofenac;                                     withdrawal of study medication) and 3 in topical diclofenac+
        1.2% for DMSO vehicle; 0.6% for placebo). There was no                                          omI diclofenac (1 leg cellulitis, 1 unstable angina, 1 transient
        diflbrence among the groups in reports of an abnormal taste                                     ischemic attack).
        sensation or odor, confirming the success of the blinding
                                                                    45                                      Changes in key NSAID-related laboratory parameters are
        procedure for DMSOo
           There was no serious adverse event in the Topical                                            shown in the below Table 4 ("Analysis of Change in Labora-
        Diclofenac Solution arm, 4 in placebo (1 anemia, 1 cere-                                        tory Parameters").

                                                                                                                              TABLE 4

                                                                                                          Analysis of changea [u laboratory parm-aeters


                                                                                                                                                                          TDMo +
                                                                                                               TDiclo             placebo      DMSO         ODiclo        ODiclo
                                                                                                              (n ~ 145)           (n = 142)    (n = 150)    (n = 138)     (n = 141)


                                                                         AST


                                                                         Mea~change, UfL                      -0.9 (10.3)         -0.6 (5.2)    0.2 (8.5)    2.5 (10.9)    4.1 (29.6)
                                                                         Normal to abnormalt’, N (%)             10 (6.9)            5 (3.5)      8 (5.3)     27 (19.6)     20 (14.2)
                                                                         ALT


                                                                         Mean change, U/L                     -1.0 (11.7)         -0.3 (9.9)   -0.6 (9.8)    7.2 (25.3)    8.2 (68.9)
                                                                         Normalto abnormai, N(%)                    6 (4.1)          4 (2.8)      2 (I.3) 26 (18.8)            24 07.0)
                                                                         Hemoglobin                                           "       " "          .....      "   ¯        "      "


                                                                         Meanehange, g/L                      -1.7 (6.2)          -0.8 (6.2)   -0.4 (6.5)   -3.8@1)       -4.8 (6.8)
                                                                         Normal to abnormal, N(%)                   3 (2.1)          7 (4.9)      5 (3.3)      8 (5.8)         18 (12.6)




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 45 of 232 PageID: 8183




                                                                                      US 8,546,450
                                                   33                                                                                    34
                                                       TABLE 4-continued

                                           Analysis ofchange°in laboratory parameters

                                                                                                                       TDiclo +
                                                TDi¢lo            placebo           DMSO              ODiclo            ODiclo
                                               (n = i45)         (n = 142)         (n = 150)         (n = I38)         (n = I41)

        Creatinine

        Mean change, gmo!/L                    -0.4 (10.5)         0.8 (9.0)        0.3 (10.3)         3.1 (11.0)        4.4 (11.2)
        Normal to abnormal, N (%)                 4 (2.8)            8 (5.6)          6 (4.0)           t0 (7.2)          !5 (10.6)
        Creati~i~e Cle~aixce~


        Me~m change, mLlrain                     0.4 (10.3)      -0.5 (8.6)        -0.5 (8.3)        -2.4 (8.7)        -3.3 (9.7)
        Normalto ~b~ormM, N (%)                   11 (7.6)          8 (5.7)           9 (6.0)          1_0 (7.2)         16 (I1.4)

        Abbreviations: TDiclo, Topical DicIo lena Solution plus oral placebo; placebo, topieM placebo plus oral phccbo; DMSO,
        topical dimcthyl sul£oxide-eontaini~g vehicle plus oral placebo; ODi¢lo, oral di¢lofena¢ pIus topical placebo; TDi¢lo +
        ODMo, Topical Dielo fetia¢ Solutiotl plus oral dielo fenae;ALT, alanine ami~otr~u~£ecas¢; AST, a~partat¢ aminotrans fera~.
        .aMean (SD) ttnless otherwise inddeatcd. Only subjects with both a ba~elha¢ ~ final lab value for the IXtrameter are sbovm,
        bCbange from normal at baseline to above upper limit o fnorma! for AST, ALT, ¢reatinine, or below Iog’er limit of norton t for
        hcmoglobiu, ¢rcatinine clearance.




                                                                                                       20

        Overall, the mean change in the laboratory value and the             diclofenac solution when treating one knee are far below the
        number of subjects developing an abnormality showed no               levels achieved by oral administration of the drug and
        difference between topical dMotimac and placebo or DMSO              regarded as necessary to achieve a systemic effect (see
        vehicle, but a greater meatl change and higher incidence of          Examples 7 and 8 below). Remarkably, there was no statisti-
                                                                          25
        abnormality occurred withthe oral diclo fenac arms. With oral        ca! difference between topical dic!ofenac solution treatment
        diclofenac compared with topical diclofenac, there was a             of one knee and oral diclofenac (which would provide treat-
        greater mean change in hemoglobin, alanine aminotrans-               ment for both knees) for the physical function efficacy vari-
        ferase, gamma-glutamyl transpeptidase, creatinine and crea-          able.
        tinine clearance, and a greater number of subjects developing 3o        This study followed a typical 12-week oral NSAID trial
        an abnormality for these parameters. With respect to the tran-       design, namely, primary osteoarthritis of the knee with pain
        saminases ALT (alanine aminotransferase) and AST(aspar-              and abnormal radiological findings. Although most subjects
        tare aminotransferase), there was no statistically significant       had bilatera! osteoarthritis, only one painful knee was treated
        change in mean values between the ora! diclofenac and oral           with topical solution. Inasmuch as outcome measures of
        plus topical diclofenac treatment arms. Development of 35 physical fnnction and overall patient health assessment are
        abnormal laboratory parameters was generally below clini-            likely to be negatively influenced by symptoms in the non-
        cally relevant levels. No subject developed a clinically sig-        treated knee, this trial design biased against Topical
        nificant change in hemoglobin or creatinine. An increase in          Diclofenac Solution. hi any ora! NSAID trial, and in this
        any liver enzyme to three times the upper limit of normal            study’s oral diclofenac arms, subjects automatically treat
        occu~ed in 1 subject with placebo, 1 with DMSO vehicle, 2 40 both knees, avoiding these factors. The inclusion of oral
        with oral diclofenac and 3 with topical diclofenac+oral              therapy for all groups added a second placebo effect to the
        diclo fenac, but none with topical diclofenac.                       topical comparator arms, imposing a yet higher burden to
             Ocular examination at baseline and final revealed no            prove efficacy of Topical Diclofenac Solution over placebo.
        clmnge in visual acuity (data not shown) and no difference in        Despite these elements in trial design the efficacy of Topical
        the development of lens abnormality (cataract) with placebo 45 Diclofenac Solution was robustly established.
        (4 [2.6%] subjects) vs. topical dMofenac (2 [1.3%]) or                  The response of patients in the oral dMofenac group in this
        DMSO vehicle (6 [3.8%]).                                             study (40-48% improvement in variable score) was the same
             Conclusions: The results of this clinical study clearly show    as seen in other oral NSAID trials (Bellamy N, Buchanan W
        the effectiveness of Topical Diclofenac Solution applied topi-       W et al., A multicenter study of tenoxicam and diclofenac in
        cally to treat the symptoms of osteoarthritis of the knee.        50 patients with osteoarthritis of the knee. J. Rheum. 1993;
             Topical Diclofenac Solution was superior to both topical        20:999-1004; Yocum D, et at., Safety and efficacy of meloxi-
        comparator groups (placebo and DMSO vehicle) for all 3               cam in the treatment of osteoarthritis. Arch Int Med. 2000;
        primary efficacy variables, pain, function and patient overall        160:2947-54), providing a powerful external audit on the
        health. Efficacy was confirmed by a conservative BOCF sen-           validity of the trial design and conduct, and further confirma-
        sitivity analysis.                                                55 tion of the sustained efficacy of Topical Diclofenac Solution.
             The WOMAC physical function questionnaire asks                  Topical Diclofenac Solution was found to be as effective as
        patients to score physical function in areas such as difficulty      oral diclofenac at relieving the symptoms of knee osteoarthri-
        descending stairs, difficulty ascending stairs, difficulty rising    tis with less NSAID-related systemic toxicity than oral
        from siring, difficulty standing and difficulty walking on a         diclofenac. These observations support the safety and effi-
         fiat surface. The superiority of topical diclofenac solution .6o cacy results of a previous equivalence study of Topical
        over placebo was surprising given that (i) the physical func-        Diclofenac Solution vs. oral diclofenac.
        tions measured in the WOMAC physical function question-                 Claims of therapeutic efficacy for DMSO i~selfin osteoar-
         naire are generally accoraplished with the use of b0th knees,       ~hritis were discounted inan earlier. 4-week trial with topical
         {.ii) only one kalee was treated in the study, (iii) 95% of         diclol}nac (BookmanAA, et al., Ellkct of a topical diclofenac
        patients had disease in both knees (with pain in the contralat- ~5 solution for relieving symptoms of primary osteoarthritis of
        eral knee occurring in 90% of the study population) and (iv)         the knee: a randomized controlled trial. CMA£ 2004; 171:
         the blood levels of dicloti~nac produced by the topical              333-8) and are further disproven by this 12-week study.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 46 of 232 PageID: 8184




                                                                 US 8,546,450 B1
                                        35                                                                         36
           There was no apparent difference between Topical                  The skin permeation enhancement of Rogaine is associated
        Diclofenac Solution and placebo in NSAID-associated gas-             with its high content ofpropylene glycol (50%), a known skin
        trointestinal adverse events (the incidence was actually lower       permeation enhancer.
        with ~Ibpical Diclofenac Solution). In this study, no eye lens          Methods: In this study, performed according to Good
        abnormalities were observed with DMSO-vehicle or Topical 5 Laboratory Practices ("GLP’), 18 female Grttingen
        Diclofenac Solution treatment. The combination Topical               Minipigs, a commonly used non2rodent species for pharma-
        Diclofenac Solution+oral diclofenac showed no increase in            cokinetic studies, were selected for entry into the study based
        adverse events relative to Topical Diclofenac Solution or oral       on the results of a satisfactory preliminary health screening.
        diclofenac alone. The blood level of diclofenac following            There were six treatment groups with 3 female animals per
        topical application as °Ibpical Diclofenac Solution is only 10 group. Animals were allocated employing a pseudo-random
        about 12 ng/mL and the incremental increase with the com-            body weight stratification procedure that yielded groups with
        bination would be negligible compared with the predicted             approximately equal mean body weight.
        level of 1500 ng/mL that is reported with oral diclofenac.              The Test Item and the controls were supplied ready-to-use.
        Although combined treatment with Topical Diclofenac Solu-            Toxin No. 1 (sunscreen) was applied undiluted. Toxins Nos. 2
        tion+oral diclofenac did not provide a statistical advantage 15 (DEET) and 3 (2,4-D) were diluted in ethanol and water,
        over oral diclofenac alone, this regimen could be a reasonable       respectively, before use on test dayl according to the below
        treatment paradigm in an individual with persistent or break-        dilution scheme. The same toxin administration solutions
        through knee pain despite using an oral NSAID.                       were used on test day 1, 21, 28 and 35. Between the admin-
           In conclusion, this Example shows that Topical Diclofenac         istrations, the solutions were stored at +2° C. to +4° C.
        Solution provides durable improvement in the symptoms of          2O
        osteoarthritis of the knee, and that relief is not contributed by
        the DMSO-carrier. Efficacy of Topical Diclofenac Solution
        was comparable to that achieved with oral diclofenac. For the                       Prel~m’ation of the toxin administration dose
        patient initiating pharmacological therapy for relief of symp-
                                                                                                       Strength       Targeted               Volume
        toms associated with osteoarthritis of the knee based on cur- 25                               of active     exposure               ofdiluted
        rent treatment guidelines, Topical Diclofenac Solution is a                                     cmpd in       of active   Dilution toxin to be
        viable, evidence-based treatment option.                               Toxin      Active       the toxin      cmpd to       of the  applied to
                                                                                    No.     compound       (w/v)    150 cn? ling]   toxin   150 cm2 [mL]
                                    Example 2                                         1     oxybenzone       6%      300000            1        5
                                                                              30     2        DEET          25%        6723           40        1.08
               Influence of a Topical Diclofenac Solution on                         3        2,4-D       7.57%          13.35      5000        0.88
                Percutaneous Absorption of Three Different
             Environmental Toxins after Repeated Epicutaneous
                                                                                    Toxin was applied by epicutaneous administration via
                        Administration to Minipigs                               syringe onto the back region. There was a single administra-
                                                                              35 tionontestday 1 (beforeadministrationoftheTestltemorthe
           This Example describes novel preclinical information that
                                                                            Controls) and single administration on days 21, 28 and 35
        may, for example, be provided to a user according to the
                                                                            (after administration of the Test Item or the Controls). The
        present invention, which relates to the influence of a topical      administration area was 150 cma/animal. The administration
        diclofenac solution containing 1.5% diclofenac sodium (2-           site was situated on the animal’s back between the fore and
        [(2,6-dichlorophenyl)amino]benzeneacetic acid, monoso- 40 the hind extremities. The surface area of the application site
        dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-          was selected to provide a high toxin exposure that would
        ine, and water ("Topical Diclofenac Solution") on the
                                                                            ensure measurable systemic levels of the toxins.
        percutaneous absorption of three different environmental tox-
                                                                               Prior to the start of the study, the administration sites were
        ins, as evaluated in a study involving repeated epicutaneous
                                                                            cleared of bristles, if present. The remaining hairs were
        admimstmfion to minipigs.                                        45 clipped. The toxin was spread onto the administration area
           The Test Item was Topical Diclofenac Solution
                                                                            using a syringe. The administration area was not covered with
        [Pennsaid® Topical Solution, Nuvo Research Inc., Missis-
                                                                            any dressing. Following administration the animals were
        sauga, Canada]. The environmental toxins selected for use in        restrained for at least 1 hour (until the toxin had completely
        the study were oxybenzone (in the form of Fxlualine SPF 23
                                                                            dried) in slings which allowed free movement of the head but
        faces stmscreen; active compound 6% oxybenzone), DEET, 5o prevented a complete body turn in order to prevent access by
        i.e., N,N-diethyl-m-toluamide (in the form of Deep woods            the animals to the toxins.
        OFF!® pump spray; active compound 25% N,N-diethyl-m-
                                                                               The six treatment groups were assigned to receive toxins,
        toluamide), and 2,4-D, i.e., 2,4-D, dimethylamine salt (in the      Test Items and Controls as set forth in the following table.
        form of Spectracide Weed Stop 2x For Lawns Concentrate;
        active compound 7.57% 2,4-D, dimethylamine salt). The 55
        control items used in the study were Retin-A 0.1% (tretinoin)
        cream, Men’s Rogaine® Extra Strength Topical Solution                 Group Toxin No. (Name)     Test Item/Control
        (minoxidil 5% w/v), both of which are approved and mar-
                                                                                 1   1 (oxybenzone)      Topical Diclofenac Solution (Test Item)
        keted in the United States. Both control products have skin
                                                                                2    2 (DEE’T)           Topical Diclofenae Solution (Test Item)
        permeation enhancing capabilities and were selected for                 3    3 (2,4-D)           Topical Diclofenac Solution (Test Item)
        comparison to the Topical Diclofenac Solution in the                    4    I (oxybenzone)      Retin-A (Control no. 1)
                                                                                5    2 (DEET)            Rogaine ® (Control no. 2)
        enhancement of environmental toxins. Retin-A (tretinoin)
                                                                                6    3 (2,4-D) .         Rogaine~® (Control no. 2)
        stimulates mitotic activity and increased remover of follicular
        epithelial cells, resulting in disruption of the s "ki~l barrier
        function with consequent enhancement of transepidermal 65              On test day 21, Topical Diclofenac Solution (Test Item) or
        water loss. Comprornising skin barrier function can cause           Rogaine Topical Solution (Control No. 2), respectively, was
        enhancement in permeation of molecules through the skin.            applied 30 minutes before toxin administration based on a




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 47 of 232 PageID: 8185




                                                               US 8,546,450 B1
                                       37                                                                    38
         pre-specified schedule. No administration of Retin-A (Con-            cal Diclefenac Solution/animal (approx. 3.5 mg diclofenac
         trol No. 1) was scheduled for test day 21. On test day 21 the         sodinm/anima!) and any of the Toxin Nos. 1, 2 or 3. Addi-
         toxin administration was carried out after the Test Item/Con-         tionally, no signs of local intolerance reactions were observed
         trol administration according to the following schedule:              in any of the mimpigs after repeated epicutaneeus adminis-
         Groups 1, 2 and 3:30 minutes after’lest Item/Control admin- 5 tration of either Control No. 1 or Control No. 2.
         istration; Group 4: after an overnight break; Groups 5 and 6:             Additionally, no signs of systemic intolerance reactions
         30 minutes after Test Item/Control administration,                    were observed in any of the minipigs after repeated epicuta-
              In sum, Test Item/Control application was as follows: Topi-      neous administration of 0.22 mL Topical Diclofenac SOlu-
         cal Diclofenac Solution (Test Item), 0.22 mL!administration           tion/animal (approx. 3.5 mg diclofenac sodium/animal) and
         site fourtimes daily from test days 6 to 20 (7:30, 12:30, 17:30, ~0
                                                                               any of the three toxins. No signs of systemic intolerance
         22:30) and-one single dose on day 21 (7:30); Retin-A 0.!%
                                                                               reactions were observed in any oftheminipigsafterrepeated
         cream (Control No. 1), 112.5 rag/administration site once
                                                                               epicutaneous administration of either 112.5 mg Retin-A0. i %
         daily from test days 6 to 20 (22:30); Rogaine ES (Control No.
                                                                               (tretinoin) cream/animal (control no. 1) or 0.8 mL Men’s
         2),0.8 mL/administration site twice daily fromtest days 6to
                                                                               Rogaine<l~ Extra Strength Topical Sohition/animal (control
         20 (7:30, 17:30) and one single dose on day 21 (7:30). The is
         administration site of the Test Item or Controls was exactly          no. 2) and any of the three toxins.
                                                                                   The body weight wasin the normal range throughout the
         the same as for the toxins, i.e. 150 cm2 on the animal’s back
         between the fore and hind extremities, as noted above. Toxin          course of the study in all animals after repeated epicutaneous
         dose levels were selected based upon available human envi-            administration of 0.22 mL Topical Diclofanac Solution/ani-
         ronmental and occupational exposure data. Dose levels for 20 real (approx. 3.5 mg diclofenac sodium/animal) or the two
          the Test Item or Controls were based on the recommended              controls and any of the three toxins.
          doses of the products in humans.                                         No influence on the food consumption was noted for any of
              The "lest Item or Control was spread onto the administra-        the animals after repeated epicutaneous administration of
          tion area using a syringe. The administration area was not           0.22 mL Topical Diclofenac Solution/animal (approx. 3.5 mg
          covered with any dressing. Following administration the ani- 25 diclofenac sodium/animal) or the two controls and any of the
          mals were restrained for at least 1 hour (unti! the test item and     three toxins.
          controls had completely dried) in slings which allowed free              The visual appraisal of the drinking water consumption did
          movement of the head but prevented a complete body turn in            not reveal any Test Item-related influence.
          order to prevent access by the animals to the Test Item or                Pharmacokinetic data results indicated that systemic
          Controls.                                                         30 diclofenac steady state was reached by day 19.
              Any contact of the test areas with water was avoided                  Due to limitation in the sensitivity of the analytical meth-
          throughout the whole experiment,                                      ods employed in the study, no DEET (Toxin no. 2) or 2,4-D
              Observations: Observations related to individual animals          (Toxin no. 3) could be quantified in plasma for any of the
          made throughout the study included clinical sigJxs, body              animals treated with the Topical Diclofenac Solution or the
          weight and food/water consumption.                                35 Rogaine so no firm conclusions could be drawn from the
               For evaluation of local tolerance, skin reactions were           study concerning the enhancement of systemic absorption of
          examined once daily througt~out the study, prior to each              these toxins. A subsequent study (described in Example 3
          achninistration (end of the respective exposure period), if           below) using higher concentrations of DEET and 2,4-D was
          applicable. Reactions, namely, erythema, eschar and oedema            therefore conducted.
           formation were scored based on Draize J H, Appraisal of the 40           In contrast, the exposure to oxybenzone could be well
           Safety of Chemicals in Food, Drugs and Cosmetics, Associa-           quantified on all application days. The courses of the plasma
           tion of Food and Drug Officials of the United States, Austin,        concentrations of oxybenzone were summarized non-com-
           Tex., 1959. Any other lesions were also recorded, if any             partmentally by means of C,~,~ (maximum observed plasma
           occurred,                                                            concentration), tmax (time of C,,,o~ after application of the
               Blood sampling for pharmacokinetics was undertaken for 45 toxin), and the AUCo.48 (the trapezoidal area under the time
           each animal at predetermined sampling times and processed            course of the plasma concentrations up to 48 hours after
           for at least 2 mL Li-Heparin plasma/sample, which were split         application).
           into two aliqnots of 1 mL each.                                          Based on the ANOVA of the log-transformed AUCo.48, the
               The area undertheconcentration-time curve ("AUC’)from             area exposure to oxybenzone for the animals treated with
           time zero to 48 h, AUCo.~sh, for each toxin was calculated for 5o Topical DMofenac Solution was statistically significantly
           each minipig after each toxin administration on test days 1,          lower (p<0.05) on days 21, 28 and 35 compared with the
           21, 28 and 35 using a linear trapezoid method. Descriptive            animals treatedwiththe control (Retin-A), whereas therewas
           statistics (arithmetic mean, standard deviation) of non-trans-        no statistically significant difference between the treatments
           formedAUCo.48h andnatura! log-transformedAUCo.48n were                groups on day I (before the start of the treatments with thetest
           calculated for each treatment group for the administration 55 and control items). No statistically significant differences
           days ontest days 1, 21,28and35.Log-transformedAUCo48~                 were noted for the Topical Diclofenac Solution or control
           were compared using the repeated measurements employing               (Retin-A) treated animals of groups ! and 4, respectively, for
           a generalised linear model of variance using treatment group          C,,,o~ and AUC-values of test day 1 compared to test days 21,
           and administration day as covariates. The achievement of              28 and 35.
           steady state of diclofenac was assessed by using repeated 6o             Conclusions: Epicutaneous application of Topical
           measurements employing analysis of variance ("ANOVA")                 Diclofenac Solution four times daily from test day 6 to 20
           with log-transformed trough concentrations on test days 19,           with a single dose applied on the morning of day 21, while
           20 and 21. All statistical analyses were two-sided and .in all.       resulting.in relevant systemic exposure to diclofenac, did not
           analyses the l)pe i (alpha) error was fixed at the 5% level,          induce relevant local or systemic untowmd changes. Treat-
               Results: With regard to clinical signs, no signs of local 65 ment with Topical Diclofenac Solution, however, did not
            intolerance reactions were observed in any of the minipigs           amplify the exposure of oxybenzone, an epicutaneously
           after repeated epicutaneous administration of 0.22 m_L Topi-          applied toxin.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 48 of 232 PageID: 8186




                                                            US 8,546,450 B1
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            That systemic diclofenac steady state was reached by day            Single doses of the toxins were administered on the morn-
        19 indicates that a maximum degree of skin permeabilization        ing of days 1, 21, 28, and 35. Groups no. 1 (Test Item) and 3
        for diclofenac by the Topical Diclofeuac Solution vehicle has      (Control Item) were investigated with Toxin no. 1 (DEET),
        been reached after I4 days of treatment with Topical               whereas the animals of groups 2 (Test item) and 4 (Control
        Diclofenac Solution.                                            5 Item) were investigated withToxin no. 2 (2,4-D). The volume
            Results also showed that there was no quantifiable sys-        of the toxin formulation applied was 1 mL on day 1 and 1.5
        temic absorption of DEET or 2,4-D at baseline (prior to            mL on subsequent doses starting on day 21. In contrast to
        treatment with Topical Diclofenac Solution or Rogaine) or          Example 2, the 1.5 mE, toxin volume resulted in an adminis-
        following a 15-day pre-treatment with Topical Diclofenac           tered dose of DEET.(Toxin No. 1) of 375,000 gg and an .
                                                                        lo administered dose of 2,4-D (Toxin No. 2) of 113,550 p.g.
        Solution or Rogahie (Treatment Groups 2, 3, 5 and 6).
           According to the results, systemic absorption of oxyben-             The Test Item, Control Item and Toxins were administered
        zone occurred prior to treatment with Topical Diclofenac           as follows. The Test Item was administered four times daily
        Solution and Refin-A control (days 1-3) and this level thus         from test days 6 to 20 (7:30, 12:30, 17:30, 22:30); one single
        represents baseline systemic absorption of oxybanzone. 15 dose on day 21 (7:30). The Control Item was administered
        "l’nere was no significant difference in baseline oxybenzone       once daily from test days 6 to 20 (22:30). Toxin Nos. 1 and 2
        systemic levels and systemic levels obtained following a 14        were admiaistei-ed once on test day 1 (before administration
        day pre-treatment period with Topical Diclofanac Solution           of the Test Item or the Controls) and once on test days 21
        and it is therefore concluded Topical Diclofenac Solution did       (after administration of the Test Item), 28 and 35.
        not enhance the systemic absorption of oxybenzone. How’- 20             Results: Exposure to DEET could be well-quantified on all
        ever, there was a significant difference in baseline oxyben-        application days. In the Topical Diclofenac Solution arm, the
        zone systemic levels and systemic levels obtained following a       dose-normalized area exposure to DEET (AUCo_4a) on days
         14 day pre-treatment period with Retin-A Control. Therefore,       21, 28, and 35 was on average !.18, 1.61, and 1.44 times
        Retin-A enhances the systemic absorption of oxybenzone.             higher than on day 1, respectively; but was not statistically
            It can be concluded that a 15-day repeat dose treatment 25 significantly different. Under the Retin-A Control treatment,
        with Topical Diclofenac. Solution, QID, while resulting in a        the dose normalized area exposure on these days was on
         maximum degree of skin permeabilization for diclofenac,            average 1.56, 1.83, and 1.30 times higher than on day 1 and
         does not enhance the systemic absorption ofoxybenzone.             were statistically significantly different on test day 28.
                                                                                Exposure to 2,4-D could be well-quantified on all applica-
                                   Example 3                            30 fion days. Under the Test treatment, the dose normalized area
                                                                            exposure to 2,4-D on days 21, 28, and35 was on average 2.04,
                 Influence of a Topical Diclofenac Solution on               1.27, and 1.16 times lower than on day 1, respectively, but was
                   Percutaneous Absorption of Two Different                 not statistically significantly different. Under the Control
               Environmental Toxins after Repeated Epicutaneous             treatment, the dose normalized area exposure on these days
                          Administration to Minipigs                    35 was on average 10.84, 8.86, and 7.29 times higher than on day
                                                                             1 and were statistically significantly different. Accordingly,
            This Example describes novel preclinical information that       there is a distinct amplification of the 2,4-D exposure in the
         may, for example, be provided to a user according to the           control group (Retin-A), but not in the animals treated with
         present invention, which relates to the influence of a topical     the Test treatraent (Topical Diclofenac Solution).
         diclofenac preparation containing 1.5% diclofenac sodium 40            No signs of local intolerance reactions were observed for
         (2-[(2,6-dichiorophenyl)amino]banzeneacefic acid, monoso-           any of the minipigs after repeated epicutaneous administra-
         dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-          tion of 0.22 mL Topical Diclo fenac Solution/animal (approx.
         ine, and water ("Topical Diclofenac Solution’’) on the percu-       3.5 mg diclofenac sediumJanimal) and Toxin No. 1. Animal
         taneous absorption of two environmental toxins from                 no. 4 (group 2) treated with 0.22 mL Topical Diclofenac
         Example 2, evaluated at higher doses in a study involving 45 Solution/animal (approx. 3.5 mg diclofenac sodium/animal)
         repeated epicutaneous administration to minipigs. In                and Toxin No. 2 revealed a very slight to well defined
         Example 2 the dose levels for the toxins were selected based        erythema on test days 7 to 14. Animal nos. 7 and 8 (group 3)
         on the available human environmental and occupational               treated with 112.5 mg Retin-A 0.1% (tretInoin) cream/animal
         exposure data but the results did not provide systemic expo-        and Toxin No. 1 revealed a well defined erythema on test days
         sure above the limit of quanfitation. "fhus, to increase the 50 21 and 22 and a very slight to well defined erythema on test
         potential systemic exposure of the toxin, the maximtma der-         day 35. Animal no. 12 (group 4) treated with 112.5 mg
         mal exposure to the toxin was selected for this study. As in        Retin-A 0.1% (tretinoin) cream/animal and toxin no.2 (group
         Example 2, the Test Item was Topical DMofenac Solution.             4) revealed a moderate to severe erythema on test day 21 and
             The two environmental toxins DEET, i.e., N,N-diethyl-m-         a well defined erythema on test day 35.
         tolnamide (in the form of Deep woods OFF!® pump spray; 55               No signs of systemic intolerance were noted for any of the
         active compound 25% N,N-diethyl-m-toluamide) and 2,4-D,             minipigs after repeated epicutaneous administration of either
         i.e., 2,4-D, dimethylamine salt (in the form of Spectracide         0.22 mL Topical DMofenac Solution/animal (approx. 3.5 mg
         Weed Stop 2x For Lawns Concentrate; active compound                 dielofenac sodium/animal) or the Control Item and the two
         7.57% 2,4-D, dimethylamine salt). The single Control Item           toxins. Additionally, none of the animals died prematurely;
         used in the study was Retin-A 0.1% (tretinoin) cream.           6o the body weight, was in the normal range in all animals
             Methods: The study was carried out as described in              throughout the course ot" the study; and no influence was
          Example 2 using 12 mihipigs (four groups of three female            noted on the food and drinking water consumption for any of
          minipigs each). Animals of groups 1 and 2 were treated with         the animals.                ¯                              ¯.
          the lest item groin the morning of day 6 until the morning of          Epicutaneous application of Ibpical Diclofeuac Solution
          day 21; groups 3 and 4 were treated with Retin-A 0.1% (the 65 four times daily from test day 6 to 20 with a single dose
          Control Item) from the evening of day 6 until the evening of        applied on the morning of day 21 resulted in relevant systemic
          day 20.                                                             exposure to diclofenac.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 49 of 232 PageID: 8187




                                                              US 8,546,450 B1
                                      41                                                                    42
           Conclusions: Epicutaneous application of Topical                   avoided sunlight exposure to the test sites during the study. At
        Diclofenac Solution four times daily from test day 6 to 20            Period Three (Recover),), subjects underwent a recovery
        with a single dose applied on the morning of day 21, while            period of two weeks following the treatment period. TEWL
        resulting in relevant systemic exposure to diclofenac, did not        was measured on each of the test sites on the morrfing of Days
        induce relevant local or systemic untoward changes. The               45, 47, 50, and 58. At Period Four (Retin-A® Challenge) on
        achievement of steady state levels of diclofenac by day 21            Days 58-71, Retin-A® was applied under occlusion to the
        indicates that that a maximum degree of skin permeabiliza-            same test site to which Retin-A® had been applied during
        tion for diclofenac had been reached. In contrast to Retin-A,         Period Two. A designated member of the study staff applied
        treatment with Topical Diclofenac Solution did not amplify            two dabs (about 24 mg) of Retin-A® to the Retin-A®test site,
        the toxic risk of epicutaneously applied toxins such as 2,4-D         once daily for 14 days, at approximately 08:00 hottrs. The
        and DEET.
                                                                              Retin-A® test site was occluded using polyethylene film (Sa-
                                                                              ran Wrap®) for 15 hours following each application. TEWL
                                    Example 4
                                                                              was measured on the Retin-A® site and the untreated control
                Efl~ct on Stratum Corneum Barrier Function of                 site of the same arm on the morning of Days 59-72.
               Multiple Doses of Topical Diclofenac Solution as                   TEWL: TEWL analysis was carded out on the data of the
                    Measured by Tmnsepidermal Water-Loss                      intent-to-treat ("ITT") analysis group. The ITT analysis
                                                                              group included all enrolled subjects who received at least one
            This Example describes novel preclinical information that         dose of test article. TEWL was quantified using a VapoMeter,
        may, for example, be provided to a user according to the 20 a closed chamber evaporimeter. Change in TEWL between
        present invention, which comprise information regarding an            the treated and untreated sites was monitored over time.
        assessment of the effect on stratum corneum barrier ftmction,         Descriptive statistics (arithmetic mean, standard deviation,
        as measured by transepidermal water loss ("TEWL’), of mul-            coefficient of variation, median, minimum, and maximum)
        tiple doses of a topical diclofenac preparation containing            for the TEWL data was summarized for each treatment. Indi-
        1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)amino] 2s vidua! and mean TEWL time profiles were plotted by treat-
        benzeneacetic acid, monosodiurn salt), 45.5% DMSO, etha-              ment and period on a linear scale.
        nol, propylene glycol, glycerine, and water ("Topical                     To assess the validity of the study to measure changes in
        Diclofenac Solution") compared with a positive control,               TEWL, the post-treatment results for the positive control,
        Retin-A®, and an untreated site as a negative control.                Retin-A®, were compared to the untreated site on the same
            Study Design: The study was conducted as a four-period, 30 arm using repeated measures analysis of covafiance ("AN-
        open label, paired comparison in a single group. Period One            COVA") with the average pre-treatment TEWL measure as
        (Baseline) was a period of one week prior to the first appli-          the covariate. During conduct of the study and preliminary
        cation ou Day 1. At Period Two (Treatment), subjects applied           review of the data, it appeared that the positive control was not
        test articles (Topical Diclofenac Solution or Retin-A®) for a          causing skin irritation to the expected degree. In order to
        period of six weeks. At Period Three (Recovery), subjects 3s validate the study, a Retin-A® Challenge Period was added
        underwent a recovery period of two weeks following the                 via a protocol amendment as described above, and the
        treatment period. At Period Four (Retin-A® Challenge) sub-             ANCOVA analysis was repeated for the Challenge Period
        jects applied Retin-A® under occlusion to the same test site           using Day 58 TEWL measure as the baseline covariate. The
        as during Period Two lbr a period of up to two weeks, q_nnus,          TEWL response for the Topical Diclofenac Solution site dur-
        the total study duration was approximately 12 weeks, with 40 ing the Treatment Period was compared to the untreated site
        eight treatment weeks spread between Period T~vo (six-week             on the same arm using repeated measures ANCOVA with the
         treatment period) and Period Four (two-week treatment                 average pre-treatment TEWL measure as the covariate. Sec-
        period).                                                               ondary analyses included comparisons between Topical
            Protocol: At Period One (Baseline), baseline measure-              Dic!ofenac Solution and Retin-A® change in TEWL (differ-
        ments of TEWL were performed on Days-7, -5, and -3 prior 45 ence from untreated site) for the Treatment Period, and cor-
        to the first application on Day 1. At Period Two (Treatment),          relation analyses between TEWL and the variables: skin irri-
         subjects applied test articles for a period of six weeks. TEWL        tation score, temperature and humidity.
         was measured on each of the test sites (4 crux4 cm) immedi-              Safety: Safety was assessed through evaluation of the
         ately before application of the morning dose of test articles on      safety variables: adverse events, skin irritation score, labora-
         Days 1,3, 5, 8, 15, 22, 29, 36 and 43. Each subject applied one 5o tory analysis and vital signs. Safety analysis was carried out
         drop (approximately 30 gL) of Topical Diclofenac Solution to          on the data of every subject who received at least one treat-
         a test site on the right or left volar forearm (as randomized)        ment with study article.
         four times a day for six weeks, at approximately 08:00, 13:00,           TEWL Results: The results for treatment with Topical
         18:00 and 23:00 hours. The dose of Topical Diclo fenac Solu-          DMofenac Solution indicate that it did not cause an increase
         tion utilized in this study (approximately 30 t.tL to a surface 55 in TEWL relative to the untreated site following 6 weeks of
         area of 16 cm 2 ) was calculated to approximate the Topical           treatment at a dose, that applied QID to the knee, is shown in
         Diclofenac Solution dose that applied QID to the knee is              Example ! to be effective for treatment of the pain and symp-
         shown in Example 1 to be effective for treatment of the pain          toms of knee osteoarthritis. No difference between Topical
         and symptoms of knee osteoarthritis, namely 40 drops (ap-             DMofenac Solution and Retin-A® was noted during the
         proximately 1.2 mL) to a knee surface area of approximately 60 Treatment Period (neither causedan increase in TEWL dur-
         800 cm2. Each subject applied h dab (about 12 rag) of Retin-           hag this period of the study).
         A® to a separate test site on the opposite volar forearm once            Duringthe Challenge Periodwith Retin-A®, skin irritation
         per day for six weeks;at approximately 08:00 hours. The.              was noted (see Safety Results) and a significa~it increase in
         stlbject used his/her finger to spread the test articles over their    TEWL relative to the untreated site was observed. These
         respective test sites. Each forearm had a test area that was left 65 results for the Challenge Period validate the study design by
         untreated as a negative control. The subjects allowed the test         showing that the subjects were responsive to this positive
         articles to dry before covering the test sites with clothing and       control, a known skin irritant.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 50 of 232 PageID: 8188




                                                             US 8,546,450 B1
                                     43                                                                     44
          Mean TEWL time profiles are shown in FIG. 1 (Refin-A®)                                       Example 5
        and FIG. 2 (Topical Diclofeuac Solution). Review of FIG. 1
        shows an increase in TEWL fur the Retin-A® treated site                 Ophthalmologic Effects of Topically Applied DMSO
        during the Challenge Period relative to the untreated site, and         in a 52-Week Non-Occluded Dermal lbxicity Study
        no difference between treated and untreated sites for Topical                         in Grttingen Minipigs
        Diclofenac Solution and Retin-A® during the Treatment
        Period.                                                               This Example describes novel preclinical information that
           Safety Results: There were a total of 51 adverse events          may, for example, be provided to a user according to the
        reported by 12 subjects. The majority of adverse events were 10     present invention, comprising the results of a study that was
                                                                            conducted on minipigs which provides information about the
        classified as mild in severity (35 events) and classified as
                                                                             ocular safety profile of dermally applied formulations con-
        probably related to the test article (32 events). The majority of
                                                                             taining purified DMSO.
        the adverse events reported consisted of skin irritation
                                                                                The broad aim of the study was to evaluate the potential
        responses (i.e. contact dermatitis, dry skin, pruritus). These
                                                                             dermal toxicity of DMSO when administered topically to
        were observed at the Retin-A® application test sites for all t5      four gronps of Grttingen Minipigs® for 52 weeks at concen-
        subjects except for one who reported the adverse event ’dry
                                                                             trations of 0, 9%, 45.5% and 9(P’4 (w/w) and to evaluate
        skin’ that occurred at the Topical Diclofenac Solution treated       reversibility, progression, or delayed appearance of any
        test site.                                                           observed changes following a 1-month postdose observation
            The frequency of worst skin irritation score during the          period. Two additional groups of G6ttingen Mimpigs® were
         Treatment Period for Topical Diclofenac Solution revealed 14 2o dosed topically for 39 weeks at 0% and 90% followed by a
         of 15 subjects with a worst score of zero, indicating no skin       4-month recovery post dose observation period.
         irritation. One subject had a score of 0.5 (dryness or flaking)        Four groups consisting of six animals/sex/group received
         lbr the Topical Diclofenac Solution treated site. For Retin-        DMSO at respective dose levels of 0, 9, 45.5, or 90% (w!w) by
                                                                             dermal application three times a day for 364 consecutive
         A®, no skin irritation was observed during the Treatment and 25 days.      Following 52 weeks ofadministrafion, two animals!sex
         Recovery Periods. During the Challenge Period, 7 subjects
                                                                             at 0, 9, 45.5, and 90% dose levels were maintained for a
         had a worst score of 3 (erythema with induration and vesicu-
                                                                             4-week recovery period. Two additional groups consisting of
         lation) and one subject had a score of 1 (erythema) for the
                                                                             six animals/sex/group received the control or 90°,4 (w/w)
         Retin-A® treated site. The occurrence of skin irritation for the
                                                                             DMSO by dermal application three times a day for 273 con-
         Retin-A® sites was expected for this positive control.           3o secutive days. Following 39 weeks of administration, two
           Two subjects experienced changes in clinical laboratory           atfimals/sex at 0 and 90% dose levels were maintained for a 4
         evaluations (glucose, ALT and AST elevations) that were             month recovery period. The control or test article was admin-
         documented as adverse events. All three adverse events were         istered to all groups at a dose volume of 4.5 mL/dose!appli-
         considered mild mid not related to the test articles.               cation site (0.015 mL/cm2; 300 cm2 application site) until
                                                                          35 Week 20. Beginning Week 20 the control or test article was
           "Ilaere were no clinically significant findings related to
                                                                             administered to all groups at a dose volume 5.6 mLidose/
         blood pressure, pulse or respiration rates.
                                                                             application site (0.015 mL/cm2; 375 cm~ application site).
            Conclusions: The objective of this study was to evaluate
         the effect on stratum comeum barrier function, as measured
         by TEWL, ofchr0nic application of Topical Diclofenac Solu- 40                               Group Assignments
         tion as compared with a positive control, Retin-A®, and an
         untreated site as a negative control.                                    C~roup     Dose Concentration           Number of Animals

            The dose of Topical Diclofenac Solution utilized in this            Number          (%)             Male        Female
         study (approximately 30 gL to a surface area of 16 cm2) was
                                                                        45        1o             0                6           6
         calculated to approximate that shown in Example 1 to be
                                                                                  2~             9                6           6
         effective for treatment of the pain and symptoms of knee                 3~            45.5              6           6
         osteoarthritis when applied QID to the knee (40 drops (ap-               4~            90                6           6
         proximately 1.2 mL) to a knee surface area of approximately              5’~            0                6           6
         800 cm2). Following chronic dosing with Topical DMofenac                 6t’           9~                6           6
                                                                        50
         Solution for 6 weeks in this study, no significant increase in
         TEWL was observed. As measurement of TEWL has been
         shown to be a validated method for assessing skin barrier
                                                                           Two ~al~se~goup re~ed on ~ for a ~mon~ recev~
         function (Fluhr J W, Feingold K R, Elias P M. Transepidermal
         water loss reflects permeability status: validation in human
                                                                        55    Compositions of the control and test articles were as fol-
         and rodent in vivo and ex vivo models. Exp Dermatol 2006;         lows
         15:483-492), these results indicate that Topical Diclofenac
         Solution did not alter the stratum comeum barrier function.
            Treatment with Retin-A®, used as a positive control in this                                Control Vehicle
         study, in the Challenge Period contirmed skin irritation fol- 60
                                                                                       Ethanol (95% v/v)                 11.79% w/w
         lowing Retin-A® treatment and a resulting increase in
                                                                                       Pmpylene Glycol                   t 1.20% w/w
         TEWL, thus validating the study.                                              Glycerin                          11.20% wiw
            In conclusion, the results.of this study demonstrate that                  Purified Water                    65.81% wiw
                                                                                                           9% DMSO
         lbllowing ctu:onic dosing with 2bpical Diclofenac Solution,
         no significant increase in TEWL was observed, indicating 65                   Ethanol (95% v/v)                 11,79% w/w
         that Topical Diclofenac Solution did not substantially alter                  Pmpyleae Glyco[                   11.20% w/w

         the stratum corneum barrier function.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 51 of 232 PageID: 8189




                                                             US 8,546,450 B1
                                     45                                                                   46
                                  -continued                                of the test articles and control were identical to those used in
                                                                            Example 5 above. The vehicle or test article was administered
                   Glycerin                      1 ] .20% w/w
                   DMSO                            9.00% w/w
                                                                            to all groups epicutaneously, three times a day for 182 con-
                   Pttrified Water               56.81% w/w                 secutive days, at a dose volume of 0.65 mL. Prior to test article
                                     45.5% DMSO                          5 administration, the hair was clipped from the back of the
                                                                            animal comprising no less than 10% of the total body surface
                   Ethanol (95% vlv)             11.79% w/w
                                                                            area as estimated using the equation A=9.6*W2/3 where A
                   Propylene Glycol              11.20% w/w
                   Glycerin                      11.20% w/w                 was the estimated total body surface in square centimeters
                   DMSO                          4530% ~,/w                 and W was the body weight in lgams. "Pae area was adjusted
                   Purified Water                20.31% w/w              10 weekly by group based on themean body weight for each sex.
                                      90% DMSO
                                                                            Following 182 days of administration, 5 anhnals/sex/group
                   Eth~ao! (95% v]v)               2,00% w/w                were maintained for a 12-week recovery period.
                   Pmpylene Glycol                 2.00% w/w                   Observations for morbidity, mortality, injury, and the avail-
                   Glycerin                        2.00% w/w                ability of food and water were conducted twice daily for all
                   DMSO                          90.00%
                                                                         15 animals. Ophthalmoscopic examinations were conducted
                   Purified Water                  4.00% w!w
                                                                            pretest on all animals and prior to the terminal and recovery
                                                                            necropsies on all main study animals by doctors of veterinary
           Observations for morbidity, mortality, injury, and the avail-    medicine with Diplomate, American College of Veterinary
        ability of food and water were conducted twice daily for all        Ophthalmologists credentials.
        animals. Clinical observations were conducted weekly. At the 20        One female at 9% DMSO (Low dose), two males and one
        end of the each treatment and recovery period, necropsy             female at 90% DMSO (High dose) died, and two females at
        examinations were performed, organ weights were recorded,           45.5% DMSO (Mid dose), and one female at 90% DMSO
        and selected tissues were microscopically examined.                 were euthanized in extrernis during the study. None of these
           One female at 90% DMSO was euthanized in extremis on             deaths were considered to be related to treatment.
        Day 151 of the study. The cause of the morbidity of this 25            No test article-related ophthalmoscopic abnormalities
        animal was determined to be respiratory distress and this was       were detected in any animal during the pretest, terminal, and
        considered incidental to treatment and not test article-related.    recovery ophthalmoscopic examinations. At the recovery
        All remaining animals survived to their scheduled termina-          ophthalmoscopic examination, one female at 45.5% DMSO
        tion at the terminal necropsy at 39 or 52 weeks and the 4-week      was seen with superficial keratitis in both eyes. This isolated
        and 4-month recovery periods.                                    30 common finding was considered incidental to treatment.
           Ophthalmoscopic examinations were conducted pretest,
        artd during Weeks 26, 39, and 52. Examinations were per-                                       Example 7
        formed by a doctor of veterinary medicine with Diplomate,
        American College of Veterinary Ophthalmologists creden-                    A Single-Dose Pharmacokinetic Evaluation of a
        tials.                                                          35        Topical Solution Containing 1.5% wiw Diclofenac
           Unexpectedly given the results of earlier studies on non-                Sodium and 45.5% DMSO in Normal Healthy
        primate species, no increased risk for development of lens                    Non-Smoking Male and Female Subjects
        opacities or re£racfive index changes associated with DMSO
        were observed, in fact, no test article-related ophthalmo-              This Example describes novel clinical information that
        scopic abnormalities of any kind were detected during the 40        may, for example, be provided to a user according to the
        study. One female in the control group (i.e. an animal that had     present invention, comprising the results of study conducted
        not been exposed to DMSO) had a posterior cortical axial            to evaluate the pharmacokinetics of diclofenac sodium, dim-
        cataract with equatorial extrusion at the Week 39 ophthalmo-         ethyl sulfoxide (DMSO) and dimethyl sulfone (the major
        scopic examination. One male at 45.5% DMSO, one male at              metabolite of DMSO) after a single-dose application of a
        90% DMSO, and one contro! female had conjunctivitis in one 45        topical diclofenac preparation containing 1.5% diclofenac
        or both eyes only at the pretest examination. No other abnor-        sodium (2-[(2,6-dichlorophenyl)amino]ban.zeneacefic acid,
        malities were detected in any male or female at any of the           monosodium salt), 45.5% DMSO, ethanoI, propylene glycol,
        ophthalmoscopic examinations.                                        glycerine, and water ("Topical Diclofenac Solution"
                                                                             [Permsaid® (Nuvo Research Inc, Mississanga, Ontario
                                   Example 6                            5o Canada]). The study followed a one-period, open-label,
                                                                             single-dose design in 18 normal, healthy, non-smoking male
              Ophthalmologic Effects of DMSO in a 26-Week                    and female subjects in which Topical Diclofenac Solution
              Dermal Toxicity Study in Sprague-Dawley Rats                   was applied to both knees of each subject in the study.
                  Followed by a 12-Week Recovery Period                         The I8 subjects enrolled in the study consisted of 14 Can-
                                                                        55 casians, 1 Asian and 3 Blacks (9 males, 9 females) with a
           This Example describes novel preclmical information that          mean age of 33 years (range=22 to 46 years). The subjects’
        may, for example, be provided to a user according to the             mean height was ! 74 cm (range= 163 to 188 cm) and the mean
        present invention, comprising the results o fa study conducted       weight was 75 kg (range=54 to 90 kg).
        to evaluate the toxicity of test articles containing DMSO after         Each subject was instructed to apply Topical Dic!ofenac
        dermal administration for 26 weeks, three times per day, and 60- Solution to clean knees, total 40 drops per knee: 10drops each
        to evaluate reversibility ~fany observed changes following a         to the front of the knee, to each side and to the back. To avoid
        !2-week post-dose observation period. Three treatment              ¯ spillage, the subject was instructed to apply and spread 5
        groups of 25 male and 25 female CD® [Crl:CD®(SD)] Spm~                drops at a time, directly onto his!her hand. and then onto the
        gue-Dawley rats were administered the test article, Dimethyl         site. The application le;t the area visibly wet lbr several
        sulfoxide (DMSO), at respective dose concentrations of 9, 65 minutes and was applied without massaging. Topical
        45.5, and 9(P/o w/w. One additional group of 25 animals/sex          Diclofenac Solution was applied to both knees; the order of
        served as the control and received the vehicle. Compositions         application did not matter. After each dosing, subjects waited




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 52 of 232 PageID: 8190




                                                               US 8,546,450 B1
                                       47                                                                    48
        for the application site to dry prior to dressing. The subject                                   -continued
        washed higher hands after complete application to both
        "knees.                                                                                            PENNSAID ® TOPICAL SOLUTION
                                                                                  Phasmacokinefic                      n = 18
           The subjects fasted overnight for at least ten hours prior to          Parameter                          Mean ~: SD
        Topical Diclofenac Solution administration and at least four 5
                                                                                  C~ (ng/mL)                            8.05 ± 5.94
        hours following dosing. The treatments were administered
                                                                                  T~. Car)                             11.01 ± 6.44
        topically to both knees in each subject starting at 7:00 a.m.             ttr2 (hr)’~                          36.72 :e 20.82
        (0.0 hour), with three-minute intervals between subjects.                 K.t (hr-l)~"                         0.024 ± 0.0098
                                                                                  CLtF (L/hr)J-                       244.66 ± 84.72
           Subjects were informed not to take any prescriptian medi-
                                                                           10
         cation, other than hormonal contraceptives, from at least 14        tD = ~
         days prior to the study until the end of the study. Subj ects were
         also advised not to take any over-the-counter drugs, except for     Single-Dose Pharmacokinetic Parameters for Diclofenac
                                                                             Sodium (for Two Knee Application)
         spermicidal barrier contraceptive products, for at least seven
         days prior to the study up until the end of the study. They were 15
         specifically reminded that this included.cold preparations,
         Aspirin®, Bufferin®, Exceddn®, Anacin®, etc., herbal!                                       PENNSAID ® TOPICAL SOLUTION
                                                                                  Phannacokinetic                  n = 18
         natural supplements, vitamins and antacid (magnesium and
                                                                                  Parameter                     Mean ± SD
         aluminium hydroxide) preparations. Subjects were informed
         that concomitant medication, whether prescription or over- 2o            AUCo_r (~g" kr/mL)           8.719 ± 4.611
                                                                                  AUCc~f(pg - ~/mL)’~                  9.174 ± 3.751
         the-counter, was not permitted during the study. Subjects                C~. (~ag/mL)                         0.475 ~: 0.335
         were requested to abstain from grapefruit products, xanthine-            T~ (kr)                              8.451 ~: 2.708
                                                                                  t~a (hr)t                            8.422 t 7.307
         and caffeine-containing foods and beverages (this included
                                                                                  K.t(hr-~)’~                         0.1136 ~: 0,0470
         tea, coffee, cbecolateandcola drinks) for24 hours prior to the 25        CLff (L,~.r)~"                      163.49 ± 64.14
         start of the study and until after the final blood draws for the
                                                                                  ~-,=9
         study. Subjects were also requested to abstain from alcoho!
         products for 48 hours prior to the start of the study and until          Single-Dose Pharmacokinetic Parameters for Dimethyl Sul-
         after the final blood draws of the study.                                foxide (for Two Knee Application)
             Blood samples were collected at 0.0 hour (pre-dose), ! .0, 30           Meanings of each of the parameters in the tables above are
         2.0, 4.0, 6.0, 8.0, 10.0, 12.0, 24.0, 36.0, 48.0, 60.0, 72.0, 96.0,      as follows:
          120.0, 144.0, 168.0, 192.0, 216.0 and 240.0 (hours post-                   AUCo.t Area under the concentration-time curve from time
         dose).                                                                          zero to time of last sampling time point
             The blood samples ~vere kept in an ice bath prior to cen-
                                                                                     AUCo_i.~ Area under the concentration-time curve from
         trifugation and were centrifuged as soon as possible (within 35
                                                                                        time zero to infinity
         30 minutes) under refrigerated conditions at 3,500 rpm for
         seven minutes. The plasma was removed from each blood                       C~.. Maximum plasma concentration after dosing
         collection tube and aliquotted into pro-cooled, labeled, dupli-             T,.~. Time to occurrence of Cmax
         cate, polypropyleue tubes, kept in an ice bath prior to, being              tt/2 Apparent elimination half-life
         flash frozen in an uptight position, in a dry-ice acetone bath 4o           K~t Apparent elimination rate constant
         and stored frozen at minus (-) 70° C.±10° C. The tubes were                 CL/F Apparent total body clearance
         labeled with the study number, dosing period, subject num-
         ber, study period, sampling time point, aliquot/tube number
         and matrix. Upon completion of the clinical portion of the
         study, all samples were transported in dry-ice to an analytical 45
         laboratory (Maxxam Analytics Inc.) for the analysis of                                               Example 8
         diclofenac sodium, dimethyl sulfoxide and dimethyl sulfone
         using validated analytical methods.
                                                                                           A Multi-Dose Pharmacokinetic Evaluation of a
             Dimethyl sulfone was below the limit of quantitation in
                                                                                        Topical Solution Containing 1.5% ~v/w Diclofenac
         most samples and therefore pharmacokinetic analysis was not 5o
                                                                                           Sodium and 45.5% DMSO in Normal Healthy
         conducted. Graphs showing the average measured diclofanac
                                                                                              Non-Smoking Male and Female Subjects
          sodium concentration and DMSO concentration in the sub-
         jects as a function of time are provided in FIGS. 3 and 4.
                                                                                      This Example describes nove! clinical information that
             Pharmacokinetic analysis of the data was conducted using
          WiaNonlin version 4.0 (Pharsighr, Carry, US). The principal 55          may,    for example, be provided to a user according to the
                                                                                  present invention, comprising the results of a study conducted
          statistical software used was SAS®, version 8.00 (Statistical
                                                                                  to evaluate the pharmacokinetics of diclofenac sodium, dim-
         Analysis System). Results for pharmacokinetic parameters
          are summarized in the following tables.                                 ethyl sulfoxide and dimethyl sulfone after multiple doses of a
                                                                                  topical diclofenac preparation containing 1.5% diclofenac
                                                                               6O sodium (2-[(2,6-dichlorophenyl)aminolbenzeneacetic acid,
                                                                                  monosodium salt), 45.5% DMSO, etlianol, propylene glycol,
                                        PENNS.AID ® TOPICAL SOLUTION              glycerine, and water ("Topical Diclofenac Solution’’
               Pharmacotdnetic                     - . n = 18     . ¯   ¯    "     [Pennsaid® (Nuvo Research Inc. Mississauga. Ontario
                                                                                  Canada]) which, as in the previous Example 7, was applied to
               AUCo_t (ng- hr/mL)                 177.51 ± 72.62                  both knees of each subject. This study followed a one-period,
               AUCo4.z(ng - hr/mL)l"              196.27 ± 68.47                  open-label, multiple-dose design in 20 normal healthy, non-
                                                                                  smoking male and female subjects.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 53 of 232 PageID: 8191




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                                       49                                                                5O
            Twenty subjects (10 males, 10 females) with a mean age of       Multiple-Dose Pharmacokinetic Parameters for Diclofenac
        33 years (mnge=18 to 43 years) were enrolled_ in this study.        Sodium (for Two-Knee Application)
        The subjects" mean height was 171 cm (mnge=157 to 185 cm)
        and their mean weight was 69 kg (range=48 to 87 kg). The
        subjects consisted of 15 Caucasians, 3 Asians and 2 Blacks.                                      PENNSAID ® TOPICAL SOLUTION
                                                                                Ph~n-aacokinefic                        n = 19
            The treatment (40 drops, applied on the knee four times a
                                                                                 Parameter                           Mean :v SD
        day) was carried on for 7 days, and the pharmacokinetic
        profile was characterized on Day 8 after the 29th administra-           AUCo_, (ug "hr/mL)                31.887 ± 15.520
                                                                                AUCo_i~l-(ug" hrlmL)°f            35.979 ± 15.419
        tion. ~Each dose of2bpical Diclofenac Solution was applied to
                                                                         10     C~x (ug/mL)                         1.206 :e 0.575
        the knee follmving the procedure described previously in                T~ kq~r)                            3.842 :~ 3.468
        Example 7.                                                              t~o (bx)J"                        43.123 :e 22.968
                                                                                 K,t (hr-~)’["                    0.0213 :e 0.0124
            Doses were applied either at a clinic or at home according
        to following schedule:
            Days 1 and 6: The subjects applied the first dose of Topical
        Diclofenac Solution to both knees in the clinic under super-        Multiple Dose Pharmacokinetic Parameters for Dimethyl
        vision. The subjects applied the second, third and fourth doses     Sulfoxide (for Two-Knee Application)
        of Topical Diclofenac Solution at home.
            Days 2 to 5: "l~e subjects applied all four doses of Topical
        Diclofenac Solution at home.                                                                     PENNSAID ® TOPICAL SOLUTION
                                                                         2O
                                                                                 IJhannacokinefic                       n = 19
            Day 7: The subjects applied the first dose of Topical                Paxameter                            Mema ± SD
        Diclofenac Solution in the clinic and then exited. The second
                                                                                 AUC~_, (ug" hr/mI.)            I525.292 ~: 1065.245
        and third doses were applied at home. Tha fourth dose was
                                                                                 AUCo_~,z-(ug. hr/mL)~          2339.190 ± 1276.555
        applied in the clinic.                                                   C~ (ugimL)                        18.033 ± 10.587
            Day 8: The subjects applied the last dose of Topical 25              T~ (hr)                            9,397 ± 13.34I
         Diclofenac Solution to both knees in the clinic following an            tv2 (hr)’t                        61.287 ± 18.376
                                                                                 K~t (hr-~)’["                     0.0123 ~: 0.0039
        overnight fast of at least ten hours.
            Blood samples were drawn according to the following:
            Days 1 and Day 6:0.0 hour (pre-dose).
                                                                         30 Multiple-Dose Pharmacokinetic Parameters for DimethyI
            Day 7:0.0 hour (pre-dose).
                                                                            Snifone (for Two-Knee Application)
            Day 8:0.0 hour (pre-dose), 1.0, 2.0, 4.0, 6.0, 8.0, 12.0,
                                                                               Quantities reported in the above tables have the meanings
         24.0, 36.0, 48.0, 60.0, 72.0, 96.0, 120.0, 168.0, 2!6.0, 264.0,
                                                                            provided previously in Example 7. Origin of time (t-O) for
         312.0 and 360.0 hours post 0.0 hour post-drug administration
                                                                            calculation of AUCo., and AUCo.o~fis time of the last dose of
         Day 8.
                                                                         35 drug on Day 8.
            Blood samples were processed and analyzed using the
                                                                               It will be appreciated that the data provided in Examples 7
         methods described previously in Example 7.
                                                                            and 8 evidence that the systemic exposure to diclofenac
            One subject dropped out of the study for personal reasons
                                                                            caused by use of Topical Diclofenac Solution to treat osteoar-
         so plasma concentration data from the 19 subjects who
                                                                            thritis of the knee (40 drops per knee QID) is much lower than
         received the Topical Diclofenac Solution and who completed
                                                                         40 that caused by a typical oral dose of diclofenac used in treat-
         the study period were used in the pharmacokinetic analyses.
                                                                            ment ofosteoarthritis (e.g. 50 mg TID). For example the label
            Steady state was achieved on Day 6 (after 20 doses) for the
                                                                            of’vbltaren® Gel (http:!/www.voltarengel.com/pdfiVoltaren-
         3 molecular entities analyzed. On Day 8, diclofenac sodium
                                                                            PI-10-19.pdf) reports mean AUCo.24=3890 ng-h/mL and
         remained measurable up to 360 hours post-dose in 11 sub-
                                                                            mean C,,o., of 2270 ng/mL for subjects taking 50 mg of oral
        jects. On Day 8, DMSO and dimethyl sulfone ("DMSO2")
                                                                         45 diclofenac TID. Assuming the effects of additional doses of
         remained measurable up to 120 hours (10 subjects) and 216
                                                                            Topical Diclofenac Solution are additive, one would conclude
         hours (9 subjects) post-dose, respectively.
                                                                            from the AUCo4.f provided in Example 7 that the Topical
            Nots of Diclofenac, DMSO and DMSO2 concentrations
                                                                            Diclofenac Solution osteoarthritis dose results in only about
         are provided in FIGS. 5-7.
                                                                            20% of the systemic exposure to the active provided by the
            The pharmacokinetic analysis was conducted using Win-
                                                                         50 oral drug. The fact that Topical Diclofenzc Solution is shown
         Nonlin Version 4.0 (Pharsight, Carry, US). The principal sta-
                                                                            to be comparable in efficacy to oral diclofenac sodium for
         tistical software used was SAS®, version 8.00. Results for
                                                                            treatment ofosteoarthritis (see Example 1) is very surprising
         important pharmacokinetic parameters are provided in the
                                                                            in view of these facts, especially as it is widely believed that
         tables below.
                                                                            NSAIDs, such as diclo fenac, exert their analgesic effects both
                                                                         55 locally and centrally. Using the data from Example 8 it also
                                                                            can be computed that C,,~, of orally administered diclofenac
                                      PENNSAID ® TOPICAL SOLT.YI"ION        is more than one hundred fold higher than C,,~ for Topical
              Pharmacoldnetic                       n = 19                  Diclofenac Solution.
              P&rmneter                         Mean n: SD

             AUCo_, (ng. hr/mL)              695.398 ± 348,866
                                                                         60                        ATTACHMENT
              AUCo4~/(ng ¯ bx!mL)’{"         745.192 :~ 374.740
              C~ (ngifnL)                     19.415 a: 9.326                                Full Prescribing Information
              T~ (kr)                          4.005 ± 6.5ad.
              I i~2 (|t0i"                    78.972 ± 38A33
                                                                            Warning: Cardiovascular and Gastrointestinal Risk
              K,~ (Er-~)’~                    0.0105 ± 0.0040
                                                                         65 Cardiovascular Risk
        t’n = 15                                                              Nonstoroidal anti-inflammatory drugs (NSAIDs) may
                                                                                cause an increased risk of serious cardiovascular throm-




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 54 of 232 PageID: 8192




                                                               US 8,546,450 B1
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              botic events, myocardial infarction, and stroke, which              PENNSAII2~ Topical Solution should not be administered
              can be fatal. This risk may increase with duration of use.             in patients who have experienced asthma, urticaria, or
              Patients with cardiovascular disease or risk factors for               allergic-type reactions after taking aspirin or other
              cardiovascular disease may be at greater risk (see Warn-               NSAIDs. Severe, rarely fatal, anaphylactic-like reac-
              ings and Precautions (5.1)].                                 5         tions to NSAIDs have been reported in such patients [see
           PENNSAID® Topical Solution is contraindicated in the                      Warnings and Precautions (5.7, 5.14)].
              peri-operative setting of coronary artery bypass graft              PENNSAID® Topical Solution is contraindicated in the
              (CABG) surgery/see Contraindications (4)].                             setting of coronary artery bypass graft (CABG) surgery
                                                                                     [see Warnings and Precautions (5.1)].
        Gastrointestinhl Risk
                                                                           10 5. Warnings and Precautions
           NSAIDs cause an increased risk of serious gastrointestinal
                                                                                  5.1 Cardiovascular Thrombotic Events
              adverse events including bleeding, ulceration, and per-
                                                                                  Clinical trials of several oral COX-2 selective and nonse-
              foration of the stomach or intestines, which can be fatal.             lective NSAIDs of up to three years duration have shown
              These events can occur at any t~.e during use and with-
                                                                                     an increased risk of serious cardiovascular (CV) throm-
              out warning symptoms. Elderly patients are at greater 15               botic events, myocardial infarction (MI), and stroke,
              risk for serious ggstmintestinal events/see Warnings and               which can be fatal. All NSAIDs, including
              Precautions (5.2)].                                                    PENNSAID® and COX-2 selective and nonselective
        1. Indications and Usage                                                     orally administered NSAIDS, may have a similar risk.
           PENNSAID® Topical Solution is a uonsteroidal anti-in-                     Patients with known CV disease or risk factors for CV
              flammatory drug (NSAID) indicated for the treatment of z0              disease may be at greater risk. To minimize the potential
              signs and symptoms of oste~arthritis of the knee(s),                   risk tbr an adverse CV event in patients treated with an
              including pain and impaired ability to perform daily                   NSAID, the lowest effective dose should be used for the
              activities.                                                            shortest duration possible. Physicians and patients
        2. Dosage and Administration                                                 should remain alert for the development of such events,
           2.1 General Instructions                                        25        even in the absence of previous CV symptoms. Patients
           For the relief of the signs and symptoms ofosteoarthritis of               should be informed about the signs and/or symptoms of
              the knee(s), the recommended dose is 40 drops per knee,                 serious CV events and the steps to take if they occur.
               4 times a day. Apply PENNSAlD~ Topical Solution to                 There is no consistent evidence that concurrent use of
              clean, dry skin. Wash the hands before and alter appli-          aspirin mitigates the increased risk of serious CV thrombotic
              cation of PENNSAID® Topical Solution. To avoid spill- 30 events associated with NSAID use. The concurrent use of
               age, dispense PENNSAIIN~ 10 drops at a time either              aspirin and NSAIDs, such as diclofenac, does increase the
               directly onto the knee or first into the hand and then onto     risk of serious GI events [see Warnings and Precautions
               the knee. Spread PENNSAID® Topical Solution evenly              (5.2)].
               around front, back and sides of the knee. Repeat this              Two large, controlled, clinical trials o f an orally adminis-
               procedure until 40 drops have been applied and the knee 35 tered COX-2 selective NSAID for the treatment of pain in the
               is completely covered with solution. To treat the other         first I0-14 days following CABG surgery found an increased
               knee, if symptomatic, repeat the procedure. Application         incidence of myocardial infarction and stroke [see Contrain-
               of PENNSAID~ Topical Solution in an amount exceed-              dications (4)].
               ing or less than the recommended dose has not been                 5.2 Gastrointestinal Effects--Risk of GI Ulceration,
               studied and is therefore not recommended.                   40 Bleeding, and Perforation
            2.2 Special Precautions                                               The controlled studies of topically-applied PENNSAID®
            Showering/bathing should be avoided for at least 30 min-                  Topical Solution have demonstrated a profile of sys-
               utes after the application of PENNSAID® Topical Solu-                  temic adverse events similar to that of orally adminis-
               tion to the treated knee.                                              tered diclofenac sodium, including adverse gastrointes-
            Patient should wash his/her hands after use.                   45         tinal effects, but at a significantly lower incidence [see
            PENNSAID® Topical Solution should not be applied to                       Adverse Reactions (6.1)].
               open wotmds.                                                       NSAIDs, including diclofanac, can cause serious gas-
            Contact of PENNSAID~ Topica! Solution with eyes and                       trointestinal (GI) adverse events including bleeding,
               mucous membranes should be avoided.                                    ulceration, and perforation of the stomach, small intes-
            External heat and!or occlusive dressings should not be 5o                 tine, or large intestine, which can be fatal. These serious
               applied to treated knees.                                              adverse events can occur at any time, with or without
            The wearing of clothing over the PENNSAID® Topical                        warning symptoms, in patients treated with NSAlDs.
                Solution-treated knee should be avoided until the treated             Only one in five patients who develop a serious upper GI
               knee is dry.                                                           adverse event on NSAID therapy is symptomatic. Upper
            Exposure of the treated knee(s) to sunlight should be 55                  GI ulcers, gross bleeding, or perforation caused by
                avoided.                                                              NSAtDs occur in approximately 1% of patients treated
            Wait until the treated area is dry before applying sunscreen,             for 3-6 months, and in about 2-4% of patients treated for
                insect repellant, lotion, moisturizer, cosmetics, or other            one year. These trends continue with longer duration of
                topical medication to the same knee you have just treated             use, increasing the likelihood of developing a serious GI
               with PENNSAID® Topical Solution.                             60        event at some time during the course of therapy. How-
        3. Dosage Forms and Strengths                                                  ever, even short-term therapy is not without risk.
            1.5% w/w topical solution                                              NSAIDs should be prescribed with extreme caution in
         4. Contraindications                "                                        thoge with a prior history, of ulcer disease or gastrointes-
            [he use of PI2NNSAID® l;~picaI Solution is comraindi-                      tinal b}eexling. Patients with a prior lfistory of peptic
                cared in patients with a known hypersensitivity to 65                  ulcer disease and/or gastrointestinal bleeding who use
                diclofenac sodium or any other component of                            NSAIDs have a greater than 10-fold increased risk for
                PENNSAID~ Topical Solution.                                            developing a GI bleed compared to patients with neither




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 55 of 232 PageID: 8193




                                                            US 8,546,450 BI
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             of these risk factors. Other factors that increase the risk         pruritus, jaundice, right upper quadrant tenderness, and
             of GI bleeding in patients treated with NSAIDs include              "flu-like" symptoms), and the appropriate action
             concomitant use of oral corticosteroids or anticoagu-               patients should take if these signs and symptoms appear.
              lants, longer duration of NSAID therapy, smoking, Use           5.4 Hypertension
             of alcohol, older age, and poor general health status. s         No difference in hypertension was detected between
              Most spontaneous reports of fatal GI events are in eld-            PENNSAID® Topical Solution and placebo in con-
             erly or debilitated patients and therefore, special care            trolled clinical studies [see Adverse Reactions (6.1)1.
              should be taken in treating this population.                    NSAIDs, including PENNSAID® Topical Solution, can
          To minimize the potential risk for an adverse GI event, the            lead to the onset of new hypertension or worsening of
              lowest effective dose should be used, for the shortest to          preexisting hypertension, either of which may contrib-
              possible duration. Patients and physicians should                  ute to the increased incidence of CV events. Patients
              remain alert for signs and symptoms of GI ulceration               taking thiazides or !oop diuretics may have impaired
              and bleeding during diclofenac therapy and promptly                response to these therapies when taking NSAIDs.
              initiate additional evaluation and treatment if a serious          NSAIDs, including PENNSAID® Topical Solution,
              GI adverse event is suspected. For high-risk patients, 15          should be used with caution in patients with hyperten-
              alternate therapies that do not involve NSAIDs should              sion. As with all NSAIDs, blood pressure should be
              be considered.                                                     monitored closely dtu-ing the initiation of therapy with
          5.3 Hepatic Eflbcts                                                    PENNSAID® Topical Solution and throughout the
          The controlled studies of topically-applied PENNSA1D®                  course of therapy.
              Topical Solution have demonstrated a profile of sys- 20         5.5 Congestive Heart Failure and Edema
              temic adverse events similar to that of orally adminis-         Fluid retention and edema have been observed in some
              tered diclofenac sodium, including adverse hepatic                 patients treated with NSAIDs, including PENN&adD®
              effects (increased transaminases), but at a significantly          Topical Solution. PENNSAID® Topical Solution
              lower incidence [see Adverse Reactions (6.1                        should be used with caution in patients with fluid reten-
          In addition to the borderline elevations of one or more liver 25       tion or heart failure.
              tests that may occur in up to 15% of patients taking oral       5.6 Renal Effects
              NSAIDs, in clinical trials of oral diclofenac of up to 3        The controlled studies of topically-applied PENNSAID®
              years in duration, notable elevations of ALT or AST                Topical Solution have demonstrated a profile of sys-
               (approximately three or more times the upper limit of             temic adverse events similar to that of orally adminis-
              normal) have been reported in 1-5% of patients includ-             tered diclofenac sodium, including adverse renal effects,
               ing elevations of more than 8 times the ULN. In addition          but at a lower incidence [see Adverse Reactions (6.1)].
              to enzyme elevations seen in clinical trials, postmarket-       Long-term administration of NSAIDs has resulted in renal
               ing surveillance has reported cases of severe hepatic             papillary necrosis and other renal injury. Renal toxicity
              reactions, including liver ueerosis, jaundice, fulminant           has also been seen in patients in whom renal prostaglan-
              hepatitis with and without jaundice, and liver failure 35          dins have a compensatory role in the maintenance of
              with rates generally higher than for other NSAIDs.                 renal perfusion. In these patients, administration of an
               Some of these reported cases resulted in fatalities or liver       NSAID may cause a dose-dependent reduction in pros-
               transplantation. Physicians should measure transami-               taglandin formation and, secondarily, in renal blood
               nases periodically in patients receiving long-term                 flow, which may precipitate overt renal decompensation.
               therapy with oral diclofenac, because severe hepatotox- 40         Patients at greatest risk of this reaction are those with
               icib’ may develop without a prodrome of distinguishing             impaired renal function, heart failure, liver dysfunction,
               symptoms. The optimum times for making the first and               those taking diuretics and ACE inhibitors, and the eld-
               subsequent transaminase measurements are not known.                erly. Discontinuation of NSAID therapy is usually fol-
               In one U.S. trial (open-label) of oral diclofenac that             lowed by recovery to the pretreatment state.
               involved 3,700 patients monitored first at 8 weeks and 45      No information is available from controlled clinical studies
                1,20(I patients monitored again at 24 weeks, almost all           regarding the use of PENNSAID® Topical Solution in
               meaningful elevations in transaminases were detected               patients with advanced renal disease. Therefore, treat-
               before patients became symptomatic. In 42 of the 51                ment with PENNSAID® Topical Solution is not recom-
               patients Inall trials who developed marked transaminase            mended in patients with advanced renal disease. If
               elevations, abnormal tests occurred during the first 2 50          PENNSAID® Topical Solution therapy is initiated,
               months of therapy with diclofenac. Postmarketing expe-             close monitoring of the patient’s renal function is advis-
               rience has shown severe hepatic reactions can occur at             able.
               any time dttring treatment with oral diclofenac. Cases of       5.7 Anaphylactoid Reactions
               drng-induced hepatotoxicity have been reported in the           As with other NSAIDs, anaphylactoid reactions may occur
               first month, and in some cases, the first 2 months of 55           in patients without prior exposure to PENNSAID~
               therapy. Based on these experiences, transaminases                 Topical Solution. PENNSAID® Topical Solution
               should be monitored within 4 to 8 weeks alter initiating            should not be given to patients with the aspirin triad.
               treatment with oral diclofenac.                                    This symptom complex typically occurs in asthmatic
           If abnormal liver tests persist or worsen, if clinical signs           patients who experience rhinitis with or without nasal
               and!or symptoms consistent with liver disease develop, 60          polyps, or who exhibit severe, potentially fatal broncho-
               or if systemic manifestations occur (e.g., eosinophilia,            spasm alter taking aspirin or other NSAIDs [see Con-
               rash), PENNSAID® Topical Solution should be discon-                traindications (4) and Warnings and Precautions
               tim~ed immediately.                                                (5.14)]. Emergency help should, be sought in cases
           ’lb minimize the possibility that hepatic injury will become            where m~ anaphylactoid reaction occurs.
                severe between transaminase measurements, physicians 65        5.8 Skin Reactions
               should inform patients of the warning signs and symp-           No serious skin adverse events have been ~-eperted in clini-
               toms of hepatotoxicity (e.g., nausea, fatigue, lethargy,            cal trials with PENNSAII2~ Topical Solution.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 56 of 232 PageID: 8194




                                                             US 8,546,450 B1
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           PENNSAID® 2bpical Solution should not be applied to                    NSAIDs inhibit platelet aggregation and have been shown
           open skin wounds, infections, inflammations, or exfo-                     to prolong bleeding time in some patients. Unlike aspi-
            liative dermatitis, as it may affect absorption and toler-              rin, their effect on platelet function is quantitatively less,
            ability of the drug.                                                     of shorter duration and reversible. Patients receiving
         NSAIDs, including PENNSAID® Topical Solution, can 5                         PENNSAID® Topical Solution who may. be adversely
            cause serious skin adverse events such as exfoliative                    affected by alterations in platelet function, such as those
            dermatitis, Stevens-Johnson Syndrome (SJS), and toxic                    with coagulation disorders or patients receiving antico-
            epidermal necmlysis (’FEN), which can be fatal. These                    agulants, should be carefully monitored.
            serious events may occur without warning: Patients                    5.14 Preexisting Asthma
                                                                          to      Patients with asthma may have aspirin.-sensitive asthma.
            should be informed about the signs and symptoms of
                                                                                     The use of aspirin in patients with aspiria-sefisitive
            serious skin manifestations, and the use of the drag
                                                                                     asthma has been associated with severe bronchospasm,
            should be discontinued at the first appearance of skin
                                                                                     which can be fatal. Since cross-reactivity, including
            rash or any other signs of hypersensitivity.
                                                                                     bronchospasm, between aspirin and other nonsteroidal
         The effect of PENNSAID® Topical Solution under occlu-
                                                                          15         anti-irfflammatory drugs has been reported in such aspi-
            sive dressing has not been evaluated, and should be                      rin-sensitive patients, PENNSAID® Topical Solution
            avoided.                                                                 should not be administered to patients with this form of
         5.90phthalmologic Effects                                                   aspirin sensitivity and should be used with caution in
         In a recent 26 week mt study and a 52 week minipig study,                   patients with preexisting asthma.
            conducted according to current GLP and using the same 2o              5.15 Sun Exposure
            source of purified DMSO as in PENNSAID® Topical                       Patients should minimize or avoid exposure to natural or
            Solution, no abnormal eye changes were observed. In                      artificial sunlight on treated knee(s) because studies in
            human clinical studies of PENNSA1D® Topical Solu-                        animals indicated topical diclofenac treatment resulted
            tion with treatment for up to one year, no abnormal.                     in an earlier onset of ultraviolet light-induced skin
            changes other than normal age-related findings were 25                   tumors. Tbe potential effects of PENNSAID® Topical
            observed. Some early studies (1960s-1970s) in rabbits,                   Solution on skin response to ultraviolet damage in
            dogs and pigs and one study in monkeys demonstrated                      humans are not known.
            an increased risk for development of lens opacities and               5.16 Eye Exposure
            changes in refractive index associated with DMSO.                     Contact of PENNSAID® Topical Solution with eyes and
            Three other monkey studies of up to one year showed no 30                mucosa, although not studied, should be avoided.
            abnormality.                                                             Patients should be advised that if eye contact occurs,
         5.10 Pregnancy                                                              they should immediately wash Qut the eye with water or
         As with other NSAIDs, PENNSAID® Topical Solution                            saline and consult a physician if ikritation persists for
             should be avoided because it may cause premature clo-                   more than an hour.
             sure of the ductus arteriosus. The effect of DMSO on the 35          5.17 Laboratory Tests
            human fetus is unknown.                                               The controlled studies of topically-applied PENNSAID®
         5.11 Corticosteroid Treatment                                               Topical Solution have demonstrated a profile of sys-
         PENNSAID® Topical Solution caunot be expected to sub-                        temic adverse events similar to that of orally adminis-
             stitute for corticosteroids or to treat corticostemid insuf-            tered diclofenac sodium, includkng abnormal laboratory
             ficiency. Abrupt discontinuation of corticosteroids may 40               tests, but at a significantly lower incidence [see Adverse
             lead to exacerbation of corticosteroid-response illness.                Reactions (6.1)1.
             Patients on prolonged corticostemid therapy should                   Because serious GI tract ulcerations and bleeding can
             have their therapy tapered slowly ifa decision is made to                occur without warning symptoms in patients taking
             discontinue corticosteroids.                                             NSAIDs, physicians should monitor for signs or syrup-
         5.12 Inflammation                                                45          toms of GI bleeding. Patients on long-term treatment
         The pharmacological activity of PENNSAID® Topical                            with NSAIDs, should have their CBC and a chemistry
             Solution in reducing inflammation, and possibly fever,                   profile checked periodically. If abnormal liver tests or
             may diminish the utility of these diagnostic signs in                    renal tests persist or worsen, PENNSAID® Topical
             detecting complications of presumed noninfectious,                       Solution should be discontinued.
             painful conditions.                                          50   6. Adverse Reactions
         5.13 Hematological Effects                                               6.1 Clinical Studies Experience
         No difference in hemoglobin abnormality was detected                     Because clinical trials are conducted under widely varying
             between PENNSAID® Topical Solution and placebo in                        conditions, adverse reaction rates observed in the clini-
             controlled clinical studies [see Adverse Reactions (6.1)].               cal trials of a drug cannot be directly compared to rates
         The effects of PENNSAID~ Topical Solution on platelet 55                     in the clinical trials of another drug and may not reflect
             function were studied in 10 healthy subjects adminis-                    the rates observed in practice.
             tered 80 drops four times a day for 7 days. There was no             The data described below reflect exposure to
             significant change in platelet aggregation following one                 PENNSAID~ Topical Solution of 911 patients treated
             week of treatment [see Clinical Pharmacology (12.4)].                    between 4 and 12 weeks (mean duration of 49 days) in
         Anemia is sometimes seen in patients receiving NSAIDs.                       seven Phase 3 controlled trials, as well as exposure of
             This may be due to fluid retention, occult or gross GI                   793 patients treated in anopen label study, including 463
             blood loss, or an incompletely described effect upon                     patients treated for at least 6 mouths, and 144 patients
             erythropoiesis. Patients on long4erm treatment with                      treated for at least 12 months. The population mean age
             NSAIDs, including PENNSAID® lbpical Solution,                            was approximately 60 years, 89% of patients were Cau-
             should have their hemoglobin or hematocrit checked if ls                 casians, 64% were females, and all patients had primary
             they exhibit any signs or symptoms of anemia or blood                    osteoarthritis. The most common adverse events with
             loss.                                                                    PENNSAID® Topical Solution were application site




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 57 of 232 PageID: 8195




                                                                  US 8,546,450 B1
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            skin reactions. These events were the most common                Table 1 lists all adverse reactions occurring in ~l% of
            reason for withdrawing from the studies.                              patients receiving PENNSAID® Topical Solution,
         Application site reactions:                                              where the rate in the PENNSAID® Topical Solution
         In the controlled trials, the most common treatment-rolated              group exceeded placebo, from seven controlled studies
            adverse events in patients receiving PENNSAID® Topi- 5                conducted in patients with osteoarthrifis. Since these
            cal Solution were application site skin reactions. Appli-             trials were of different durations, these
            cation site reactions were characterized by one or more
            of the following: dryness, erythema, induration,                                                 TABLE 1
            vesicles, paresthesia,, pruritus, vasodilation, ache, and
            urticaria. The most frequent of these reactions were dry 10                          Adverse Reactions occurring in
                                                                                           of patients treated with PENNSAID ® Topical
            skin (32%), contact dermatitis characterized by skin
                                                                                       Solution in placebo a~ad oral diclofenac-controlled trials.
            erythema and induration (9%), contact dermatitis with
            vesicles (2%) and pruritus (4%). In one controlled trial,                                                         TreaWaent Group:
            a higher rate of contact dermatitis with vesicles (4%)
            was observed after treatment of 152 subjects with the 15                                               PENNSAID      ®
                                                                                                                       Topical         Topical
            combination of PENNSAID® Topical Solution and oral
                                                                                                                       Solution        Placebo diclofenac ’
            diclofenac. In the open label uncontrolled long-term                                                       N~911           N=332       N=462
            safety study, contact dermatitis occurred in 13% and          Adverse Reactiont                             N (%)           N (%)      N (%)
            contact dermatitis with vesicles in 10% of patients, gen-
                                                                          Dry S’tfn (Application Site)                 292 (32)         17 (5)       8 (2)
            erally within the first 6 months of exposure, leading to a 20 Contact Dermatitis (Application                83 (9)          6 (2)       6 (I)
            withdrawal rate for an application site event of 14%.         Site)
         Adverse events common to the NSAID class:                        Dyspepsia                                      72 (8)         13 (4)      87 (19)
                                                                          Abdominal Pain                                 54 (6)         10 (3)      78 (17)
         In controlled trials, subjects treated with PENNSAID®
                                                                          Flatulence                                     35 (4)          1 (<1)     52 (11)
            Topical Solution experienced some adverse events asso-        Pruritus (Application Site)                    34 (4)          7 (2)       2 (<1)
            ciated with the NSAID class more frequently than sub- 25 Dian’hea                                            33 (4)          7 (2)      61 (I3)
            jects using placebo (constipation, diarrhea, dyspepsia,       Nausea                                         33 (4)          3 (1)      44 (10)
                                                                          Pharyngitis                                    40 (4)         13 (4)       4 (<1)
            nausea, flatulence, abdominal pain, edema; see Table !).
                                                                          Constipation                                   29 (3)          1 (<1)     33 (7)
            In direct comparative trials these adverse events             Edema                                          26 (3)            0        27 (6)
            occurred less frequently with PENNSAID® Topical               e~sh                                           25 (3)          5 (2)       7 (2)
             Solution than with ora! diclofenac (see Table 1). The 30 Infection                                          25 (3)          8 (2)      18 (4)
                                                                          Ecchymosis                                     19 (2)          1 (<1)      9 (2)
            adverse event hypertension was reported less frequently
                                                                          Dry Skin                                       19 (2)          ~ (<D       1 (<1)
            with PENNSAID® Topical Solution (less than 1%) than           Contact Dermatitis, vesicles                   18 (2)            0         1 (<i)
            oral diclofenac (2%), andwas not different from placebo       (Application Site)
             (less than 1%). Based on a clinical definition of hyper-     Paresthesia                                    14 (2)          3 (<1)      4 (<1)
                                                                                                                         22 (2)          7 (2)      11 (2)
             tension (20% increase in diastolic blood pressure or 35 Accidental Injury
                                                                          Pruritus                                       15 (2)          2 (<I)     10 (2)
             increase in blood pressare to >150/100), less hyperten-      Sinusitis                                      10 (1)          2 (<1)      6 (1)
             sion was detected with PENNSAID® Topical Solution            Halitosis                                      11 (I)          1 (<1)       1 (<I)
             (4%) than oral diclofenac (7%), and no difference was        Application    Site Reaction                   i1  (I)         3  (<1)     0 (0)

             found compared to placebo (3%). Serious adverse              tPre ferrcd Term gc¢ordi~g to COSTART
             events were observed in the controlled and open label 4o
             long-term trial in less than 1% of patients (upper and           6.2 Postmarketing Experience
             lower GI hemorrhage, partial small bowel obstruction,            Over 6 million bottles of PENNSAID® Topical Solution
             myocardial infarction, angina, cerebrovascular acci-                  have been prescribed in non-US countries. In non-US
             dent, transient ischemic attack).                                     post-marketing surveillance, the following adverse reac-
          Some laboratory abnormalities associated with the NSAID 45               lions have been rel~rted during post-approval use of
             class were detected more frequently with PENNSAID®                    PENNSAID~ Topical Solution. Because these reac-
             Topical Solution than with placebo (abnormal serum
                                                                                   tions are reported voluntarily from a popuintion of
             sodium, chloride and urea). Some NSAID-related labo-
                                                                                   uncertain size, it is not always possible to reliably esti-
             ratory abnormalities were not different between
                                                                                   mate their frequency or establish a causal relationship to
             PENNSAID® Topical Solution and placebo (abnormal 50
                                                                                   drug exposure.
             hemoglobin, transaminases, and creatinine). Elevation
                                                                              Body as a whole: abdominal pain, accidental injury, aller-
             in liver function tests occurred marginally more fre-
             quently with PENNSAID® Topical Solution (ALT,                         gic reaction, asthenia, back pain, body odor, chest pain,
             4.1%; AST, 3.7%) than with placebo (ALT, 2.4%; AST,                   edema, face edema, halitosis, headache, lack of drug
             2.3%). In direct comparative trials laboratory abnor- 55              effect, neck rigidity, pain
             malities associated with the NSAID class occurred less           Cardiovascular: palpitation, cardiovascular disorder
             frequently with PENNSAII2~ Topical Solution than                 Digestive: diarrhea, dry mouth, dyspepsia, gastroenteritis,
             with oral diclofenac (hemoglobin, 3% vs. 9%; ALT, 4%                  decreased appetite, mouth ulceration, nausea, rectal
             vs. 17%; AST, 4% vs. 13%; creatinine, 3% vs. 7%; urea,                hemorrhage, ulcerative stomatifis
             9% vs. 12%).                                              6o     Metabolic and Nutritional: creatinine increased
          The combination of PENNSAID® TopicalSolution and                    Musculoskeletal: leg cramps, myalgia
             oral diclofenac, compared to oral diclofenac alone,              Nervous: depression, dizziness, drowsiness, lethargy, par-
             resulted in a higher rate of-rectal hemorrhage (3% vs.                esthesia, paresthesia at application site "                            :
              less than 1%), and more liequem abnormal creatinine              Respiratory: aslluna, dyspnea, laryngismus, iaryngitis,
             (12% vs. 7%), urea (20% vs. 12%), and hemoglobin 65                   pharyngitis
              (13% vs. 9%), but no difference in elevation of liver           Skin and Appendages: At the Application Site: contact
             transaminases.                                                        dermatitis, contact dermatitis with vesicles, dry skin,




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 58 of 232 PageID: 8196




                                                              US 8,546,450 B1
                                      59                                                                   6O
              pruritus, rash; Other Skin and Appendages Adverse                    tolerated but resulted in a higher rate of rectal hemor-
              Reactions: eczema, rash, pruritus, skin discoloration,               rhage (3% vs. less lhan i%), and more frequent abnor-
              urticaria                                                            mal creatinine (12% vs. 7%), urea (20% vs. 12%) and
           Special senses: abnormal vision, blurred vision, cataract,              hemoglobin (13% vs. 9%). Patients on combination
              ear pain, eye disorder, eye pain, taste perversion                    therapy with PENNSAID® Topical Solution and an oral
           Urogenital: breast enlargement                                          NSAID should have periodic laboratory evaluations, as
        7. Drag hatemctions                                                         for any long-term treatment with an oral NSAID.
           Drag interactions with the use of PENNSAID® Topica!                  7.9 Topical Treatments
              Solution have not been studied. The following drug                Concomitant use of PE~NNSAID® Topical Solution with
              interactions are noted for oral diclofenac sodium.                   other topical products, including DEET (active ingredi-
           7.1 Aspirin                                                              ent in insect repellent), 2,4-D (active ingredient in com-
           When diclo fenac is a&nirdstered with aspirin, the binding              mouly used pesticides) and oxybenzone (active ingredi-
              of diclofenac to protein is reduced, although the clear-              ent in stmscreens), on the same skin site has been tested
              ance of free diclofenac is not altered. The clinical sig-             in the minipig. The results show that repeated applica-
              nificance of this interaction is not known; however, as               tion of PENNSAID® Topical Solution did not enhance
              with other NSAIDs, concomitant administration of                      the systemic absorption of these products.
              diclofenac and aspirin is not generally recommended               In addition, a transepidermal water loss study was per-
              because of the potential of increased adverse effects.                formed on human volunteers’ skin and found no alter-
           7.2 Anticoagulants                                                       ation in skin harrier timction following chronic use of
           The effects of anticoagulants such as warfarin and NSAIDs 20             PENNSAID® Topical Solution.
              on GI bleeding are synergistic, such that users of both           Before applying sunscreen, insect repellant, lotion, mois-
              drags together have a risk of serious GI bleeding higher              turizer, cosmetics, or other topical medication to the
              than users of either drug alone.                                      same skin surface of the knee you have just treated with
           7.3 ACE-Iahibitors                                                       PENNSAID® Topical Solution, wait until the treated
           NSAIDs may diminish the aatihcpertensive effect of 25                    area is dry, which occurs most often within 10 minutes.
              angiotensin converting enzyme (ACE) inhibitors. This           8. Use in Specific Populations
              interaction should be given consideration in patients             8.1 Pregnancy
              taking NSAIDs concomit~mtly with ACE-inhibitors.                  The safety of PENNSAID® Topical Solution has not beeu
           7.4 Diuretics                                                            established during pregnancy. There are no adequate and
           Clinical studies, as well as post-marketing observations, 3o             wel!-controlled studies of diclofenac in pregnant
              have shown that NSAIDs can reduce the natriuretic                     womeu. Human and animal studies indicate that
              effect of furosemide and thiazides in some patients. The              dic!ofenac crosses the placenta. As with other NSAIDs,
              response has been attributed to inhibition of renal pros-             PENNSAID® Topical Solution should be avoided dur-
              taglandin synthesis. During concomitant therapy with                  ing pregnancy because it may cause premature closure
              NSAIDs, the patient should be observed closely for 35                 of the ductus arteriosus.
               signs of renal failure [see Warnings and Precautions             Teratogenic Effects
               (5.6)], as well as to assure diuretic efficacy.                  Pregnancy Category C: Studies in mice administered
           7.5 Lithium                                                              diclofenac at doses up to up to 20 mg/kgiday and in rats
           NSAIDs have produced an elevation of plasma lithium                      and rabbits at doses up to 10 mgikg/day resulted in no
               levels aM a reduction in renal lithium clearance. The 40             evidence of developmental teratogenicity despite the
               mean minimum lithium concentration increased 15%                      induction of maternal toxicity and fetal toxicity. DMSO
               and the renal clearance was decreased by approximately               administered orally to pregnant female rats during days
               20%. These effects have been attributed to inkibition of              6-15 of gestation was not teratogenic at doses up to 5
               renal pmstaglandin synthesis by the NSAID. Thus,                      p:/kg/day. DMSO administered orally to pregnant female
               when NSAIDs, including diclofenac, and lithium are 45                 rabbits during Day 7 to Day 28 post-coitum of gestation
               administered concurrently, patients should be observed                was not teratogenlc at doses up to 1000 mg/kgiday.
               carefully for signs of lithium toxicity.                         Nonteratogenic Effects
           7.6 Methotrexate                                                     Because of the known effects of NSAIDs on the fetal
           NSAIDs have been reported to competitively inhibit meth-          cardiovascular system (closure of ductus arteriosus) and
               otrexate accttmulation in rabbit kidney slices. This may 5o unknown effect of DMSO on the human fetus, use of
               indicate that they could enhance the toxicity of Methotr-     PENNSAID® Topical Solution during pregnancy should be
               exate. Caution should be used when NSAIDs, including          avoided.
               diclofenac, are administered concomitantly with meth-            8.2 Labor aM Delivery
               otrexate.                                                        In rat studies with oral NSAIDs, including diclofenac, as
           7.7 Cyclosporinc                                               55         with other drugs known to inhibit prostaglandin synthe-
           Diclofenac, like other NSAIDs, may affect renal prostag-                  sis, there is an increased incidence of dystucia and
               landins and increase the toxicity of certain drugs. There-            delayed parturition with exposure corresponding in
               fore, concomitant therapy with diclofenac may increase                humans to the maximum recommended clinical dose
               cyclosporine’s nephrotoxicity. Caution should be used                 (based on bioavailability aM body surface area compari-
               when diclofenac is administered concomitantly with                    son). The effects of PENNSAID® Topical Solution on
               cyclosporine.                                                         labor and delivery in pregnant women are unknown.
           7.80mI Nonsteroidal Anti-inflammatory Drugs                           8.3 Nursing Mothers
           Concomitant use of oral NSAIDs with PENNSA~[D® Topi-                  It is not ¯known whether diclofenac is excreted in human
               cal Sotution has been evaluated in one Phase 3 con-                   milk following application of PENNSAID’~ topical
               trolled trial and was generally well tolerated. The com- 65           Solution. Studies in animals detected dic!ofenac in the
               bination of PENNSAID~ Topical Solution and oral                       milk after oral adminislration. Because many drugs are
               diclofenac, compared to oral diclofenac alone, was well               excreted in human milk and because of the potential for




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     Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 59 of 232 PageID: 8197




                                                                      US 8,546,450 B1
                                            61                                                                         62
                  serious adverse reactions in nursing infants, a decision
                  should be made whether to discontinue nursing or to                                            Cl

                  discontinue PENNSAID~ Topical Solution, taking into
                  account the importance of the drug to the mother.
                                                                                   5
               8.4 Pediatric Use
5~             Safety and effectiveness in pediatric patients have not been
                                                                                                                  CI          CH2COONa
                 established.
               8.5 Geriatric Use.
                                                                              10 Each 1 mL of solution contains 16.05 mg of diclofenac
               Of the 911 patients treated with PENNSAID® Topical
                                                                                 sodium. In addition, PENNSAID® Topical Solution contains
                  Solution in seven controlled, Phase 3 clinical trials, 444
                                                                                 the following inactive ingredients: dimethyl sulfoxide
                  subjects were 65 years of age and over. There was no
                                                                                 (DMSO, 45.5% w/w), propylene glycol, alcohol, glycerin
                  age-related difference in the incidence of adverse events.
                                                                                 and purified water. The DMSO used in PENNSAID® Topical
                  Of the 793 patients treated with PENNSAID® -Ibpical 15
                                                                                 Solution is manufactured under cGMP conditions and con-
                  Solution in one open-labeled safety trial, 334 subjects        forms to USP specifications.
                  were 65 years of age and over including 107 subjects 75         12. Clinical Pharmacology
                  and over. There was no difference in the incidence of              12.1 Mechanism of Action
                  adverse     events    with    long-term     exposure     to       The mechanism o faction of diclofenac is similar to that of
                  PENNSAID® Topical Solution for this elderly popula- 20                other nonsteroidal anti-inflammatory drugs. Diclofenac
                  tion. As with any NSAID, caution should be exercised in               inhibits the enzyme, cyclooxygenase (COX), an early
                  treating the elderly (65 years and, older) and it may be              component of the arachidonic acid cascade, resulting in
                  useful to monitor renal function since they are more                  the reduced formation of prostaglandins, thromboxanes
                  likely to have decreased baseline renal function.                     and prostacylin. It is not completely understood how
             i0. Overdosage                                                   25        reduced synthesis of these compounds results in thera-
                                                                                        peutic efficacy.
               There have been no known experiences of overdose with                 12.2 Pharmacodynamics
                  PENNSAID® Topical Solution.                                       Diclofenac, the active component of PENNSAID® Topi-
               In the event of accidental oral ingestion of PENNSAID®                   cal Solution has anti-inflammatory, anti-nociception,
                  Topical Solution, the maximum exposure from an entire 30              and antipyretic effects. The diclofenac sodium in
                  60 mL bottle is 963 mg ofdiclofenac and 29 g of DMSO.                 PENNSAID® Topical Solution is formulated in a solu-
                                                                                        tion base ¢ontaimng DMSO, which enhances diclofena(
               Symptoms following acute NSAID overdose are usually
                                                                                        penetration through the skin.
                  limited to lethargy, drowsiness, nausea, vomiting, and
                                                                                     12.3 Pharmacokinetics
                  epigastric pain, which are generally reversible with sup- 35      After topical administration to 18 healthy human volun-
                  portive care. Gastrointestinal bleeding can occur. Hyper-             teers of a single maximum dose of PENNSAID® Topi-
                  tension, acute renal failure, respiratory depression and              cal Solution, 40 drops (approximately 1.2 mL) to each
                  coma may occur, but are rare. Anaphylactoid reactions                 knee (80 drops total dose), the peak plasma concentra-
                  have been reported with therapeutic ingestion of                      tion ofdiclofenac sodium was 8.1 -+5.9 ng/mL. (see Table
                  NSAIDs, and may occur following an overdose.                40        2).
                Patients should be managed by symptotnatic and support-              After topical administration to 19 healthy human volun-
                  ive care following an NSAID overdose. There are no                    teers of multiple maximum doses of PENNSAID®
                                                                                        Topical Solution, 40 drops (approximately 1.2 mL) to
                  specific aufidotes. Emesis is not recommended due to a
                                                                                        each knee (80 drops total dose) q.i.d, for 7 days, the peak
                  possibility of aspiration and subsequent respiratory irri- 45
                                                                                        plasma concentration of diclofenac sodium was
                  tation by DMSO contained in PENNSAID® Topical
                                                                                         19.4_+9.3 ng/mL (see Table 2).
                   Solution. Activated charcoal (60 to 100 g in adults, 1 to
                  2 gikg in children) and/or osmotic cathartic may be
                                                                                                                 TABLE 2
                   indicated in patients seen within 4 hours of ingestion
                  with symptoms or following a large overdose (5 to 10 5o             Single-dose (80 drops) a~d Multiple Dose (80 drops q.i.d, for 7 days)
                  times the usual dose). Forced diuresis, alkalinization of               PENNSAID ® Topical Solution Pharmaeokinetic Parameters

                  urine, hemodialysis, or hemoperfusion may not be use-
                                                                                                                        Diclo fenac sodium
                   ful due to high protein binding.
                For additional information about overdose treatment, call a                               Normal Adults [N = 18]    NorrnalAdults [N = !9]
                  poison control center (I-800-222-1222).                   55 l’harmaeokinaic              (Age: 18-55 years)        (Age: 18-55 years)
                                                                                       Pm,’arneters            Single Dose              Multiple Dose
              11. Description
                                                                                       AUCo.~              177.5±72.6 ng. l~mL      695.4±348.9 ng-h/mL
                PENNSAID® Topical Solution is a clear, colorless to                                        196.3 ~: 68.5 ng- kimL   745.2 ± 374.7 ng- tdmL
                  faintly pink-orange solution for topical application.    Plasma C~                          8.1 ± 5.9 ng/mL           19.4 ± 9.3 ng/mL
                                                                           Plasma T~ (h)           11.0 ±6.4                               4.0±6.5
                PENNSAID® Topical Solution contains !.5% w/w 60 l’lasmat~,~(h)                    36.7 ± 20.8                            79.0 *: 38.1
                  diclofenac sodium, a benzene-acetic acid derivative that                       0.024  ± 0.010                         0.01 ! n: 0.004
                  is a nonsteroidal anti-inflammatory drug (NSAID), des-   CL~ (L/h)             244.7 n: 84.71                               --

                  ignated chemically as 2-[(2.6-dichlorophenyl)amino]
                  benzeneacetic acid, monosodium salt. The molecular
                  weight is 318.14. Its molecular formula is                  Maximum plasma concentration of diclofenac appears to
                  Ct4HtoCI~NNaO= and it has the following structural            be significantly lower with use of PENNSAID® Topical
                  formula:                                                      Solution than with comparable treatment using oral




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 60 of 232 PageID: 8198




                                                               US 8,546,450 B1
                                     63                                                                                   64
               diclofenac. Literature review indicates that, following         Diclofenac has been shown to be neither mutagenic uor
               oral administration of a single dose of 50 mg diclofenac           clastogenic in a battery, of genotoxicity tests that
               sodium, the observed diclofenac mean plasma concen-                included the bacterial reverse mutation assay, in vitro
               tration was 1,500-1,600 ng/mL. This level is approxi-              mouse lymphoma point mutation assay, chromosomal
               mately 185-198 times higher than lhe level observed 5              aberration studies in Chinese hamster ovarian cells in
               following a single topical application of 40 drops                 vitro, and in vivo rat chromosomal aberration assay of
               PENNSAID® Topical Solution to both knees.                          bone marrow cells. Published studies indicated DMSO
           12.4 Platelets                                                         was not mutagenic in theAmes test. PENNSAID® Topi-
           The effect of PENNSAID@ Topical Solution on platelet                   cal Solution was not clastogenic in the in vivo mouse
               function was evaluated in 10 healthy’ human volunteers             micronucleus assay at doses close to the maximum tol-
               as a sub-study of a multiple-dose pharmacokinetic study
                                                                                  erated dose of 12 mLikg (corresponding to 178 mg/kg
               [see Pharmacokinetics (12.3)]. Average (range) platelet
                                                                                  dic!ofenac and 5.86 g/kg DMSO administered to the
               aggregation time following stimulation with adenosine
                                                                                  mouse).
               diphosphate, collagen, epinephrine and arachidonic acid
                                                                               Fertility studies have not been conducted with
               was 101.3% (73.3-128.1), 99.8% (69.6-112.9), 109.9% 15
                                                                                  PENNSAID® Topical Solution. For diclofenac, male
               (66.2 -178.1 ) and 99.0% ( 15.5-126.6) of baseline value,
               respectively. These results indicate that there was no             and female rats orally administered 4 mgikg/day did not
               effect on platelet aggregation after application of the            affect fertility. In rats, maternal toxic doses were asso-
               maximum clinical dose for 7 days [see Pharrnacokinet-              ciated with dystocia, prolonged gestation, reduc~xl fetal
             ¯ ics (12.3)].                                               20      weights and growth, and reduced fetal survival. Rabbits
        13. Nonclinical Toxicology                                                treated with oral doses of 5 or 10 rag/animal/day during
            13.1 Carcinogenesis, Mutagenesis, Impairment of Fertil-               the gestation period resulted in a dose-dependent
        ity.                                                                       increase in resorpfions, reduced fetus weights, and
           Long-term studies jn anknals to evaluate the carcinogenic               abnormal skeletons.
                potential of PENNSAID® Topical Solution have not             14. Clinical Studies
                been performed.                                                14.1 Pivotal Studies in Osteoarthritis of the Knee
           In rats, a lifetime (2-year) oral administration ofdiclofenac       "lt~e use of PENNSAID® Topical Solution for the treat-
                up to 2 mgikg/day resulted in no significant increases in          ment of the signs and symptoms of osteoarthritis of the
                tumor incidence, although there was a slight increase in           knee was evaluated in two pivotal double-blind con-
                benign mammary fibroadenomas in females of the mid- 30             trolled trials conducted in the US and Calmda, involving
                dose (0.5 mg/kg/day) group. The high-dose female                   patients treated with PENNSAID® Topical Solution at a
                group had excessive mortality and could not be evalu-              dose of 40 drops four times a day for 12 weeks.¯
                ated. A similar lifetime (2-year) oral administration of           PENNSAID® Topical Solution was compared to topical
                diclofenac in mice at doses up to 0.3 mg/kgiday in males           placebo (2.3% DMSO with other excipients) and/or
                and 1 mg/kg/day in females also resulted in no signifi- 35         topical vehicle solution (45.5% w/w DMSO with other
                cant increase in tumor incidence.                                  excipients), applied directly to the study knee; in addi-
            In a dermal carcinogenicity study conducted in albino                  tion one study also had an oral diclofenac (100 mg SR)
                mice, daily topical applications of a diclofenac sodium            arm and a combination oral diclofenac plus
                gel product for two years at concentrations up to 0.035%           PENNSAID® Topical Solution treatment arm. In both
                diclofenac sodium (a 43-fold lower diclofemac sodium 40            trials, PENNSAID® Topical Solution treatment resulted
                concentration than present in PENNSAID® Topical                     in statistically significant clinical improvement com-
                 Solution) did not increase neoplasm incidence.                    pared to placebo and/or vehicle, in all three primary
            In a photococarcinogenicity study conducted in hairless                 efficacy variables--pain, physical function (Western
                mice, topical application of a diclofenac sodium gel                Ontario and McMaster Universities LK3.10A Index
                product at doses up to 0.035% diclofenae sodium (a 45               (’~VOM~.C) pain and physical function dimensions) and
                 43-fold lower diclofenac sodium concentration than                 Patient Overall Health Assessment (POHA)iPafient
                 present in PENNSAID® Topical Solution) resulted in an              Global Assessment (PGA) and the secondary variable
                 earlier median time of onset of tumors.                            stiffness.

                                                                                                    TABLE 3

                                                                        Change in trealrnent outcomes after 12 weeks of treatment in two
                                                                             studies of efficacy of PENNSAID ® Topical Solution


                                                                                       Mean baseline score 3.ud mean change in efficacy
                                                                                             variables after 12 weeks oflreatment


                                                                                         Study Il                                          Study II~


                                                                Mean                        Topical   Topical         Oral      Mean                       Topical
                                               Efficacy        Baseline   PENNSAID® placeb~2 vehicle3               diclofenan Baseline   PENNSA!D®        vehicIe3
                                               Variable         score         N=154        N=155      N=161          N=I51      score       N=164          N~162


                                               WOMAC              13            -6.0         -4.7      -4.7     "     -6.4        13         -5.9      "     ~4.4
                                               pain score
                                                (Likert 3.!,
                                                0-20)




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      Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 61 of 232 PageID: 8199




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                                                               TABLE 3-continued

                                         Change m tre~’nent outcomes aRer 12 weeks of treatment in two
                                              studies of efficacy of PENNSAID @ Topical Solution

                                                          Mean baseline score ~Lnd mean change ha efficacy
                                                               variables after 12 weeks oftrest~ment

                                                            Study I~                                                Study lI~


                                Mean                            "Topical Topicnl         Oral     Mean                                Topical
              Efficacy         Baseline     PENNSAID ®         placebo2 vehicle3      diclofelmc Baselhae        PENNSA~D®            vehicleS
              Variable          score         N=I54            N=155 N=161             N=151      score            N=164              N=162

              WOMAC               42             -15.7          -12.3       -12.1        -17.5         42             -15.3            -10.3
              physical
              function
              (Likert 3. I,
              o-~8)
              POIiA!POA            2.3            -1.0            -0.4        -0.6        -0.9          3.1            -1.3             -1.0
              (0-4)n
              WOMAC                5              -1.9            -1.5        -1.5         -2,1         5              -I.8             -1,3
              stiflhess
              (Likert 3.1,
              0-8)
              lp-value: PENNSAID ® vs. placebo: pa~, p = O.015; physical ftmntiou, p = 0.034; POHA, p < 0.000 l; stiffness, p = 0.!
              Study I: PENNSAff) ® v~ vehicle: pain, p = 0.009; physieaI fimction, p = 0,026; POHA~ p = 0.016; stiffness, p = 0.035
              PENNSAED ® ~ oraI-di¢lofenae: pai~ p = 0.43; physi¢~l fimction, p = 0.32; POHA, p = 0.96; stiffi~ess, p = 0.60
              Study 11: PENNSAID ® vs vehicle: pai~ p = 0.002; physical l~nctio~, p = 0.002; PGA~ p = 0.005; stiffness, p = 0.009
              ~placebo formuintion included 2,3% DMSO
              3vehicle formulation included 45.5% DMSO
              4POHA (p~tient Overall Health Assessment) for Stay 1; PGA (Patient Global As~ssment) for Study [1




                 PENNSAID® Topical Solution provided statistically sig-          16. How Supplied/Storage and Handling
                   nificant improvement in signs and symptoms of osteoar- 3O       PENNSA1D® Topical Solution is supplied as a clear, col-
                   thritis of the knee, including pain, impaired ability to            orless to faintly pink-orange solution containing ! 6.05
                   perform daily activities and reduced quality of life, in            mg of diclofenac sodium per mL of solution, in a white
                   both Study I and Study II (Table 3).                                high density polyethylene bottle with a white low-dect-
                 In Study I, a 12-week, 5-arm, double-blinded, double-                 sity dropper cap.
                                                                              35
                   dummy, vehicle-, placebo- and oval diclofenac-con-
                   trolled study, patients with primary osteoarthritis of the
                   knee were treated with application era topical solution
                                                                                                           NDC Number & Size
                   (PENNSAID® Topical Solution, vehicle-control solu-
                   tion containing 45.5% DMSO, or placebo solution), plus 4O                  15 mL bottle (physician sample)  NDC#
                                                                                              60 mL bottle                     NDC #
                    ! era! tablet (diclofenac 100 mg SR or oral placebo).
                                                                                             150 mL bottle                     NDC #
                   Only one painful knee, the designated study knee, was
                   treated regardless of symptoms in the contmlateml knee
                   (97% patients had bilateral knee OA). Statistically             Storage
                   greater improvement in three primary effiicacy vari- 45         Store at 25° C. (77° E); excursions permitted to 15-30° C.
                   ables-pain, physical function and Patient Overall                   (59-86° F.) [See USP Controlled Room Temperature].
                   HealthAssessment--was observed following 12 weeks             17. Patient Counseling Information
                   of treatment with PENNSAID® Topical Solution com-               See Medication Guide.
                   pared to placebo and vehicle-controlled solution. In
                                                                                    17.1 Medication Guide
                   relief of stiUmess, PENNSAID® Topical Solution was 50
                                                                                    Patiems should be in£ormed of the following iNbrmation
                   superior to vehicle but not placebo. There was no statis-
                   tical difference between PENNSAID® Topical Solution                 before initiating therapy with an NSAID and periodi-
                   and or!! diclofenac on any of the primary eff~cacy vari-            cally during the course of ongoing therapy. Patients
                   ables.                                                              should also be encouraged to read the NSAID Medica-
                 In Study II, PENNSAID® Topical Solution treatment 55                  tion  Guide that accompanies each prescription dis-
:-I                                                                                    pensed prior to using PENNSAID®Topical Solution.
                   resulted in statistically significantly greater improve-
                   ment over vehicle-control solution in all four variables         ! 7.2 Cardiovascular Effects
                   measured (pain, physical function, Patient Global                PENNSAID® Topical Solution, like other NSAIDs, may
                   Assessment and stiffness).                                          cause serious CV side effects, such as MI or stroke,
                 Due to PENNSA!D® Topical Solution’s unique formula- 60                which may result in hospitalization and even death.
                   tion properties, which includes the penetration enhancer            Although serious CV events can occur without warning
                   DMSO (manufactured under cGMP conditions and con-                   symptoms, patients should be alert for the signs and
                    forming to USP specifications), ~hese efficacy data                symptoms of chest pain; shortness bf breatK weakness,
                    should not be generalized to other topical NSAIDs.                 sltaring of speech, and should ask ibr medical advice
                   Topical NSAIDs should not be considered a homoge- 65                when observing any indicative sign or symptoms.
                   neous class and findings with one product may not apply             Patients should be apprised of the importance of this
                   to others.                                                          follow-up [see Warnings and Precautions (5.1)].




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 62 of 232 PageID: 8200




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         17.3 Gastrointestinal Effects                                          17.9 Eye Exposure
         PENNSAID® Topical Solution, like other NSAIDs, may                     Patients should be instructed to avoid contact of
            cause GI discomfort and, rarely, serious GI side effects,              PENNSAID® Topical Solution with the eyes and
            such as ulcers and bleeding, which may result in hospi-                mucosa. Patients should be advised that if eye contact
            talization and even death. Although serious GI tract                   occurs, they should immediately wash out the eye with
            ulcerations and bleeding can occur without warning                     water or saline and consult a physician if irritation per-
            symptoms, patients should be alert for the signs and                   sists for more than an hour.
            symptoms of ulceration and bleeding, and should ask for
            medical advice when observing any indicative gign or                           Medication Guide For Non-Steroidal
                                                                          l0               Anti-Inflammatory Drugs (NSAIDS)
            symptoms including epigastric pain, dyspepsia, melena,
            and hematemesis. Patients should be apprised for the
            importance of this follow-up [see Warnings andPrecau-               (See the end of this Medication Guide for a list of prescrip-
            tions (5.2)1.                                                    tion NSAID medicines.)
         17.4 Hepatoxicity                                                      What is the most important information I should know
                                                                          15
         Patients should be informed of the warning signs and                about medicines called Non-Steroidal Anti-Inflammatory
            symptoms of hepatotoxicity (e.g., nausea, fatigue, leth-         Drugs (NSAIDs)?
            argy, pruritus, jaundice, right upper quadrant tenderness,          NSAID medicines may increase the chance of a heart
            and"flu-like" symptoms). If these occur, patients should               attack or stroke that can lead to death. This chance
            be instructed to stop therapy with PENNSAID® Topical 20                 increases:
            Solution and seek immediate medical therapy [see                       with longer use of NSAID medicines
             Warnings and Precautions (5.3)].                                       in people who have heart disease
         17.5 Adverse Skin Reactions                                            NSAID medicines should never be used right before or
         PENNSAID® Topical Solution, like other NSAIDs, can                         after a heart surgery called a "coronary arte~ bypass
            cause serious systemic skin side effects such as exfolia- 25            graft (CABG)."
             tire dermatitis, SJS, and TEN, which may result in hos-            NSAID medicines can cause ulcers and bleeding in the
            pitalizations and even death. Although serious systemic                 stomach and intestines at any time during treatment.
             skin reactions may occur without warning, patients                     Ulcers and bleeding:
             should be alert for the signs and symptoms of skin rash                can happen without warning symptoms
             and blisters, fever, or other signs of hypersensitivity such 30        may canse death
             as itching, and should ask for medical advice when                 The chance of a person getting an ulcer or bleeding
             observing any indicative signs or symptoms. [see Warn-                 increases with:
             ings and Precautions (5.8)].
                                                                                    taking medicines called "corticostemids" and "antico-
         Patients should be advised to stop PENNSAID® Topical
                                                                                        agulants"
             Solution immediately if they develop any type of gener- 35             longer use
             alized rash and contact their physicians as soon as pos-
                                                                                    smoking
             sible.
                                                                                    drinking alcohol
         PENNSAID® Topical Solution can cause a localized skin
                                                                                    older age
             reaction at the application site. Patients should be
             advised to contact their physicians as soon as possible if 40          having poor health
             they develop any type of localized application site rash.          NSAID medicines should only be used:
         Patients should be instructed not to apply PENNSAID®                       exactly as prescribed
             Topical Solution to open skin wounds, infections,                      at the lowest dose possible for your treatment
             inflammations, or exfoliative dermatitis, as it may affect             for the shortest time needed
             absorption and tolerability of the drug.                     45     What are Non-Steroidal Anti-lxfflammatory Drugs
         Before applying sunscreen, insect repellant, lotion, mois-                  0gSAIDs)?
             turizer, cosmetics, or other topical medication to the              NSAID medicines are used to treat pain and redness, swell-
             same knee you have just treated with PENNSAID®                          ing, and heat (inflammation) from medical conditions
             "ibpical Solution, wait until the treated area is dry.                  such as:
         Patients should be instructed to minimize or avoid expo- 50                 different types of arthritis
             sure of treated kneels) to natural or artificial sunlight.              menstrual cramps and other types of short-term pain
          17.6 Weight Gain and Edema                                             Who should not take a Non-Steroidal Anti-Inf!ammatory
          Patients should promptly report to their physician signs or                Drug (NSAID)?
              symptoms of unexplained weight gain or edema follow-
                                                                                 Do not take an NSAID medicine:
             ing treatment with PENNSAID~ Topical Solution [see 55                   if you h~d an asthma attack, hives, or other allergic
              Warnings and Precautions (5.5)].
                                                                                        reaction with aspirin or any other NSAID medicine
          17.7 Anaphylactoid Reactions
                                                                                     for pain right before or alter heart bypass surgery
          Patients should be informed of the signs of an anaphylac-
                                                                              Tell your healthcare provider:
             told reaction (e.g., difficulty breathing, swelling of the
              face or throat). If these occur, patients should be 6o             about all of your medical conditions.
              instructed to seek immediate emergency help [see Warn-             about all of the medicines you take. NSAIDs and some
              ings and Precautions (5.7)1.                                           other medicines can interact with each other and cause
          17.8 Effects During Pregnancy                                              serious side effects. Keep a l~st of your medicines to
          In late pregnancy, as with other NSA!Ds, PENNSAID®                         show to yotir healthcare provider and pharm~cist~
              Topical Solution should be avoided because it will cause 65        if you are pregnant. NSAID medicines should not be used
              premature closure of the ductus arteriosus [see Warnings               by pregnant women late in their pregnancy.
              and Precautions (5.10)].                                           if you are breasffeeding. Talk to your doctor.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 63 of 232 PageID: 8201




                                                                           US 8,546,450 B1
                                                                                                                                      7O
        What are the possible side effects of Non-Steroidal Anti-                                                                -continued
        Inflammatory Drugs (NSAIDs)?
                                                                                              Generic Name            Tradename

                                                                                              hidomethacin            Indocin ®, Indocin @SR, Indo-Lemmon "r~,
                                                                                                                      Indomethag~ "r~
        Serious side effects include:                      Other side effects include:        Ketopro fen             Omvail ®
                                                                                              Ketomlac                "!bradol @
        heart attack                                       stomach pain                       Mefenamic Acid          Ponstel ®
        stroke                                             constipation                       Meloxicam                Mobic ®
        high blood pressure                                diarrhea                           Nabumetone               Relafen ®
        heart failure from body swelling (fluid retention) gas                                Naproxen                 Naprosyn ®, Auaprox ®, Anapmx ®DS,
        kich~ey problems including kidney failure          hea~bum                                                     EC-Naproxyn ®, NapmIan ®, Naprapac ®
        bleeding and ulcers in the stomach and intestine   nausea                                                      (cepackaged with lmasoprazole)
        low red blood cells (anemia)                       vomiting                           Ox~prozin                Daypm ®
        life-threatening skin reactions                    dizziness                          Piroxicam                Feldene @
        life-threatemng allergic reactions                                                    Sulindac                 Clinofi! ®
        liver problems including liver failure                                                Tolmetin                 Toleetin ®, Tolectin DS @, Tolectin @600
        astlxna attacks in people who have asffaTla                                      15

                                                                                              *Vbeopro fen contains the same dose ofibuprofen as over-the-counter (OTC) NSAiD, and is


        Get emergency help right away if you have any of the follow-
        ing symptoms:
           shortness of breath or trouble breathing                                                                  Patient Instructions for Use
          chest pain
          weakness in one part or side of your body                              Your doctor has prescribed PENNSAID® Topical Solution to
           slurred speech                                                        relieve your pain, limited function, mobility, and ability to
                                                                                 manage your dally activities caused by osteoarthritis in your
           swelling of the face or throat
                                                                                 knee(s). This medicine will help you only as long as you
        Stop your NSAID medicine and call your healthcare provider 25 continue to use it as directed.
        right away if you have any of the following symptoms:                       Use PENNSAID~ Topical Solution exactly how your doc-
            nausea                                                                     tor prescribes it lbr you. Do not apply PENNSAID®
            more tired or weaker than usual                                            Topical Solution anywhere other than where your doctor
            itching                                                                    instructs you.
            your skin or eyes look yellow                                     30    The dose for your knee is 40 drops (equivalent to 1.2 mL)
            stomach pain                                                               of PENNSAID® Topical Solution every time you apply
            flu-like symptoms                                                           it.
                                                                                    Apply PENNSAID® Topical Solution 4 times a day
            vomit blood
                                                                                        directly to the skin of symptomatic knee(s).
            there is blood in your bowel movement or it is black aM
                                                                              35    Apply PENNSAID® Topical Solution to clean, dry skin
                sticky like tar
                                                                                        that does not have any cuts, infections or rashes.
            unusual weight gain
                                                                                    Do not use heating pads or apply bandages to the skin
            skin rash or blisters with fever                                            where you have applied PENNSAI D® Topical Solution.
            swelling of the arms and legs, hams and feet                            Avoid exposing skin where you apply PENNSAID® Topi-
        These are not all the side effects with NSAID medicines. Talk 40                cal Solution to sunlight and artificial light, such as tan-
        to your healthcare provider or pharmacist for more informa-                     ning booths.
        tion about NSAID medicines.                                                 Before applying sunscreen, insect repellant, lotion, mois-
        Other information about Non-Steroidal Anti-Inflammatory                         turizer, cosmetics, or other topical medication to the
        Drugs (NSAIDs):                                                                 same knee you have just treated with PENNSAID®
            Aspirin is an NSAID medicine but it does not increase the                   Topical Solution, wait until the treated area is dry.
                chance of a heart attack. Aspirin can cause bleeding in             Do not get PENNSAID® Topical Solution in your eyes,
                the brain, stomach, and intestines. Aspirin can also cause              nose or mouth. PENNSAID® Topical Solution is only to
                ulcers in the stomach and intestines.                                   be used on your skin (topical use). If you get
            Some of these NSAID medicines are sold in lower doses                       PENNSAID® Topical Solution in your eyes, rinse your
                without a prescription (over-the-counter). Talk to your 50              eyes right away with water or saline. Talk with ),our
                healthcare provider before using over-the-counter                       doctor if eye irritation lasts for more than one hour.
                NSAIDs for more than 10 days.                                     What to do if you miss a dose:
        NSAID medicines that need a prescription                                     If you miss a dose of PENNSAID® Topical Solution,
                                                                                        continue with your next scheduled dose using the pre-
                                                                              55        scribed amount of PENNSAID@ Topical Solution.
                                                                                     Do not double the dose the next time you apply
         Generic Name         Tradenarne
                                                                                        PENNSAID® Topical Solution.
         Celecoxib            Celebrex ®                                          Applying PENNSAID® Topical Solution:
         Diclo fenac          Flector, Cataftam ®, Voltaren @, Arthrotec r~          I. The dose for each knee is 40 drops of PENNSAID®
                              (combined with misoprustol), PENNSAID ® Topical
                                                                              60        Topical Solution.
                              Solution
         Diflunisal           Dolobid @                                              2. Apply PENNSAID® "ibpical Solution 4 times a day,
         Etodolae             Lodine ®, Lodine ®XL                                       spaced evenly throughout the day. PENNSAID® treat-
         Fenoprofen           Nalfoa ®, Nalfon ®200                                      ment has no relationship to food intake..
                                                                                     3. To measure the right amount of PENNSAID~_9 lbpical
         ibuprofen            Mot_fin @, Tab-Profen @, Vinopro fen ®*
                              (combined with hydrocodone), Combunox -ha       65         Solution, it is recommended to dispense 10 drops of
                              (eombhied with oxycodnne)                                  PENNSAID® into the hand, or directly onto the knee;
                                                                                         spread PENNSAID® evenly around front, back and




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 64 of 232 PageID: 8202




                                                                US 8,546,450 B1
                                       71                                                                       72
              sides of the knee; then repeat this procedure until 40            invention as defined by the scope of the claims. It will be
              drops have been applied and the knee is completely                readily apparent to one skilled in the art that varying substi-
              covered. To treat the other knee, repeat this exact proce-        tutions and modifications may be made to the invention dis-
              dure.                                                             closed herein without departing from the scope and spirit of
           4. Wash your hands after applying PENNSAID® Topical 5 the invention. The invention illustratively described herein
              Solution.                                                         suitably may be practiced in the absence of any element or
           5. Do not shower or bathe for at least 30 minutes after              elements, or limitation or limitations, which is not specifi-
              application of PENNSAID® Topical Solution to the                  cally disclosed herein as essential. Thus, for example, in each
              treated knee(s).                                                  instance herein, in nonlimiting embodiments or examples of
           6. Wait until the treated knee area is completely dry before 10 the present invention, the terms "’comprising", "including",
              covering the treated knee with clothing.                          "containing", etc. are to be read expansively and without
        Store PENNSAID® Topical Solution at room temperature,                   limitation. The methods and processes illustratively
        59° F. to 86° E (15° C. to 30° C.).                                     described herein suitably may be practiced in differing orders
           All patents, publications, scientific articles, web sites, and       of steps, and that they are not necessarily restricted to the
        other documents and materials referenced or mentioned 15 orders of steps indicated herein or in the claims.
        herein are indicative of the levels of skill of those skilled in the        The terms and expressions that have been employed are
        art to which the invention pertains, and each such referenced           used as terms of description and not of limitation, and there is
        document and material is hereby incorporated by reference to            no intent in the use of such terms and expressions to exclude
        the same extent as if it had been incorporated by reference in          any equivalent of tile features shown and described or por-
        its entirety individually or set forth herein in its entirety. 20 tions thereof,but it is recognized that various modifications
        Applicants reserve the right to physically incorporate into this        are possible within the scope of the invention as claimed.
        specification any and all materials and information from any            Thus, it will be understood that although the present invention
        such patents, publications, scientific articles, web sites, elec-       has been specifically disclosed by various nonlimiting
        trenically available information, and other referenced mate-            embodiments an(t/or preferred nonlimiting embodiments and
        rials or documents.                                                  25 optional features, any and all modifications and variations of
           The written description portion of this patent includes al!          the concepts herein disclosed that may be resorted to by those
        claims. Furthermore, all claims, including all original claims          skilled in the art are considered to be within the scope of this
        as well as all claims from any and all priority documents, are          invention as defined by the appended claims.
        hereby incorporated by reference in their entirety into the                 The invention has been described broadly and generically
        written description portion of the specification, and Appli- 30 herein. Each of the narrower species and snbgeneric group-
        cants reserve the right to physically incorporate into the writ-        ings falling within the genetic disclosure also form part of the
        ten description or any other portion of the application, any and        invention. This includes the genetic description of the inven-
        all such claims. Thus, for example, under no circumstances              tion with a proviso or negative limitation removing any sub-
        may the patent be interpreted as allegedly not providing a              ject matter fi’om the genus, regardless of whether or not the
        written description for a claim on the assertion that the precise 35 excised material is specifically recited herein.
        wording of the claim is not set forth in haec verba in written              It is also to be understood that as used herein and in the
        description portion of the patent.                                      appended claims, the singular forms "a," "an," and "the"
           The claims will be interpreted according to law. However,            include plural reference unless the context clearly dictates
        and notwithstanding the alleged or perceived ease or diffi-             otherwise, the term "X and/or Y" means "X" or "Y" or both
        culty of interpreting any claim or portion thereof, under no 4o "X’" and ,og,,, and the letter "’s" following a noun designates
        circumstances may any adjustment or amendment of a claim                both the plural and singular forms of that noun. Im addition,
        or any portion theree fduting prosecution of the application or         where features or aspects of the invention are described in
        applications leading to this patent be interpreted as having            terms of Markush groups, it is intended, and those skilled in
        forfeited any tight to any and all equivalents thereof that do          the art will recognize, that the invention embraces and is also
        not form a part of the prior art.                                    45 thereby described in terms of any individual member and any
           All of the features disclosed in this specification may be            subgroup of members of the Markush group, and applicants
        combined in any combination. Thus, unless expressly stated              reserve the right to revise the application or claims to refer
        otherwise, each feature disclosed is only an example of a                specifically to any individual member or any subgroup of
        generic series of equivalent or similar features.                       members of the Markush group.
           It is to be understood that while the invention has been so              Other nonlimiting embodiments are within the following
        described in conjunction with the detailed description                  claims. The patent may not, be interpreted to be limited to the
        thereof, the foregoing description is intended to illustrate and         specific examples or nonlimiting embodiments or methods
        not limit the scope of the invention, which is defined by the            specifically and/or expressly disclosed herein. Under no cir-
        scope of the appended claims. Thus, from the foregoing, it               cumstances may the patent be interpreted to be limited by any
        will be appreciated that, although specific nonlimiting 55 statement made by any Examiner or any other official or
        embodiments of the invention have been described herein for              employee of the Patent and Trademark Office unless such
        the purpose of illustration, various modifications may be                statement is specifically and without qualification or reserva-
        made without deviating from the spirit and scope of the inven-           tion expressly adopted in a responsive writing by Applicants.
        tion. Other aspects, advantages, and modifications are within
        the scope of the following claims and the present invention is 60           We claim:
        not limited except as by the appended claims.                               1. A method for treating a patient with combination
           The specific methods and compositions described herein                therapy, said combination therapy comprising:
        are representative of preferred nonlimiting embodiments and                 administering a therapeutically effective amount of an oral
        are exemplary and not intended as limitations on the scope o1"                  NSAID; mid
        the invention. Other objects, aspects, and embodiments will 65              applying a topical diclofenac preparation to a knee of said
        occur to those skilled in the art upon consideration of this                    patient to treat osteoarthritis of the knee of said patient,
         specification, and are encompassed within the spirit of the                    wherein said topical diclofenac preparation comprises a




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 65 of 232 PageID: 8203




                                                             US 8,546,450 B1
                                     73                                                                  74
              therapeutically effective amount ofa diclofenac salt and             therapeutically effective amount ofa diclo fenac salt and
              40-50°,4 wiw dimethyl sulfoxide,                                     40-50% wiw dimethyl sulfoxide;
           wherein the therapeutically effective amount of oral                 waiting for the treated area to dry;
              NSAID is the amount required to achieve a therapeutic             subsequently applying a stmscreen, or an insect repellant to
              effect in the absence of applying a topical diclofenac 5             said treated area after said treated area is dry, wherein
                                                                                   said step of applying a first medication does not enhance
              preparation.
                                                                                   the systemic absorptiono fthe subsequently applied sun-
           2. The method according to claim 1, wherein the patient is              screen, or insect repellant; and
        treated for severe knee pain.                                           wherein said subsequent application occurs during a
           3. The method according to claim 1, wherein the patient is              course of treatment of said patient with said topical
        treated for breakthrough knee pain.                                        diclofenac preparation.
           4. The method according to claim 1, further comprising:               11. The method according to claim 10, wherein said
           conducting periodic laboratory evaluations regarding said          diclofenac preparation comprises about 45.5% w/w dimethyl
              patient and the combination therapy.                            sulfoxide.
           5. The method according to claim 1, wherein said 15                   12. The method according to claim 10, wherein said thera-
                                                                              peutieally effective amount of diclofenac is 1.5% w/w
        diclofenac preparation comprises about 45.5% w/w dimethyl
                                                                              diclo fenac sodium.
        sulfoxide.
                                                                                 13. The method according to claim 10, wherein said
           6. The method according to claim 1, wherein said
                                                                              dic!ofenac preparation further comprises ethanol, propylene
        diclofenac preparation further comprises ethanol, pmpylene
                                                                              glycol, glycerine, and water.
        glycol, glycerine, and water.
                                                                           20    i4. The method according to claim 10, wherein said thera-
           7. The method according to claim l, wherein said thera-
                                                                              peutically effective amount of diclofenac comprises a phar-
        peutically effective amount of diclofenac comprises a phar-
                                                                              maceutically acceptable salt of diclofenac selected from a
        maceutically acceptable salt of diclofenac selected from a
                                                                              sodium salt, a potassium salt, a diethylamine salt, or an epo-
        sodium salt, a potassium salt, a diethylamine salt, or an epo-
                                                                              lamine salt.
        lamine salt.                                                       25    15. The method according to claim 10, wherein said step o f
           g. The method according to claim 1, wherein said thera-
                                                                              subsequently applying comprises subsequently applying said
        peutically effective amount of diclofenac is 1.5% w/w
                                                                              sunscreen.
        diclo fenac sodium.
                                                                                 16. "Iqae method according to claim 15, wherein said sun-
           9. The method according to claim 1, wherein said oral
                                                                              screen comprises oxybenzone.
        NSAID is a member selected from the group consisting of a 30
                                                                                 17. The method according to claim 10, wherein said step of
         COX-2 selective NSAID, diclofenac, tenoxicam, meloxicam,
                                                                              subsequently applying comprises subsequently applying said
         celecoxib, difltmisal, etodolac, fenoprofen, flurbiprofen, ibu-
                                                                              insect repellant.
         profen, indomethacin, ketoprofen, ketorolac, mefenamic
                                                                                 18. The method according to claim 17, wherein said insect
         acid, nabumetone, naproxen, oxaprozin, piroxicam, sulindac,
                                                                              repellant comprises N,N-diethyl-m-tolnamide (DEET).
         and tolmetin.                                                     35    19. The method according to claim 17, wherein said insect
            10. A method for applying topical agents to a knee of a
                                                                              repellant comprises 2,4 D dimethylamine salt (2,4 D).
         patient with pain, said method comprising:
                                                                                 20. The method according to claim 14, wherein said thera-
            applying a first medication consisting of a topical
                                                                              peutically effective amount of diclofenac comprises
               diclofenac preparation to an area of the knee of said
                                                                              diclofenac sodium.
               patient to treat osteoarthritis o£the knee of said patient,
               wherein the topical diclofenac preparation comprises a




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 66 of 232 PageID: 8204




                                UNITED STATES PATENT AND TRADEMARK OFFICE

                                      CERTIFICATE OF CORRECTION
   PATENVr NO.                 : 8,546,450 B1                                                                                      Page 1 of 1
   APPLICATION NO.             : 12/459998
   DATED                       : October i, 2013
   INVENTOR(S)                 : Smgh et al.

   It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



            In the "References Cited" Section:

            On the title page, second column, item (56), in the "OTHER PUBLICATIONS" subsection, line 13 of
            that paragraph: please delete "presribing" and insert --prescribing--.




                                                                                            Signed and Sealed this
                                                                                Twenty-eighth Day of October, 2014



                                                                                                       ,Mich¢llc K. Lee
                                                                               Deputy Director of the United States Patent and Trademark Office




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 67 of 232 PageID: 8205




                                 EXHIBIT 3
 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations Page 1 of 4
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 68 of 232 PageID: 8206




   Or a n g e B o o k : A p p r o v e d D r u g
   Pr o d u c ts w ith T h e r a p e u tic
   E q u iv a le n c e E v a lu a tio n s
            S H A RE ( H T T P S : / / W W W . FA C E B O O K. C O M / S H A RE R/ S H A RE R. P H P ? U = H T T P : / / W W W . A C C E S S D A T A . FD A . GO V / S C RIP T S / C
           D E R/ O B / P A T E N T _ IN FO . C FM ? P RO D U C T _ N O = 0 0 1 & A P P L _ N O = 2 0 4 6 2 3 & A P P L _ T Y P E = N )


            T W E E T ( H T T P S : / / T W IT T E R. C O M / IN T E N T / T W E E T / ? T E X T = O RA N GE B O O K: A P P RO V E D D RU G P RO D U C T S W IT H T H E RA
           P E U T IC E Q U IV A L E N C E E V A L U A T IO N S & U RL = H T T P : / / W W W . A C C E S S D A T A . FD A . GO V / S C RIP T S / C D E R/ O B / P A T E N T _ IN FO . C F
           M ? P RO D U C T _ N O = 0 0 1 & A P P L _ N O = 2 0 4 6 2 3 & A P P L _ T Y P E = N )


           

           E M A IL ( M A IL T O : ? S U B JE C T = O RA N GE B O O K: A P P RO V E D D RU G P RO D U C T S W IT H T H E RA P E U T IC E Q U IV A L E N C E E V A
          L U A T IO N S & B O D Y = H T T P : / / W W W . A C C E S S D A T A . FD A . GO V / S C RIP T S / C D E R/ O B / P A T E N T _ IN FO . C FM ? P RO D U C T _ N O = 0 0 1 & A P
           P L _ N O= 2 0 4 6 2 3 & A P P L _ T Y P E = N )



   H o m e (d e fa u lt.c fm ? r e s e tfie ld s = 1 ) | B a c k to Pr o d u c t D e ta ils

   A d d i t i o n a l In f o r m a t i o n a b o u t P a t e n t s

          • P a t e n t i n f o r m a t i o n i s p u b l i s h e d o n o r a f t e r t h e s u b m i s s i o n d a t e a s d e f i n e d i n 2 1 C FR 3 1 4 . 5 3
            (d )(5 ).
          • P a te n t lis tin g s p u b lis h e d p r io r to A u g u s t 1 8 , 2 0 0 3 , o n ly id e n tify m e th o d - o f- u s e c la im s . T h e
            lis t e d p a t e n ts m a y in c lu d e d r u g s u b s t a n c e a n d / o r d r u g p r o d u c t c la im s th a t a r e n o t in d ic a t e d
            in th e lis tin g .
          • A s o f De c e m b e r 5 , 2 0 1 6 , a n NDA h o l d e r s u b m i t t i n g i n f o r m a t i o n o n a p a t e n t t h a t c l a i m s b o t h
             th e d r u g s u b s t a n c e a n d t h e d r u g p r o d u c t ( a n d is e lig ib le fo r lis tin g o n e ith e r b a s is ) is r e q u ir e d
             o n ly t o s p e c if y t h a t it c la im s e it h e r th e d r u g s u b s ta n c e o r th e d r u g p r o d u c t. Or a n g e B o o k
              u s e r s s h o u ld n o t r e ly o n a n Or a n g e B o o k p a t e n t lis t in g , r e g a r d le s s o f w h e n fir s t p u b lis h e d , t o
               d e t e r m i n e t h e r a n g e o f p a t e n t c l a i m s t h a t m a y b e a s s e r t e d b y a n NDA h o l d e r o r p a t e n t
                o w n e r.

   Pa te n t a n d E x c lu s iv ity fo r : N 2 0 4 6 2 3

             Pro d u c t 0 0 1
             D IC L O FE N A C S O D IU M ( P E N N S A ID ) S O L U T IO N 2 %



             Pa te n t D a ta




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 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations Page 2 of 4
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 69 of 232 PageID: 8207



                                             Drug          Drug
         Product    Patent     Patent        Substance     Product                           Delist
         No         No         Expiration    Claim         Claim      Patent Use Code        Requested

         001        8217078    Jul 10,                                U-1477
                               2029                                   (show_code.cfm?
                                                                      id=1507&type=0)

         001        8252838    Apr 21,                     DP         U-1489
                               2028                                   (show_code.cfm?
                                                                      id=1598&type=0)

         001        8546450    Aug 9,                                 U-1435
                               2030                                   (show_code.cfm?
                                                                      id=1392&type=0)
                                                                      U-1436
                                                                      (show_code.cfm?
                                                                      id=1393&type=0)

         001        8563613    Oct 17,                     DP         U-1488
                               2027                                   (show_code.cfm?
                                                                      id=1597&type=0)

         001        8618164    Jul 10,                                U-1477
                               2029                                   (show_code.cfm?
                                                                      id=1507&type=0)

         001        8741956    Jul 10,                                U-1435
                               2029                                   (show_code.cfm?
                                                                      id=1392&type=0)

         001        8871809    Oct 17,                                U-1614
                               2027                                   (show_code.cfm?
                                                                      id=1624&type=0)

         001        9066913    Oct 17,                     DP         U-1488
                               2027                                   (show_code.cfm?
                                                                      id=1597&type=0)

         001        9101591    Oct 17,                     DP         U-1488
                               2027                                   (show_code.cfm?
                                                                      id=1597&type=0)

         001        9132110    Oct 17,                                U-1488
                               2027                                   (show_code.cfm?
                                                                      id=1597&type=0)




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 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations Page 3 of 4
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 70 of 232 PageID: 8208



                                                  Drug        Drug
         Product         Patent      Patent       Substance   Product                         Delist
         No              No          Expiration   Claim       Claim     Patent Use Code       Requested

         001             9168304     Oct 17,                  DP        (show_code.cfm?
                                     2027                               id=&type=0)

         001             9168305     Oct 17,                            U-1488
                                     2027                               (show_code.cfm?
                                                                        id=1597&type=0)

         001             9220784     Oct 17,                            U-1488
                                     2027                               (show_code.cfm?
                                                                        id=1597&type=0)

         001             9339551     Oct 17,                            U-1488
                                     2027                               (show_code.cfm?
                                                                        id=1597&type=0)

         001             9339552     Oct 17,                  DP        U-1488
                                     2027                               (show_code.cfm?
                                                                        id=1597&type=0)

         001             9370501     Jul 10,                            U-1614
                                     2029                               (show_code.cfm?
                                                                        id=1624&type=0)

         001             9375412     Jul 10,                            U-1614
                                     2029                               (show_code.cfm?
                                                                        id=1624&type=0)

         001             9415029     Jul 10,                            U-1614
                                     2029                               (show_code.cfm?
                                                                        id=1624&type=0)




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         Product                                                   Exclusivity
         No                   Exclusivity Code                     Expiration

         001                  NP (show_code.cfm?                   Jan 16, 2017
                              id=1107&type=1)


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 Orange Book: Approved Drug Products with Therapeutic Equivalence Evaluations Page 4 of 4
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 71 of 232 PageID: 8209



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    V ie w    a lis t o f a ll e x c lu s iv ity c o d e s (r e s u lts _ e x c lu s iv ity .c fm )




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 72 of 232 PageID: 8210




                                 EXHIBIT 4
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 73 of 232 PageID: 8211




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       Of Counsel for Plaintiffs Horizon
       Pharma Ireland Limited, HZNP Limited
       and Horizon Pharma USA, Inc.


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

       HORIZON PHARMA IRELAND
       LIMITED, HZNP LIMITED and HORIZON
                                                        C.A. No. 14-cv-7992-NLH-AMD
       PHARMA USA, INC.,
                                                       (Consolidated with C.A. No. 15-cv-
                               Plaintiffs,
                                                        5025, 15-cv-6131 and 15-cv-6989)
                    v.                                   Hon. Noel L. Hillman, U.S.D.J.
                                                         Hon. Ann Marie Donio, U.S.M.J
       ACTAVIS LABORATORIES UT, INC.,

                               Defendant.



         PLAINTIFFS’ FIRST AMENDED DISCLOSURE OF ASSERTED CLAIMS
               AS TO U.S. PATENT NOS. 8,217,078, 8,252,838, 8,546,450,
                         8,563,613, 8,618,164 AND 8,871,809
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 74 of 232 PageID: 8212




              Pursuant to Local Patent Rule 3.6(b), Plaintiffs Horizon Pharma Ireland Limited,

       HZNP Limited and Horizon Pharma USA, Inc. (“Horizon”) hereby provide to Defendant

       Actavis Laboratories UT, Inc. (“Actavis”), the following Disclosure of Asserted Claims

       for U.S. Patent Nos. 8,217,078 (“the ’078 patent”), 8,252,838 (“the ’838 patent”),

       8,546,450 (“the ’450 patent”), 8,563,613 (“the ’613 patent”), 8,618,164 (“the ’164

       patent”) and 8,871,809 (“the ’809 patent”).

              Plaintiffs reserve the right to modify and/or supplement this Disclosure of

       Asserted Claims as appropriate as discovery in this case continues and/or in light of

       Actavis’ claim construction contentions or this Court’s claim constructions. The

       Disclosure of Asserted Claims below is preliminary and based upon current information

       and belief.

              As presently advised, Horizon asserts the following claims against Actavis under

       35 U.S.C. § 271(e)(2)(A) and/or 35 U.S.C. § 271(a), (b) and/or (c):


                     Patent Number                            Asserted Claims
                     the ’078 patent
                     the ’838 patent
                     the ’450 patent
                     the ’613 patent
                     the ’164 patent
                     the ’809 patent


       Date: December 15, 2015                  s/ John E. Flaherty
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 75 of 232 PageID: 8213




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                                       Pharma USA, Inc.




                                          3
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 76 of 232 PageID: 8214




                                  CERTIFICATE OF SERVICE

              The undersigned hereby certifies that true and correct copies of PLAINTIFFS’

       AMENDED DISCLOSURE OF ASSERTED CLAIMS were caused to be served on

       December 15, 2015, via email, upon Defendant’s counsel of record.



              Date: December 15, 2015                           s/ Benjamin D. Witte




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 77 of 232 PageID: 8215




                                 EXHIBIT 5
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 78 of 232 PageID: 8216




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       Of Counsel for Plaintiffs Horizon
       Pharma Ireland Limited, HZNP Limited
       and Horizon Pharma USA, Inc.


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

       HORIZON PHARMA IRELAND LIMITED,
       HZNP LIMITED and HORIZON PHARMA
                                                          C.A. No. 14-cv-7992-NLH-AMD
       USA, INC.,
                                                                (CONSOLIDATED)
                               Plaintiffs,
                                                            Document Filed Electronically
                    v.

       ACTAVIS LABORATORIES UT, INC.,

                               Defendant.




                   PLAINTIFFS’ DISCLOSURE OF ASSERTED CLAIMS
                     OF U.S. PATENT NOS. 9,101,591 AND 9,132,110
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 79 of 232 PageID: 8217




              Pursuant to Local Patent Rule 3.6(b), Plaintiffs Horizon Pharma Ireland Limited,

       HZNP Limited and Horizon Pharma USA, Inc. (“Horizon”) hereby provide to Defendant

       Actavis Laboratories UT, Inc. (“Actavis”) the following Disclosure of Asserted Claims

       for U.S. Patent Nos. 9,101,591 (“the ’591 patent”) and 9,132,110 (“the ’110 patent”).

              Horizon reserves the right to modify and/or supplement this Disclosure of

       Asserted Claims as appropriate as discovery in this case continues and/or in light of

       Actavis’ claim construction contentions or this Court’s claim constructions. The

       Disclosure of Asserted Claims below is preliminary and based upon current information

       and belief.

              As presently advised, Horizon asserts the following claims against Actavis under

       35 U.S.C. § 271(e)(2)(A) and/or 35 U.S.C. § 271(a), (b) and/or (c):


                     Patent Number                            Asserted Claims
                     the ’591 patent
                     the ’110 patent



       Date: September 30, 2015                 s/ John E. Flaherty
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 80 of 232 PageID: 8218




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                                       Of Counsel for Plaintiffs Horizon Pharma
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                                       Pharma USA, Inc.




                                         3
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 81 of 232 PageID: 8219




                                  CERTIFICATE OF SERVICE

               The undersigned hereby certifies that true and correct copies of PLAINTIFFS’
       DISCLOSURE OF ASSERTED CLAIMS OF U.S. PATENT NOS. 9,101,591 AND
       9,132,110 were caused to be served on September 30, 2015, via email upon all counsel of
       record.

       Date: September 30, 2015                                  s/ Benjamin D. Witte




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 82 of 232 PageID: 8220




                                 EXHIBIT 6
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 83 of 232 PageID: 8221




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     Of Counsel for Plaintiffs Horizon
     Pharma Ireland Limited, HZNP Limited
     and Horizon Pharma USA, Inc.

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

     HORIZON PHARMA IRELAND LIMITED,
     HZNP LIMITED and HORIZON PHARMA USA,
     INC.,

                           Plaintiffs,                     C.A. No. 14-cv-7992-NLH-AMD
                                                           Judge Noel L. Hillman
     v.                                                    Magistrate Judge Ann Marie Donio
                                                           HIGHLY CONFIDENTIAL –
                                                           PURSUANT TO DISCOVERY
     ACTAVIS LABORATORIES UT, INC.,
                                                           CONFIDENTIALITY ORDER

                          Defendant.



     PLAINTIFFS’ PRELIMINARY DISCLOSURE OF INFRINGEMENT CONTENTIONS
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 84 of 232 PageID: 8222




    I.     Disclosure of Infringement Contentions (L. Pat. R. 3.6(g))

           Pursuant to Local Patent Rules 3.1 and 3.6(g) of the United States Court for the District

    of New Jersey and this Court’s Scheduling Order of April 24, 2015 (ECF No. 29), Plaintiffs

    hereby provide to Defendant the following Preliminary Infringement Contentions for the ’078,

    ’838, ’450, ’613, ’164 and ’809 patents. Plaintiffs reserve the right to modify and/or supplement

    these Contentions as appropriate as discovery in this case continues and/or in light of

    Defendant’s claim construction contentions, any modification or clarification of Defendant’s

    non-infringement and invalidity contentions, any additional non-infringement or invalidity

    contentions from Defendants, and/or this Court’s claim constructions. The Contentions set forth

    below are preliminary and are based solely on current knowledge and belief.

           A.      Claims that are Infringed by Defendant’s Accused Instrumentality (L. Pat.
                   R. 3.1(a)).

           Plaintiffs incorporate herein the disclosures contained in Plaintiffs’ Disclosure of

    Asserted Claims, served on Defendant’s counsel on April 28, 2015, pursuant to Local Patent

    Rule 3.6(b).

           Plaintiffs restate herein that they assert




                                                                   For the reasons stated below,

    Defendant’s filing of Defendant’s ANDA constitutes infringement of the asserted claims under

    35 U.S.C. § 271(e)(2)(A), and Defendant’s activities in connection with the manufacture, use,

    sale, offer for sale and/or importation of the drug product that is the subject of Defendant’s

    ANDA will constitute direct infringement under 35 U.S.C. § 271(a), inducement of infringement



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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 85 of 232 PageID: 8223




    under 35 U.S.C. § 271(b) and/or contributory infringement under 35 U.S.C. § 271(c) of the

    asserted claims.

           B.      The Accused Instrumentality (L. Pat. R. 3.1(b))

           The accused instrumentality is the drug product that is the subject of Defendant’s ANDA

    No. 207238, which describes a Diclofenac Sodium Topical Solution, 2% w/w. Defendant’s

    ANDA Product contains each and every limitation of

                                                                               and thus infringes those

    asserted claims as set forth in the attached Exhibit A.

           In addition, the proposed label that will accompany Defendant’s ANDA Product,

    submitted by Defendant to the Food and Drug Administration (“FDA”), instructs users of

    Defendant’s ANDA Product to administer it in such a manner that a user of Defendant’s ANDA

    Product will practice each and every limitation of




                        and thus infringe those asserted claims, as set forth in Exhibit A.

           C.      Chart Identifying Specifically Where Each Limitation of Each Asserted
                   Claim is Found Within the Accused Instrumentality (L. Pat. R. 3.1(c))

           Attached as Exhibit A is a chart identifying specifically where each limitation of each

    asserted claim of the ’078, ʼ838, ʼ450, ’613, ʼ164 and ʼ809 patents is found within Defendant’s

    accused instrumentality or its use. Plaintiffs reserve the right to modify and/or supplement

    Exhibit A as discovery progresses.




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 86 of 232 PageID: 8224




           D.     For Indirectly Infringed Claims, Identification of Any Direct Infringement
                  and a Description of the Acts of the Alleged Infringer that Contribute To or
                  Are Inducing that Infringement (L. Pat. R. 3.1(d))

                  1.      Direct Infringement

           As set forth in the attached Exhibit A, each and every limitation of




                                                                                           is present

    literally or under the doctrine of equivalents in Defendant’s ANDA Product or in the

    administration of Defendant’s ANDA Product as directed by Defendant’s proposed label. The

    manufacture, use, offer for sale, sale and/or importation of Defendant’s ANDA Product, if

    approved, would directly infringe

                                                       because Defendant’s ANDA Product contains

    every limitation of the aforementioned claims. (See Exhibit A.) Furthermore, if Defendant’s

    ANDA product is approved,




    would be directly infringed at least by users of Defendant’s ANDA Product who use same as

    directed by Defendant’s proposed label. (See Exhibit A.)

                  2.      35 U.S.C. § 271(b): Inducement of Infringement

           Defendant’s activities in connection with the manufacture, use, offer for sale, sale and/or

    importation of the drug product that is the subject of Defendant’s ANDA, if approved, would

    constitute infringement under 35 U.S.C. § 271(b)




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 87 of 232 PageID: 8225




           F.      Local Patent Rule 3.2(f)

           Plaintiffs identify at least the following documents in this category: Defendant’s ANDA

    and any supplements or amendments thereto as produced by Defendants to date, ACT-

    PENN0000001-ACT-PENN0002155. Plaintiffs will supplement such disclosure as discovery

    progresses and additional information comes to their attention.



                                              Respectfully submitted,




    Date: July 13, 2015                       s/ John E. Flaherty
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 88 of 232 PageID: 8226




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 89 of 232 PageID: 8227




                                 CERTIFICATE OF SERVICE

           The undersigned hereby certifies that true and correct copies of PLAINTIFFS’
    PRELIMINARY DISCLOSURE OF INFRINGEMENT CONTENTIONS were caused to be
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          Date: July 13, 2015                              s/ Benjamin D. Witte




                                      13
                  HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 90 of 232 PageID: 8228




             Horizon Pharma Ireland Limited et al. v. Actavis Laboratories UT, Inc.
                             C.A. No. 14-CV-7992-NLH-AMD

                                         EXHIBIT A

                    Plaintiffs’ Infringement Contentions – the ’078 Patent

          ’078 Patent Claim                                   Infringement Contentions
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 91 of 232 PageID: 8229




          ’078 Patent Claim                           Infringement Contentions




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 92 of 232 PageID: 8230




          ’078 Patent Claim                           Infringement Contentions




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 93 of 232 PageID: 8231




          ’078 Patent Claim                           Infringement Contentions




                                      4
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 94 of 232 PageID: 8232




          ’078 Patent Claim                           Infringement Contentions




                                      5
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 95 of 232 PageID: 8233




          ’078 Patent Claim                           Infringement Contentions




                                      6
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 96 of 232 PageID: 8234




                    Plaintiffs’ Infringement Contentions – the ’838 Patent

          ’838 Patent Claim                                  Infringement Contentions




                                      7
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 97 of 232 PageID: 8235




          ’838 Patent Claim                          Infringement Contentions




                                      8
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 98 of 232 PageID: 8236




          ’838 Patent Claim                          Infringement Contentions




                                      9
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 99 of 232 PageID: 8237




          ’838 Patent Claim                          Infringement Contentions




                                     10
                 HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 100 of 232 PageID:
                                    8238



        ’838 Patent Claim                          Infringement Contentions




                                   11
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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 101 of 232 PageID:
                                    8239



        ’838 Patent Claim                          Infringement Contentions




                                   12
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 102 of 232 PageID:
                                    8240



        ’838 Patent Claim                          Infringement Contentions




                                   13
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 103 of 232 PageID:
                                    8241



        ’838 Patent Claim                          Infringement Contentions




                                   14
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 104 of 232 PageID:
                                    8242



        ’838 Patent Claim                          Infringement Contentions




                                   15
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 105 of 232 PageID:
                                    8243



        ’838 Patent Claim                          Infringement Contentions




                                   16
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 106 of 232 PageID:
                                    8244



        ’838 Patent Claim                          Infringement Contentions




                                   17
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 107 of 232 PageID:
                                    8245



        ’838 Patent Claim                          Infringement Contentions




                                   18
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 108 of 232 PageID:
                                    8246



        ’838 Patent Claim                          Infringement Contentions




                                   19
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 109 of 232 PageID:
                                    8247



        ’838 Patent Claim                          Infringement Contentions




                                   20
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 110 of 232 PageID:
                                    8248



        ’838 Patent Claim                          Infringement Contentions




                                   21
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 111 of 232 PageID:
                                    8249



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 112 of 232 PageID:
                                    8250



        ’838 Patent Claim                          Infringement Contentions




                                   23
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 113 of 232 PageID:
                                    8251



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 114 of 232 PageID:
                                    8252



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 115 of 232 PageID:
                                    8253



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 116 of 232 PageID:
                                    8254



        ’838 Patent Claim                          Infringement Contentions




                                   27
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 117 of 232 PageID:
                                    8255



        ’838 Patent Claim                          Infringement Contentions




                                   28
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 118 of 232 PageID:
                                    8256



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 119 of 232 PageID:
                                    8257



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 120 of 232 PageID:
                                    8258



        ’838 Patent Claim                          Infringement Contentions




                                   31
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 121 of 232 PageID:
                                    8259



        ’838 Patent Claim                          Infringement Contentions




                                   32
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 122 of 232 PageID:
                                    8260



        ’838 Patent Claim                          Infringement Contentions




                                   33
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 123 of 232 PageID:
                                    8261



        ’838 Patent Claim                          Infringement Contentions




                                   34
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 124 of 232 PageID:
                                    8262



        ’838 Patent Claim                          Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 125 of 232 PageID:
                                    8263



        ’838 Patent Claim                          Infringement Contentions




                                   36
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 126 of 232 PageID:
                                    8264



        ’838 Patent Claim                          Infringement Contentions




                                   37
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 127 of 232 PageID:
                                    8265



        ’838 Patent Claim                          Infringement Contentions




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                                   38
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 128 of 232 PageID:
                                    8266



        ’838 Patent Claim                          Infringement Contentions




                                   39
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 129 of 232 PageID:
                                    8267



        ’838 Patent Claim                          Infringement Contentions




                                   40
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 130 of 232 PageID:
                                    8268



        ’838 Patent Claim                          Infringement Contentions




                                   41
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 131 of 232 PageID:
                                    8269



        ’838 Patent Claim                          Infringement Contentions




                                   42
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 132 of 232 PageID:
                                    8270



                  Plaintiffs’ Infringement Contentions – the ’450 Patent

        ’450 Patent Claim                                  Infringement Contentions




                                   43
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 133 of 232 PageID:
                                    8271



        ’450 Patent Claim                           Infringement Contentions




                                   44
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 134 of 232 PageID:
                                    8272



        ’450 Patent Claim                           Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 135 of 232 PageID:
                                    8273



        ’450 Patent Claim                           Infringement Contentions




                                   46
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 136 of 232 PageID:
                                    8274



        ’450 Patent Claim                           Infringement Contentions




                                   47
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 137 of 232 PageID:
                                    8275



        ’450 Patent Claim                           Infringement Contentions




                                   48
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 138 of 232 PageID:
                                    8276



        ’450 Patent Claim                           Infringement Contentions




                                   49
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 139 of 232 PageID:
                                    8277



        ’450 Patent Claim                           Infringement Contentions




                                   50
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 140 of 232 PageID:
                                    8278



        ’450 Patent Claim                           Infringement Contentions




                                   51
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 141 of 232 PageID:
                                    8279



                  Plaintiffs’ Infringement Contentions – the ’613 Patent

        ’613 Patent Claim                                 Infringement Contentions




                                  52
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 142 of 232 PageID:
                                    8280



        ’613 Patent Claim                          Infringement Contentions




                                  53
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 143 of 232 PageID:
                                    8281



        ’613 Patent Claim                          Infringement Contentions




                                  54
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 144 of 232 PageID:
                                    8282



        ’613 Patent Claim                          Infringement Contentions




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 145 of 232 PageID:
                                    8283



        ’613 Patent Claim                          Infringement Contentions




                                  56
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 146 of 232 PageID:
                                    8284



        ’613 Patent Claim                          Infringement Contentions




                                  57
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 147 of 232 PageID:
                                    8285



        ’613 Patent Claim                          Infringement Contentions




                                  58
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 148 of 232 PageID:
                                    8286



        ’613 Patent Claim                          Infringement Contentions




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              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 149 of 232 PageID:
                                    8287



        ’613 Patent Claim                          Infringement Contentions




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              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 150 of 232 PageID:
                                    8288



        ’613 Patent Claim                          Infringement Contentions




                                  61
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 151 of 232 PageID:
                                    8289



        ’613 Patent Claim                          Infringement Contentions




                                  62
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 152 of 232 PageID:
                                    8290



        ’613 Patent Claim                          Infringement Contentions




                                  63
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 153 of 232 PageID:
                                    8291



        ’613 Patent Claim                          Infringement Contentions




                                  64
              HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 154 of 232 PageID:
                                    8292



                  Plaintiffs’ Infringement Contentions – the ’164 Patent

         ’164 Patent Claim                                Infringement Contentions




                                   65
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 155 of 232 PageID:
                                    8293



         ’164 Patent Claim                         Infringement Contentions




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               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 156 of 232 PageID:
                                    8294



         ’164 Patent Claim                         Infringement Contentions




                                   67
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 157 of 232 PageID:
                                    8295



         ’164 Patent Claim                         Infringement Contentions




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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 158 of 232 PageID:
                                    8296



         ’164 Patent Claim                         Infringement Contentions




                                   69
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 159 of 232 PageID:
                                    8297



         ’164 Patent Claim                         Infringement Contentions




                                   70
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 160 of 232 PageID:
                                    8298



         ’164 Patent Claim                         Infringement Contentions




                                   71
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 161 of 232 PageID:
                                    8299



                  Plaintiffs’ Infringement Contentions – the ’809 Patent

         ’809 Patent Claim                               Infringement Contentions




                                   72
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 162 of 232 PageID:
                                    8300



         ’809 Patent Claim                        Infringement Contentions




                                   73
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 163 of 232 PageID:
                                    8301



         ’809 Patent Claim                        Infringement Contentions




                                   74
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 164 of 232 PageID:
                                    8302



         ’809 Patent Claim                        Infringement Contentions




                                   75
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 165 of 232 PageID:
                                    8303



         ’809 Patent Claim                        Infringement Contentions




                                   76
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 166 of 232 PageID:
                                    8304



         ’809 Patent Claim                        Infringement Contentions




                                   77
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 167 of 232 PageID:
                                    8305



         ’809 Patent Claim                        Infringement Contentions




                                   78
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 168 of 232 PageID:
                                    8306



         ’809 Patent Claim                        Infringement Contentions




                                   79
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 169 of 232 PageID:
                                    8307



         ’809 Patent Claim                        Infringement Contentions




                                   80
               HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL ONLY
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 170 of 232 PageID:
                                    8308



                               EXHIBIT 7
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 171 of 232 PageID:
                                    8309



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      Telephone: (314) 812-8020

      Of Counsel for Plaintiffs Horizon
      Pharma Ireland Limited, HZNP Limited
      and Horizon Pharma USA, Inc.


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

      HORIZON PHARMA IRELAND LIMITED,
      HZNP LIMITED and HORIZON PHARMA
                                                      C.A. Nos. 1:15-cv-07742-NLH-AMD
      USA, INC.,
                                                      (Consolidated with C.A. Nos. 15-cv-5025,
                              Plaintiffs,
                                                      15-cv-6131, and 16-cv-6989)
                   v.                                 The Honorable Noel L. Hillman, U.S.D.J.
                                                      The Honorable Ann Marie Donio, U.S.M.J.
      ACTAVIS LABORATORIES UT, INC.,

                              Defendant.




            PLAINTIFFS’ AMENDED DISCLOSURE OF ASSERTED CLAIMS
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 172 of 232 PageID:
                                    8310



            Pursuant to Local Patent Rule 3.6(b), Plaintiffs Horizon Pharma Ireland Limited,

     HZNP Limited and Horizon Pharma USA, Inc. (“Horizon”) hereby provide to Defendant

     Actavis Laboratories UT, Inc. (“Actavis”), the following Amended Disclosure of

     Asserted Claims for U.S. Patent Nos. 8,252,838 (“the ’838 patent”), 8,563,613 (“the ’613

     patent”), 8,871,809 (“the ’809 patent”), 9,066,913 (“the ’913 patent”), 9,101,591 (“the

     ’591 patent”), 8,546,450 (“the ’450 patent”), 8,618,164 (“the ’164 patent”), 8,217,078

     (“the ’078 patent”), and 9,132,110 (“the ’110 patent”).

            As presently advised, Horizon asserts the following claims against Actavis under

     35 U.S.C. § 271(e)(2)(A) and/or 35 U.S.C. § 271(a), (b) and/or (c):

     Amended Asserted Claims in ’838 Patent Family
              ’838 patent
              ’613 patent
              ’809 patent
              ’913 patent
              ’591 patent

     Amended Asserted Claims in ’450 Patent Family
              ’450 patent
              ’164 patent
              ’078 patent
              ’110 patent



     Date: January 9, 2017                    s/ John E. Flaherty
                                              John E. Flaherty
                                              Ravin R. Patel
                                              MCCARTER & ENGLISH LLP
                                              Four Gateway Center
                                              100 Mulberry St.
                                              Newark, NJ 07102
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                                              Attorneys for Plaintiffs Horizon Pharma Ireland
                                              Limited, HZNP Limited and Horizon Pharma
                                              USA, Inc.


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Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 173 of 232 PageID:
                                    8311



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                                     Of Counsel for Plaintiffs Horizon Pharma
                                     Ireland Limited, HZNP Limited and Horizon
                                     Pharma USA, Inc.




                                       3
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 174 of 232 PageID:
                                    8312



                                CERTIFICATE OF SERVICE

            The undersigned hereby certifies that true and correct copies of PLAINTIFFS’
     AMENDED DISCLOSURE OF ASSERTED CLAIMS were caused to be served on
     January 9, 2017, via email upon all counsel of record.

     Date: January 9, 2017                      s/ Benjamin D. Witte




                                               4
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 175 of 232 PageID:
                                    8313



                               EXHIBIT 8
                                                                                                                                        U.S. PTO
    Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 176 of 232 PageID:
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                                                                                                                                      07/10/2009
             (C.                                                                                                                                        PTO/SB/05 (08-08)
            ........                                                                                              Approved for use through 06/30/2010. OMB 0651-0032
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                              PATENT APPLICATION
                                                                                                         Attorney Docket No.

                                                                                                         First Inventor                 Singh, et al.

           0
                                 TRANSMITTAL                                                             Title                          Treatment of Pain with Topical Dice

                       (Only for new nonprovisional applications under 37 CFR 1. 53(bJJ                                                 EV 963955026 US
    \...                                                                                                 Express Mail Label No.                                                                 ~

                                                                                                                                         Commissioner for Patents
                                   APPLICATION ELEMENTS                                                  ADDRESS TO:                     P.O. Box 1450
                 See MPEP chapter 600 concerning utility patent application contents.                                                    Alexandria VA 22313-1450

       1.m Fee Transmittal Form (e.g., PTOISBl17)                                                                   ACCOMPANYING APPLICATION PARTS
       2.IZI Applicant claims small entity status.

       3.0
             See 37 CFR 1.27.
             Specification            [Total Pages
                         Both the daims and .abstract must start on a new page
                                                                                  }}$<fl-                    9. D   Assignment Papers (cover sheet & document(s))

                                                                                                                      Name of Assignee
                         (For infonnauon on the preferred a11Bngement, see MPEP 608.01(a))
      4.[ZJ Drawlng(s) (35 U.S.C. 113)                        (Total Sheets            7         I

          a.
          b.
                   a
       5. Oath or Declaration                   (Total Sheets
                  Newly executed (original or copy)
                  A copy from a prior application (37 CFR 1.63(d))
                                                                                                 I       10. D      37 CFR 3.73(b) Statement
                                                                                                                      (when there is an assignee)
                                                                                                                                                                 DPowerof
                                                                                                                                                                    Attorney


              i.          0
                   or continuation/divisional with Box 18 completed)
                     DELETION OF INVENTOR(S}
                                                                                                            11. D   English Translation Document (if applicable)

                                Signed statement attached deleting inventor(s)                              12. D   lnfo~tlon Disclosure Statement (PTOISB/08 or PT0-1449)
                                name in the prior application, see 37 CFR                                                   Copies of citations attached
                                1.63(d)(2) and 1.33(b).

       6.o               Applicatlon Data Sheet See 37 CFR 1.76
                                                                                                            13. D   Preliminary Amendment
       7.0               CD-ROM or CD-R in duplicate, large table or
                                                                                                            14. !ZI Return Receipt Postcard (MPEP 503)
                         CC'.jputer Program (Appendix)                                                               (Should be specifically itemized)
                                Landscape Table on CD

       8.        Nucleotide and/or Amino Acid Sequence Submission                                           15. D   Certified Copy of Priority Document(s)
                 (if apoable, items a. - c. are required)                                                            (if foreign priority is claimed)
                  a.      Computer Readable Form (CRF)
                  b.       Specification Sequence Listing on:                                               16. !ZI Nonpublicatlon Request under 35 U.S.C. 122(b)(2)(B)(i).
                                                                                                                     Applicant must attach form PTO/SB/35 or equivalent.
                           i. D         CD-ROM or CD-R (2 copies); or
                           ii.O         Paper                                                               17. [ZJ Other: Patent AJ2J2lication Fee Determination Record

              c. D       Statements verifying identity of above copies                      {du12licate); Fee Transmittal {du12licatel
        18. If a CONTINUING APPLICATION, check appropriate box, and supply the requisite infomiation below and in the first sentence of the
       specification following the title, or in an Application Data Sheet under 37 CFR 1. 76:

                 D Continuation                      D DMsional                       D      Continuation-in-part (CIP)          ol 1>rior application No.: .................................

       Prior application information:                           Examiner                                                      Art Unit:

                                                                            19. CORRESPONDENCE ADDRESS


       [{]The address associated with Customer Number:
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                                       Suzanne L. Biggs
       (PrinUTvoel                                                                                                                           IAttomev/Aaentl      •

       This collection of information is required by 37 CFR 1.53(b). The information is required to obtain or retain a benefit by the public which is to file (and by the
       USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 12 minutes to
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                                             If you need assistance in completing the form, calf 1-BOO-PT0-9199 ands.elect option 2.




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     BIB DATA SHEET
                                                                                            CONFIRMATION NO. 4234

  SERIAL NUMBER                     FILING or 371 (c)             CLASS       GROUP ART UNIT               ATTORNEY DOCKET
                                         DATE                                                                     NO.
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    APPLICANTS
      Jagat Singh, Scarborough, CANADA;
      Joseph Zev Shainhouse, North York, CANADA;
       Bradley S. Galer, West Chester, PA;
       Robert Dominic King-Smith, San Diego, CA;
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       Maria Burian, Stolberg, GERMANY;
      Jonathan Wilkin, Columbus, OH;
       Edward T. Kisak, San Diego, CA;
      John M. Newsam, La Jolla, CA;
** CONTINUING DATA *************************
     This appln claims benefit of 61/211,600 03/31/2009
** FOREIGN APPLICATIONS *************************
** IF REQUIRED, FOREIGN FILING LICENSE GRANTED ** ** SMALL ENTITY **
       07/24/2009
Foreign Priority claimed         Oves ~No                          STATE OR    SHEETS            TOTAL               INDEPENDENT
35 USC 119(a-d) conditions met    0 Yes ~No         D X1f~;~~~e    COUNTRY    DRAWINGS          CLAIMS                  CLAIMS
Verified and         /SARAH PIHONAK/
Acknowledged          Examiner's Signature           Initials      CANADA        7                    59                      4

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          TWO EMBARCADERO CENTER
          EIGHTH FLOOR
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          UNITED STATES
    TITLE
          Treatment of pain with topical diclofenac compounds

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                               EXHIBIT 9
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      (12)   United States Patent                                             (10) Patent No.:                    US 8,217,078 Bl
             Singh et al.                                                     (45) Date of Patent:                         *Jul. 10, 2012

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    U.S. Patent                  Jul. 10, 2012               Sheet 4 of 10               US 8,217,078 Bl




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                                                               FIG. 7                                        ~
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                                   MEAN PlASMA CONCENTRATION - TIME PROFILE FOR DIMETHYL SULFONE {JLg/mL)    ~
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                                 FIG. 9                                                                            .rJJ
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 ANAlYSIS OF ELIMINATION RATE CONSTANT (K J SINGLE AND MULTl DOSE APPLICATION
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OF A TOPICAL SOLUTION CONTAINING 1.5% w/w OICLOFINAC SODIUM AND 45.5% DMSO                                         ~
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     U.S. Patent           Jul. 10, 2012       Sheet 10 of 10              US 8,217,078 Bl




             FIG. lOA




               Figure 1. Dispense 10 drops of PENNSAID® at a time


             FIG. JOB




              Figure 2. Spread PENN SAID® evenly on the front, and sides of your knee


            FIG.JOC




              Figure 3. Spread PENNSAID® evenly on the back of your knee
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 191 of 232 PageID:
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           TREATMENT OF PAIN WITH TOPICAL                                 tures, subluxation, dislocation, crush injuries, prolonged
                   DICLOFENAC                                             illllnobilization (e.g., immobilization of a joint in a cast or
                                                                          splint), and paralysis.
                 CROSS-REFERENCE TO RELATED                                   When non-pharmacologicalmeasures are not sufficient to
                            APPLICATIONS                                  control the symptoms of osteoarthritis, current evidence-
                                                                          based guidelines support pharmacological treatment with
        This application is a continuation application claiming pri-      acetaminophen or oral nonsteroidal anti-inflanllllatory drugs
    ority to U.S. patent application Ser. No. 12/660,865, filed           ("NSAID"s) (American College of Rheumatology Subcom-
    Mar. 4, 2010, which is a continuation-in-part of U.S. patent          mittee on Osteoarthritis Guidelines. Recollllnendations for
    application Ser. No. 12/459,998, filed Jul. 10, 2009, which in 10 the medical management of osteoarthritis of the hip and knee:
    turn claims the benefit of priority under 35 USC §119(e) to           2000 update. Arthritis Rheum. 2000; 43:1905-15; National
    U.S. Provisional Application No. 61/211,600. filed Mar. 31,           Collaborating Centre for Chronic Conditions. Osteoarthritis:
    2009, the disclosures all of which are incorporated herein by         National clinical guideline for care and management in
    reference in their entirety for all purposes.                         adults. London: Royal College Physicians, 2008. Available
                                                                       15 at:                     http://www.nice.org.uk/nicemedia/pdf/
                                  FIELD                                   CG059FullGuideline.pdf.; Zhang W, et a!., Osteoarthritis
                                                                          Cartilage 2007; 15:981-1000; Zhang W, eta!., Osteoarthritis
        The field involves the delivery of compounds useful for           Cartilage 2008; 16:137-62. Acetaminophen has been linked
    pain relief, including diclofenac formulations, methods of use        with an increased risk ofhepatic, hypertensive and cardiovas-
    thereof, articles of manufacture and kits that include provid- 20 cular adverse effects (e.g., ChanA T, eta!., Circulation. 2006;
    ing novel preclinical, clinical and other inforn1ation to users.      113:1578-87. Epub 2006 Mar. 13; Pincus T, eta!.. Ann Rheum
                                                                          Dis. 2004; 63:931-9).
                            BACKGROUND                                        NSAIDs are more effective (Towheed T E, J Rheumatol.
                                                                          2006; 33:567-73) and carry more well-known gastrointesti-
        The following includes information that may be useful in 25 nal and cardiovascular risk (e.g., Antman E M, et a!. Use of
    understanding the present invention. It is not an admission           nonsteroidal anti-inflanllllatory drugs: an update for Clini-
    that any of the information provided herein is prior art, or          cians: a scientific statement from the American Heart Asso-
    relevant, to the presently described or claimed inventions, or        ciation. Circulation. 2007; 115:1634-42; Chan AT, eta!.
    that any publication or document that is specifically or implic-      Nonsteroidal anti-inflammatory drugs, acetaminophen. and
    itly referenced is prior art.                                      30 the risk of cardiovascular events. Circulation. 2006; 113:
        Today, pain has become the universal disorder, a serious          1578-87). The attempt to minimize the risk of both morbidity
    and costly public health issue, and a challenge for finnily,          and potential mortality by prescribing COX-2 selective
    friends, and health care providers who must give support to           NSAIDs ('coxibs') has not achieved the goal (Kearney PM,
    the individual suffering from the physical as well as the emo-        eta!. BMJ 2006; 332: 1302-8; Mamdani M, eta!., BMJ 2004;
    tional consequences of pain. In general, there are two basic 35 328:1415-6).
    types of pain, acute and chronic. Acute pain, for the most part,          Diclofenac is used, most commonly, as the sodium or
    results from disease, inflammation, or injury to tissues. This        potassium salt for relief from pain and inflammation such as
    type of pain generally comes on suddenly, for example, after          musculoskeletal and joint disorders including rheumatoid
    trauma or surgery. In some instances, it can become chronic.          arthritis, osteoarthritis, and ankylosing spondylitis. U.S. Pat.
    Chronic pain is widely believed to represent disease itself. 40 Nos. 4,575,515 and 4,652,557 disclose topical NSAID com-
    Chronic pain persists over a longer period of time than acute         positions, one of which, consisting of 1.5% diciofenac
    pain and is resistant to most medical treatments. It can, and         sodium, 45.5% dimethylsulphoxide ("DMSO"), ethanol,
    often does, cause severe problems for patients.                       propylene glycol, glycerine, and water, has been shown to be
        Arthritis is considered to be one of the most pervasive           effective in the treatment of chronic osteoarthritis (e.g.,
    diseases in the United States and a leading cause of disability. 45 Towheed, Journal of Rheumatology 33:3 567-573 (2006);
    According to the Centers for Disease Control and Prevention,          Oregon Evidence Based Practice Center entitled "Compara-
    it is estimated that 1 of every 3 Americans is affected by one        tive Safety and Effectiveness of Analgesics for Osteoarthri-
    or more of the more than 100 types of arthritis. Pain, particu-       tis," AHRQ Pub. No. 06-EHC09-EF).
    larly of the joints throughout the body, characterizes arthritis.         The skin provides a protective barrier against foreign mate-
    Psoriasis, primarily a skin disorder, can progress to psoriatic 50 rials and infection. In mammals this barrier is created prima-
    arthritis ifleft untreated. Rheumatoid arthritis, osteoarthritis,     rily by the outermost epidermal layer, the stratum corneum.
    and ankylosing spondylitis are all examples of degenerative           The stratum corneum is comprised of flat, extended, enucle-
    arthritic diseases.                                                   ated cells, termed corneocytes, the periphery of which com-
        In addition to, for example, arthritic causes, normal func-       prises a highly insoluble protein and lipid structure, called the
    tion of a joint and its movement, and other portions of the 55 cornified envelope ("CE"), surrollllded by lipids. (Downing et
    body, can be severely impaired as a result of trauma or fol-          a!., Dermatology in General Medicine, Fitzpatrick, et a!.,
    lowing orthopedic and other surgical procedures. This may             eds., pp. 210-221 (1993); Ponec, M, The Keratinocyte Hand-
    result in tenderness, aching, pain, and lengthy recovery times,       book, Leigh, eta!., eds., pp. 351-363 (1994)). The CE is
    as well as loss of joint mobility or reduced range of motion,         composed of polar lipids, such as ceramides, sterols, and fatty
    tonicity, or elasticity of the joint/articular structures, such as 60 acids, and a complicated network of cross-linked proteins;
    for example, muscle, tendon, capsule, bone, or ligament.              however, the cytoplasm of stratum corneum cells remains
    Reduced joint mobility may also involve permanently altered           polar and aqueous. The stratum corneum is extremely thin
    or shortened joint or tissue architecture. Altered or abnormal        (some 20 microns) but provides a substantial barrier. Never-
    joint mobility or joint architecture may also be associated           theless, the skin has been considered as a route for the admin-
    with or caused by a variety of injuries and conditions such as, 65 istration of drugs. Various transdern1al delivery systems
    for example, metabolic disorders, ischemia, injury to joint,          achieve epidermal penetration by using a skin penetration
    capsule, bone, cartilage. tendon, ligament or muscle, frac-           enhancing vehicle.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 192 of 232 PageID:
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       Topical NSAIDs present a safer potential alternative to oral    A, et a!. Effect of a topical diclofenac solution for relieving
    therapy, with decreased systemic exposure to the active            symptoms of primary osteoarthritis of the knee: a randomized
    NSAID molecule. While previous reviews (Mason L, et a!.,           controlled trial. CM4J 2004; 171 :333-8).
    BMC Musculoskelet Disord. 2004; 5:28) have suggested that             There remains a need in the art for methods of dosing
    topical NSAIDs are effective for osteoarthritis, Lin et a!.        topical diclofenac fommlations, and providing users and pre-
    (BMJ. 2004; 329:324-6) in their meta-analysis of the same          scribers with information regarding drug product attributes
    studies stressed that the various products showed symptom          and desired therapeutic effects as well as instructions on uses
    relief at 1 or 2 weeks but loss of benefit at 4 weeks, and         in conjunction with other topical agents. Such needs are met
    rejected them as there was insufficient evidence to justify a      by the inventions and discoveries provided herein.
    recommendation oflong-term use.                                 10
       Subsequently published randomized controlled studies                                   BRIEF SUMMARY
    have described a penetrating topical diclofenac solution in a
    dimethyl sulfoxide (DMSO)-containing vehicle as effica-               The inventions described and claimed herein have many
    cious and safe in relieving the symptoms of primary osteoar-       attributes and embodiments including, but not limited to,
    thritis of the knee over 4-, 6-, and 12-week treatment periods 15 those set forth or described or referenced in this Brief Sum-
    (Baer P A, et a!. BMC Musculoskelet Disord. 2005; 6:44;            mary. It is not intended to be all-inclusive and the inventions
    Booknmn A A, et a!. L"MAJ 2004; 171 :333-8; Roth S H,              described and claimed herein are not limited to or by the
    Shainhouse J Z. Arch Intern Med. 2004; 164:2017-23; Tug-           features or nonlimiting embodiments identified in this Brief
    well P S, et a!. J Rheumatol. 2004; 31:2002-12). Recent            Summary, which is included for purposes of illustration only
    topical NSAID reviews and meta-analyses (Banning M., Br J 20 and not restriction.
    Community Nurs 2006; 11:487 -92; Banning M., Expert Opin               Disclosed herein are methods of treatment and methods of
    Pharmacother 2008; 9:2921-9; Biswal S, eta!., J Rheumatol.         manufacturing and using a topical diclofenac pham1aceutical
    2006; 33:1841-4; Haynes S, Genm1ell H., Clinical Chiro-            product and related articles and kits. Also disclosed herein are
    practic 2007; 10:126-38; Moore RA, eta!., Rheum Dis Clin           methods of preventing or treating pain, including joint pain,
    N Am 2008; 34:415-32; Ozguney I, Expert Opin Pharmaco- 25 and arthritis, including osteoarthritis.
    ther 2008; 9:1805-16; Towheed T E, J Rheumatol. 2006;                 In one nonlimiting embodiment, a method of using topical
    33: 567-73; Zacher J, eta!., Current Medical Research and          diclofenac, and related methods of treatment, comprises
    Opinions 2008; 24(4):925-950) have evaluated the data from         informing a user of certain information regarding topical
    these topical diclofenac solution studies, and subsequently        diclofenac, for example, a topical diclofenac solution com-
    published national guidelines (Chou R, et a!. Comparative 30 prising or consisting essentially of 1.5% diclofenac sodium
    Effectiveness and Safety of Analgesics for Osteoarthritis.         (2-[ (2,6-dichlorophenyl )amino ]benzeneacetic acid, monoso-
    Comparative Effectiveness Review No. 4. Rockville, Md.:            dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
    Agency for Healthcare Research and Quality. September              ine, and water (sometimes referred to herein as "Pe1msaid"),
    2006. Available at: www.effectivehealthcare.ahrq.gov/re-           said information comprising one or more of the following: (1)
    ports/final.cfm; National Collaborating Centre for Chronic 35 clinical effects of topical diclofenac dosing, including, for
    Conditions. Osteoarthritis: National clinical guideline for        example, (a) the effects of particular four times per day
    care and management in adults. London: Royal College Phy-          ("QID") dosing; (b) the effects ofQID dosing in one or more
    sicians, 2008. Available at: http://www.nice.org.uklniceme-        clinical trials; (c) results from a 12-week, double-blind con-
    dia/pdf/CG059FullGuideline.pdf; Taunenbatun H, et a!., J           trolled trial of topical diclofenac in a solution containing
    Rheumatol. 2006; 33:140-57; Zhang W, eta!. 2007, supra; 40 dimethyl sulfoxide in subjects with osteoarthritis of the knee
    Zhang W, eta!. 2008 supra) have cited these studies as evi-        which compared the performance of said topical diclofenac
    dence for the use of topical NSAIDs as first line therapy for      solution against a vehicle solution containing 45.5% dimethyl
    osteoarthritis. Topical diclofenac solution is used for the        sulfoxide and a placebo solution containing 2.3% dimethyl
    treatment of osteoarthritis and is currently approved for sale     sulfoxide; (d) pharmacokinetic results from one or more stud-
    in Canada and several European countries.                       45 ies in which single and multiple doses of a topical diclofenac
       The efficacy of topical NSAIDs, such as topical diclofenac      in a solution containing dimethyl sulfoxide was applied topi-
    solution, is thought to be due to local action of the active       cally to healthy human volunteers; (2) an adverse event pro-
    NSAID molecule following its penetration through the skin to       file of a topical diclofenac. including, for example (a) that
    the tissue sites of inflmation and pain. Diclofenac sodium         concomitant use of oral NSAIDs with topical diclofenac
    is a member of the arylacanoic acid group ofNSAIDs with 50 resulted in a higher rate of rectal hemorrhage, more frequent
    lipophilic properties that limit its percutaneous penetration      abnormal creatinine, urea and hemoglobin; (b) that in a con-
    (Nishihata T, eta!., Chem. Pharm. Bull1987; 35:3807-12).           trolled trial, a higher rate of contact dennatitis with vesicles
    The biological property of DMSO to enhance skin penetra-           was observed after treatment of 152 subjects with the com-
    tion of both hydrophilic and lipophilic molecules is known         bination of topical diclofenac and oral diclofenac; (c) the
    (WilliamsAC, BarryB W,AdvDrugDelivRev2004; 56:603- 55 results of a clinical study demonstrating that the addition of
    18), with recent research focusing on the mechanism of             topical diclofenac to oral diclofenac did not cause an eleva-
    enhancement (Gurtovenko A A, Anwar J, J Phys Chem B                tion of liver transaminases in osteoarthritis patients over use
    2007; 111:1 0453-60). The percutaneous absorption of               of oral diclofenac alone; (3) preclinical study results with
    diclofenac following a multidose regimen of a topical              topical diclofenac, including, for exan1ple, the results of an
    diclofenac solution (based on a DMSO-containing vehicle) 60 animal study in which no adverse ocular effects were
    was siguificantly enhanced compared to an aqueous                  observed after multiple-daily dermal application to rats for 26
    diclofenac formulation without DMSO (Hewitt, P G, et a!.,          weeks and minipigs for 52 weeks of DMSO at twice the
    Pharmacal Res. 1998; 15:988-92). Within the extensive lit-         concentration found in a topical diclofenac solution (e.g.,
    erature on DMSO are unsubstantiated claims of therapeutic          Pem1said®); and (4) a statement that, once dry, sunscreen,
    efficacy in the treatment of osteoarthritis, but no efficacy of 65 insect repellant, lotion, moisturizer, cosmetics, and/or other
    DMSO vehicle was shown in a previous, 4-week randomized            topical products can be applied to an area previously treated
    controlled study of a topical diclofenac solution (Bookman A       with a topical diclofenac solution (e.g., Peunsaid®).
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 193 of 232 PageID:
                                    8331

                                                         US 8,217,078 Bl
                                  5                                                                   6
        In another nonlimiting embodiment, a method of using          sulfoxide; (d) pharmacokinetic results from one or more stud-
    topical diclofenac for the treatment of osteoarthritis, and       ies in which single and multiple doses of a topical diclofenac
    related methods of treatment, comprises providing a patient       in a solution containing dimethyl sulfoxide was applied topi-
    with said topical diclofenac and providing certain infomla-       cally to healthy human volunteers; (2) an adverse event pro-
    tion to the patient regarding said topical diclofenac, for        file of topical diclofenac, including, for example (a) that
    example, a topical diclofenac solution comprising or consist-     concomitant use of oral NSAIDs with topical diclofenac
    ing essentially of 1.5% diclofenac sodium (2-[(2,6-dichlo-        resulted in a higher rate of rectal hemorrhage, more frequent
    rophenyl)amino ]benzeneacetic acid, monosodium salt),             abnormal creatinine, urea and hemoglobin; (b) that in a con-
    45.5% DMSO, ethanol, propylene glycol, glycerine, and             trolled trial, a higher rate of contact dennatitis with vesicles
    water (sometimes referred to herein as "Pennsaid"), said 10 was observed after treatment of 152 subjects with the com-
    information comprising one or more of the following: (1)          bination of a topical diclofenac and oral diclofenac; (c) the
    clinical effects of topical diclofenac dosing, including, for     results of a clinical study demonstrating that the addition of
    example, (a) the effects of particular four times per day         topical diclofenac to oral diclofenac did not cause an eleva-
    ("QID") dosing; (b) the effects of QID dosing in one or more      tion of liver transaminases in osteoarthritis patients over use
    clinical trials; (c) results from a 12-week, double-blind con- 15 of oral diclofenac alone; (3) preclinical study results with
    trolled trial of topical diclofenac in a solution containing      topical diclofenac, including, for example, the results of an
    dimethyl sulfoxide in subjects with osteoarthritis of the knee    animal study in which no adverse ocular effects were
    which compared the perfonnance of said topical diclofenac         observed after multiple-daily demml application to rats for 26
    solution against a vehicle solution containing 45.5% dimethyl     weeks and minipigs for 52 weeks of DMSO at twice the
    sulfoxide and a placebo solution containing 2.3% dimethyl 20 concentration found in a topical diclofenac solution (e.g.,
    sulfoxide; (d) pharmacokinetic results from one or more stud-     Pem1said(ID); and (4) a statement that, once dry, sunscreen,
    ies in which single and multiple doses of a topical diclofcnac    insect repellant, lotion, moisturizer, cosmetics, and/or other
    in a solution containing dimethyl sulfoxide was applied topi-     topical products can be applied to an area previously treated
    cally to healthy human volunteers; (2) an adverse event pro-      with a topical diclofenac solution (e.g., Pennsaid®).
    file of a topical diclofenac, including, for example (a) that 25     In still yet another nonlimiting embodiment, a method of
    concomitant use of oral NSAIDs with topical diclofenac            using topical diclofenac, for exan1ple, a topical diclofenac
    resulted in a higher rate of rectal hemorrhage, more frequent     solution comprising or consisting essentially of 1.5%
    abnonnal creatinine, urea and hemoglobin; (b) that in a con-      diclofenac sodium, 45.5% DMSO, ethanol, propylene glycol,
    trolled trial, a higher rate of contact dennatitis with vesicles  glycerine, and water, and related methods of treatment, com-
    was observed after treatment of 152 subjects with the com- 30 prises providing a user with topical diclofenac, and informing
    bination of topical diclofenac and oral diclofenac; (c) the       the user of one or more of the following: (1) clinical effects of
    results of a clinical study demonstrating that the addition of    topical diclof(mac dosing, including, for example, (a) the
    topical diclofenac to oral diclofenac did not cause an eleva-     effects of particular QID dosing; (b) the effects ofQID dosing
    tion of liver transaminases in osteoarthritis patients over use   in one or more clinical trials; (c) results from a 12-week,
    of oral diclofenac alone; (3) preclinical study results with 35 double-blind controlled trial of topical diclofenac in a solu-
    topical diclofenac, including, for example, the results of an     tion containing dimethyl sulfoxide in subjects with osteoar-
    animal study in which no adverse ocular effects were              thritis of the knee which compared the performance of said
    observed after multiple-daily dennal application to rats for 26   topical diclofenac solution against a vehicle solution contain-
    weeks and minipigs for 52 weeks of DMSO at twice the              ing 45.5% dimethyl sulfoxide and a placebo solution contain-
    concentration found in a topical diclofenac solution (e.g., 40 ing 2.3% dimethyl sulfoxide; (d) pharmacokinetic results
    Pennsaid®); and (4) a statement that, once dry, sunscreen,        from one or more studies in which single and multiple doses
    insect repellant, lotion, moisturizer, cosmetics, and/or other    of a topical diclofenac in a solution containing dimethyl sul-
    topical products can be applied to an area previously treated     foxide was applied topically to healthy human volunteers; (2)
    with a topical diclofenac solution (e.g., Pennsaid®). In one      an adverse event profile of a topical diclofenac, including, for
    nonlimiting embodiment the method is used to treat osteoar- 45 example (a) that concomitant use of oral NSAIDs with topical
    thritis in patients with osteoarthritis of the knee. In another   diclofenac resulted in a higher rate of rectal hemorrhage,
    non-limiting embodiment the patient is further informed of        more frequent abnormal creatinine, urea and hemoglobin; (b)
    the results of pharmacokinetic studies of said topical            that in a controlled triaL a higher rate of contact dem1atitis
    diclofenac solution in healthy human vohmteers in which the       with vesicles was observed after treatment of 152 subjects
    measured plasma half life of diclofenac following a single 50 with the combination of topical diclofenac and oral
    dose application was shorter than said the measured plasma        diclofenac; (c) the results of a clinical study demonstrating
    half life of diclofenac following a multi -dose application.      that the addition of topical diclofenac to oral diclofenac did
        In another nonlimiting embodiment, a method of using          not cause an elevation of liver transaminases in osteoarthritis
    topical diclofenac, for example, a topical diclofenac solution    patients over use of oral diclofenac alone; (3) preclinical
    comprising or consisting essentially of 1.5% diclofenac 55 study results with topical diclofenac, including, for example,
    sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,         the results of an animal study in which no adverse ocular
    and water, and related methods of treatment, comprises            effects were observed after multiple-daily dermal application
    obtaining topical diclofenac from a container providing infor-    to rats for 26 weeks and mini pigs for 52 weeks of DMSO at
    mation regarding (1) clinical effects of topical diclofenac       twice the concentration found in a topical diclofenac solution
    dosing, including, for example, (a) the effects of particular 60 (e.g., Pe1msaid®); and (4) a statement that, once dry, sun-
    QID dosing; (b) the effects of QID dosing in one or more          screen, insect repellant, lotion, moisturizer, cosmetics, and/or
    clinical trials; (c) results from a 12-week, double-blind con-    other topical products can be applied to an area previously
    trolled trial of topical diclofenac in a solution containing      treated with a topical diclofenac solution (e.g., Pennsaid®).
    dimethyl sulfoxide in subjects with osteoarthritis of the knee       In another nonlimiting embodiment, a method of using
    which compared the performance of said topical diclofenac 65 topical diclofenac, for exan1ple, a topical diclofenac solution
    solution against a vehicle solution containing 45.5% dimethyl     comprising or consisting essentially of 1.5% diclofenac
    sulfoxide and a placebo solution containing 2.3% dimethyl         sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 194 of 232 PageID:
                                    8332

                                                          US 8,217,078 Bl
                                   7                                                                    8
    and water, and related methods of treatment, comprises               with the combination of topical diclofenac and oral
    administering a topical diclofenac DMSO formulation to a             diclofenac; (c) the results of a clinical study demonstrating
    patient, wherein the administration provides a therapeutic           that the addition of topical diclofenac to oral diclofenac did
    diclofenac concentration by application (of, for example,            not cause an elevation of liver transaminases in osteoarthritis
    about 40 drops) to one or both knees to a subject having             patients over use of oral diclofenac alone; (3) preclinical
    osteoarthritis of the knees, and the user is informed with           study results with topical diclofenac, including, for example,
    regard to one or more of the following: (1) clinical effects of      the results of an animal study in which no adverse ocular
    topical diclofenac in DMSO dosing, including, for example,           effects were observed after multiple-daily dermal application
    (a) the effects of particular QID dosing; (b) the effects ofQID      to rats for 26 weeks and mini pigs for 52 weeks of DMSO at
    dosing in one or more clinical trials; (c) results from a 10
                                                                         twice the concentration fmmd in a topical diclofenac solution
    12-week, double-blind controlled trial of topical diclofenac
                                                                         (e.g., Pem1said®); and (4) a statement that, once dry, sun-
    in a solution containing DMSO in subjects with osteoarthritis
                                                                         screen, insect repellant, lotion, moisturizer, cosmetics, and/or
    of the knee which compared the performance of said topical
    diclofenac solution against a vehicle solution containing            other topical products can be applied to an area previously
    45.5% dimethyl sulfoxide and a placebo solution containing 15        treated   with a topical diclofenac solution (e.g .. Pennsaid®).
    2.3% dimethyl sulfoxide; (d) pharmacokinetic results from               In one nonlimiting embodiment, an article of manufacture
    one or more studies in which single and multiple doses of a          comprises a container containing a dosage fom1 of topical
    topical diclofenac in a solution containing dimethyl sulfoxide       diclofenac, for example, a topical diclofenac solution com-
    was applied topically to healthy human volunteers; (2) an            prising or consisting essentially of 1.5% diclofenac sodium,
    adverse event profile of a topical diclofenac in DMSO, 20 45.5% DMSO, ethanol, propylene glycol, glycerine, and
    including, for example (a) that concomitant use of oral              water, wherein the container is associated with published
    NSAIDs with topical diclofenac resulted in a higher rate of          material providing some or all of the following information:
    rectal hemorrhage, more frequent abnormal creatinine, urea           (1) clinical effects of topical diclofenac dosing, including, for
    and hemoglobin; (b) that in a controlled trial, a higher rate of     example, (a) the effects of particular QID dosing; (b) the
    contact dermatitis with vesicles was observed after treatment 25 effects ofQID dosing in one or more clinical trials; (c) results
    of 152 subjects with the combination of topical diclofenac           from a 12-week, double-blind controlled trial of topical
    and oral diclofenac; (c) the results of a clinical study demon-      diclofenac in a solution containing dimethyl sulfoxide in
    strating that the addition of topical diclofenac to oral             subjects with osteoarthritis of the knee which compared the
    diclofenac did not cause an elevation ofliver transaminases in       perfonnance of said topical diclofenac solution against a
    osteoarthritis patients over use of oral diclofenac alone; (3) 30 vehicle solution containing 45.5% dimethyl sulfoxide and a
    preclinical study results with topical diclofenac, including,        placebo solution containing 2.3% dimethyl sulfoxide; (d)
    for example, the results of an animal study in which no              phannacokinetic results from one or more studies in which
    adverse ocular effects were observed after multiple-daily der-       single atld multiple doses of a topical diclofenac in a solution
    mal application to rats for 26 weeks and minipigs for 52             containing dimethyl sulfoxide was applied topically to
    weeks ofDMSO at twice the concentration fmmd in a topical 35 healthy human vohmteers; (2) an adverse event profile of a
    diclofenac solution (e.g., Pem1said®); and (4) a statement           topical diclofenac, including, for example (a) that concomi-
    that, once dry, sunscreen, insect repellant, lotion, moisturizer,    tant use of oral NSAIDs with topical diclofenac resulted in a
    cosmetics, and/or other topical products can be applied to an        higher rate of rectal hemorrhage, more frequent abnormal
    area previously treated with a topical diclofenac solution           creatinine, urea and hemoglobin; (b) that in a controlled trial,
    (e.g., Pem1said®).                                                40 a higher rate of contact dennatitis with vesicles was observed
       In yet another nonlimiting embodiment, a method of manu-          after treatment of 152 subjects with the combination of to pi-
    facturing a topical diclofenac pharmaceutical product com-           cal diclofenac and oral diclofenac; (c) the results of a clinical
    prises packaging a topical diclofenac dosage form, for               study demonstrating that the addition of topical diclofenac to
    example, a topical diclofenac solution comprising or consist-        oral diclofenac did not cause an elevation of liver trans ami-
    ing essentially of 1.5% diclofenac sodium (2-[(2,6-dichlo- 45 nases in osteoarthritis patients over use of oral diclofenac
    rophenyl)amino ]benzeneacetic acid, monosodium salt),                alone; (3) preclinical study results with topical diclofenac,
    45.5% DMSO, ethanol, propylene glycol, glycerine, and                including, for example, the results of an animal study in
    water, with some or all of the following infom1ation. in writ-       which no adverse ocular effects were observed after multiple-
    ten or electronic form: (1) clinical effects of topical              daily dermal application to rats for 26 weeks and minipigs for
    diclofenac dosing, including, for example, (a) the effects of 50 52 weeks of DMSO at twice the concentration fonnd in a
    particular QID dosing; (b) the effects ofQID dosing in one or        topical diclofenac solution (e.g., Pennsaid®); and (4) a state-
    more clinical trials; (c) results from a 12-week, double-blind       ment that, once dry sunscreen, insect repellant, lotion, mois-
    controlled trial of topical diclofenac in a solution containing      turizer, cosmetics, and/or other topical products can be
    dimethyl sulfoxide in subjects with osteoarthritis of the knee       applied to an area previously treated with a topical diclofenac
    which compared the perfom1at1ce of said topical diclofenac 55 solution (e.g., Petmsaid®).
    solution against a vehicle solution containing 45.5% dimethyl           In one nonlimiting embodiment, information regarding the
    sulfoxide and a placebo solution containing 2.3% dimethyl            clinical effects of dosing of a topical diclofenac solution
    sulfoxide; (d) pharmacokinetic results from one or more stud-        includes the effects of 40-drop QID dosing of said topical
    ies in which single and multiple doses of a topical diclofenac       diclofenac solution, and/or the effects of40-drop QID dosing
    in a vehicle solution containing dimethyl sulfoxide was 60 of said topical diclofenac solution in one or more clinical
    applied topically to healthy human volunteers; (2) an adverse        trials.
    event profile of a topical diclofenac, including, for example           In one nonlimiting embodiment, the article of manufacture
    (a) that concomitant use of oral NSAIDs with topical                 is a kit. Thus, one aspect of the invention provides a novel kit
    diclofenac resulted in a higher rate of rectal hemorrhage,           of parts comprising topical diclofenac (for example, a topical
    more frequent abnormal creatinine, urea and hemoglobin; (b) 65 diclofenac solution or gel as described, or referenced, herein)
    that in a controlled trial, a higher rate of contact dem1atitis      and information informing a user or prescriber of novel
    with vesicles was observed after treatment of 152 subjects           results from preclinical and clinical studies.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 195 of 232 PageID:
                                    8333

                                                         US 8,217,078 Bl
                                  9                                                                  10
       In one nonlimiting embodiment, or in any of the methods         glycol, glycerine, and water is statistically significantly dif-
    described herein, the user or prescriber is informed of the        ferent depending on whether the solution is applied as a single
    results of or more preclinical studies in which concomitant        dose or as multiple doses.
    use of topical diclofenac with other topical products, includ-        In one nonlimiting embodiment, the user or prescriber is
    ing DEET (active ingredient in insect repellent), 2,4-D (active    informed of the results of a clinical study demonstrating that
    ingredient in commonly used pesticides) and oxybenzone             the addition of topical diclofenac to oral diclofenac did not
    (active ingredient in stmscreens), was investigated. In one        increase the incidence of certain systemic adverse events in
    aspect of this embodiment, the user or prescriber is informed      osteoarthritis patients. In one aspect of this embodiment, the
    that repeated application of topical diclofenac did not            user or prescriber is fi.1rther informed that the combination of
                                                                    10 topical diclofenac and oral diclofenac did not increase the
    enhance the systemic absorption of these products. In another
                                                                       incidence of digestive system events over oral diclofenac
    aspect of this embodiment, the user or prescriber is informed
                                                                       alone. In another nonlimiting embodiment, the user or pre-
    that before applying sunscreen, insect repellant, lotion, mois-
                                                                       scriber is infonned of a study showing that administration of
    turizer, cosmetics, or other topical medication to the same        topical diclofenac results in less frequent adverse events asso-
    skin surface of the knee treated with topical diclofenac, one 15 ciated with the NSAID class than oral diclofenac alone and/or
    should wait until the treated area is dry, which occurs most       the results of a clinical study demonstrating that the addition
    often within from about 10-15 or about 30 minutes. In another      of topical diclofenac to oral diclofenac did not cause an eleva-
    aspect of this embodiment, including in any of the methods         tion of liver transaminases in osteoarthritis patients over use
    described herein, the user or prescriber is informed that con-     of oral diclofenac alone.
    comitant use of topical diclofenac and sunscreens and insect 20       In another nonlimiting embodiment, the user or prescriber
    repellants is safe. In another aspect of this embodiment,          is informed of the results of a clinical trial in which one kuee
    including in any ofthe methods described herein, the user or       was successfully treated with topical diclofenac even though
    prescriber is infom1ed that use of topical diclofenac does not     most subjects had bilateral osteoarthritis of the kuees. In one
    reduce the efficacy of a sunscreen. In another aspect of this      aspect of this embodiment, the user or prescriber is further
    embodiment, including in any of the methods described 25 informed that topical diclofenac may be applied to only one
    herein, the user or prescriber is informed that use of topical     kuee despite the existence of bilateral osteoarthritis.
    diclofenac does not reduce the efficacy of an insect repellant.       In another nonlimiting embodiment, the user or prescriber
       In one nonlimiting embodiment, or any of the methods            is infom1ed that a regimen of topical diclofenac and oral
    described herein, a user may also be informed of the effects of    diclofenac is useful for treating an individual with persistent
    use of other topical products in conjunction with topical 30 or breakthrough kuee pain despite using an oral NSAID.
    diclofenac in DMSO, including, for example, that concomi-             In another nonlimiting embodiment, the user or prescriber
    tant topical use of diclofenac in DMSO by repeated applica-        is informed that topical diclofenac, or a regimen of topical
    tion with other topical products, including DEET, 2,4-D and/       diclofenac and oral diclofenac, is useful when topical
    or oxybenzone (active ingredient in sunscreens) did not            diclofenac is applied to only one kuee of a subject with
    enhance the systemic absorption of these products; and/or (b) 35 osteoarthritis even though both kuees of an individual may be
    the effect of the use of topical diclofenac in DMSO on absorp-     affected.
    tion of environmental toxins, including, for example, the             In yet another nonlimiting embodiment, the user is pro-
    results of a study showing that repeated topical application of    vided with some or all of the topical diclofenac clinical and
    diclofenac in DMSO did not increase systemic environmental         preclinical information described herein for purposes of
    toxin exposure.                                                 40 enl1ancing the safety profile of topical diclofenac.
       In one nonlimiting embodiment, or in any of the methods            The topical diclofenac composition will comprise
    described herein, the user or prescriber is infom1ed of the        diclofenac and at least one transdermal penetration enhancer
    results of a transepidermal water loss study in which no           in an amount sufficient to aid in the delivery of a therapeuti-
    alteration in skin barrier ftmction following chronic use of       cally effective amount of diclofenac to a desired area. The
    topical diclofenac was found. In one aspect of this embodi- 45 topical diclofenac may also include one or more pharmaceu-
    ment, including in any of the methods described herein, the        tically acceptable carriers, thickening agents, solubilizing
    user or prescriber is informed that the study was performed on     agents, dispersants, etc.
    human volunteers' skin.                                               In certain embodiments, the diclofenac is in the fonn of a
       In one nonlimiting embodiment, or in any of the methods         pharmaceutically acceptable salt or free acid. Examples of
    described herein, the user or prescriber is infom1ed of the 50 phannaceutically acceptable salts include metal salts, includ-
    pharmacokinetic results from studies in which single and           ing alkali metal, alkaline earth metal, and nitrogen-based salts
    multiple doses of a topical diclofenac in a vehicle solution       such as ammonium salts. Sodium, potassium, epolamine and
    containing dimethyl sulfoxide was applied topically to             diethylamine salts are preferred. In one preferred embodi-
    healthy human vohmteers;                                           ment the diclofenac is diclofenac monosodium salt.
       In one nonlimiting embodiment, or in any of the methods 55         In one nonlimiting embodiment, the topical diclofenac is a
    described herein, the user or prescriber is infonned that in       solution.
    clinical trials the combination of topical diclofenac and oral        In another nonlimiting embodiment, the topical diclofenac
    diclofenac, compared to oral diclofenac alone, resulted in a       is a gel.
    higher rate of rectal hemorrhage (3% vs. less than 1% ), and          In one nonlimiting embodiment, the topical diclofenac is a
    more frequent abnormal creatinine (12% vs. 7%), urea (20% 60 solution that comprises or consists essentially of diclofenac
    vs. 12% ), and hemoglobin (13% vs. 9%), but no difference in       and between about 40% and about 85% DMSO by weight of
    elevation of liver transaminases.                                  the solution, preferably between about 40% and about 60%
       In one nonlimiting embodiment, or in any of the methods         DMSO by weight of the solution, more preferably between
    described herein, the user or prescriber is informed that the      about 40% and about 50% DMSO by weight of the solution,
    diclofenac halflife and elimination constant Kez for a topical 65 still more preferably between about 42.5% and about 48.5%
    diclofenac solution comprising or consisting essentially of        DMSO by weight of the solution, and most preferably about
    1.5% diclofenac sodium, 45.5% DMSO, ethanol, propylene             45.5% DMSO by weight ofthe solution; a polyalcohol, pref-
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 196 of 232 PageID:
                                    8334

                                                          US 8,217,078 Bl
                                  11                                                                   12
    erably having 3-5 carbon atoms, for the retention of moisture          In certain embodiments, the above-described topical
    in the skin, which in certain embodiments is glycerol or            diclofenac gel formulations include 1-5% glycerol. In such
    glycerine; a dispersant for assisting to disperse the compo-        embodiments, the gel formulation will have a drying rate and
    nents in solution to provide a homogeneous solution when            a transdem1al flux that are greater than a comparative liquid
    applied to the skin and when penetrating the skin, which in         topical diclofenac formulation. In other embodiments, the
    one embodiment is propylene glycol; and water.                      above-described topical diclofenac gel formulations will
       In one nonlimiting embodiment, the topical dicloft:mac is a      have a pH of about 6.0 to about 10.0.
    solution comprising or consisting essentially of 1.5% w/w              In another nonlimiting embodiment, the topical diclofenac
    diclofenac sodium (2-[(2,6-dichlorophenyl)amino ]benzene-           is a gel formulation comprising diclofenac (e.g., diclofenac
                                                                     10 sodium), ethanoL dimethyl sulfoxide, propylene glycol,
    acetic acid, monosodium salt) and 45.5% w/w dimethyl sul-
                                                                        hydroxypropylcellulose and water. In one aspect of this
    foxide.
                                                                        embodiment, the hydroxypropylcellulose is substituted with
       In another nonlimiting embodiment, the topical diclofenac
                                                                        alklycellulose, hydroxyalk')'lcellulose, carboxyalk')'lcellu-
    is a solution that comprises or consists essentially of 1.5%        lose, or sodium carboxyalklycellulose, where alkyl is methyl,
    diclofenac sodium (2-[(2,6-dichlorophenyl)amino ]benzene- 15 ethyl or propyl, or a mixture thereof.
    acetic acid, monosodium salt), 45.5% DMSO, ethanol, pro-               In another aspect of the present invention, some or all of the
    pylene glycol, glycerine, and water.                                user information described herein is provided and pain is
       In another nonlimiting embodiment the topical diclofenac         reduced in a supporting body structure of a subject, including
    is a gel formulation according to PCT/US2007/081674 (In-            joints, muscles, tendons, ligaments, cartilage and skin, by
    ternational Publication No. WO 2008/049020 A2), the con- 20 topically administering to a subject in need thereof a pharma-
    tents of which are incorporated herein in their entirety by this    ceutical composition comprising a therapeutically effective
    reference. The topical diclofenac may be any ofthe formula-         amount of diclofenac in dimethyl sulfoxide, preferably
    tions described or claimed therein. In another nonlimiting          45.5% w/w dimethyl sulfoxide, or a pharmaceutical compo-
    embodiment, the topical diclofenac is a gel fonnulation             sition comprising a therapeutically effective amount of
    according to US Patent Application No. 20080300311 (pub- 25 diclofenac in a gel formulation, as described herein, in PCT/
    lished Dec. 4, 2008), the contents of which are incorporated        US2007/081674, or in US Patent Application No.
    herein in their entirety by this reference. The topical             20080300311. In another nonlimiting embodiment, pain in
    diclofenac may be any of the formulations described or              the musculoskeletal system of a subject is reduced. In another
    claimed therein.                                                    nonlimiting embodiment, pain in a supporting body structure
       In another nonlimiting embodiment, the topical dielofenae 30 of a subject and/or in the musculoskeletal system of a subject
    is a gel formulation comprising diclofenac (e.g., diclofenac        is reduced.
    sodium), dimethyl sulfoxide, ethanol, propylene glycol, one            Various uses of the information provided herein following
    or more thickening agents, and water. In one aspect of this         new clinical and preclinical studies include uses for treat-
    embodiment, the topical diclofenac gel formulation further          ment, or in the manufacture or preparation of formulations,
    comprises glycerol. In another aspect, the thickening agent is 35 compositions, articles of manufacture and kits.
    selected from the group consisting of cellulose polymers,              The invention also includes methods employing topical
    carbomerpolymers, a carbomerderivative, a cellulose deriva-         diclofenac, kits and articles of manufacture useful for pain
    tive, polyvinyl alcohol, poloxamers, polysaccharides, and           relief or prevention in the treatment of a subject, including in
    mixtures thereof.                                                   the treatment of a subject following an invasive medical pro-
       In another nonlimiting embodiment, the topical diclofenac 40 cedure or surgery, including an orthopedic procedure or sur-
    is a gel formulation comprising or consisting essentially of        gery, or a subject predisposed to or otherwise at risk for pain,
    1-5% w/w diclof(mac (preferably diclofenac monosodimn);             wherein said methods, kits and articles of manufacture com-
    30-60% w/w dimethyl sulfoxide; 1-50% w/w ethanol; 1-15%             prise some or all of the user information described herein. The
    w/w propylene glycol; a thickener; and water (added to make         topical diclofenac described herein is administered to a site of
    100% w/w). In a preferred aspect of this embodiment, the gel 45 pain (acute or chronic, for example) and/or proximally
    formulation has a viscosity of 10-50,000 centipoise.                thereto (including, for example, areas of reflected or second-
       In another nonlimiting embodiment, the topical diclofenac        ary pain). Tims, for example, some or all of the user infonna-
    is a gel formulation comprising or consisting essentially of        tion described herein is provided and the topical diclofenac is
    about 2% w/w dielofenac (preferably diclofenac monoso-              administered to the skin at a site of pain and/or to skin loca-
    dium); about 45.5% w/w dimethyl sulfoxide; about 23-29% 50 tions proximal thereto in a supporting body structure of a
    w/w ethanol; about 11% w/w propylene glycol; about 0-6%             subject, including joints, muscles, tendons, ligaments, carti-
    w/w hydroxypropylcellulose (HY119); and water (added to             !age and skin (ineluding any one or more ofthese, together, or
    make 100% w/w). In a preferred aspect of this embodiment,           in any combination), and/or in the musculoskeletal system,
    the gel formulation has a viscosity of 500-5,000 centipoise.        by topical administration as provided herein, whereby pain is
       In another nonlimiting embodiment, the topical diclofenac 55 reduced.
    is a gel fornmlation comprising or consisting essentially of           In one aspect, the present invention is directed to a method
    diclofenac (preferably diclofenac monosodium) at a concen-          for reducing pain in a supporting body structure of a subject,
    tration selected from the group consisting of 1, 1.5, 2 and 3%      comprising topically administering to said subject in need
    w/w; dimethyl sulfoxide at a concentration selected from the        thereof a pharmaceutical composition comprising a therapeu-
    group consisting of 42, 43, 44, 45, 45.5 46, 47, 48 and 49% 60 tically effective amount of a transdermal diclofenac solution
    w/w and fractions in between; ethanol at 23-29% w/w; pro-           or gel formulation comprising DMSO, whereby pain is
    pylene glycol at a concentration selected from the group            reduced, and providing to a user some or all of the elinical and
    consisting of9, 10, 11, 12, 13% w/w and fractions in between;       preelinical information described herein. According to one
    hydroxypropylcellulose (HY119) at 0-6% w/w; and water               nonlimiting embodiment, the supporting body structure is a
    (included in an amount sufficient to make 100% w/w). In a 65 joint. According to another nonlimiting embodiment, the sup-
    preferred aspect of this embodiment, the gel formulation has        porting body structure is selected from the group consisting
    a viscosity of about 500-5000 centipoise.                           of muscles, bones, tendons, ligaments and cartilage. These
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 197 of 232 PageID:
                                    8335

                                                          US 8,217,078 Bl
                                  13                                                                   14
    methods are suitable for treating a subject suffering from           diclofenac solution against a vehicle solution containing
    arthritis. Conditions which may be treated include osteoar-          45.5% dimethyl sulfoxide and a placebo solution containing
    thritis, rheumatoid arthritis, and anklyosing spondylitis.           2.3% dimethyl sulfoxide; and (iv) pharmacokinetic results
       In a further nonlimiting embodiment this method is suit-          from one or more studies in which single and multiple doses
    able for treating a subject suffering from acute pain. Suitable      of a topical diclofenac in a solution containing dimethyl sul-
    pain conditions for treatment by this method include back            foxide was applied topically to healthy human volunteers; (b)
    pain, knee pain, hip pain, shoulder pain, ankle or leg pain,         an adverse event profile for a topical diclofenac solution
    hand pain or finger pain, in which a user is also provided with      comprising 1.5% w/w diclofenac soditun and 45.5% w/w
    some or all of the clinical and preclinical infonnation              dimethyl sulfoxide, including, (i) concomitant use of oral
    described herein. In an altemate nonlimiting embodiment the 10 NSAIDs with topical diclofenac resulted in a higher rate of
    subject is suffering from chronic pain, which may include            rectal hemorrhage, more frequent abnormal creatinine, urea
    back pain, knee pain, hip pain, shoulder pain, ankle or leg          and hemoglobin; (ii) that in a controlled trial, a higher rate of
    pain, hand pain or finger pain. In another nonlimiting embodi-       contact dennatitis with vesicles was observed after treatment
    ment, the subject is suffering from postoperative pain.              of 152 subjects with the combination of topical diclofenac
       In another aspect, the present invention is directed to a 15 and oral diclofenac; and (iii) results of a clinical study dem-
    method for applying multiple topical agents to an subject with       onstrating that the addition of said topical diclofenac solution
    pain comprising topically administering a phammceutical              to oral diclofenac did not cause an elevation ofliver trans ami-
    composition comprising a therapeutically effective amount of         nases over use of oral diclofenac alone; (c) preclinical study
    a topical diclofenac comprising diclofenac in DMSO, waiting          results for a topical formulation comprising dimethyl sulfox-
    for the treated area to dry (the time for which can be depen- 20 ide, including for example, the results of an animal study in
    dent on individual skin characteristics, enviromnental condi-        which no adverse ocular effects were observed after multiple-
    tions such as temperature and humidity, and surface area,            daily dennal application to rats for 26 weeks and minipigs for
    being often about 5-30 minutes, or about 5-20 minutes, for           52 weeks of DMSO at twice the concentration found in a
    example, or typically about 10 minutes or less for a topical         topical diclofenac solution (e.g., Penusaid® ); and (d) a state-
    diclofenac preparation, including a topical diclofenac solu- 25 ment that, once dry, sunscreen, insect repellant, lotion. mois-
    tion as described in the Exan1ples ), and applying another           turizer, cosmetics, and/or other topical products can be
    topical agent(s). In one nonlimiting embodiment, the subject         applied to an area previously treated with a topical diclofenac
    has osteoarthritis. In another nonlimiting embodiment, the           solution (e.g., Penusaid®).
    subject has osteoarthritis of the knee. In one embodiment the           In another aspect, a method of treating osteoarthritis of the
    topical agent administered after the topical diclofenac is a 30 knee is provided which comprises supplying a topical
    sunscreen or an insect repellant.                                    diclofenac preparation and the Attaclunent to the patient.
       In another nonlimiting embodiment, the invention includes            Also provided is a method of obtaining marketing autho-
    a method of protecting a subject with osteoarthritis from UV         rization from a regulatory authority for a topical diclofenac
    exposure and alleviating the signs and symptoms of osteoar-          product comprising referencing the kit of infonnation.
    thritis in the subject comprising the steps of applying a thera- 35     In another embodiment, a method for distribution of a
    peutically effective amount of a transdennal diclofenac solu-        topical diclofenac product is provided, comprising the steps
    tion or gel formulation comprising diclofenac in DMSO;               of (a) obtaining marketing authorization from a regulatory
    waiting for the treated area to dry (the time for which can be       authority for a topical diclofenac product comprising refer-
    dependent on individual skin characteristics, enviromnental          encing the kit of information; and providing said topical
    conditions such as temperature and humidity, and surface 40 diclofenac product to one or more distributors.
    area, being often about 5-30 minutes, or about 5-20 minutes,            These and other aspects of the present inventions, which
    for example, or typically about 10 minutes or less for a topical     are not limited to or by the information in this Brief Summary,
    diclofenac preparation, including a topical diclofenac solu-         are provided below.
    tion as described in the Examples), and applying sunscreen to
    all or a portion of the same area of treatment.                   45         BRIEF DESCRIPTION OF THE DRAWINGS
       In a further aspect, provided is an article of manufacture
    comprising a topical diclofenac preparation (e.g., a solution           FIG.l shows mean TEWL scores for Retin-A® by Day-
    or gel formulation for transdermal administration as                 ITT.
    described herein) and a packaging material, wherein said                FIG. 2 shows mean TEWL Scores for Penusaid® by Day
    topical diclofenac preparation comprises a pain relief effec- 50 ITT.
    tive amount of diclofenac in DMSO, wherein said packaging               FIG. 3 shows mean plasma concentration-time profile for
    material comprises a label or insert that indicates that said        diclofenac sodium (ng/mL ).
    composition may be used for reducing pain in a supporting               FIG. 4 shows mean plasma concentration-time profile for
    structure, and wherein a user is also provided with some or all      dimethyl sulfoxide (~tg/mL).
    of the clinical and preclinical information described herein. 55        FIG. 5 shows mean plasma concentration-time profile for
       In another aspect, a kit of information concerning a topical      diclofenac sodium (ng/mL).
    diclofenac product comprising diclofenac and dimethyl sul-              FIG. 6 shows mean plasma concentration-time profile for
    foxide is provided, said kit comprising infonnation about (a)        dimethyl sulfoxide (~g/mL).
    clinical effects of dosing of a topical diclofenac solution             FIG. 7 shows mean plasma concentration-time profile for
    comprising 1.5% w/w diclofenac sodium and 45.5% w/w 60 dimethyl sulfone (~g/mL).
    dimethyl sulfoxide, including (i) the effects of (for example,          FIG. 8 shows log diclofenac plasma concentration versus
    40-drop) QID dosing of said topical diclofenac solution; (ii)        time after single and multiple dose application of a topical
    the effects of (for example, 40-drop) QID dosing of said             solution containing 1.5% w/w diclofenac sodium and 45.5%
    topical diclofenac solution in one or more clinical trials; (iii)    DMSO.
    results from a 12-week, double-blind, controlled trial of said 65       FIG. 9 shows an analysis of elimination rate constant (IQ)
    topical diclofenac solution in subjects with osteoarthritis of       after single and multi dose application of a topical solution
    the knee which compared the perforn1ance of said topical             containing 1.5% w/w diclofenac sodium and 45.5% DMSO.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 198 of 232 PageID:
                                    8336

                                                         US 8,217,078 Bl
                                  15                                                                  16
      FIG. lOA shows diagram of FIG. 1. Dispense 10 drops of            between entities, for profit or not. Examples of phannaceuti-
    PENNSAID® at a time.                                                cal suppliers include phannaceutical distributors, pharmacy
      FIG. lOB shows diagram of FIG. 2. Spread PENNSAID®                chains, pharmacies (online or physical), hospitals, HMOs,
    evenly on the front, and sides of your knee.                        supem1arkets, the Veterans Administration, or foreign busi-
      FIG. lOC shows diagram of FIG. 3. Spread PENNSAID®                nesses or individuals importing topical diclofenac into the
    evenly on the back of your knee.                                    United States.
                                                                           As used herein, "preventing" or "prevention" means pre-
                      DETAILED DESCRIPTION                              venting in whole or in part, or ameliorating, reducing or
                                                                        controlling.
       As used herein, a "disorder" is any disorder, disease, or 10 A "product" or "phannaceutical product" means a dosage
    condition involving pain that would benefit from topical            form of topical diclofenac plus published material and
    diclofenac.                                                         optionally packaging.
       "Enhancing the safety profile" of topical diclofenac means          "Providing" means giving, administering, selling, distrib-
    implementing actions or articles designed or intended to help       uting, transferring (for profit or not), manufacturing, com-
    reduce the incidence of adverse events associated with 15 pounding, or dispensing.
    administration of topical diclofenac, including adverse                "Published material" means a medium providing infonna-
    effects associated with patient-related factors (e.g., age, gen-    tion, including printed, audio, visual, or electronic medium,
    der, ethnicity, race, target illness, abnormalities of cardiovas-   for example a flyer, an advertisement, a product insert, printed
    cular, gastrointestinal, renal or hepatic function, co-morbid       labeling, an intemet web site, an internet web page, an inter-
    illnesses, characteristics such as pregnancy or environment, 20 net pop-up window, a radio or television broadcast, a compact
    including sun exposure) and topical diclofenac-related fac-         disk, a DVD, a podcast, an audio recording, or other recording
    tors (e.g., dose, plasma level, duration of exposure, or con-       or electronic medium.
    comitant medication).                                                  "Safety" means the incidence or severity of adverse events
       "Informing" means referring to or providing, published           associated with administration of topical diclofenac, includ-
    material including in electronic form, for example, providing 25 ing adverse effects associated with patient-related factors,
    published material to a user; or presenting infonnation orally,     including as noted above, and topical diclofenac-related fac-
    for example, by presentation at a seminar, conference, or           tors, including as noted above.
    other educational presentation, by conversation between a              As used herein, "subject" refers to any manmml, including
    pharmaceutical sales representative and a medical care              humans, domestic and fann animals, and zoo, sports, or pet
    worker, or by conversation between a medical care worker 30 animals, such as dogs, horses, cats, sheep, pigs, cows, etc.
    and a patient; or demonstrating the intended infonnation to a       Non-limiting preferred manm1als are a hun1a11, including
    user for the purpose of comprehension. "Published" material         adults, children, and the elderly. Non-limiting preferred
    may be in any fom1, including printed and electronic fonns.         sports animals are horses and dogs. Non-limiting preferred
    Electronic fonns include material stored in any memory or           pet animals are dogs and cats.
    data storage fonnat or medium (e.g., memory stick, CD, 35              As used herein, "supporting body structure of a subject"
    DVD, or other machine readable form), as well as materials          refers to skeletal elements, joints, muscles, tendons, liga-
    available or accessible via the Intemet or online databases, for    ments, cartilage, and skin of that subject. Particularly useful
    example.                                                            applications of the present invention include the prevention or
       A "medical care worker" means a worker in the health care        treatment of pain in and armmd joints, including shoulders,
    field who may need or utilize infonnation regarding topical 40 hips, knees, elbows, hands and fingers. Other particularly
    diclofenac including a dosage form thereof, including infor-        usefhl applications of the present invention include the pre-
    mation on safety, efficacy, dosing, administration, orphanna-       vention or treatment of pain in the knee, including pain result-
    cokinetics. Examples of medical workers include physicians,         ing from osteoarthritis of the knee. Each of these may be
    pharmacists, physician's assistants, nurses, aides, caretakers      treated separately, as may each of joints, muscles, tendons,
    (which can include family members or guardians), emer- 45 ligaments, cartilage, and skin be the subject of separate treat-
    gency medical workers, and veterinarians.                           ment for pain.
       As used herein, "musculoskeletal system" (also known as             As used herein, a "therapeutically effective amount" or
    the locomotor system) refers to the system that gives animals       "effective amount" in reference to the compounds or compo-
    the ability to physically move using the muscles and the            sitions of the instant invention refers to an amount sufficient
    skeletal system. The musculoskeletal system includes the 50 to induce a desired biological, pharn1aceutical, or therapeutic
    skeleton, made by bones attached to other bones with joints         result. That result can be alleviation of the signs, symptoms,
    and ligaments, and skeletal muscle attached to the skeleton by      or causes of a disease or disorder or condition, or any other
    tendons. Particularly useful applications ofthe present inven-      desired alteration of a biological system. In the present inven-
    tion include the prevention or treatment of musculoskeletal         tion, the result will involve preventing pain.
    pain, including pain that affects the joints, muscles, ligaments 55    The tenn "topical", as used herein, means the epicutaneous
    and tendons, along with bones.                                      application of an agent to the skin.
       As used herein, "pain" includes acute pain and chronic              Topical diclofenac solutions include any of the diclofenac
    pain.                                                               solutions described or claimed herein (or described or
       A "patient" means a subject in need of medical treatment.        claimed in U.S. Pat. No. 4,575,515 or 4,652,557), which are
    Medical treatment can include treatment of an existing con- 60 useful for the transdermal administration of diclofenac to a
    dition, such as a disease or disorder, prophylactic or preven-      subject, including, for example, a fonnulation containing
    tative treatment. In some embodiments the patient is a human        1.5% w/w/ diclofenac sodium (2-[(2,6-dichlorophenyl)
    patient.                                                            amino ]benzeneacetic acid, monosodium salt) and 45.5% w/w
       A "pham1aceutical supplier" means a person (other than a         DMSO, and a fommlation containing 1.5% w/w/ diclofenac
    medical care worker), business, charitable organization, gov- 65 sodium (2-[(2,6-dichlorophenyl)anlino ]benzeneacetic acid,
    emmental organization, or other entity involved in the trans-       monosodium salt), 45.5% w/w DMSO ethanol, propylene
    fer of topical diclofenac, including a dosage fom1 thereof,         glycol, glycerine, and water.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 199 of 232 PageID:
                                    8337

                                                            US 8,217,078 Bl
                                   17                                                                      18
       Topical diclofenac gel formulations include any one or                      topical diclofenac and oral diclofenac, compared to
    more of the diclofenac gel formulations described or claimed                   oral diclofenac alone, resulted in a higher rate of rectal
    herein (or described or claimed in PCT/US2007/081674 or                        hemorrhage (3% vs.less than I%), and more frequent
    US Patent Application No. 20080300311 ), which are useful                      abnormal creatinine (12% vs. 7%), urea (20% vs.
    for the transderma1 administration of diclofenac to a subject.                  12%), and hemoglobin (13% vs. 9%));
       The term "transdermal", as used herein, means the delivery               b. that in a controlled trial, a higher rate of contact
    of an agent into and/ or through the skin for therapy.                         dem1atitis with vesicles was observed after treatment
       The terms "treating" and "treatment" mean implementa-                       of 152 subjects with the combination of topical
    tion of therapy with the intention of reducing the severity or                 diclofenac and oral diclofenac;
    frequency of symptoms. As used herein, the terms "treating" 10
                                                                                c. that in clinical trials; (d) the results of a clinical study
    and "treatment" refer to both therapeutic treatment and pro-
                                                                                   demonstrating that the addition of topical diclofenac
    phylactic or preventative measures.
       A "user" means a patient, a medical care worker, or a                       to oral diclofenac did not cause an elevation of liver
    pharmaceutical supplier.                                                       transaminases     in osteoarthritis patients over use of
       Disclosed herein are methods of using topical diclofenac 15                 oral  diclofenac   alone;
    formulations, articles of manufacture incorporating topical              3. A preclinical study profile for topical diclofenac, includ-
    diclofenac formulations, and kits. Specifically disclosed are               ing, for example, the results of an animal study in which
    methods of using topical diclofenac and informing users of                  no  adverse ocular effects were observed after multiple-
    certain preclinical and/or clinical information.                            daily dermal application to rats for 26 weeks and
       In one nonlimiting embodiment, a method is provided in 20                minipigs for 52 weeks ofDMSO at twice the concentra-
    which a subject is treated for a disorder with a transdermally              tion found in a topical diclofenac solution (e.g.,
    delivered therapeutically effective amount of topical                       Pem1said®);
    diclofenac and a user is provided with some or all of the user           4. A statement that, once dry, sunscreen, insect repellant,
    information described herein. In another nonlimiting                        lotion, moisturizer, cosmetics, and/or other topical prod-
    embodiment, a method is provided in which a supporting 25                   ucts can be applied to an area previously treated with a
    body stmcture or the musculoskeletal system of a subject is                 topical diclofenac solution (e.g., Peunsaid®)
    treated for a disorder with topical diclofenac and a user is          This information, which may relate, for example, to a topical
    provided with some or all of the user information described           diclofenac containing 1.5% diclofenac sodium (2-[(2,6-
    herein. In another nonlimiting embodiment, the supporting             dichlorophenyl)amino ]benzeneacetic acid, monosodium
    body stmcture is selected from joints, muscles, tendons, liga- 30 salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,
    ments, cartilage and skin, and includes treatment of pain in          and water, is sometimes referred to herein as the "Informa-
    and around joints, including shoulders, hips, knees, elbows,          tion."
    hands and fingers, as well as the back, particularly the lower           Other adverse event information may include that admin-
    back. In one nonlimiting embodiment the pain is acute pain.           istration oftopical diclofenac does not increase the incidence
    In one nonlimiting embodiment the pain is chronic pain. In 35 of systemic adverse events over use of oral diclofenac alone;
    one nonlimiting embodiment the pain is treated. In another            that the addition of topical diclofenac to oral diclofenac does
    nonlimiting embodiment the pain is prevented. In one pre-             not increase the incidence of systemic adverse events in
    ferred nonlimiting embodiment, the pain results from                  osteoarthritis patients; the results of a clinical study demon-
    osteoarthritis of the knee. Preferably, the subject is a human        strating that the addition of topical diclofenac to oral
    subject.                                                           40 diclofenac did not increase the incidence of systemic adverse
       In one nonlimiting embodiment, information provided to             events in osteoarthritis patients; and, the results of a clinical
    the user consists of, consists essentially of, or comprises           study showing that no eye lens abnormalities were observed
       1. A clinical profile for topical diclofenac including, for        with DMSO-vehicle or topical diclofenac solution treatment;
          example                                                         that administration of topical diclofenac results in less fre-
          a. the effects of particular QID dosing of diclofenac;       45 quent adverse events associated with the NSAID class than
          b. the eftects ofQID dosing in one or more clinical trials;     oral diclofenac alone; and, the results of a clinical study
          c. results from a 12-week, double-blind controlled trial        demonstrating that the addition of topical diclofenac to oral
             oftopical diclofenac in a solution containing dimethyl       diclofenac did not cause an elevation ofliver transaminases in
              sulfoxide in subjects with osteoarthritis of the knee       osteoarthritis patients over use of oral diclofenac alone.
             which compared the performance of said topical 50               Other preclinical profile information may include the
             diclofenac solution against a vehicle solution contain-      effect of the use of topical diclofenac on absorption of envi-
              ing 45.5% dimethyl sulfoxide and a placebo solution         ronmental toxins, including, for example, the results of a
             containing 2.3% dimethyl sulfoxide (for example, a           study showing that repeated application of topical diclofenac
              12-week, double-blind, double-dul11111y, randomized         solution did not increase systemic environmental toxin expo-
             controlled trial of topical diclofenac in a vehicle solu- 55 sure; and the effects of use of other topical products in con-
             tion containing dimethyl sulfoxide in 775 subjects);         junction with topical diclofenac, including, for example, that
          d. phannacokinetic results from one or more studies in          concomitant use of diclofenac topical solution by repeated
             which single and multiple doses of a topical                 application with other topical products, including DEET (ac-
             diclofenac in a vehicle solution containing dimethyl         tive ingredient in insect repellent), 2,4-D (active ingredient in
              sulfoxide was applied topically to healthy human vol- 60 commonly used pesticides) and oxybenzone (active ingredi-
             unteers;                                                     ent in sunscreens) did not enhance the systemic absorption of
       2. An adverse event profile for a topical diclofenac, includ-      these products.
          ing, for example                                                   Other information provided to the user may include the
          a. that concomitant use of oral NSAIDs with topical             pham1acokinetic results from one or more studies in which
             diclofenac resulted in a higher rate of rectal hemor- 65 single and multiple doses of a topical diclofenac in a vehicle
             rhage, and more frequent abnormal creatinine, urea           solution containing dimethyl sulfoxide was applied topically
             and hemoglobin (including that a combination of              to healthy human volunteers;
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 200 of 232 PageID:
                                    8338

                                                         US 8,217,078 Bl
                                 19                                                                   20
       Other information provided to the user may include that the         In still another nonlimiting embodiment, information pro-
    diclofenac halflife and elimination constant Kez for a topical      vided comprises information regarding the clinical effects of
    diclofenac solution comprising or consisting essentially of         topical diclofenac dosing, information regarding the adverse
    1.5% diclofenac sodium, 45.5% DMSO, ethanol, propylene              event profile of topical dicloilomac, and/or information regard-
    glycol, glycerine, and water is statistically significantly dif-    ing preclinical study results with topical diclofenac, as
    ferent depending on whether the solution is applied as a single     described herein, wherein the topical diclofenac contains
    dose or as multiple doses.                                          1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)amino]
       In one nonlimiting embodiment, a user is provided with the       benzeneacetic acid, monosodium salt), 45.5% DMSO, etha-
    Information, or with some or all of the Information, or with        nol, propylene glycol, glycerine, and water.
                                                                           In one nonlimiting embodiment, the diclofenac is in the
    some or all of the topical diclofenac clinical and preclinical 10
                                                                        form of a topical diclofenac solution formulation. In another
    information described herein and in the Examples, for pur-          nonlimiting embodiment, the diclofenac is in the form of a
    poses of enhancing the safety profile of topical diclofenac         topical diclofenac gel fonnulation.
    and/or enhancing its application to or by a subject in need            Diclofenac sodium is a benzene-acetic acid derivative that
    thereof.                                                            is a nonsteroidal anti-inflammatory drug, designated chemi-
       In one nonlimiting embodiment, information provided to 15 cally as 2-[(2,6-dichlorophenyl)amino ]benzeneacetic acid,
    the user comprises information regarding the clinical effects       monosodimn salt, and may be prepared by means known in
    of dosing a topical diclofenac containing 1.5% diclofenac           the art. See, for example, U.S. Pat. No. 4,575,515.
    sodium (2-[ (2,6-dichlorophenyl)anlino]benzeneacetic acid,             Following synthesis a topical diclofenac solution may be
    monosodium salt), 45.5% DMSO, ethanol, propylene glycol,            formulated by methods known in the art as 1.5% w/w
    glycerine, and water, including, for example, (1) the effects of 20 diclofenac sodium in DMSO (45.5% w/w). It is a clear, col-
    particular QID dosing of diclofenac; (2) the effects of QID         orless to faintly pink-orange solution for topical application.
    dosing in one or more clinical trials including the results from    Each 1mL of solution may contain 16.05 mg of diclofenac
    a 12-week, double-blind, double-dunlllly, randomized con-           sodium. In addition, the topical diclofenac solution will pref-
    trolled trial of topical diclofenac in a vehicle solution con-      erably contain the following inactive ingredients: propylene
    taining dimethyl sulfoxide in 775 subjects with radiologically 25 glycol, alcohol, glycerin and purified water.
    confirmed, symptomatic primary osteoarthritis of the knee;             In this disclosure, examples relating to new preclinical and
    (3) the effect of treating osteoarthritis of the knee in one or     clinical discoveries regarding topical diclofenac are pro-
    more clinical trials, including the effect of treating one knee     vided.
    when both knees are affected with osteoarthritis; and/or (4)           While topical non-steroidal anti-inflannnatory drugs are
    results of a human vohmteer study on trans-epidermal water 30 considered safe, their long-term efficacy for osteoarthritis has
    loss in which no alteration in skin barrier fllllction was          been suspect. Example 1 describes the results of a 12-week,
    observed.                                                           double-blind, double-dununy, randomized controlled trial of
       In another nonlimiting embodiment, infom1ation provided          a topical diclofenac solution containing 1.5% diclofenac
    comprises information regarding the adverse event profile of        sodium (2-[(2,6-dichlorophenyl)amino ]benzeneacetic acid,
    a topical diclofenac containing 1.5% diclofenac sodim (2- 35 monosoditllll salt), 45.5% DMSO, ethanol, propylene glycol,
    [(2,6-dichlorophenyl)amino]benzeneacetic acid, monoso-              glycerine, and water was conducted in 775 subjects with
    dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-          radiologically confirmed, symptomatic primary osteoarthri-
    ine, and water, including, for example (1) that administration      tis of the knee. This 5-arm study compared the topical
    of topical diclofenac does not increase the incidence of sys-       diclofenac solution with a placebo solution, DMSO vehicle,
    temic adverse events over use of oral diclofenac alone; (2) 40 oral diclofenac and a combination of the topical diclofenac
    that the addition oftopical diclofenac to oral diclofenac does      solution+oral diclofenac for relieving the signs and symp-
    not increase the incidence of systemic adverse events in            toms of knee osteoarthritis. Subjects applied study solution,
    osteoarthritis patients; (3) the results of a clinical study dem-   40 drops QID (four times daily), and took one study tablet
    onstrating that the addition of topical diclofenac to oral          daily for 12 weeks. Co-primary efficacy variables were West-
    diclofenac did not increase the incidence of systemic adverse 45 em Ontario McMaster Universities Osteoarthritis Index
    events in osteoarthritis patients; and/or (4) the results of a      ("WOMAC") pain and physical fllllction scores and a patient
    clinical study showing that no eye lens abnormalities were          overall health assessment. Secondary variables were
    observed with DMSO-vehicle or topical diclofenac solution           WOMAC stiffness and patient global assessment ("PGA") of
    treatment.                                                          the knee osteoarthritis. The topical diclofenac solution was
       In yet another nonlimiting embodiment, information pro- 50 superior to placebo for pain( -6.0vs. -4.7, P=0.015), physical
    vided comprises information regarding preclinical study             function (-15.8 vs. -12.3, P=0.034), overall health (-0.95 vs.
    results with a topical diclofenac containing 1.5% diclofenac        -0.37, P<0.0001), and PGA (-1.36 vs. -1.01, P=0.016), and
    sodium (2-[ (2,6-dichlorophenyl)amino]benzeneacetic acid,           was superior to DMSO vehicle for all efficacy variables. The
    monosoditllll salt), 45.5% DMSO, ethanol, propylene glycol,         most common adverse event was dry skin (18.2%). Surpris-
    glycerine, and water, including, for example, (1) the effect of 55 ingly, no significant difference was observed between DMSO
    the use of the topical diclofenac on absorption of environ-         vehicle and placebo or between the topical diclofenac solu-
    mental toxins, including, for example, the results of a study       tion and oral diclofenac, yet fewer digestive system and labo-
    showing that repeated application of the topical diclofenac         ratory abnormalities were observed with topical diclofenac
    did not increase systemic environmental toxin exposure; and,        than oral diclofenac. Further, addition of the topical
    (2) the effects of use of other topical products in conjunction 60 diclofenac solution to oral diclofenac did not increase the
    with the topical diclofenac, including, for example, that con-      incidence of systemic adverse events. Additionally, adminis-
    comitant use of diclofenac topical solution by repeated appli-      tration of topical diclofenac resulted in less frequent adverse
    cation with other topical products, including DEET (active          events associated with the NSAID class than oral diclofenac
    ingredient in insect repellent), 2,4-D (active ingredient in        alone, and the addition of topical diclofenac to oral diclofenac
    commonly used pesticides) and oxybenzone (active ingredi- 65 did not cause an elevation of liver transaminases in osteoar-
    ent in sunscreens) did not enhance the systemic absorption of       thritis patients over use of oral diclofenac alone. Users may be
    these products.                                                     apprised of the above information according to the invention.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 201 of 232 PageID:
                                    8339

                                                          US 8,217,078 Bl
                                  21                                                                   22
    A fl!rther unexpected discovery of the study, the results for        following a 12-week postdose observation period in male and
    which arc provided as Example 1, is that in the study the            female Sprague-Dawley rats. No test article-related ophthal-
    topical diclofenac solution was applied to only one knee.            mological abnormalities were detected in any animal during
    Most patients suffer from osteoarthritis equally in both knees,      the pretest, terminal, and recovery ophthalmoscopic exami-
    yet single knee application yielded a clinical benefit in both       nations.
    knees. Users or prescribers may be further apprised of this             Examples 7 and 8 describe studies to evaluate the pharma-
    additional information according to the invention.                   cokinetics ofdiclofenac sodium, dimethyl sul±oxide (DMSO)
        Topical diclofenac in a DMSO vehicle is an effective treat-      and dimethyl sulfone (the major metabolite ofDMSO) after a
    ment option for osteoarthritis ofthe knee with efficacy similar      single- and multiple-dose applications of a topical diclofenac
                                                                      10 preparation containing 1.5% diclofenac sodium (2-[(2,6-
    to, but tolerability better than, oral diclofenac. DMSO vehicle
                                                                         dichlorophenyl)amino ]benzeneacetic acid, monosodium
    was no more efficacious than placebo.According to the inven-
                                                                         salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,
    tion, users may be apprised of this information with regard to
                                                                         and water. These data provide compelling evidence that the
    use of topical diclofenac, particularly with regard to the use of    systemic exposure to diclofenac caused by usc of the topical
    a topical diclofenac solution comprising 1.5% w/w 15 diclofenac to treat osteoarthritis of the knee (40 drops per
    diclofcnac sodium and 45.5% w/w DMSO, which also                     knee QID) is much lower than that caused by a typical oral
    optionally contains propylene glycol, alcohol, glycerin and          dose of diclofenac used in treatment of osteoarthritis (e.g., 50
    purified water as inactive ingredients.                              mg three times per day or "TID"). The fact that the topical
        Examples 2 and 3 describe the results of environmental           diclofenac can be shown to be comparable to oral diclofenac
    toxin studies. Surprisingly in light of the efficacy ofDMSO in 20 sodium for treatment of osteoarthritis (see Example 1) is very
    facilitating the skin penetration of diclofenac, these studies       surprising in view of these facts, especially as it is widely
    show that concomitant, repeated usc of a topical diclofcnac          believed that NSAIDs, such as diclofenac, exert their analge-
    solution containing 1.5% diclofenac sodium (2-[(2,6-dichlo-          sic effects both locally and centrally. From the data in
    rophenyl)amino ]benzeneacetic acid, monosodium salt),                Example 8 it also can be computed that Cmax of orally admin-
    45.5% DMSO, ethanol, propylene glycol, glycerine, and 25 istered diclofenac is more than one hundred fold higher than
    water, with other topical products, including DEET (active                  for the topical diclofenac.
    ingredient in insect repellent), 2,4-D (active ingredient in            Example 9 describes a study to assess the drying time of a
    commonly used pesticides) and oxybenzone (active ingredi-            topical diclofenac solution containing 1.5% diclofenac
    ent in sunscreens), did not enhance the systemic absorption of       sodium, 45.5% DMSO, ethanol, propylene glycol, glycerine,
    these products. According to the invention, users may be 30 and water when applied topically to the skin surface of the
    apprised of this information with regard to use of topical           knee following a single dose application, from which it can be
    diclof(mac, particularly with regard to the use of a topical         concluded that the mean drying time for the topical
    diclofcnac solution containing 1.5% diclofenac sodium (2-            diclofcnac solution following a single dose application was
    [(2,6-dichlorophenyl)amino]benzeneacetic acid, monoso-               approximately 15 minutes, with considerable variability
    dium salt), 45.5% DMSO, ethanoL propylene glycol, glycer- 35 among subjects and dryness occurring as early as 10 minutes
    ine, and water.                                                      in most subjects. A 30 minute drying time prior to the appli-
        Example 4 describes the results of a transepidennal water        cation of other topicals is considered safe. The results of the
    loss ("TEWL") study performed on human volunteers' skin.             study further indicate that it is appropriate to instruct a user
    TEWL is a parameter usefl!l for measuring changes to stra-           that a patient using a topical diclofenac solution should wait
    tum corneum barrier function. Unexpectedly given the role of 40 at least 30 minutes after putting the topical diclofenac solu-
    DMSO in pcrmcabilizing the skin for diclofenac uptake, the           tion on the knce(s) before, for example, taking a shower or
    results show no alteration in skin barrier function following        bath or otherwise wetting the knee(s).
    chronic use of topical diclofenac. According to the invention,          Example 10 describes a study comparing the elimination
    users may be apprised of this information with regard to use         constant after single and multiple dose application of a topical
    of topical diclofenac, particularly with regard to the use of a 45 solution containing 1.5% diclofenac sodium and 45.5%
    topical diclofenac solution comprising 1.5% w/w diclofenac           DMSO.
    sodium and 45.5% w/w DMSO, which also optionally con-                   Example 11 describes a multi -dose, comparative, exposure
    tains propylene glycoL alcohol, glycerin and purified water as       study under maximum use conditions per labeling of both
    inactive ingredients. Users may also be informed that, before        PennsaidiRJ Topical Solution (Diclofenac Sodium topical
    applying sunscreen, insect repellant, lotion, moisturizer, cos- 50 solution 1.5% w/w and 45.5% w/w DMSO) and Solaraze@
    metics, or other topical medication to the same skin surface,        Gel (Diclofenac Sodium 3%).
    for example, a knee, that has been treated with topical                 In one nonlimiting embodiment, the user is provided with
    diclofenac, the user should wait until the treated area is dry,      information in the faun of (or substantially in the form of) the
    which occurs most often within 10 minutes.                           Attachment. In another nonlimiting embodiment, the infor-
        Example 5 describes the results of a study to evaluate the 55 mation in the Attachment is provided in a form that has been
    ophthalmologic effects of topically applied DMSO in a                modified where appropriate to refer to the subject product as
    52-week non-occluded dermal toxicity study in Giittingen             a topical diclofenac gel or other fornmlation rather than a
    mini pigs. It provides information about the ocular safety pro-      topical solution. In another nonlimiting embodiment, the user
    file of dcrmally applied formulations containing purified            is provided with inforn1ation comprising or consisting essen-
    DMSO. Results showed that there was no increased risk for 60 tially of in the Attaclnncnt. In another nonlimiting embodi-
    development of! ens opacities or changes in refractive indices       ment, the user is provided with information consisting essen-
    associated with DMSO. In fact no test article-related ophthal-       tially of the Attachment.
    moscopic abnormalities were detected during the study.                  Many embodiments are suitable for treatment of subjects
        Example 6 describes the results of a study to evaluate the       either as a preventive measure (e.g., to avoid pain) or as a
    toxicity of test articles containing 9, 45.5, and 90% w/w 65 therapeutic composition to treat subjects who are suffering
    DMSO after dermal administration for 26 weeks, three times           from acute or chronic pain. In one nonlimiting embodiment,
    per day, and to evaluate reversibility of any observed changes       for example, a method of treatment or prevention of pain,
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 202 of 232 PageID:
                                    8340

                                                         US 8,217,078 Bl
                                 23                                                                  24
    including pain associated with an arthritic condition, and         more or all of Examples 1-8. In another nonlimiting embodi-
    related kits and articles of manufacture, comprises using a        ment, such nonlimiting information provided to a user
    topical diclofenac solution or topical gel formulation             includes the information described in two or more or all of
    described herein together with some or all of the clinical         Examples 1-11.
    and/or preclinical information described herein. Arthritic            In yet another nonlimiting embodiment, such nonlimiting
    conditions include the various fonns of arthritis, including       information provided to a user is the information in the
    rheumatoid arthritis, osteoarthritis, and ankylosing spondyli-     Attachment.
    tis.                                                                  In one embodiment, such nonlimiting information pro-
        Disclosed herein are topical diclofenac formulations, kits,    vided to a user is or comprises the information in one or more
    and methods of using topical diclofenac and topical 10 or all of Sections 6 ("Adverse Reactions"), 7.8 ("Oral Non-
    diclofenac formulations. Specifically disclosed are methods        steroidal Anti-inflammatory Drugs"), 7.9 ("Topical Treat-
    of using topical diclofenac and informing the user of certain      ments"), 12.3 ("Pharmacokinetics), 13.2 ("Animal Toxicol-
    information as provided herein. With the knowledge of the          ogy and/or Pharmacology") and 14 ("Clinical Studies") ofthe
    particular infom1ation, the administration of topical              Attaclnnent.
    diclofenac to the patient can be optimized to provide safer and 15    Topical diclofenac can be formulated for administration
    more effective use of topical diclofenac, alone or together        where the formulation generally contains DMSO and one or
    with oral diclofenac. As used herein, topical diclofenac for-      more phannaceutically acceptable excipients.As used herein,
    mulations include topical diclofenac solutions and topical         "phannaceutically acceptable excipient" means any other
    diclofenac gel fommlations, including a topical diclofenac         component added to the pham1aceutical formulation other
    preparation containing 1.5% diclofenae sodium (2-[ (2,6- 20 than the diclofenac and the DMSO. Excipients may be added
    dichlorophenyl)amino ]benzeneacetic acid, monosodium               to facilitate manufacture, enhance stability, control release,
    salt), 45.5% DMSO, ethanol, propylene glycol, glycerine,           enl1ance product characteristics, enl1ance bioavailability,
    and water.                                                         enhance patient acceptability, etc. Pharmaceutical excipients
        Topical diclofenac therapy can be considered optimal           include, for example, carriers, fillers, binders, disintegrants,
    when combined with the new clinical, preclinical, adverse 25 lubricants, glidants, colors, preservatives, suspending agents,
    event information provided and described herein. Disclosed         dispersing agents, film formers, buffer agents, pH adjusters,
    herein are methods of using topical diclofenac for transder-       preservatives etc.
    mal administration, which may provide an increase in the              In certain embodiments, the diclofenac is in the fonn of a
    safety or efficacy of topical diclofenac treatment. Extensive      pharmaceutically acceptable salt or free acid. Examples of
    research has been performed on administering topical 30 pharmaceutically acceptable salts include metal salts, includ-
    diclofenac that now reveal several developments relating to        ing alkali metal, alkaline earth metal, and nitrogen-based
    improvements in safe and effective treatment using topical         salts, such as auunonium salts. Sodium, potassium, epola-
    diclofenac. In certain preferred embodiments, the topical          mine and diethylamine salts are preferred. In one preferred
    diclofenac for transdermal administration is in the form of a      embodiment the diclofenac is diclofenac monosodium salt.
    solution or a gel.                                              35    In one nonlimiting embodiment, the topical diclofenac is a
        In one nonlimiting embodiment, such nonlimiting infor-         solution.
    mation provided to a user includes the information described          In another nonlimiting embodiment, the topical diclofenac
    in Example 1, or a sunm1ary thereof.                               is a gel.
        In another nonlimiting embodiment, such nonlimiting               In one embodiment, the topical diclofenac is 1.5% w/w
    information provided to a user includes the infom1ation 40 diclofenac sodium in a vehicle solution containing DMSO
    described in Examples 2 and/or 3, or a summary thereof.            45.5% w/w andotherexcipients. In one aspect of this embodi-
        In another nonlimiting embodiment, such nonlimiting            ment, the other excipients comprise propylene glycol, alco-
    information provided to a user includes the information            hol, glycerin and purified water.
    described in Example 4, or a summary thereof.                         In one nonlimiting embodiment, the topical diclofenac is a
        In another nonlimiting embodiment, such nonlimiting 45 gel fonnulation according to PCT/US2007/081674 (Intema-
    information provided to a user includes the information            tional Publication No. WO 2008/049020 A2), the contents of
    described in Example 5, or a summary thereof.                      which are incorporated herein in their entirety by this refer-
        In another nonlimiting embodiment, such nonlimiting            ence. The topical diclofenac may be any of the gel formula-
    information provided to a user includes the information            tions described or claimed therein. In another nonlimiting
    described in Example 6, or a summary thereof.                   50 embodiment, the topical diclofenac is a gel fonnulation
        In another nonlimiting embodiment, such nonlimiting            according to US Patent Application No. 20080300311 (pub-
    information provided to a user includes the infonnation            lished Dec. 4, 2008), the contents of which are incorporated
    described in Examples 7 and/or 8, or a summary thereof.            herein in their entirety by this reference. The topical
        In another nonlimiting embodiment, such nonlimiting            diclofenac may be any of the gel formulations described or
    information provided to a user includes the infonnation 55 claimed therein.
    described in Example 9, or a summary thereof.                         In another nonlimiting embodiment, the topical diclofenac
        In another nonlimiting embodiment, such nonlimiting            is a gel formulation comprising diclofenac sodium, dimethyl
    information provided to a user includes the information            sulfoxide, ethanol, propylene glycol, one or more thickening
    described in Exan1ple 10, or a summary thereof.                    agents, and water. In one aspect of this embodiment, the
        In another nonlimiting embodiment, such nonlimiting 60 topical diclofenac gel formulation fhrther comprises glyc-
    information provided to a user includes the information            erol. In another aspect, the thickening agent is selected from
    described in Example 11, or a sunm1ary thereof.                    the group consisting of cellulose polymers, carbomer poly-
        In another nonlimiting embodiment, such nonlimiting            mers, a carbomer derivative, a cellulose derivative, polyvinyl
    information provided to a user includes the information            alcohol, poloxamers, polysaccharides, and mixtures thereof.
    described in two or more or all of Examples 1-6, In another 65        In another nonlimiting embodiment, the topical diclofenac
    nonlimiting embodiment, such nonlimiting information pro-          is a gel formulation comprising or consisting essentially of
    vided to a user includes the information described in two or       1-5% w/w diclofenac sodium; 30-60% w/w dimethyl sulfox-
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 203 of 232 PageID:
                                    8341

                                                          US 8,217,078 Bl
                                  25                                                                   26
    ide; 1-50% w/w ethanol; 1-15% w/w propylene glycol; a               present in an amount by weight of 1% to 70%, and more
    thickener; and water (added to make 100% w/w). In a pre-            preferably, between 25% and 60%, such as 25, 30, 40, 45, 50,
    ferred aspect of this embodiment, the gel formulation has a         55, or 60% w/w. Preferably, DMSO is used in the present
    viscosity of 10-50,000 centipoise.                                  invention at a concentration of about 40 to about 50% w/w,
       In another nonlimiting embodiment, the topical diclofenac        such as 41, 42, 43, 44, 45, 46, 47, 48, 49 and 50% and all
    is a gel fonnulation comprising or consisting essentially of        fractions in between such as 44, 44.5, 45, 45.5, 46, 46.5%, and
    about 2% w/w diclofenac sodium; about 45.5% w/w dimethyl            the like. In certain embodiments, the gel formulation includes
    sulfoxide; about 23-29% w/w ethanol; about 11% w/w pro-             a lower alkanol, such as methanol, ethanol, propanol, butanol
    pylene glycol; about 0-6% w/w hydroxypropylcellulose                or mixtures thereof. In certain embodiments, the alkanol is
    (HY119); and water (added to make 100% w/w). In a pre- 10 present at about 1 to about 50% w/w. Preferably, ethanol is
    ferred aspect of this embodiment, the gel formulation has a         used at about 1-50%w/w, such as 1, 5, 10, 15, 20, 25, 30, 35,
    viscosity of 500-5,000 centipoise.                                  40, 45, or 50% w/w, and all fractions in between. In certain
       In another nonlimiting embodiment, the topical diclofenac        embodiments, the gel formulation includes a polyhydric alco-
    is a gel formulation comprising or consisting essentially of        hol, such as a glycol. Suitable glycols include ethylene glycol,
    diclofenac sodium at a concentration selected from the group 15 propylene glycol, butylene glycol, dipropylene glycol, hex-
    consisting of 1, 1.5, 2 and 3% w/w; dimethyl sulfoxide at a         anetriol and a combination thereof. Preferably, propylene
    concentration selected from the group consisting of 42, 43,         glycol is used at about at 1-15% w/w, such as 1, 2, 3, 4, 5, 6,
    44, 45,45.5 46, 47,48 and49%w/w and fractions in between;           7, 8, 9, 10, 11, 12, 13, 14, or 15% w/w, and all fractions in
    ethanol at 23-29% w/w; propylene glycol at a concentration          between. In certain embodiments, the gel fommlation
    selected from the group consisting of9, 10, 11, 12, 13% w/w 20 includes glycerol (also referred to as glycerine) at a concen-
    and fractions in between; hydroxypropylcellulose (HY119)            tration of 0-12% w/w. Preferably, glycerol is used at 0-4%
    at 0-6% w/w; and water (included in an amount sufficient to         w/w, such as 0, 1, 2, 3, or 4% w/w, and all fractions in
    make 100% w/w). In a preferred aspect of this embodiment,           between. In some embodiments, no glycerol is used in the
    the gel formulation has a viscosity of about 500-5000 centi-        formulation. In a preferred embodiment, the gel fonnulation
    poise.                                                           25 provides comprises a diclofenac solution and at least one
       In certain embodiments, the above-described topical              thickening agent to make a gel. The at least one thickening
    diclofenac gel formulations include 1-5% glycerol. In such          agent of the present invention may be an acrylic polymer (for
    embodiments, the gel formulation will have a drying rate and        example, Carbopol polymers, Noveon polycarbophils and
    a transdennal flux that are greater than a comparative liquid       Pemulen polymeric emulsifiers available conunercially from
    topical diclofenac formulation. In other embodiments, the 30 Noveon Inc. of Cleveland, Ohio), an acrylic polymer deriva-
    above-described topical diclofenac gel formulations will            tive, a cellulose polymer, a cellulose polymer derivative,
    have a pH of about 6.0 to about 10.0.                               polyvinyl alcohol, poloxan1ers, polysaccharides or mixtures
       In another nonlimiting embodiment, the topical diclofcnac        thereof. Preferably the at least one thickening agent is
    is a gel formulation comprising diclofenac sodium, ethanol,         hydroxypropylcellulose (HPC) used such that the end viscos-
    DMSO, propylene glycol, hydroxypropylcellulose and water. 35 ity is between 10 and 50000 centipoise (cps). More preferably
    In one aspect of this embodiment, the hydroxypropylcellu-           the end viscosity is between 500 and 20000 cps. The gel
    lose is substituted with alklycellulose, hydroxyalkylcellu-         formulation may optionally include at least one antioxidant
    lose, carboxyalkylcellulose, or sodiun1 carboxyalklycellu-          and/or one chelating agent. Preferred antioxidants may be
    lose, where alkyl is methyl, ethyl or propyl, or a mixture          selected from the group consisting ofbutylated hydroxytolu-
    thereof. In a further aspect of this embodiment, the said alk- 40 ene (BHT), butylated hydroxyanisole (BHA), ascorbyl
    lycellulose, hydroxyalk')'lcellulose, carboxyalkylccllulose, or     linolcate, ascorbyl dipalmitate, ascorbyl tocopherol maleate,
    sodium carboxyalklycellulose is replaced in whole or in part        calcium ascorbate, carotenoids, kojic acid, thioglycolic acid,
    by an acrylic polymer (for example, Carbopol polymers,              tocopherol, tocopherol acetate, tocophereth-5, tocophereth-
    Noveon polycarbophils and Pemulen polymeric emulsifiers             12, tocophereth-18, tocophereth-80, and mixtures thereof.
    available conm1ercially from Noveon Inc. of Cleveland, 45 Preferred chelating agents may be selected from the group
    Ohio), an acrylic polymer derivative, a cellulose polymer           consisting ofethylenediaminetetraacetic acid (EDTA), diam-
    derivative, polyvinyl alcohol ("PYA"), polyvinylpyrrolidone         monium EDTA, dipotassium EDTA, calcium disodium
    ("PVP"), a poloxamer, a polysaccharide, or a mixture thereof.       EDTA, HEDTA, TEA-EDT!\., tetrasodium EDTA tripotas-
       In another aspect, gel formulations usefl.!l in the invention    sium EDTA, trisodium phosphate, diammonium citrate,
    are NSAID gel formulations, such as a topical diclofenac gel 50 galactaric acid, galacturonic acid, gluconic acid, glucuronic
    formulation, and components of the formulations are as fol-         acid, humic acid, cyclodextrin, potassium citrate, potassium
    lows: T11e gel formulations comprise an active agent, prefer-       ethylcnediaminetctramcthylcncphosphonic                     acid
    ably a non-steroidal anti-inflammatory drug or pharmaceuti-         ("EDTMP"), sodium citrate, sodium EDTMP, and mixtures
    cally acceptable salts thereof. More preferably, the non-           thereof. In addition, the topical gel formulations can also
    steroidal anti-inflammatory is diclofenac in the form of a 55 comprise a pH adjusting agent. In one particular embodiment,
    pharmaceutically acceptable salt or free acid. Examples of          the pH adjusting agent is a base. Suitable pH adjusting bases
    pharmaceutically acceptable salts include metal salts, includ-      include bicarbonates, carbonates, and hydroxides such as
    ing alkali metal, alkaline earth metal, and nitrogen-based          alkali or alkaline earth metal hydroxide as well as transition
    salts, such as an1monium salts. Sodium, potassium, epola-           metal hydroxides. Altemativcly, the pH adjusting agent can
    mine and diethylamine salts arc preferred. In one preferred 60 also be an acid, an acid salt, or mixtures thereof. Further, the
    embodiment the diclofenac is diclofenac monosodium salt.            pH adjusting agent can also be a buffer. Suitable buffers
       In a preferred embodiment, the sodium salt of diclofenac is      include citrate/citric acid buffers, acetate/acetic acid buffers,
    used. Diclofenac may be present in a range of approximately         phosphate/phosphoric acid buffers, formate/formic acid buff-
    0.1% to 10%, such as 1, 2, 3, 4, or 5% w/w. In another              ers, propionate/propionic acid buffers, lactate/lactic acid
    embodiment, the present invention includes a penetration 65 buffers, carbonate/carbonic acid buffers, anmlonium/ammo-
    enlm1cer. The penetration enhancer may be dimethyl sulfox-          nia buffers, and the like. The pH adjusting agent is present in
    ide ("DMSO") or derivatives thereof. The DMSO may be                an amount sufficient to adjust the pH of the composition to
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 204 of 232 PageID:
                                    8342

                                                           US 8,217,078 Bl
                                  27                                                                     28
    between about pH 4.0 to about 10.0, more preferably about             disclosed, su111111arized or otherwise provided herein, includ-
    pH 7.0 to about 9.5. In certain embodiments, the unadjusted           ing the information provided in any of Examples 1-4.
    pH of the admixed components is between 8 and 10, such as                In another nonlimiting embodiment, an article of manufac-
    9, without the need for the addition of any pH adjusting              ture comprises a container containing a dosage form of to pi-
    agents.                                                               cal diclofenac, wherein the container is associated with pub-
       The present invention includes a method for applying mul-          lished material informing the user of some of all of the
    tiple topical agents to a subject with pain comprising topically      Information. Additional information can include the informa-
    administering a pharmaceutical composition comprising a               tion  disclosed, summarized or otherwise provided herein,
    therapeutically effective amount of a topical diclofenac in           including   the information provided in any of Examples 1-4.
                                                                       10    In one nonlimiting embodiment ofthe methods and articles
    DMSO, waiting for the treated area to dry (the time of which
                                                                          of manufacture provided herein, a topical diclofenac dosage
    can be dependent on individual skin characteristics, environ-
                                                                          form can comprise about 40 drops per knee, QID. In one
    mental conditions such as temperature and humidity, and
                                                                          aspect of this embodiment, a diclofenac oral dosage form may
    surface area, often about 5-30 minutes, about 5-20 minutes,           also be provided or reconm1ended or included within the
    for example, and typically about 10 minutes or less for a 15 methods and articles of manufacture provided herein. In
    topical diclofenac preparation, including a topical diclofenac        another nonlimiting embodiment of the methods and articles
    solution as described in the Examples), and applying another          of manufacture provided herein, a topical diclofenac dosage
    topical agents. In one nonlimiting embodiment, the subject            form can comprise application of a topical diclofenac gel
    has osteoarthritis. In another nonlimiting embodiment, the            formulation twice daily.
    subject has osteoarthritis of the knee. In one embodiment, the 20        In another nonlimiting embodiment of the methods and
    topical agent administered after the topical diclofenac is a          articles of manufacture provided herein, a kit of infom1ation
    sunscreen or an insect repellant. In another nonlimiting              concerning a topical diclofenac product comprising
    embodiment, the invention includes a method of protecting a           diclofenac and dimethyl sulfoxide is prepared and/or pro-
    subject with osteoarthritis from UV exposure and alleviating          vided, said kit comprising information about (a) clinical
    the signs and symptoms of osteoarthritis in the subject com- 25 effects of dosing of a topical diclofenac solution comprising
    prising the steps of applying a therapeutically effective             1.5% w/w diclofenac sodium and 45.5% w/w dimethyl sul-
    amount of a topical diclofenac in DMSO; waiting for the               foxide, including (i) the effects of 40-drop QID dosing of said
    treated area to dry (the time of which can be dependent on            topical diclofenac solution; (ii) the effects of 40-drop QID
    individual skin characteristics, enviromnental conditions             dosing of said topical diclofenac solution in one or more
    such as temperature and humidity, and surface area, often 30 clinical trials; (iii) results from a 12-week, double-blind, con-
    about 5-30 minutes, about 5-20 minutes, for example, and              trolled trial of said topical diclofenac solution in subjects with
    typically about 10 minutes or less for a topical diclofenac           osteoarthritis of the knee which compared the perfom1a11ce of
    preparation, including a topical diclofenac solution as               said topical diclofenac solution against a vehicle solution
    described in the Examples), applying sunscreen to the same            containing 45.5% dimethyl sulfoxide and a placebo solution
    area of treatment.                                                 35 containing 2.3% dimethyl sulfoxide; and (iv) pharmacoki-
       Also included herein are pharmaceutical products (kits)            netic results from one or more studies in which single and
    useful, for example, for the treatment or prevention of pain,         multiple doses of a topical diclofenac in a solution containing
    including pain caused by arthritis, such as osteoarthritis, for       dimethyl sulfoxide was applied topically to healthy human
    example, which comprise one or more containers containing             volunteers; (b) an adverse event profile for a topical
    a topical diclofenac formulation and infom1ation or published 40 diclofenac solution comprising 1.5% w/w diclofenac sodium
    material, e.g., as product inserts or product labels. The infor-      and 45.5% w/w dimethyl sulfoxide, including, (i) concomi-
    mation can indicate quantities of the components to be                tant use of oral NSAIDs with topical diclofenac resulted in a
    administered, guidelines for administration, safety issues,           higher rate of rectal hemorrhage, more frequent abnormal
    and the like, all as disclosed and provided herein.                   creatinine, urea and hemoglobin; (ii) that in a controlled trial,
       The kits may f\Jrther comprise one or more conventional 45 a higher rate of contact dermatitis with vesicles was observed
    pharmaceutical kit components, such as, for example, one or           after treatment of 152 subjects with the combination of to pi-
    more containers to aid in facilitating compliance with a par-         cal diclofenac and oral diclofenac; and (iii) results of a clini-
    ticular dosage regimen, etc. Exemplary kits can be in the form        cal study demonstrating that the addition of said topical
    of a package. Suitable packages and packaging are known in            diclofenac solution to oral diclofenac did not cause an eleva-
    the art or easily ascertained by one of ordinary skill in the art. 50 tion of liver transan1inases over use of oral diclofenac alone;
       In one nonlimiting embodiment, the topical diclofenac for-         (c) preclinical study results for a topical formulation compris-
    mulation is packaged with information informing the user              ing dimethyl sulfoxide, including for example, the results of
    that the topical diclofenac solution will not cause an uptake of      an animal study in which no adverse ocular effects were
    one or more environmental toxins. In another nonlimiting              observed after multiple-daily dermal application to rats for 26
    embodiment, the topical diclofenac formulation is packaged 55 weeks and minipigs for 52 weeks of DMSO at twice the
    with infom1ation that includes reference to a lack of antici-         concentration found in a topical diclofenac solution (e.g.,
    pated or expected adverse events or adverse reactions in              Pennsaid®); and (d) a statement that, once dry, sunscreen,
    patients from exposure to one or more environmental toxins            insect repellant, lotion, moisturizer, cosmetics, and/or other
    following the acute and/or chronic use of a topical diclofenac        topical products can be applied to an area previously treated
    solution, for example a topical diclofenac preparation con- 60 with a topical diclofenac solution (e.g., Pennsaid®).
    taining 1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)                  Yet another nonlimiting embodiment is a method of obtain-
    amino ]benzeneacetic acid, monosodiU111 salt), 45.5%                  ing marketing authorization from a regulatory authority for a
    DMSO, ethanol, propylene glycol, glycerine, and water.                topical diclofenac product comprising referencing the kit of
       In one nonlimiting embodiment, a method of manufactur-             information.
    ing a topical diclof€mac pham1aceutical product comprises 65             In another embodiment, a method for distribution of a
    packaging a topical diclofenac dosage form with the Infor-            topical diclofenac product is provided, comprising the steps
    mation. Additional infonnation can include the infonnation            of (a) obtaining marketing authorization from a regulatory
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 205 of 232 PageID:
                                    8343

                                                          US 8,217,078 Bl
                                  29                                                                 30
    authority for a topical diclofenac product comprising refer-        study knee), and then randomized into the trial by receiving
    encing said kit of the invention; and providing said topical        the next numbered study kit at that clinic for that stratum.
    diclofenac product to one or more distributors.                     Each study kit contained topical solution and oral tablets for
       TI1e following examples further illustrate the invention but,    one of the five treatment regimens: (i) Topical Diclofenac
    of course, are not to be construed as in any way limiting its       Solution [Pem1said® Topical Solution, Nuvo Research Inc.,
    scope.                                                              Mississauga, Canada] plus oral placebo tablets, (ii) 'DMSO
                                                                        vehicle'; vehicle solution plus oral placebo tablets (vehicle
                              EXAMPLES                                  solution was the complete carrier, including 45.5% DMSO
                                                                        and other excipients, with no diclofenac ), (iii) 'placebo';
                               Example 1                             10 placebo solution plus oral placebo tablets (placebo solution
                                                                        was a modified vehicle solution with only 2.3% DMSO, for
              12-Week, Double-Blind, Double-Dummy,                      blinding purposes, and no diclofenac ), (iv) 'oral diclofenac';
          Randomized Controlled Trial of Topical Diclofenac             placebo solution plus oral diclofenac tablets (1 00 mg slow
                                Solution                                release), or (v) 'topical diclofenac+oral diclofenac'; Topical
                                                                     15 Diclofenac Solution plus oral diclofenac tablets. Subjects
       This Example describes novel clinical information that           applied 40 drops of solution (approximately 1.2 mL) around
    may, for example, be provided to a user according to the            the entire circumference of the study knee, without massage,
    present invention, comprising safety and efficacy results from      4 times daily, and took one study tablet daily for up to 12
    a 12-week, double-blind, double-dummy, randomized con-              weeks.
    trolled trial of a topical diclofenac preparation containing 20        Concomitant analgesic and anti-inflammatory medica-
    1.5% diclofenac sodium (2-[(2,6-dichlorophenyl)amino]               tions, including over the collllter NSAIDs and other analge-
    benzeneacetic acid, monosodium salt), 45.5% DMSO, etha-             sics, were prohibited. Continuation of stable treatment with
    nol, propylene glycol, glycerine, and water ("Topical               glucosan1ine, chondroitin, anti -depressants or a proton ptunp
    Diclofenac Solution") in 775 subjects with radiologically           inhibitor (previous 90 days), or low-dose              mg/day)
    confirmed, symptomatic primary osteoarthritis of the knee. 25 acetylsalicylic acid (previous 30 days) was permitted.
    The study included a placebo am1 to establish efficacy, a           Acetaminophen was provided, and pem1itted (up to four 325-
    DMSO vehicle arm to address possible DMSO efficacy, an              mg caplets per day) except during the 3 days before each
    oral diclofenac arm for comparison with the topical                 efficacy assessment. Other topical products on the knee,
    diclofenac solution, and a combination ofTopical Diclofenac         including skin emollients, were prohibited. A patient with a
    Solution plus oral diclofenac to assess combined treatment. 30 gastrointestinal adverse event was allowed to start a proton
       Study Subjects: This randomized, double-blind, double-           ptunp inhibitor. Compliance with the treatment regimen was
    dummy, placebo-, vehicle- and active-controlled study was           assessed by weighing the solution bottles and cmmting study
    conducted at 40 outpatient centers in Canada and 21 centers in      tablets at each clinic visit.
    the United States following approval by the appropriate insti-         All study solutions appeared as identical clear, colorless
    tutional review boards. Eligible subjects, after written 35 liquids. It was expected that some subjects applying Topical
    informed consent, included men and non-pregnant women               Diclofenac Solution or DMSO vehicle would report a garlic
    aged 40-85 with primary OA of the knee based on (i) standard        taste or odor from exhaling dimethyl sulfide, a volatile DMSO
    radiological criteria for OA (Altman, R D, et a!., Atlas of         metabolite; therefore, a token amount ofDMSO (2.3%) was
    individual radiographic features in osteoarthritis. Osteoar-        included in the placebo solution. Previous trials with topical
    thritis Cartilage 1995; 3 (Suppl A):3-70) on a recent (within 40 diclofenac confirmed the success of this blinding procedure
    3 months) examination, (ii) pain, with regular use of an            as the incidence of 'taste perversion' adverse events was no
    NSAID or other analgesic medication (at least 3 days a week         diflerent with placebo solution from topical diclofenac. Oral
    for the previous month) and (iii) a flare of pain and mininnun      diclofenac and placebo tablets appeared identical (Novop-
    Likert pain score of 8 (40 on a scale normalized to 0-1 00; see     harm® Inc.). Each study kit was assembled according to a
    below, Efficacy Measures) at baseline, following washout of 45 computer-generated randomization schedule created by an
    that medication. A flare was defined as an increase in total        external statistician for each stratum using a block size of 5.
    Likert pain score of 25% and at least 2, and a score of at least    The randomization sequence was concealed from investiga-
    moderate on one or more of the five items/questions of the          tors, subjects and the sponsor's clinical research persmmel
    WOMAC LK3.1 pain subscale (Bellamy, N, eta!., Validation            until after data lock.
    study of WOMAC: a health status instnunent for measuring 50            Efficacy Measures: Each subject completed a full efficacy
    clinically important patient relevant outcomes to antirheu-         assessment questiom1aire after randomization at baseline and
    matic drug therapy in patients with osteoarthritis ofthe hip or     at 4, 8 and 12 weeks, or at drop out. The co-primary efficacy
    knee. J Rheumatol. 1988 December; 15(12):1833-40). All              variables (Bookman A A, eta!., Effect of a topical diclofenac
    knee films were reviewed by a single radiologist and each           solution for relieving symptoms of primary osteoarthritis of
    compartment was scored (none=!, mild=2, moderate=3, 55 the knee: a randomized controlled trial. LMAJ 2004; 171:
    severe=4 ). Only one knee was treated; where both knees met         333-8) were defined a priori as WOMAC pain and physical
    all entry criteria, the more painful knee (or dominant knee if      function, measured by the 5-point Likert scale (Biswal S, et
    they scored the same) was selected. Standard exclusion cri-         a!., Longterm efficacy of topical nonsteroidal anti-inflamma-
    teria were employed, as described in Roth S H, Shainhouse J         tory drugs in knee osteoarthritis: metaanalysis of randomized
    Z. Efficacy and safety of a topical diclofenac solution 60 placebo controlled clinical trials. J Rheumatol. 2006;
    (Pennsaid®) in the treatment of primary osteoarthritis of the       33: 1841-4), and patient overall health assessment ("POHA'').
    knee: a randomized, double-blind, vehicle-controlled clinical       The POHA asked the question, "Considering all the ways
    trial. Arch Intern Med. 2004; 164:2017-23.                          your osteoarthritic (study) knee and its treatment affect you,
       Study Design: Eligible subjects were stratified by the           including both positive and negative effects, how would you
    investigator at baseline into stratum 1 (no pain and normal 65 rate your overall state of health in the past 48 hours?" Sec-
    radiological examination in the non-study knee) or stratum 2        ondary efficacy variables were WOMAC stiffness and patient
    (pain and/or abnormal radiological examination in the non-          global assessment ("PGA") ofknee osteoarthritis. The PGA
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 206 of 232 PageID:
                                    8344

                                                             US 8,217,078 Bl
                                  31                                                                         32
    asked the question, "How has the osteoarthritis in your study     non-completers by reason of an adverse event or lack of effect
    joint been over the last 48 hours?" The POHA and PGA were         and for subjects excluded from miTT.
    scored on a 5-point Likert scale. There was no assessment of         Secondary comparisons included topical diclofenac vs.
    the non-treated knee. Safety Measures: At all visits, vital       placebo for the secondary variables, and topical diclofenac
    signs were measured, dermatological evaluation of the study       vs. DMSO vehicle and DMSO vehicle vs. placebo for all
    knee was done according to a standard mm1erical (0-4) scale       variables. A post hoc efficacy analysis compared topical
    (Shirley H H, eta!. Efficacy and safety of a tropical diclofenac  diclofenac vs. oral diclofenac and topical diclofenac+oral
    solution (Pe1msaid®) in the treatment of primary osteoarthri-     diclofenac vs. oral diclofenac. For a missing final score, last
    tis of the knee: a randomized, double-blind, vehicle-con-         observation was carried forward ("LOCF"). Safety analyses
    trolled clinical trial. Arch. Intern. Med. 2004: 164:2017-23) 10 were perfonued on all subjects who received even one dose of
    and adverse events were solicited using open-ended ques-          either study medication. There was no imputation of missing
    tions. Adverse events were categorized according to Coding        safety data. Results were as follows.
    Symbols for Thesaurus of Adverse Reaction Tenus ("COS-               Study Subjects: Of 1396 subjects screened, 775 were ran-
    TART"). Blood and urine samples were obtained for routine         domized to one of the 5 treatment am1s and 527 subjects
    laboratory analysis at baseline, 4 and 12 weeks. Ocular 15 completed treatment. Over 95% of patients had bilateral dis-
    examination (visual acuity test, slit lan1p examination and       ease (pain or abnonual radiological examination also in non-
    lens assessment) was conducted at the baseline and final visit.   study knee) with pain in the contralateral knee in 90%. A total
       Statistical Analysis Plan: All plam1ed analyses were speci-    of 88% of subjects met the modified (Hochberg M C, eta!.,
    tied a priori. Analysis of the Likert efficacy data was by        Guidelines for the Medical Management of Osteoarthritis
    modified intent to treat ("miTT"), excluding only those sub- 20 Part Osteoarthritis of the Knee. Arthritis & Rheumatism
    jects who had no baseline data or did not administer at least     1995; 38(1):1541-1546)American College ofRheumatology
    one dose of both study solution and tablets. Statistical tests    (ACR) criteria (Altman R, eta!., Development of criteria for
    were two-sided at the 5% level of significance. All efficacy      the classification and reporting of osteoarthritis: classification
    analyses were by analysis of covariance of the change in score    of osteoarthritis of the knee. Arthritis Rheum. 1986; 29:1039-
    from baseline to landmark final assessment, with baseline 25 1049) for osteoarthritis, pain and osteophytes, and the
    score as the covariate. Subjects in both randomization strata     remaining had pain with either joint space narrowing or sub-
    were combined for all analyses.                                   chondral sclerosis. Subjects in each treatment ann had similar
       The primary efficacy comparison was topical diclofenac         demographic and baseline characteristics, duration of expo-
    vs. placebo for the primary efficacy variables, with no cor-      sure and compliance (>89% of expected use for topical solu-
    rection for analysis of multiple primary variables (regulatory 30 tion and oral tablets). Withdrawals for an adverse event were
    design required superiority for each primary variable). The       similar among treatment groups. Withdrawals for lack of
    sample size required to show the superiority of topical           effect were similar among topical diclofenac, placebo and
    diclofenac over placebo was 142 subjects per arm, based on        DMSO vehicle anus, but fewer with the oral diclofenac anus.
    an estimate from previous trials of the difference (standard         There were 772 subjects included in the miTT group.
    deviation) between groups for the change in score of 1.5 (4.5) 35 Excluded were 3 subjects who did not take at least one dose of
    for pain, 5.0 (15) for physical function and 0.4 (1.2) for PGA,   both topical and oral medication, or had no data. Individual
    power of 80% and Type 1 error rate of o.=0.05 2 _railed (Baer P   subjects who omitted baseline assessment for a specific effi-
    A, eta!., Treatment of osteoarthritis of the knee with a topical  cacy variable were excluded from that analysis.
    diclofenac solution: a randomised controlled, 6-week trial           Efficacy: The primary efficacy analyses, as shown in the
    [ISRCTN53366886]. BMC Musculoskelet Disord, 2005: 40 below Table 2 ("Efficacy Variable Scores"), show the superi-
    6:44: Bookman A A, et a!., Effect of a topical diclofenac         ority of topical diclofenac over placebo for the three co-
    solution for relieving symptoms of primary osteoarthritis of      primary variables-pain (P=O.Ol5), physical function
    the knee: a randomized controlled trial. CMAJ 2004: 171:          (P=0.034), and POHA (P<0.0001 ). Superiority was observed
    333-8; RothS H, Shainhouse Efficacy and safety of a Topical       also for the secondary variable PGA (P=0.016), but not for
    Diclofenac Solution (Pem1said®) in the treatment of primary 45 stiffness. There was greater improvement with topical
    osteoarthritis of the knee: a randomized, double-blind,           diclofenac (P<0.05) compared to DMSO vehicle for all five
    vehicle-controlled clinical trial. Arch Intern Med. 2004: 164:    variables (Table 2). A post-hoc BOCF sensitivity analysis of
    2017-23).                                                         the primary efficacy data of all 77 5 patients did not change
       A post hoc sensitivity analysis of the primary efficacy data   any of the conclusions of superiority of topical diclofenac
    was performed by imputing no improvement (i.e., baseline so compared with placebo (pain, P=0.031; physical function,
    score carried forward and imputed as final score ("BOCF") to      P=0.041; POHA, P=O.OOOl).
                                                                                TABLE2



                                                                                                                              P value

                                                                                                     TDiclo +     TDiclo vs. TDiclo vs. TDiclo vs.
                                                TDiclob      place bob    DMSOb        ODiclob       ODiclob       placebo    DMSO       ODiclo

                           WOMAC Pain           (n = 154)    (n = 155)    (n= 161)     (n = 151)     (n = 151)
                           Baseline score       13.2 (3.4)   12.9 (3.3)   13.0 (3.2)    13.2 (3.0)   13.2 (3.4)
                           Change in scorec     -6.0 (4.5)   -4.7 (4.4)   -4.7 (4.3)   -6.4 (4.1)    -7.0 (4.8)     0.015      0.009      0.429
                           WOMAC                (n 154)      (n 153)      (n= 161)     (n 151)       (n 150)
                           Physical Function
                           Baseline score       41.7 (12.8) 41.6 (11.7) 41.4 (11.4) 42.1 (12.0) 41.0 (11.2)
                           Change in scorec    -15.8 (15.1) -12.3 (14.7) -12.1 (14.6) -17.5 (14.3) -18.7 (14.0)     0.034      0.026      0.319
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 207 of 232 PageID:
                                    8345

                                                                                US 8,217,078 Bl
                                              33                                                                                                  34
                                                                  TABLE 2-continued
                                                                   Efficac variable scores"

                                                                                                                                      P value

                                                                                                     TDiclo +       TDiclo vs. TDiclo vs. TDiclo vs.
                               TDiclob          placebob          DMSOb             ODiclob          ODiclob         placebo    DMSO       ODiclo

    POHA                                   (n =!52)     (n = 160)    (n =!50)     (n = 148)
    Baseline                               2.22         2.30 (1.14) 2.23 (1.!2) 2.19 (1.04)
    Change in scorec                      -0.37        -0.65 (1.12) -0.88 (1.31) -0.95 (1.21)                        <0.0001          0.016          0.956
    PGA                       (n           (n !53)      (n 161)      (n !51)      (n !50)
    Baseline                  3.12 (0.78) 3.04 (0.82) 3.13 (0.74) 3.04 (0.87) 3.08 (0.81)
    Change in scorec         -1.36 (1.19) -1.01 (1.18) -1.07 (1.10) -1.42 (1.29) -1.53 (1.27)                          0.016          O.Gl8          0.439
    WOMAC                     (n !54)      (n !53)      (n 161)      (n !51)      (n !50)
    Stiffness
    Baseline                  5.14              5.01 (1.70) 5.12                                    5.07 (1.53)
    Change in scorec         -1.93             -1.52 (2.05) -1.48                                  -2.30 (2.00)        0.112          0.035          0.596

    Abbreviations: TDiclo, Topical Diclofenac Solution plus oral placebo; placebo, topical placebo plus oral placebo; DMSO, topical dimethyl sulfoxide~
    containing vehicle plus oral placebo; ODiclo, oral diclofenae plus topical placebo; TDiclo + ODiclo, Topical Dielofenac Solution plus oral diclofenac;
    WOMAC, Western Ontario McMaster Universities LK3.1 Osteoarthritis Index; POHA, patient overall health assessment; PGA, patient global assessment of
    the study knee
    aData are presented as mean (SD). Maximum score for pain, 20; physical function, 68; POHA and PGA, 4; stiffness, 8.
    bThc number of subjects (n) varied by efficacy parameter because individual subjects did not submit a full baseline assessment.
    C'final score minus baseline score



    Additionally, the Efficacy Variable Score shows that no sig-      adverse events was similar in topical diclofenac+oral
    nificant efficacy advantage of the DMSO vehicle over pla-         diclofenac, and lower in placebo, and oral diclofenac anns.
                                                                   25
    cebo was observed for the primary or secondary variables,         The rate with DMSO vehicle was intermediate between topi-
    except for the POHA. Furthermore, a comparison of oral            cal diclofenac and placebo. Only 5 (3.2%) subjects in topical
    diclofenac vs. topical diclofenac found no statistical differ-
                                                                      diclofenac withdrew due to an application site reaction.
    ence for any of the 5 efficacy variables. The combination of
                                                                      Importantly, as shown in the below Table 3 ("Incidence of
    topical diclofenac+oral diclofenac was no better than oral
    diclofenac alone for all variables (pain, P=0.30; physical 30     Adverse   Events") the incidence of adverse events of the
    function, P=0.33; POHA, P=0.43; stiffness, P=O.l6; PGA,           digestive system with topical diclofenac was no greater than
    P=0.50).                                                          placebo and much lower than oral diclofenac and topical
       Mean [SD] acetaminophen use with topical diclofenac            diclofenac+oral diclofenac. Withdrawal due to a digestive
    (0.64 [0.83] caplets per day) was lower than with placebo         system adverse event was higher in oral diclofenac (11
    (0.95 [1.14], P=0.005) and DMSO vehicle (0.99 [1.11], 35
                                                                      [7.3%]) vs. topical diclofenac (4 [2.6%]) and placebo (3
    P=0.002), and was not different than that for oral diclofenac
    (0.55 [0.82], P=0.41) or topical diclofenac+oral diclofenac       [1.9%]). Additionally, as shown in the below Table 3, the
    (0.46 [0.70]; P=O.IO).                                            combination topical diclofenac+oral diclofenac did not
       Safety: Skin adverse events predominated with topical          increase the incidence of digestive system events over oral
    diclofenac, most being dry skin. The overall incidence of skin    diclofenac alone.

                                                                                                                  TABLE3
                                                                                                         Incidence of adverse event4

                                                                                                                 TDiclo         placebo          DMSO         ODiclo     TDiclo + ODiclo
                                                   Adverse Event                                                (n =!54)       (n =!57)         (n= 161)     (n =!51)       (n =!52)

                                                   Any adverse event                                            96 (62.3)      90 (57.3)        97 (60.2)    94 (62.3)      98 (64.5)
                                                   Abnonnal taste sensation or odor                              0 (0.0)        1 (0.6)          1 (0.6)      I) (0.0)       1 (0.7)
                                                   Auy digestive system event                                   10 (6.5)       15 (9.6)         18 (11.2)    36 (23.8)      39 (25.7)
                                                   Abdominal pain                                                5 (3.2)        1 (0.6)          5 (3.1)     11 (7.3)        3 (2.0)
                                                   Dyspepsia                                                     4 (2.6)        6 (3.8)          6 (3.7)      6 (4.0)        5 (3.3)
                                                   Diarrhea                                                      2 (1.3)        3 (1.9)          2 (1.2)      7 (4.6)       12 (7.9)
                                                   Liver fimction tests abnormal                                 3 (1.9)        1 (0.6)          6 (3.7)     12 (7.9)       11 (7.2)
                                                   Rectal hemorrhage                                             1 (0.6)        0 (0.0)          0 (0.0)      0 (0.0)        5 (3.3)
                                                   Nausea                                                        0 (0.0)        0 (0.0)          1 (0.6)      3 (2.0)        5 (3.3)
                                                   Any skin/appendages event                                    41 (26.6)      12 (7.6)         27 (16.8)    11 (7.3)       47 (30.9)
                                                   Dry skin (application site)                                  28 (18.2)       5 (3.2)         18 (11.2)     4 (2.6)       30 (19.7)
                                                   Contact dermatitis (application site)                         4 (2.6)        1 (0.6)          5 (3.1)      1 (0.7)       12 (7.9)
                                                   Rash                                                          4 (2.6)        0 (0.0)          2 (1.2)      0 (0.0)        0 (0.0)
                                                   Contact dermatitis with vesicles (application site)           3 (1.9)        0 (0.0)          0 (0.0)      1 (0.7)        6 (3.9)
                                                   Pruritis (application site)                                   2 (1.3)        0 (0.0)          0 (0.0)      0 (0.0)        1 (0.7)
                                                   Other system eventb

                                                   Headache                                                      27 (17.5)     18 (11.5)        21 (13.0)    26 (17.2)      21 (13.8)
                                                   Back pain                                                     15 (9.7)      10 (6.4)         15 (9.3)     11 (7.3)        4 (2.6)
                                                   Arthralgia                                                    14 (9.1)      15 (9.6)         25 (15.5)    12 (7.9)        7 (4.6)
                                                   Pain                                                           7 (4.5)       5 (3.2)         11 (6.8)      8 (5.3)        1 (0.7)
                                                   Respiratory disorder                                           5 (3.2)       6 (3.8)          4 (2.5)      8 (5.3)        7 (4.6)
                                                   Accidental injury                                              4 (2.6)       6 (3.8)          7 (4.3)      4 (2.6)        6 (3.9)
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 208 of 232 PageID:
                                    8346

                                                                                 US 8,217,078 Bl
                                               35                                                                                                    36
                                                           TABLE 3-continued
                                                          Incidence of adverse event"

                                                                  TDiclo                                                     TDiclo + ODiclo
    Adverse Event                                                (n= 154)                                                       (n 152)

    Abnonnal vision                                                4 (2.6)
    Conjtmetivitis                                                 4 (2.6)

    Abbreviations: TDiclo, Topical Diclofenac Solution plus oral placebo; placebo, topical placebo plus oral placebo; DMSO, topical dimetbyl
    sulfoxide·containingvehicle plus oral placebo; ODiclo~ oral diclofenac plus topical placebo; TDiclo + ODiclo~ Topical Diclofenac Solution plus
    oral diclofenac
    "Data are presented as number(%) of subjects.
    bOther adverse events with incidence ~2% in the TDiclo group



    No difference between treatment groups was observed for        brovascular accident, I fractured hip, 1 dislocated prosthetic
    cardiovascular events, which were <2% in each treatment 15 hip), 1 inDMSO vehicle (acute enteritis), 1 in oral diclofenac
    group. The incidence of hypertension was similar for all       (post-polypectomy lower gastrointestinal bleed, 8 days after
    groups (1.3% for Topical Diclofenac Solution, oral             withdrawal of study medication) and 3 in topical diclofenac+
    diclofenac and Topical Diclofenac Solution+oral diclofenac;    oral diclofenac (1leg cellulitis, 1 llllstable angina, 1 transient
    1.2% for DMSO vehicle; 0.6% for placebo). There was no         ischemic attack).
    difference among the groups in reports of an abnormal taste 20
    sensation or odor, confim1ing the success of the blinding
    procedure for DMSO.                                               Changes in key NSAID-related laboratory parameters are
       There was no serious adverse event in the Topical           shown   in the below Table 4 ("Analysis of Change in Labora-
    Diclofenac Solution arm, 4 in placebo (1 anemia, 1 cere-       tory Parameters").

                                                                                                                         TABLE4

                                                                                                      Analysis of changea in laboratory parameters


                                                                                                        TDiclo           placebo           DMSO           ODiclo           TDiclo + ODiclo
                                                                                                       (n= 145)         (n    142)        (n    150)      (n     138)         (n     141)


                                                                AST


                                                                Mean change, U/L                       -0.9 (10.3)      -0.6 (5.2)          0.2 (8.5)      2.5 (10.9)          4.1 (29.6)
                                                                Normal to abnormalb, N (%)               10 (6.9)            5 (3.5)           8 (5.3)         27 (19.6)           20 (14.2)
                                                                ALI

                                                                Mean change, U/L                       -1.0 (11.7)      -0.3 (9.9)        -0.6 (9.8)       7.2 (25.3)          8.2 (68.9)
                                                                Normal to abnormal, N (%)                  6 (4.1)           4 (2.8)           2 (1.3)         26 (18.8)           24 (17.0)

                                                                Hemoglobin


                                                                Mean change, g/L                       -1.7 (6.2)       -0.8 (6.2)        -0.4 (6.5)      -3.8 (7.1)          -4.8 (6.8)
                                                                Normal to abnormal, N (%)                 3 (2.1)            7 (4.9)           5 (3.3)          8 (5.8)            18 (12.6)
                                                                Creatinine


                                                                Mean change, )J.Inol!L                 -0.4 (10.5)        0.8 (9.0)         0.3 (10.3)     3.1 (11.0)          4.4 (11.2)
                                                                Normal to abnormal. N (%)                 4 (2.8)            8 (5.6)           6 (4.0)         10 (72)             15 (10.6)
                                                                Creatinine Clearancec


                                                                Mean change, mL!min                     0.4 (10.3)      -0.5 (8.6)        -0.5 (8.3)      -2.4 (8.7)          -3.3 (9.7)
                                                                Normal to abnormal, N (%)                11 (7.6)            8 (5.7)           9 (6.0)         10 (7.2)            16 (11.4)




                                                               "Mean (SD) unless otherwise indicated. Only subjects with both a baseline and final lab value for the parameter are shown.

                                                                                       at baseline to above upper limit of normal for AST, ALT, creatinine, or below lower limit of normal for
                                                                nen10gJo0111, creannme clearance.
                                                                             as per Cockcroft DW and Gault MW, Prediction of creatinine clearance from semm creatinine, Nephron 1976;
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 209 of 232 PageID:
                                    8347

                                                          US 8,217,078 Bl
                                  37                                                                   38
    Overall, the mean change in the laboratory value and the             Despite these elements in trial design the efficacy ofTopical
    number of subjects developing an abnormality showed no               Diclofenac Solution was robustly established.
    difference between topical diclofenac and placebo or DMSO               The response of patients in the oral diclofenac group in this
    vehicle, but a greater mean change and higher incidence of           study (40-48% improvement in variable score) was the same
    abnormality occurred with the oral diclofenac am1s. With oral        as seen in other oral NSAID trials (Bellamy N, Buchanan W
    diclofenac compared with topical diclofenac, there was a
                                                                         Wet a!., A multicenter study oftenoxicam and diclofenac in
    greater mean change in hemoglobin, alanine aminotrans-
    ferase, gamma-glutamyl transpeptidase, creatinine and crea-          patients with osteoarthritis of the knee. J. Rheum. 1993;
    tinine clearance, and a greater number of subjects developing        20:999-1004; Yocum D, eta!., Safety and efficacy ofmeloxi-
    an abnormality for these parameters. With respect to the tran-       cam in the treatment of osteoarthritis. Arch Int Med. 2000;
                                                                      10
    saminases ALI (alanine aminotransferase) and AST (aspar-             160:2947-54), providing a powerful external audit on the
    tate aminotransferase), there was no statistically significant       validity of the trial design and conduct, and further continua-
    change in mean values between the oral diclofenac and oral           tion of the sustained efficacy of Topical Diclofenac Solution.
    plus topical diclofenac treatment arms. Development of               Topical Diclofenac Solution was fmmd to be as effective as
    abnormal laboratory parameters was generally below clini-            oral diclofenac at relieving the symptoms of knee osteoarthri-
    cally relevant levels. No subject developed a clinically sig- 15
                                                                         tis with less NSAID-related systemic toxicity than oral
    nificant change in hemoglobin or creatinine. An increase in
    any liver enzyme to three times the upper limit of nom1al            diclofenac. These observations support the safety and effi-
    occurred in 1 subject with placebo, 1 with DMSO vehicle, 2           cacy results of a previous equivalence study of Topical
    with oral diclofenac and 3 with topical diclofenac+oral              Diclofenac Solution vs. oral diclofenac.
    diclofenac, but none with topical diclofenac.                     20    Claims of therapeutic efficacy for DMSO itself in osteoar-
        Ocular examination at baseline and final revealed no             thritis were discounted in an earlier, 4-week trial with topical
    change in visual acuity (data not shown) and no difference in        diclofenac (BookmanAA, eta!., Effect of a topical diclofenac
    the development of lens abnom1ality (cataract) with placebo          solution for relieving symptoms of primary osteoarthritis of
    (4 [2.6%] subjects) vs. topical diclofenac (2 [1.3%]) or             the knee: a randomized controlled trial. CMAJ. 2004; 171:
    DMSO vehicle (6 [3.8%]).                                          25 333-8) and are further disproven by this 12-week study.
        Conclusions: The results of tllis clinical study clearly show       There was no apparent difference between Topical
    the effectiveness ofTopical Diclofenac Solution applied to pi-       Diclofenac Solution and placebo in NSAID-associated gas-
    cally to treat the symptoms of osteoarthritis of the knee.           trointestinal adverse events (the incidence was actually lower
        Topical Diclofenac Solution was superior to both topical         with Topical Diclofenac Solution). In this study, no eye lens
    comparator groups (placebo and DMSO vehicle) for all 3 30 abnormalities were observed with DMSO-vehicle or Topical
    primary efficacy variables, pain, function and patient overall       Diclofenac Solution treatment. The combination Topical
    health. Efficacy was confim1ed by a conservative BOCF sen-           Diclofenac Solution+oral diclofenac showed no increase in
    sitivity analysis.                                                   adverse events relative to Topical Diclofenac Solution or oral
        The WOMAC physical function questiounaire asks                   diclofenac alone. The blood level of diclofenac following
    patients to score physical function in areas such as difficulty 35 topical application as Topical Diclofenac Solution is only
    descending stairs, difficulty ascending stairs, difficulty rising    about 12 ng/ml, and the incremental increase with the com-
    from sitting, difficulty standing and difficulty walking on a        bination would be negligible compared with the predicted
    fiat surface. The superiority of topical diclofenac solution         level of 1500 ng/mL that is reported with oral diclofenac.
    over placebo was surprising given that (i) the physical ftmc-        Although combined treatment with Topical Diclofenac Solu-
    tions measured in the WOMAC physical function question- 40 tion+oral diclofenac did not provide a statistical advantage
    naire are generally accomplished with the use of both knees,         over oral diclofenac alone, this regimen could be a reasonable
    (ii) only one knee was treated in the study, (iii) 95% of            treatment paradigm in an individual with persistent or break-
    patients had disease in both knees (with pain in the contralat-      through knee pain despite using an oral NSAID.
    eral knee occurring in 90% of the study population) and (iv)            In conclusion, this Example shows that Topical Diclofenac
    the blood levels of diclofenac produced by the topical 45 Solution provides durable improvement in the symptoms of
    diclofenac solution when treating one knee are far below the         osteoarthritis of the knee, and that relief is not contributed by
    levels achieved by oral administration of the drug and               the DMSO-carrier. Efficacy of Topical Diclofenac Solution
    regarded as necessary to achieve a systemic effect (see              was comparable to that achieved with oral diclofenac. For the
    Examples 7 and 8 below). Remarkably, there was no statisti-          patient i1litiating pharmacological therapy for relief of symp-
    cal difference between topical diclofenac solution treatment 50 toms associated with osteoarthritis of the knee based on cur-
    of one knee and oral diclofenac (which would provide treat-          rent treatment guidelines, Topical Diclofenac Solution is a
    ment for both knees) for the physical function efficacy vari-        viable, evidence-based treatment option.
    able.
        This study followed a typical 12-week oral NSAID trial                                       Example 2
    design, namely, primary osteoarthritis of the knee with pain 55
    and abnormal radiological findings. Although most subjects                    Influence of a Topical Diclofenac Solution on
    had bilateral osteoarthritis, only one painful knee was treated                Percutaneous Absorption Of Three Different
    with topical solution. Inasmuch as outcome measures of                     Environmental Toxins after Repeated Epicutaneous
    physical ftmction and overall patient health assessment are                             Administration to minipigs
    likely to be negatively influenced by symptoms in the non- 60
    treated knee, this trial design biased against Topical                  This Example describes novel preclinical information that
    Diclofenac Solution. In any oral NSAID triaL and in this             may, for example, be provided to a user according to the
    study's oral diclofenac arms, subjects automatically treat           present invention, which relates to the influence of a topical
    both knees, avoiding these factors. The inclusion of oral            diclofenac solution containing 1.5% diclofenac sodium (2-
    therapy for all groups added a second placebo effect to the 65 [(2,6-dichlorophenyl)amino ]benzeneacetic acid, monoso-
    topical comparator anns, imposing a yet higher burden to             dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
    prove efficacy of Topical Diclofenac Solution over placebo.          ine, and water ("Topical Diclofenac Solution") on the
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 210 of 232 PageID:
                                    8348

                                                                US 8,217,078 Bl
                                     39                                                                           40
    percutaneous absorption of three different environmental tox-                     Prior to the start of the study, the administration sites were
    ins, as evaluated in a study involving repeated epicutaneous                   cleared of bristles, if present. The remaining hairs were
    administration to minipigs.                                                    clipped. The toxin was spread onto the administration area
       The Test Item was Topical Diclofenac Solution                               using a syringe. The administration area was not covered with
    [Pennsaid® Topical Solution, Nuvo Research Inc., Missis-                       any dressing. Following administration the animals were
    sauga, Canada]. The environmental toxins selected for use in                   restrained for at least 1 hour (until the toxin had completely
    the study were oxybenzone (in the form of Equaline SPF 23                      dried) in slings which allowed free movement of the head but
    faces sunscreen; active compound 6% oxybenzone), DEET,                         prevented a complete body turn in order to prevent access by
    i.e., N,N-diethyl-m-toluamide (in the fonn of Deep woods                       the animals to the toxins.
    OFF!® pump spray; active compound 25% N,N-diethyl-m- 10
                                                                                      The six treatment groups were assigned to receive toxins,
    toluamide), and 2,4-D, i.e .. 2.4-D. dimethylamine salt (in the
                                                                                   Test Items and Controls as set forth in the following table.
    form of Spectracide Weed Stop 2x For Lawns Concentrate;
    active compound 7.57% 2,4-D, dimethylamine salt). The
    control items used in the study were Retin-A 0.1% (tretinoin)
    cream, Men's Rogaine® Extra Strength Topical Solution 15 Group Toxin No. (Name) Test Item/Control
    (minoxidil 5% w/v), both of which are approved and mar-
    keted in the United States. Both control products have skin                             1 (oxybenzone)      Topical Diclofenac Solution (Test !tern)
                                                                                            2 (DEET)            Topical Diclofenac Solution (Test Item)
    permeation enhancing capabilities and were selected for                                 3 (2,4-D)           Topical Diclofenac Solution (Test Item)
    comparison to the Topical Diclofenac Solution in the                               4    1 (oxybenzone)      Retin-A (Control no. 1)
    enhancement of environmental toxins. Retin-A (tretinoin) 20                             2 (DEET)            Rogaine ® (Control no. 2)
    stimulates mitotic activity and increased turnover of follicular                        3 (2,4-D)           Rogaine ®(Control no. 2)

    epithelial cells, resulting in dismption of the skin barrier
    function with consequent enhancement of transepiderrnal                           On test day 21, Topical Diclofenac Solution (Test Item) or
    water loss. Compromising skin barrier function can cause                       Rogaine Topical Solution (Control No. 2), respectively, was
    enhancement in permeation of molecules through the skin. 25 applied 30 minutes before toxin administration based on a
    The skin permeation enhancement of Rogaine is associated                       pre-specified schedule. No administration of Retin-A (Con-
    with its high content ofpropylene glycol (50%), a known skin                   trol No. 1) was scheduled for test day 21. On test day 21 the
    permeation enhancer.                                                           toxin administration was carried out after the Test Item/Con-
       Methods: In this study, perfonned according to Good                         trol administration according to the following schedule:
    Laboratory Practices ("GLP"), 18 female Gottingen 30
                                                                                   Groups 1, 2 and 3: 30 minutes after Test Item/Control admin-
    Minipigs, a connnonly used non-rodent species for pharrna-
                                                                                   istration; Group 4: after an overnight break; Groups 5 and 6:
    cokinetic studies, were selected for entry into the study based
    on the results of a satisfactory preliminary health screening.                 30 minutes after Test Item/Control administration.
    There were six treatment groups with 3 female animals per                         In sum. Test Item/Control application was as follows: Topi-
    group. Animals were allocated employing a pseudo-random 35                     cal Diclofenac Solution (Test Item), 0.22 mL/administration
    body weight stratification procedure that yielded groups with                  site four times daily from test days 6 to 20 (7:30, 12:30, 17:30,
    approximately equal mean body weight.                                          22:30) and one single dose on day 21 (7:30); Retin-A 0.1%
       The Test Item and the controls were supplied ready-to-use.                  cream (Control No. 1), 112.5 mg/administration site once
    Toxin No. 1 (stmscreen) was applied undiluted. Toxins Nos. 2                   daily from test days 6 to 20 (22:30); Rogaine E S (Control No.
    (DEET) and 3 (2,4-D) were diluted in ethanol and water, 40 2), 0.8 mL!administration site twice daily from test days 6 to
    respectively, before use on test day 1 according to the below                  20 (7:30, 17:30) and one single dose on day 21 (7:30). The
    dilution scheme. The same toxin administration solutions                       administration site of the Test Item or Controls was exactly
    were used on test day 1, 21, 28 and 35. Between the admin-                     the same as for the toxins, i.e. 150 cm2 on the animal's back
    istrations, the solutions were stored at +2° C. to +4° C.                      between the fore and hind extremities, as noted above. Toxin
                                                                                45 dose levels were selected based upon available human envi-
                                                                                   romnental and occupational exposure data. Dose levels for
                                                                                   the Test Item or Controls were based on the recommended
                    Preparation of the toxin administration dose                   doses of the products in humans.
                         Strength of        Targeted      Dilu-   Volume of           The Test Item or Control was spread onto the administra-
               Active active cmpd         exposure of     tion diluted toxin to 50 tion area using a syringe. The administration area was not
      Toxin     com-     in the toxin active cmpd to of the be applied to          covered with any dressing. Following administration the ani-
       No.     pound         (w/v)       150 cm2 [f!g] toxin 150 cm2 [mL]          mals were restrained for at least 1 hour (until the test item and
                oxy-           6%          300000                                  controls had completely dried) in slings which allowed free
              benz one                                                             movement of the head but prevented a complete body turn in
               DEET           25%            6723            40      1.08       55 order to prevent access by the animals to the Test Item or
               2,4-D        7.57%               13.35     5000       0.88
                                                                                   Controls.
                                                                                      Any contact of the test areas with water was avoided
       Toxin was applied by epicutaneous administration via                        throughout the whole experiment.
    syringe onto the back region. There was a single administra-                      Observations: Observations related to individual animals
    tion on test day 1 (before administration of the Test Item or the 60 made throughout the study included clinical signs, body
    Controls) and single administration on days 21, 28 and 35                      weight and food/water consumption.
    (after administration of the Test Item or the Controls). The                      For evaluation of local tolerance, skin reactions were
    administration area was 150 cm2/animal. The administration                     examined once daily throughout the study, prior to each
    site was situated on the animal's back between the fore and                    administration (end of the respective exposure period), if
    the hind extremities. The surface area of the application site 65 applicable. Reactions, namely, erythema, eschar and oedema
    was selected to provide a high toxin exposure that would                       formation were scored based on Draize J H, Appraisal of the
    ensure measurable systemic levels of the toxins.                               Safety of Chemicals in Food, Dmgs and Cosmetics, Associa-
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 211 of 232 PageID:
                                    8349

                                                         US 8,217,078 Bl
                                 41                                                                   42
    tion of Food and Drug Officials of the United States, Austin,      partmentally by means of cmax (maximum observed plasma
    Tex., 1959. Any other lesions were also recorded, if any           concentration), tmax (time of           after application of the
    occurred.                                                          toxin), and the AUC 0_48 (the trapezoidal area under the time
       Blood sampling for pharmacokinetics was undertaken for          course of the plasma concentrations up to 48 hours after
    each animal at predetermined sampling times and processed          application).
    for at least 2 mL Li-Heparin plasma/sample, which were                Based on the ANOVA of the log-transformedAUC 0 _48 , the
    split into two aliquots of 1 mL each.                              area exposure to oxybenzone for the animals treated with
       The area under the concentration-time curve ("AUC") from        Topical Diclofenac Solution was statistically significantly
    time zero to 48h, AUC 0 _48", for each toxin was calculated for    lower (p~0.05) on days 21, 28 and 35 compared with the
    each minipig after each toxin administration on test days 1, 10 animals treated with the control (Retin-A), whereas there was
    21, 28 and 35 using a linear trapezoid method. Descriptive         no statistically significant difference between the treatments
    statistics (arithmetic mean, standard deviation) of non-trans-     groups on day 1 (before the start of the treatments with the test
    formedAUC0_48" andnaturallog-transforn1edAUC 0_48h were            and control items). No statistically significant differences
    calculated for each treatment group for the administration         were noted for the Topical Diclofenac Solution or control
    days on test days 1, 21, 28 and 35. Log -transformedAUC0 _48" 15 (Retin-A) treated animals of groups 1 and 4, respectively, for
    were compared using the repeated measurements employing            Cmax andAUC-values of test day 1 compared to test days 21,
    a generalized linear model of variance using treatment group       28 and 35.
    and administration day as covariates. The achievement of              Conclusions: Epicutaneous application of Topical
    steady state of diclofenac was assessed by using repeated          Diclofenac Solution four times daily from test day 6 to 20
    measurements employing analysis of variance ("ANOVA") 20 with a single dose applied on the morning of day 21, while
    with log-transforn1ed trough concentrations on test days 19,       resulting in relevant systemic exposure to diclofenac, did not
    20 and 21. All statistical analyses were two-sided and in all      induce relevant local or systemic untoward changes. Treat-
    analyses the Type I (alpha) error was fixed at the 5% level.       ment with Topical Diclofenac Solution, however, did not
       Results: With regard to clinical signs, no signs of local       amplify the exposure of oxybenzone, an epicutaneously
    intolerance reactions were observed in any of the minipigs 25 applied toxin.
    after repeated epicutaneous administration of0.22 mL Topi-            That systemic diclofenac steady state was reached by day
    cal Diclefenac Solution/animal (approx. 3.5 mg diclofenac          19 indicates that a maximum degree of skin permeabilization
    sodium/animal) and any of the Toxin Nos. 1, 2 or 3. Addi-          for diclofenac by the Topical Diclofenac Solution vehicle has
    tionally, no signs oflocal intolerance reactions were observed     been reached after 14 days of treatment with Topical
    in any of the minipigs after repeated epicutaneous adminis- 30 Diclofenac Solution.
    tration of either Control No. 1 or Control No. 2.                     Results also showed that there was no quantifiable sys-
       Additionally, no signs of systemic intolerance reactions        temic absorption of DEBT or 2,4-D at baseline (prior to
    were observed in any of the minipigs after repeated epicuta-       treatment with Topical Diclofenac Solution or Rogaine) or
    neous administration of 0.22 mL Topical Diclofenac Solu-           following a 15-day pre-treatment with Topical Diclofenac
    tion/animal (approx. 3.5 mg diclofenac sodium/animal) and 35 Solution or Rogaine (Treatment Groups 2, 3, 5 and 6).
    any of the three toxins. No signs of systemic intolerance             According to the results, systemic absorption of oxyben-
    reactions were observed in any of the minipigs after repeated      zone occurred prior to treatment with Topical Diclofenac
    epicutaneous administration of either 112.5 mg Retin-A 0.1%        Solution and Retin-A control (days 1-3) and this level thus
    (tretinoin) cream/animal (control no. 1) or 0.8 mL Men's           represents baseline systemic absorption of oxybenzone.
    Rogaine® Extra Strength Topical Solution/animal (control 40 There was no significant difference in baseline oxybenzone
    no. 2) and any of the three toxins.                                systemic levels and systemic levels obtained following a 14
       The body weight was in the normal range throughout the          day pre-treatment period with Topical Diclofenac Solution
    course of the study in all animals after repeated epicutaneous     and it is therefore concluded Topical Diclofenac Solution did
    administration of0.22 mL Topical Diclofenac Solution/ani-          not enhance the systemic absorption of oxybenzone. How-
    mal (approx. 3.5 mg diclofenac sodium/animal) or the two 45 ever, there was a significant difference in baseline oxyben-
    controls and any ofthe three toxins.                               zone systemic levels and systemic levels obtained following a
       No influence on the food consumption was noted for any of       14 day pre-treatment period with Retin-A Control. Therefore,
    the animals after repeated epicutaneous administration of          Retin-A enhances the systemic absorption of oxybenzone.
    0.22 mL Topical Diclofenac Solution/animal (approx. 3.5 mg            It can be concluded that a 15-day repeat dose treatment
    diclofenac sodium/animal) or the two controls and any of the 50 with Topical Diclofenac Solution, QID, while resulting in a
    three toxins.                                                      maximum degree of skin permeabilization for diclofenac,
       The visual appraisal ofthe drinking water consumption did       does not enhance the systemic absorption of oxybenzone.
    not reveal any Test Item-related influence.
       Phannacokinetic data results indicated that systemic                                       Example 3
    diclofenac steady state was reached by day 19.                  55
       Due to limitation in the sensitivity of the analytical meth-             Influence of a Topical Diclofenac Solution on
    ods employed in the study, no DEET (Toxin no. 2) or 2,4-D                     Percutaneous Absorption of Two Different
    (Toxin no. 3) could be quantified in plasma for any of the              Environmental Toxins after Repeated Epicutaneous
    animals treated with the Topical Diclofenac Solution or the                          Administration to Minipigs
    Rogaine so no finn conclusions could be drawn from the 60
    study concerning the enhancement of systemic absorption of            This Example describes novel preclinical information that
    these toxins. A subsequent study (described in Example 3           may, for example, be provided to a user according to the
    below) using higher concentrations of DEBT and 2,4-D was           present invention, which relates to the influence of a topical
    therefore conducted.                                               diclofenac preparation containing 1.5% diclofenac sodium
       In contrast, the exposure to oxybenzone could be well 65 (2-[(2,6-dichlorophenyl)amino ]benzeneacetic acid, monoso-
    quantified on all application days. The courses of the plasma      dium salt), 45.5% DMSO, ethanol, propylene glycol, glycer-
    concentrations of oxybenzone were summarized non-com-              ine, and water ("Topical Diclofenac Solution") on the percu-
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 212 of 232 PageID:
                                    8350

                                                        US 8,217,078 Bl
                                 43                                                                 44
    taneous absorption of two environmental toxins from                Solution/animal (approx. 3.5 mg diclofenac sodiumJanimal)
    Example 2, evaluated at higher doses in a study involving          and Toxin No. 2 revealed a very slight to well defined
    repeated epicutaneous administration to minipigs. In               erythema on test days 7 to 14. Animal nos. 7 and 8 (group 3)
    Example 2 the dose levels for the toxins were selected based       treated with 112.5 mg Retin-A 0.1% (tretinoin) cream!animal
    on the available human enviromnental and occupational              and Toxin No. 1 revealed a well defined erythema on test days
    exposure data but the results did not provide systemic expo-       21 and 22 and a very slight to well defined erythema on test
    sure above the limit of quantitation. Thus, to increase the        day 35. Animal no. 12 (group 4) treated with 112.5 mg
    potential systemic exposure of the toxin, the maximum der-         Retin-A 0.1% (tretinoin) cream!animal and toxin no. 2 (group
    mal exposure to the toxin was selected for this study. As in       4) revealed a moderate to severe erythema on test day 21 and
    Example 2, the Test Item was Topical Diclofenac Solution. 10
                                                                       a well defined erythema on test day 35.
       The two environmental toxins DEET, i.e., N,N-diethyl-m-
                                                                          No signs of systemic intolerance were noted for any of the
    toluamide (in the form of Deep woods OFF!CID pmnp spray;
    active compound 25% N,N-diethyl-m-toluamide) and 2,4-D,            mini pigs after repeated epicutaneous administration of either
    i.e., 2,4-D, dimethylamine salt (in the form of Spectracide        0.22  mL Topical Diclofenac Solution/animal (approx. 3.5 mg
    Weed Stop 2x For Lawns Concentrate; active compound 15             diclofenac   sodium/animal) or the Control Item and the two
    7.57% 2,4-D, dimethylamine salt). The single Control Item          toxins. Additionally, none of the animals died prematurely;
    used in the study was Retin-A 0.1% (tretinoin) cream.              the body weight was in the normal range in all animals
       Methods: The study was carried out as described in              throughout the course of the study: and no influence was
    Example 2 using 12 minipigs (four groups of three female           noted on the food and drinking water consm11ption for any of
    mini pigs each). Animals of groups 1 and 2 were treated with 20 the animals.
    the Test Item from the moming of day 6 until the moming of            Epicutaneous application of Topical Diclofenac Solution
    day 21; groups 3 and 4 were treated with Retin-A 0.1% (the         four times daily from test day 6 to 20 with a single dose
    Control Item) from the evening of day 6 until the evening of       applied on the morning of day 21 resulted in relevant systemic
    day 20.                                                            exposure to diclofenac.
        Single doses of the toxins were administered on the mom- 25       Conclusions: Epicutaneous application of Topical
    ing of days 1, 21, 28, and 35. Groups no. 1 (Test Item) and 3      Diclofenac Solution four times daily from test day 6 to 20
    (Control Item) were investigated with Toxin no. 1 (DEET),          with a single dose applied on the morning of day 21, while
    whereas the animals of groups 2 (Test item) and 4 (Control         resulting in relevant systemic exposure to diclofenac, did not
    Item) were investigated with Toxin no. 2 (2,4-D). The volume       induce relevant local or systemic untoward changes. The
    of the toxin formulation applied was 1 mL on day 1 and 1.5 30 achievement of steady state levels of diclofenac by day 21
    mL on subsequent doses starting on day 21. In contrast to          indicates that that a maximum degree of skin permeabiliza-
    Exan1ple 2, the 1.5 mL toxin volume resulted in an adminis-        tion for diclofenac had been reached. In contrast to Retin-A,
    tered dose of DEET (Toxin No. 1) of 375,000 ~tg and an             treatment with Topical Diclofenac Solution did not amplify
    administered dose of 2,4-D (Toxin No. 2) of 113,550 Jlg.           the toxic risk of epicutaneously applied toxins such as 2,4-D
       The Test Item, Control Item and Toxins were administered 35 and DEFT.
    as follows. The Test Item was administered four times daily
    from test days 6 to 20 (7:30, 12:30, 17:30, 22:30); one single                                Example 4
    dose on day 21 (7:30). The Control Item was administered
    once daily from test days 6 to 20 (22:30). Toxin Nos. 1 and 2             Effect on Stratum Corneum Barrier Function of
    were administered once on test day 1 (before administration 40           Multiple Doses of Topical Diclofenac Solution as
    of the Test Item or the Controls) and once on test days 21                    Measured by Transepidermal Water-Loss
    (after administration of the Test Item), 28 and 35.
       Results: Exposure to DEET could be well-quantified on all          This Example describes novel preclinical information that
    application days. In the Topical Diclofenac Solution arm, the      may, for example, be provided to a user according to the
    dose-normalized area exposure to DEET (AUC 0 _48 ) on days 45 present invention, which comprise information regarding an
    21, 28, and 35 was on average 1.18, 1.61, and 1.44 times           assessment of the effect on stratmn cornemn barrier function,
    higher than on day 1, respectively; but was not statistically      as measured by transepidermal water loss ("TEWL"), of mul-
    significantly different. Under the Retin-A Control treatment,      tiple doses of a topical diclofenac preparation containing
    the dose normalized area exposure on these days was on             1.5% diclofenac soditun (2-[(2,6-dichlorophenyl)amino]
    average 1.56, 1.83, and 1.30 times higher than on day 1 and 50 benzeneacetic acid, monosoditun salt), 45.5% DMSO, etha-
    were statistically significantly different on test day 28.         nol, propylene glycol, glycerine, and water ("Topical
       Exposure to 2,4-D could be well-quantified on all applica-      Diclofenac Solution") compared with a positive control,
    tion days. Under the Test treatment, the dose normalized area      Retin-A@, and an untreated site as a negative control.
    exposure to 2,4-D on days 21, 28, and35 was onaverage2.04,            Study Design: The study was conducted as a four-period,
    1.27, and 1.16 times lower than on day 1, respectively, but was 55 open label, paired comparison in a single group. Period One
    not statistically significantly different. Under the Control       (Baseline) was a period of one week prior to the first appli-
    treatment, the dose normalized area exposure on these days         cation on Day 1. At Period Two (Treatment), subjects applied
    was on average 10.84, 8.86, and 7.29 times higher than on day      test articles (Topical Diclofenac Solution or Retin-ACID) for a
    1 and were statistically significantly different. Accordingly,     period of six weeks. At Period Three (Recovery), subjects
    there is a distinct amplification of the 2,4-D exposure in the 60 underwent a recovery period of two weeks following the
    control group (Retin-A), but not in the animals treated with       treatment period. At Period Four (Retin-A@ Challenge) sub-
    the Test treatment (Topical Diclofenac Solution).                  jects applied Retin-A@ under occlusion to the san1e test site
       No signs of local intolerance reactions were observed for       as during Period Two for a period of up to two weeks. Thus,
    any of the minipigs after repeated epicutaneous administra-        the total study duration was approximately 12 weeks, with
    tion of0.22 mL Topical Diclofenac Solution/animal (approx. 65 eight treatment weeks spread between Period Two (six-week
    3.5 mg diclofenac sodimnlanimal) and Toxin No. 1. Animal           treatment period) and Period Four (two-week treatment
    no. 4 (group 2) treated with 0.22 mL Topical Diclofenac            period).
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 213 of 232 PageID:
                                    8351

                                                         US 8,217,078 Bl
                                 45                                                                   46
       Protocol: At Period One (Baseline), baseline measure-            ence from untreated site) for the Treatment Period, and cor-
    ments ofTEWL were performed on Days -7, -5, and -3 prior            relation analyses between TEWL and the variables: skin irri-
    to the first application on Day 1. At Period Two (Treatment),       tation score, temperature and humidity.
    subjects applied test articles for a period of six weeks. TEWL         Safety: Safety was assessed through evaluation of the
    was measured on each of the test sites (4 cmx4 em) inunedi-
                                                                        safety variables: adverse events, skin irritation score, labora-
    ately before application of the morning dose of test articles on
    Days 1, 3, 5, 8, 15, 22, 29,36 and43. Each subject applied one      tory analysis and vital signs. Safety analysis was carried out
    drop (approximately 30 ~tL) ofTopical Diclofenac Solution to        on the data of every subject who received at least one treat-
    a test site on the right or left volar forearm (as randomized)      ment  with study article.
    four times a day for six weeks, at approximately 08:00, 13:00, 10      TEWL Results: The results for treatment with Topical
    18:00 and 23:00 hours. The dose of Topical Diclofenac Solu-         Diclofenac Solution indicate that it did not cause an increase
    tion utilized in this study (approximately 30 ~tL to a surface      in TEWL relative to the untreated site following 6 weeks of
    area of 16 cm2 ) was calculated to approximate the Topical          treatment at a dose, that applied QID to the knee, is shown in
    Diclofenac Solution dose that applied QID to the knee is            Example 1 to be effective for treatment of the pain and symp-
    shown in Example 1 to be effective for treatment of the pain 15 toms of knee osteoarthritis. No difference between Topical
    and symptoms of knee osteoarthritis, namely 40 drops (ap-           Diclofenac Solution and Retin-A® was noted during the
    proximately 1.2 mL) to a knee surface area of approximately         Treatment   Period (neither caused an increase in TEWL dur-
    800 cm2 • Each subject applied a dab (about 12mg) ofRetin-          ing this period of the study).
    Aill) to a separate test site on the opposite volar forearm once
    per day for six weeks, at approximately 08:00 hours. The 20            During the Challenge Period with Retin-A1EJ, skin irritation
    subject used his/her finger to spread the test articles over their  was  noted (see Safety Results) and a significant increase in
    respective test sites. Each forearm had a test area that was left   TEWL relative to the untreated site was observed. These
    untreated as a negative control. The subjects allowed the test      results for the Challenge Period validate the study design by
    articles to dry before covering the test sites with clothing and    showing that the subjects were responsive to this positive
    avoided sunlight exposure to the test sites during the study. At 25 control, a known skin irritant.
    Period Three (Recovery), subjects underwent a recovery                 Mean TEWL time profiles are shown in FIG.l (Retin-ACID)
    period of two weeks following the treatment period. TEWL            and FIG. 2 (Topical Diclofenac Solution). Review ofFIG. 1
    was measured on each of the test sites on the morning ofDays
                                                                        shows an increase in TEWL for the Retin-A® treated site
    45, 47, 50, and 58. At Period Four (Retin-A® Challenge) on
                                                                        during the Challenge Period relative to the untreated site, and
    Days 58-71, Retin-A® was applied tmder occlusion to the 30
                                                                        no difference between treated and untreated sites for Topical
    same test site to which Retin-A® had been applied during
    Period Two. A designated member of the study staff applied          Diclofenac Solution and Retin-A® during the Treatment
    two dabs (about 24mg) ofRetin-A® to the Retin-A® test site,         Period.
    once daily for 14 days, at approximately 08:00 hours. The            Safety Results: There were a total of 51 adverse events
    Retin-A® test site was occluded using polyethylene film (Sa- 35 reported by 12 subjects. The majority of adverse events were
    ran Wrap®) for 15 hours following each application. TEWL          classified as mild in severity (35 events) and classified as
    was measured on the Retin-A® site and the untreated control       probably related to the test article (32 events). The majority of
    site of the san1e arn1 on the morning of Days 59-72.              the adverse events reported consisted of skin irritation
       TEWL: TEWL analysis was carried out on the data of the         responses (i.e. contact dem1atitis, dry skin, pruritus). These
    intent-to-treat ("ITT") analysis group. The ITT analysis 40 were observed at the Retin-A® application test sites for all
    group included all enrolled subjects who received at least one    subjects except for one who reported the adverse event 'dry
    dose of test article. TEWL was quantified using a VapoMeter,      skin' that occurred at the Topical Diclofenac Solution treated
    a closed chamber evaporimeter. Change in TEWL between
                                                                      test site.
    the treated and untreated sites was monitored over time.
    Descriptive statistics (arithmetic mean, standard deviation, 45      The frequency of worst skin irritation score during the
    coefficient of variation, median, minimmn, and maximum)           Treatment Period for Topical Diclofenac Solution revealed 14
    for the TEWL data was summarized for each treatment. Indi-        of 15 subjects with a worst score of zero, indicating no skin
    vidual and mean TEWL time profiles were plotted by treat-         irritation. One subject had a score of 0.5 (dryness or flaking)
    ment and period on a linear scale.                                for the Topical Diclofenac Solution treated site. For Retin-
       To assess the validity of the study to measure changes in 50 A®, no skin irritation was observed during the Treatment and
    TEWL, the post-treatment results for the positive control,        Recovery Periods. During the Challenge Period, 7 subjects
    Retin-A®, were compared to the untreated site on the same         had a worst score of3 (erythema with induration and vesicu-
    arm using repeated measures analysis of covariance ("AN-          lation) and one subject had a score of 1 (erythema) for the
    COVA") with the average pre-treatment TEWL measure as             Retin-A® treated site. The occurrence of skin irritation for the
    the covariate. During conduct of the study and preliminary 55 Retin-A® sites was expected for tllis positive control.
    review of the data, it appeared that the positive control was not    Two subjects experienced changes in clinical laboratory
    causing skin irritation to the expected degree. In order to       evaluations (glucose, ALI and AST elevations) that were
    validate the study, a Reign-ACID Challenge Period was added       documented as adverse events. All three adverse events were
    via a protocol an1endment as described above, and the             considered mild and not related to the test articles.
    ANCOVA analysis was repeated for the Challenge Period 60
    using Day 58 TEWL measure as the baseline covariate. The             There were no clinically significant findings related to
    TEWL response for the Topical Diclofenac Solution site dur-       blood pressure, pulse or respiration rates.
    ing the Treatment Period was compared to the untreated site          Conclusions: The objective of this study was to evaluate
    on the same am1 using repeated measures ANCOVA with the           the effect on stratum corneum barrier function, as measured
    average pre-treatment TEWL measure as the covariate. Sec- 65 by TEWL, of chronic application ofTopical Diclofenac Solu-
    ondary analyses included comparisons between Topical              tion as compared with a positive control, Retin-A®, and an
    Diclofenac Solution and Retin-A® change in TEWL (differ-          untreated site as a negative control.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 214 of 232 PageID:
                                    8352

                                                               US 8,217,078 Bl
                                     47                                                                            48
       The dose of Topical Diclofenac Solution utilized in this
    study (approximately 30 J.LL to a surface area of 16 cm2 ) was
    calculated to approximate that shown in Example 1 to be                                           Group Assi unmnts

    effective for treatment of the pain and symptoms of knee                                                                     Nmnber of Animals
    osteoarthritis when applied QID to the knee (40 drops (ap-
    proximately 1.2 mL) to a knee surface area of approximately              Group Number Dose Concentration (%)                 Male          Female
    800 cm2 ). Following chronic dosing with Topical Diclofenac                     1"                       0
    Solution for 6 weeks in this study, no significant increase in                  2"                       9
                                                                                    3"                      45.5
    TEWL was observed. As measurement of TEWL has been
                                                                   10               4"                      90
    shown to be a validated method for assessing skin barrier                       5b
    function (Fluter J W, Feingold K R, Elias P M. Transepider-                     6b                      90
    mal water loss reflects permeability status: validation in                  4
                                                                       Four animals/sex/roup were necropsied after 52 weeks of administration.
    human and rodent in vivo and ex vivo models. Exp Dermatol         Two animals/sex/group remained on study for a 4~week. recovery period.
    2006; 15:483-492). these results indicate that Topical 15 ~our animals/sex/group were necropsied after 39 weeks of administration.
                                                                      Two animals/sex/group remained on study for a 4~month recovery period.
    Diclofenac Solution did not alter the stratum co meum barrier
    ftmction.                                                            Compositions of the control and test articles were as fol-
       Treatment with Retin-A®, used as a positive control in this lows
    study, in the Challenge Period confirmed skin irritation fol-
    lowing Retin-A® treatment and a resulting increase in 20
    TEWL, thus validating the study.
                                                                                               Control Vehicle
       In conclusion, the results of tllis study demonstrate that
    following chronic dosing with Topical Diclofenac Solution,                                 Ethanol (95%                 11.79%w/w
                                                                                               Propylene                    11.20%w/w
    no significant increase in TEWL was observed, indicating 25                                Glycerin                     11.20%w/w
    that Topical. Diclofenac Solution did not substantially alter                              Purified Water               65.81%w/w
    the stratum corneum barrier ftmction.                                                      9%DMSO

                                                                                               Ethanol (95% v/v)            11.79%w/w
                                                                                               Propylene Glycol             11.20%w/w
                                Example 5                                                      Glycerin                     11.20%w/w
                                                                           30
                                                                                               DMSO                          9.00%w/w
                                                                                               Purified Water               56.81%w/w
        Ophthalmologic Effects ofTopically Applied DMSO                                        45.5%DMSO
        in a 52-Week Non-Occluded Dem1al Toxicity Study
                                                                                               Ethanol (95% v/v)            11.79%w/w
                      in Gottingen Minims
                                                                                               Propylene Glycol             11.20%w/w
                                                                           35
                                                                                               Glycerin                     11.20%w/w
       This Example describes novel preclinical infonnation that                               DMSO                         45.50%w/w
                                                                                               Purified Water               20.31%w/w
    may, for example, be provided to a user according to the                                   90%DMSO
    present invention, comprising the results of a study that was
    conducted on minipigs which provides infonnation about the                   Ethanol (95% v/v)           2.00%w/w
    ocular safety profile of dermally applied formulations con- 40               Propylene Glycol            2.00%w/w
                                                                                 Glycerin                    2.00%w/w
    taining purified DMSO.                                                       DMSO                      90.00%w/w
       The broad aim of the study was to evaluate the potential                  Purified Water             4.00%w/w
    dermal toxicity of DMSO when administered topically to
    four groups of Gottingen Mini pigs® for 52 weeks at concen- 45    Observations for morbidity, mortality, injury, and the avail-
    trations of 0, 9%, 45.5% and 90% (w/w) and to evaluate         ability of food and water were conducted twice daily for all
    reversibility, progression, or delayed appearance of any       animals. Clinical observations were conducted weekly. At the
    observed changes following a !-month postdose observation      end of the each treatment and recovery period, necropsy
    period. Two additional groups of Gottingen Minipigs® were      examinations were performed, organ weights were recorded,
    dosed topically for 39 weeks at 0% and 90% followed by a 50 and selected tissues were microscopically examined.
    4-month recovery post dose observation period.                    One female at 90% DMSO was euthanized in extremis on
       Four groups consisting of six animals/sex/group received    Day 151 of the study. The cause of the morbidity of this
    DMSOatrespectivedoselevels ofO, 9, 45.5, or90% (w/w) by        animal was determined to be respiratory distress and this was
    dermal application three times a day for 364 consecutive       considered incidental to treatment and not test article-related.
    days. Following 52 weeks of administration, two animals/sex 55 All remaitling animals survived to their scheduled termina-
    at 0, 9, 45.5, and 90% dose levels were maintained for a       tion at the terminal necropsy at 39 Or 52 weeks and the
    4-week recovery period. Two additional groups consisting of    4-week and 4-month recovery periods.
    six animals/sex/group received the control or 90% (w/w)           Ophthalmoscopic examinations were conducted pretest,
    DMSO by dennal application three times a day for 273 con-      and during Weeks 26, 39, and 52. Examinations were per-
    secutive days. Following 39 weeks of administration, two 60 formed by a doctor of veterinary medicine with Diplomate,
    animals/sex at 0 and 90% dose levels were maintained for a 4   American College of Veterinary Ophthalmologists creden-
    month recovery period. The control or test article was admin-  tials.
    istered to all groups at a dose volume of 4.5 mL/dose/appli-      Unexpectedly given the results of earlier studies on non-
    cation site (0.015 mL/cm2 ; 300 cm2 application site) tmtil    primate species, no increased risk for development of lens
    Week 20. Begilming Week 20 the control or test article was 65 opacities or refractive index changes associated with DMSO
    administered to all groups at a dose volume 5.6 mL!dose/       were observed. In fact, no test article-related ophthalmo-
    application site (0.015 mL/cm2 ; 375 cm2 application site).    scopic abnormalities of any kind were detected during the
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 215 of 232 PageID:
                                    8353

                                                          US 8,217,078 Bl
                                  49                                                                    50
    study. One female in the control group (i.e. an animal that had     present invention, comprising the results of study conducted
    not been exposed to DMSO) had a posterior cortical axial            to evaluate the pharmacokinetics of diclofenac sodium, dim-
    cataract with equatorial extrusion at the Week 39 ophthalmo-        ethyl sulfoxide (DMSO) and dimethyl sulfone (the major
    scopic examination. One male at 45.5% DMSO, one male at             metabolite of DMSO) after a single-dose application of a
    90% DMSO, and one control female had conjunctivitis in one          topical diclofenac preparation contai11ing 1.5% diclofenac
    or both eyes only at the pretest examination. No other abnor-       sodium (2-[(2,6-dichlorophenyl)anlino ]benzeneacetic acid,
    malities were detected in any male or female at any of the          monosodium salt), 45.5% DMSO, ethanol, propylene glycol,
    ophthalmoscopic examinations.                                       glycerine, and water ("Topical Diclofenac Solution"
                                                                        [Pe1111said® (Nuvo Research line, Mississauga, Ontario
                               Example 6                             10 Canada]). The study followed a one-period, open-label,
                                                                        single-dose design in 18 nom1al, healthy, non-smoking male
           Ophthalmologic Effects of DMSO in a 26-Week                  and female subjects in which Topical Diclofenac Solution
           Dermal Toxicity Study in Sprague-Dawley Rats                 was applied to both knees of each subject in the study.
               Followed by a 12-Week Recovery Period                       The 18 subjects enrolled in the study consisted of 14 Cau-
                                                                     15 casians, 1 Asian and 3 Blacks (9 males, 9 females) with a
       This Example describes novel preclinical information that        mean age of33 years (range=22 to 46 years). The subjects'
    may, for example, be provided to a user according to the            meanheightwas 174 em (range=163 to 188 em) and the mean
    present invention, comprising the results of a study conducted      weight was 75 kg (range=54 to 90 kg).
    to evaluate the toxicity of test articles containing DMSO after        Each subject was instructed to apply Topical Diclofenac
    dermal administration for 26 weeks, three times per day, and 20 Solution to clean knees, total40 drops per knee: 10 drops each
    to evaluate reversibility of any observed changes following a       to the front of the knee. to each side and to the back. To avoid
    12-week post-dose observation period. Three treatment               spillage, the subject was instructed to apply and spread 5
    groups of 25 male and 25 female CDR! [Crl:CDrR! (SD)]               drops at a time, directly onto his/her hand, and then onto the
    Sprague-Dawley rats were administered the test article, Dim-        site. The application left the area visibly wet for several
    ethyl sulfoxide (DMSO), at respective dose concentrations of 25 minutes and was applied without massaging. Topical
    9, 45.5, and 90% w/w. One additional group of25 animals/sex         Diclofenac Solution was applied to both knees; the order of
    served as the control and received the vehicle. Compositions        application did not matter. After each dosing, subjects waited
    of the test articles and control were identical to those used in    for the application site to dry prior to dressing. The subject
    Example 5 above. The vehicle or test article was administered       washed his/her hands after complete application to both
    to all groups epicutaneously, three times a day for 182 con- 30 knees.
    secutive days, at a dose volume of0.65 mL. Prior to test article       The subjects fasted overnight for at least ten hours prior to
    administration, the hair was clipped from the back of the           Topical Diclofenac Solution administration and at least four
    animal comprising no less than 10% of the total body surface        hours following dosing. The treatments were admi11istered
    area as estimated using the equation A=9.6*W213 where A             topically to both knees in each subject starting at 7:00a.m.
    was the estimated total body surface in square centimeters 35 (0.0 hour), with three-minute intervals between subjects.
    and W was the body weight in grams. The area was adjusted              Subjects were informed not to take any prescription medi-
    weekly by group based on the mean body weight for each sex.         cation, other than honnonal contraceptives, from at least 14
    Following 182 days of administration, 5 animals/sex/group           days prior to the study until the endofthe study. Subjects were
    were maintained for a 12-week recovery period.                      also advised not to take any over-the-counter drugs, except for
       Observations for morbidity, mortality, injury, and the avail- 40 spermicidal barrier contraceptive products, for at least seven
    ability of food and water were conducted twice daily for all        days prior to the study up until the end of the study. They were
    animals. Ophthalmoscopic examinations were conducted                specifically reminded that this included cold preparations,
    pretest on all animals and prior to the terminal and recovery       Aspirin®, Bufferin®, Excedrin®, Anacin®, etc., herbal/
    necropsies on all main study animals by doctors of veterinary       natural supplements, vitamins and antacid (magnesium and
    medicine with Diplomate, American College of Veterinary 45 aluminum hydroxide) preparations. Subjects were informed
    Ophthalmologists credentials.                                       that concomitant medication, whether prescription or over-
       One female at 9% DMSO (Low dose). two males and one              the-counter, was not permitted during the study. Subjects
    female at 90% DMSO (High dose) died, and two females at             were requested to abstain from grapefruit products, xanthine-
    45.5% DMSO (Mid dose), and one female at 90% DMSO                   and caffeine-containing foods and beverages (this included
    were euthanized in extremis during the study. None of these 50 tea, coffee, chocolate and cola drinks) for 24 hours prior to the
    deaths were considered to be related to treatment.                  start of the study and until after the final blood draws for the
       No test article-related ophthalmoscopic abnormalities            study. Subjects were also requested to abstain from alcohol
    were detected in any animal during the pretest, terminal, and       products for 48 hours prior to the start of the study and until
    recovery ophthalmoscopic examinations. At the recovery              after the final blood draws of the study.
    ophthalmoscopic examination, one female at 45.5% DMSO 55               Blood samples were collected at 0.0 hour (pre-dose), 1.0,
    was seen with superficial keratitis in both eyes. Tllis isolated    2.0, 4.0, 6.0, 8.0, 10.0, 12.0, 24.0, 36.0, 48.0, 60.0, 72.0, 96.0,
    common finding was considered incidental to treatment.              120.0, 144.0, 168.0, 192.0, 216.0 and 240.0 (hours post-
                                                                        dose).
                               Example 7                                   The blood samples were kept in an ice bath prior to cen-
                                                                     60 trifugation and were centrifhged as soon as possible (within
           A Single-Dose Pharmacokinetic Evaluation of a                30 minutes) under refrigerated conditions at 3,500 rpm for
          Topical Solution Containing 1.5% w/w Diclofenac               seven minutes. The plasma was removed from each blood
            Sodium and 45.5% DMSO in Normal Healthy                     collection tube and aliquotted into pre-cooled, labeled, dupli-
               Non-Smoking Male and Female Subjects                     cate, polypropylene tubes, kept in an ice bath prior to being
                                                                     65 flash frozen in an upright position, in a dry-ice acetone bath
       This Example describes novel clinical infonnation that           and stored frozen at minus (-) 70° C.±1 0° C. The tubes were
    may, for example, be provided to a user according to the            labeled with the study number, dosing period, subject num-
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 216 of 232 PageID:
                                    8354

                                                              US 8,217,078 Bl
                                    51                                                                        52
    ber, study period, sampling time point, aliquot/tube number                                           Example 8
    and matrix. Upon completion of the clinical portion of the
    study, all samples were transported in dry-ice to an analytical                 A Multi-Dose Pharmacokinetic Evaluation of a
    laboratory (Maxxam Analytics Inc.) for the analysis of                         Topical Solution Containing 1.5% w/w Diclofenac
    diclofenac sodium, dimethyl sulfoxide and dimethyl sulfone                       Sodium and 45.5% DMSO in Normal Healthy
    using validated analytical methods.                                                Non-Smoking Male and Female Subjects
        Dimethyl sulfone was below the limit of quantitation in
    most samples and therefore phannacokinetic analysis was not                        This Example describes novel clinical infonuation that
    conducted. Graphs showing the average measured diclofenac 10                    may,   for example, be provided to a user according to the
    sodium concentration and DMSO concentration in the sub-                         present invention, comprising the results of a study conducted
    jects as a function of time are provided in FIGS. 3 and 4.                      to evaluate the pharmacokinetics of diclofenac sodium, dim-
                                                                                    ethyl sulfoxide and dimethyl sulfone after multiple doses of a
        Phanuacokinetic analysis of the data was conducted using
                                                                                    topical diclofenac preparation containing 1.5% diclofenac
    WinNonlin version 4.0 (Pharsight, Carry, US). The principal                     sodium (2-[(2.6-dichlorophenyl)amino ]benzeneacetic acid,
    statistical software used was SAS®, version 8.00 (Statistical 15
                                                                                    monosodium salt), 45.5% DMSO, ethanol, propylene glycol,
    A.nalysis System). Results for pharmacokinetic parameters
                                                                                    glycerine, and water ("Topical Diclofenac Solution"
    are summarized in the following tables.                                         [Peilllsaid® (Nuvo Research Inc, Mississauga, Ontario
                                                                                    Canada]) which, as in the previous Example 7, was applied to
                                                                                 20 both knees of each subject. This study followed a one-period,

            Single-dose Pharmacokinetic Parameters for Diclofenac Sodium
                                                                                    open-label, multiple-dose design in 20 normal healthy, non-
                                           knee                                     smoking male and female subjects.
                                                                                       Twenty subjects (1 0 males, 10 females) with a mean age of
                                          PENNSAID ®TOPICAL SOLUTION                33 years (range=18 to 43 years) were enrolled in this study.
          Pharmacokinetic                                   n 18                 25 The subjects' mean height was 171 em (range=157 to 185 em)
          Parameter                                      Mear1 :t SD                and their mean weight was 69 kg (range=48 to 87 kg). The
                                                                                    subjects consisted of 15 Caucasians, 3 Asians and 2 Blacks.
         AUC 04 (ng · hr/mL)                          177.51 :t 72.62                  The treatment (40 drops, applied on the knee four times a
         AUCo-in/(ng · hr/mLJt                        196.27 :t 68.47               day) was carried on for 7 days, and the phanuacokinetic
          Cmax (ng/mL)                                   8.05 :t 5.94            30 profile was characterized on Day 8 after the 29th administra-
         Tm=(hr)                                       11.01 6.44                   tion. Each dose ofTopical Diclofenac Solution was applied to
          tl/2 (hr)t                                   36.72 20.82                  the knee following the procedure described previously in
          Kc~ (hr- 1)t                                 0.024 :t 0.0098              Example 7.
          CLIF (Lihr)t                                244.66 :t 84.72                  Doses were applied either at a clinic or at home according
                                                                                 35 to following schedule:
    tn = 13                                                                            Days 1 and 6: The subjects applied the first dose ofTopical
                                                                                    Diclofenac Solution to both knees in the clinic under super-
                                                                                    vision. The subjects applied the second, third and fourth doses
                                                                                    of Topical Diclofenac Solution at home.
            Single-dose Pharmacokinetic Parameters for Dimethyl Sulfoxide        40    Days 2 to 5: The subjects applied all four doses of Topical
                                  (for two knee application)                        Diclofenac Solution at home.
                                                                                       Day 7: The subjects applied the first dose of Topical
                                       PENNSAID ®TOPICAL SOLUTION                   Diclofenac Solution in the clinic and then exited. The second
          Pharmacokinetic                                   n = 18
          Pararnete1·                                    Mean :t SD                 and third doses were applied at home. The fourth dose was
                                                                                 45 applied in the clinic.
         ~"'~o-t '" 5 · hr/mL)                         8.719 :t 4.611                  Day 8: The subjects applied the last dose of Topical
         "'-"'-"o-,·nr\1"5 ·lu'/mL)t                   9.174 :t 3.751
                                                       0.475 :t 0.335
                                                                                    Diclofenac   Solution to both knees in the clinic following an
                                                       8.451 :t 2.708               ovemight fast of at least ten hours.
                                                       8.422 :t 7.307                  Blood samples were drawn according to the following:
                                                      0.1136 :t 0.0470           50    Days 1 and Day 6: 0.0 hour (pre-dose).
                                                      163.49 :t 64.14
                                                                                       Day 7: 0.0 hour (pre-dose).
    tn= 9                                                                              Day 8: 0.0 hour (pre-dose), 1.0, 2.0, 4.0, 6.0, 8.0, 12.0,
                                                                                    24.0, 36.0, 48.0, 60.0, 72.0, 96.0, 120.0, 168.0, 216.0, 264.0,
        Meanings of each of the parameters in the tables above are                  312.0 and 360.0 hours post 0.0 hour post-drug administration
    as follows:                                                                  55 Day 8.
                                                                                       Blood san1ples were processed and analyzed using the
                                                                                    methods described previously in Example 7.
                                                                                       One subject dropped out of the study for personal reasons
                       Area under the concentration-time curve from time zero to    so plasma concentration data from the 19 subjects who
                       time of last sampling time point
                       Area under the concentration-time curve from time zero to 60 received the Topical. Diclofenac Solution and who completed
                       infinity                                                     the study period were used in the pharmacokinetic analyses.
                       Maximwn plasma concentration after dosing                       Steady state was achieved on Day 6 (after 20 doses) for the
                       Time to occurrence of Cmax                                   3 molecular entities analyzed. On Day 8, diclofenac sodium
                       Appal"ent elimination half-life
                       Apparent elimination rate constant
                                                                                    remained measurable up to 360 hours post-dose in 11 sub-
                       Apparent total body clearance                             65 jects. On Day 8, DMSO and dimethyl sulfone (''DMson
                                                                                    remained measurable up to 120 hours (10 subjects) and 216
                                                                                    hours (9 subjects) post-dose, respectively.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 217 of 232 PageID:
                                    8355

                                                               US 8,217,078 Bl
                                     53                                                                   54
       Plots of Diclofenac, DMSO and DMS0 2 concentrations                  mean        of 2270 ng/mL for subjects taking 50 mg of oral
    are provided in FIGS. 5-7.                                              diclofenac TID. Assuming the effects of additional doses of
       The pharmacokinetic analysis was conducted using Win-                Topical Diclofenac Solution are additive, one would conclude
    Nonlin Version 4.0 (Pharsight, Carry, US). The principal sta-           from the AUC 0 _1nt provided in Example 7 that the Topical
    tistical software used was SAS®, version 8.00. Results for              Diclofenac Solution osteoarthritis dose results in only about
    important pharmacokinetic parameters are provided in the                20% of the systemic exposure to the active provided by the
    tables below.                                                           oral drug. The fact that Topical Diclofenac Solution is shown
                                                                            to be comparable in efficacy to oral diclofenac sodium for
                                                                            treatment of osteoarthritis (see Example 1) is very surprising
                                                                         10 in view of these facts, especially as it is widely believed that
        Multiple-Dose Pharmacokinetic Parameters for Diclofenac Sodium      NSAIDs, such as diclofenac, exert their analgesic effects both
                          (for two-knee application)
                                                                            locally and centrally. Using the data from Example 8 it also
                                 PENNSAID riD TOPICAL SOLUTION              can be computed that cmax of orally administered diclofenac
        Pharmacokinetic                        n 19                         is more than one hundred fold higher than Cmax for Topical
        Parameter                           Meru1 ± SD                   15 Diclofenac Solution.
                                           695.398 ± 348.866
                                           745.192 ± 374.740                                          Example 9
                                            19.415 ± 9.326
                                             4.005 ± 6.541                       Assessment of Drying Time Following Application
                                            78.972 ± 38.133
                                            0.0105 ± 0.0040              20       of a Topical Formulation Containing Diclofenac
                                                                                            Sodium to Normal Subjects
    tn= 15
                                                                                The objective of this study was to assess the drying time of
                                                                             a topical diclofenac solution containing 1.5% diclofenac
                                                                          25 sodium, 45.5% DMSO, ethanoL propylene glycoL glycerine,
         Multiple-Dose Pharmacokinetic ParaJneters for Dimethyl Sulfoxide    and water ("Topical Diclofenac Solution") when applied
                                 (for two-knee application)                  topically to the skin surface of the knee following a single
                                                                             dose application.
                                                 PENNSAID ®TOPICAL              Using a pre-designed template. the knee application area
                                                         SOLUTION                     2
          Pharmacokinetic                                   n = 19        30 (I 00 cm centered just above the patella) was outlined in ink
          Pru·aJneter                                    Mean± SD            (the choice of knee was assigned by randomization). Each
                                                                             subject received an applied dose, 0.15 mL, of Topical
                                                      31.887 ± 15.520
                                                      35.979 ± 15.419
                                                                             Diclofenac Solution to the 100 cm 2 area on Ins/her knee and
                                                        1.206 0.575          spread the test article using his/her fingers to completely
                                                        3.842 ± 3.468     35 cover the application area just up to the margin of the demar-
                                                      43.123 ± 22.968        cation (this amount of drug product corresponding to a typical
                                                      0.0213 0.0124
                                                                             areal dose of Topical Diclofenac Solution used in the treat-
    tn = 13                                                                  ment of osteoarthritis of the knee). The applied dose remained
                                                                             un-occluded throughout the study duration.
                                                                          40    Visual and blotted assessments were made at pre-dose,
                                                                             inm1ediately following dose application (approximately 2
                                                                             minutes post-dose) and at 5, 10, 15, 20, 30, 60, 120, and 240
           Multiple-Dose Pharmaeokinetic ParaJneters for Dimethyl Sulfone
                                 (for two-knee application)                  minutes after dose application to the treated knee. Assess-
                                                                             ments were conducted on 9 separate 3 cmx3 em test sites
                                                                                                2
                                                 PENNSAID ®TOPICAL        45 within the 100 cm dosed area. The pre-dose assessment was
                                                         SOLUTION            performed on the test site in the center of the dosed area. The
          Pharmacokinetic                                   11 = 19
          Parruneter                                     Mean :t SD          9 post-dose assessments were conducted on the 9 test sites, in
                                                                             sequence starting at one corner. Only one test site was
         nu"- 0 ., \ u" · hr!mL)                    1525.292 ± 1065.245      assessed for each post-dose assessment time point.
         "'~~o-,•nt''"". hr/mL)t                    2339.190 :t 1276.555
                                                      18.033 :t 10.587
                                                                          50    Four parameters were defined in the protocol to assess
                                                        9.397 :t 13.341      drying time. These included the weight of the tissue/vial
                                                      61.287 :t 18.376       combination, Visual Appearance Score, Visual Adhesion
                                                      0.0123 ± 0.0039        Score and Visual Adsorption Score as explained further
    tn= 11                                                                   below. The visual examination of the test sites was scored
                                                                          ss using the scale below.
        Quantities reported in the above tables have the meanings            Visual Appearance Score:
    provided previously in Example 7. Origin of time (t=O) for                  1. Wet, shiny with a clear look of physical solution being
    calculation of AUC 0 _1 and AUC 0 _1nfis time of the last dose of        present,
    drug on Day 8.                                                              2. Damp, slliny, visible film with no visible solution
       It will be appreciated that the data provided in Exan1ples 7 60 present,
    and 8 evidence that the systemic exposure to diclofenac                     3. Damp, matte appearance, visible film,
    caused by use of Topical Diclofenac Solution to treat osteoar-              4. Dry, matte appearance, visible film,
    thritis of the knee (40 drops per knee QID) is much lower than              5. Dry, no visible film
    that caused by a typical oral dose of diclofenac used in treat-             Following the visual assessment, the dosed site was tested
    ment of osteoarthritis (e.g. 50 mg TID). For example the label 65 for adsorption or adherence to a 3 cmx3 em square laboratory
    ofVoltaren® Gel (http://www.voltarengel.com/pdf/Voltaren-                tissue (e.g. KimWipes). Using forceps, the tissue was
    PI-10-19.pdf) reports mean AUC 0 _24=3890 ng·hlmL and                    removed from a sealed, previously weighed vial and gently
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 218 of 232 PageID:
                                    8356

                                                                     US 8,217,078 Bl
                                        55                                                                      56
    placed onto the test site. After five seconds, the tissue was                                       Example 10
    removed using forceps by one comer while monitoring its
    adhesion to the site. Adherence of the tissue to the test site was             Comparison of Elimination Constant after Single and
    scored using the seale below.                                                    Multiple Dose Application of a Topical Solution
    Visual Adhesion Score:                                                           Containing 1.5% Diclofenac Sodium and 45.5%
                                                                                                        DMSO
       I. Distinct adhesion to the full test site,
       2. Light to moderate adhesion to all or a portion of the test        It has been discovered that the elimination constant Ket
    site,                                                                (which is inversely related to the halflife through Ke1=ln(2)/
                                                                      10 T112 ) for the topical diclofenac solution of Examples 7 and 8
       3. No adhesion to the test site.
                                                                         is highly statistically significantly different depending on
    The tissue was visually inspected for fluid adsorption to the        whether the solution is applied as a single dose or as multiple
    tissue and the adsorption was scored using the scale below.          doses. In general it would be reasonable to assume that the
    Visual Adsorption Score:                                             effects of multiple doses of the topical solution would have
                                                                      15 additive effects on the pham1acokinetics with the result that
        I. Demonstrates fluid adsorption to the tissue to the size of
                                                                         the half-life and Kez would be independent of dosage regime.
    the test area,                                                       Intriguingly, Examples 7 and 8 demonstrate that the apparent
       2. Demonstrates fluid adsorption to the tissue to a size less     plasma halflife of diclofenac is increased after multiple doses
    than the test area,                                                  of the solution are applied as is evident in the log-linear plot
       3. Demonstrates no fluid adsorption to the tissue.             20 showing average diclofenac plasma concentration after dis-
                                                                         continuance of application of drug following the protocols of
       The tissue was placed back into its labeled vial and the vial     the previous examples. The table below provides the halflife
    was sealed to prevent evaporation. Within 2 hours of collec-         and elimination constant for each subject in the studies (NC
    tion the vial was re-weighed and the weight recorded.                indicates that half life was not detem1ined due to difficulties
       A total of 12 healthy adult male and female subjects par- 25 in identifYing an exponential tail in the experimental data).
    ticipated in the study. The study was successfully completed
    by a1112 subjects enrolled. Data for these subjects were used
    in the statistical analysis, except where one subject was
                                                                                                                     Single Dose
    removed as a statistical outlier.
                                                                      30
       The results of this study indicate that dryness occurred as         Subject # T 112 (hr)             Subject# T112 (hr)
    early as 10 minutes post-dose in most subjects, as shown by                        68.8      0.010075              75.96     0.009125
    visual appearance of dryness (7/11 subjects), no adhesion of                       66.85     0.010369               NC          NC
    the tissue to the test site (11/11 subjects) and no fluid adsorp-          3        NC          NC                 19.61     0.035347
    tion to the tissue (10112 subjects). A summary of the drying 35            4       43.41     0.015967       4      21.75     0.031869
                                                                                        NC          NC                  NC          NC
    time data for eaeh of the drying time parameters is shown                         128.94     0.005376               NC          NC
    below:                                                                              NC          NC                 23.63     0.029333
                                                                                             72.74   0.009529               NC        NC
                                                                                     10      90.29   0.007677              21.72   0.031913
                                                                                     11      NC         NC           10    66.44   0.010433
        Parameter                            Time, minutes [Mean (95% CI)]   40      12     151.36   0.004579        11     NC        NC
                                                                                     13      50.18   0.013813        12    34.21   0.020262
        Visual appearance of dryness               15.0 (9.6-20.4)                   14      46.64   0.014862        13    41.65   0.016642
        No adhesion to the test site               10.0 (NAJ                         15      86.11   0.00805         14    28.13   0.024641
        No fluid adsorption to the tissue          10.4 (8.8-12.1)                   16      77.48   0.008946        15    30.29   0.022884
        Time to 10% or Less of Peak                14.2 (8.3-20.1)                   17      52.36   0.013238        16    23.23   0.029838
        Weight Recovered                                                     45      18      43.36   0.015986        17    71.69   0.009669
                                                                                     19     157.25   0.004408        18    19      0.036481
                                                                                     20      48.81   0.014201
                                                                                    Max     157.3    0.0160          Max   76.0    0.0365
        Considering the data for all the study parameters, it can be                Min      43.4    0.0044  Min    19.0    0.0091
    concluded that the mean drying time for Topical Diclofenac                     Mean      79.0    0.0105 Mean    36.7    0.0237
    Solution following a single dose application was approxi- 50                  Std Dev    38.1    0.0040Std Dev  20.8    0.0098
    mately 15 minutes, but there was considerable variability
    among subjects with dryness occurring as early as 10 minutes           The distribution of the elimination constant Kez is well
    in most subjects.                                                   represented by a Normal distribution as shown in FIG. 9,
        Beyond the 30 minute time point all visual appearance           which compares the cumulative distribution function of the
    scores were 5 for all subjects, visual adsorption scores were 3, 55 Kez values from each study with cumulative distribution func-
    and differences between postdose and predose tissue/vial            tions for a Gaussian using mean and standard deviation (Std
    weights were measured as 0.00 mg. Once the drug product             Dev) values provided in the table above. A t-test was per-
    has dried on the surface of the skin it is anticipated that         formed and Kez was found to be highly significantly different
    residual unabsorbed diclofenac will be crystallized on the          (p<O.OOl) depending on whether a single or multiple dosing
    skin surface will not be bioavailable. Therefore a patient 60 regime of the topical solution was applied.
    being treated with Topical Diclofenac Solution can wash and            The reasons for the differences in diclofenac half life and
    shower after the product is dried without materially impacting      Kez on dosing regime are at present unknown. In general drugs
    the efficacy of the drug. The results ofthe study indicate that     with longer halflives will tend to show more uniform plasma
    it is appropriate to instruct a user that a patient using Topical   concentrations as a fimction of time and may have improved
    Diclofenac Solution should wait at least 30 minutes after 65 safety profiles by reducing the maximum plasma concentra-
    putting Topical Diclofenac Solution on the knee(s) before           tion that a patient experiences and allowing efficacy to be
    taking a shower or bath.                                            achieved with a lower overall dose. This point is particularly
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 219 of 232 PageID:
                                    8357

                                                               US 8,217,078 Bl
                                     57                                                                         58
    important for patients that will use a relatively high risk drug          lated over the dosing interval of0-6 hours, and for Solaraze@,
    such as diclofenac on long-tenn basis to treat a chronic con-             AUCT(ss) was calculated over the dosing interval of 0-12
    dition such as osteoarthritis. It will therefore be appreciated           hours. For each treatmentAUCrcssJ was adjusted to a 24-hour
    that the extension of half-life observed with the multiple                exposure parameter, AUC 0 _24 css) (calculated as AUCrcss)x2
    dosing regime of the topical diclofenac solution containing               for Solaraze@ and AUCT(ss)x4 for PENNSAID\El), so that a
    DMSO is an unexpected but fortuitous property of the solu-                comparison between the exposure of each treatment was
    tion.                                                                     assessed on a daily basis.
                                                                                 Steady-state of plasma diclofenac was attained within 8
                               Example 11                                     days for PENNSAID® and within 28 days for Solaraze@.
                                                                           10
                                                                              The calculated cmax(ss)l cmin(ss)l cavg(ss)l AUCT(ss) and
        A Multi-Dose, Comparative, Exposure Study Under
                                                                              AUC 0 _24 cssJ of diclofenac were substantially lower and
          Maximum use Conditions Per Labeling of Both
                                                                              Tmax(ss) was shorter following the maximum therapeutic dose
         Peunsaid@ Topical Solution (Diclofenac Sodium
        Topical Solution 1.5% w/w and 45.5% w/w DMSO)                         of PENNSAID\El compared to that observed following the
           and Solaraze@ Gel (Diclofenac Sodium 3%)                        15
                                                                              application of Solaraze@ as per label as sunnnarized in the
                                                                              table below.
       A study was to conducted compare the exposure under
    maximum use conditions per labeling of diclofenac sodium
    following multiple applications of PENNSAIDCID Topical
    Solution (diclofenac sodium topical solution) 1.5% w/w and 20
    Solaraze<ID Gel (diclofenac sodium3%).
       Tbe study was a two-period, open-label, non-randomized,                                                        PENNSAID®         Solaraze ®
                                                                                        PK Parameter                     N 30             N 27
    crossover study. All subjects applied PENNSAID\El to both
    knees for 1 week during Period 1 and Solaraze@ to their                                        (ng/mL)              35.0 (28.6)     125.9 (119.3)
    actinic keratosis lesions for 4 weeks during Period 2. A 25                                    (ng/mL)              16.7 (10.4)      30.4 (19.4)
    3-week washout period was observed between the last appli-                                     (ng/mL)              24.2 (16.3)      72.3 (63.5)
                                                                                                   (ng ·h/mL)          144.9 (98.0)     868.1 (762.2)
    cation of Period 1 and the first application of Period 2.                    ""'u'~o. ?.;<s.<> (ng · h/mL)         579.7 (392.2)   1736.3
       Thirty subjects were enrolled into the study. Thirty subjects                               (h)                     1.0
    completed Period 1 and 27 subjects completed Period 2.
                                                                           *uncorrected for surface area,
    Pharmacokinetic and statistical analyses were performed on 30 **median            forT max(SS)
    data obtained from the 27 subjects that completed the entire
    study.                                                                     The analysis of the PENNSAID\El/Solaraze@ ratio (and
       The study population consisted of male and female sub-              corresponding 90% confidence interval [CI]) of the geomet-
    jects diagnosed with actinic keratosis (AK) affecting at least         ric mean for In-transformed Cmax(ss) andAUC 0 _24 css) for both
    500 cm2 of skin on the face, head, scalp, neck, shoulders, 35 uncorrected and corrected for surface area data (i.e. making
    anns, and/or upper tnmk, not necessarily continuous, of                comparison C,ax(ssJ and AUC 0 _24 cssl per unit area of skin
    which at least 100 cm2 of the total affected area was on the           treated) revealed the rate and extent of bioavailabilty of
    face, head or scalp. Subjects were required to have a total of
                                                                           diclofenac following the maximum therapeutic dose of
    at least 20 non-hypertrophic AK lesions on all areas com-
                                                                           PENNSAID\El were approximately lj, that ofSolaraze@, with
    bined and a total of at least 6 non-hypertrophicAK lesions on 40
                                                                           upper confidence limits well below the 80-125% range.
    the face, head or scalp.
       During Period 1 subjects applied 40 drops (approx. 1.2
    mL) q.i.d. of PENNSAID® Topical Solution (diclofenac
    sodium topical solution) 1.5% w/w (Novo Research Inc.) to                        Mean Relative Bioavailability Pharmacokinetic Parameters*
    each knee, 80 drops total per application, on Days 1 to 7 and 45                                        (In transfonned. N = 27)
    dosed once on the morning of Day 8.
                                                                           Parameter             PENNSAID®              Solaraze ®   Ratio,% (90% CI)
       During Period 2 subjects applied 0.02 g/cm2 b.i.d of
    Solaraze® Gel (diclofenac sodimn 3%) to the area of skin                                                       Uncorrected
    affected by actinic keratosis, up to a maximum of 1000 cm2
                                                                                                       26.9                91.8            29.4
    area on Days 1 to 27 and once on the morning of Day 28.             50 Cmax(SS)
                                                                                                                                        (21.7-39.7)
       Using a validated HPLC method, plasma diclofenac                    AUCo-24(SSJ               474.2              1346.2             35.2
    sodium was analyzed from blood samples collected at the                                                                             (27.6-45.0)
    following timepoints (relative to first dose of the day):
       Period 1 (PENNSAID®):
                                                                           Cm=(SS)                      0.025               0.0739         34.2
    Day 1: 0.0 hour (pre-dose)                                          55                                                              (25.0-46.9)
    Day 6 and 7: 0.0 hour (pre-dose)                                       AUCo-24(SSl                  0.39                1.24           31.5
    Day 8: 0.0 hour (pre-dose), 0.5, 1.0, 1.5, 2.0, 2.5, 3.0, 3.5, 4.0,                                                                 (24.4-40.7)
    5.0 and 6.0 hour                                                       *least square mean
       Period 2 (Solaraze\El):
    Day 1: 0.0 hour (pre-dose)                                          60
    Day 26 and 27: 0.0 hour (pre-dose)                                                                        ATTACHMENT
    Day 28: 0.0 hour (pre-dose), 1.0, 1.5, 2.0, 2.5, 3.0, 3.5, 4.0,
    5.0, 6.0, 8.0, 10.0 and 12.0 hour                                      HIGHLIGHTS OF PRESCRIBING INFORMATION
       Pham1acokinetic parameters for plasma diclofenac sodium             These highlights do not include all the information needed to
    were calculated for each treatment period by standard non- 65 use PENNSAIDciD Topical Solution safely and effectively.
    compartmental methods: Cmax(ssJ' Cmtn(ssJ' Cavg(ssJ'AUCrcssJ•          See full prescribing infonnation for PENNSAID Topical
    AUC 0 _24 cssJ• Tmax(ssJ· For PENNSAID\El,AUCrcssJ was calcu-          Solution.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 220 of 232 PageID:
                                    8358

                                                         US 8,217,078 Bl
                                 59                                                                  60
    PENNSAID Topical Solution (diclofenac sodium topical                PENNSAID Topical Solution in patients with known CV
    solution) 1.5% w/w is for topical use only.                         disease or risk factors for CV disease. (5.1)
    Initial U.S. Approval: 1988                                            NSAIDs can cause serious gastrointestinal (GI) adverse
    WARNING: CARDIOVASCULAR AND GASTROINTES-                            events including inflammation, bleeding, ulceration, and per-
    TINAL RISK                                                          foration. Prescribe. PENNSAID Topical Solution with cau-
    See full prescribing information for complete boxed warning.        tion in those with a prior history of ulcer disease or gas-
    Cardiovascular Risk                                                 trointestinal bleeding. (5.2)
       Non steroidal anti-inflammatory drugs (NSAIDs) may                  Elevation of one or more liver tests may occur during
    cause an increased risk of serious cardiovascular thrombotic        therapy with NSAIDs. Discontinue PENNSAID Topical
                                                                     10 Solution immediately if abnormal liver tests persist or
    events, myocardial infarction, and stroke, which can be fatal.
    Patients with cardiovascular disease or risk factors for cardio-    worsen. (5.3)
    vascular disease may be at greater risk. ((5.1)                        Hypertension can occur with NSAID treatment. Monitor
       PENNSAID Topical Solution is contraindicated for the             blood pressure closely with PENNSAID Topical Solution
    treatment of peri-operative pain in the setting of coronary         treatment. (5.4)
                                                                     15    Use PENNSAID Topical Solution with caution in patients
    artery bypass graft (CABG) surgery. (4)
    Gastrointestinal Risk                                               with fluid retention or heart failure. (5.5)
       NSAIDs, including PENNSAID Topical Solution, cause                  Long-tern1 administration of NSAIDs can result in renal
    an increased risk of serious gastrointestinal adverse events        papillary necrosis and other renal injury. Use PENNSAID
    including bleeding, ulceration, and perforation of the stom-        Topical Solution with caution in patients at greatest risk of
                                                                     20 this reaction, including the elderly, those with impaired renal
    ach or intestines, which can be fatal. These events can occur
    at any time during use and without warning symptoms. Eld-           function, heart failure, liver dysfunction, and those taking
    erly patients are at greater risk for serious gastrointestinal      diuretics and ACE inhibitors. (5.6)
    events. (5.2)                                                          Anaphylactoid reactions may occur in patients with the
                                                                        aspirin triad or in patients without prior exposure to
                    INDICATIONS AND USAGE                            25 PENNSAID Topical Solution. E (5.7)
                                                                           NSAIDs can cause serious skin adverse events such as
    PENNSAID Topical Solution is a nonsteroidal anti-inflam-            exfoliative dermatitis, Stevens-Jolmson Syndrome (SJS), and
    matory drug (NSAID) indicated for the treatment of signs and        toxic epidermalnecrolysis (TEN), which can be fatal. (5.8)
    symptoms of osteoarthritis of the knee(s).                             Not for use during pregnancy (5.9)
                                                                     30    Do not administer to patients with aspirin sensitive asthma
    (1)
                                                                        and use with caution in patients with preexisting asthma.
                DOSAGE AND ADMINISTRATION                               (5.10)
                                                                           Avoid exposure of treated knee(s) to natural or artificial
    For the relief of the signs and symptoms of osteoarthritis of       sunlight (5.11)
    the knee(s), the reco11llnended dose is 40 drops on each pain- 35      Avoid contact of PENNSAID Topical Solution with eyes
    ful knee, 4 times a day. (2)                                        and mucosa (5.12)
       Apply PENNSAID Topical Solution to clean, dry skin.                 Avoid concurrent use with oral NSAIDs (5.13)
    (2.1.)
       Dispense PENNSAID Topical Solution 10 drops at a time                               ADVERSE REACTIONS
    either directly onto the knee or first into the hand and then 40
    onto the knee. Spread PENNSAID Topical Solution evenly              The most common adverse events with PENNSAID Topical
    around front, back and sides of the knee. Repeat this proce-        Solution are application site reactions. (6.1)
    dure until 40 drops have been applied and the knee is com-          To report SUSPECTED ADVERSE REACTIONS, contact
    pletely covered with solution. (2.1)                                Mallinckrodt Brand Phannaccuticals, Inc. at 1-800-xxx-xxxx
       Wash hands completely after administering the product. 45 or FDA at 1-800-FDA-1088 or www.fda.gov/medwatch.
       Wait until the area is completely dry before covering with
    clothing or applying sunscreen, insect repellent, cosmetics,                           DRUG INTERACTIONS
    topical medications, or other substances.
       Do not get Pennsaid in your eyes, nose or mouth.                    Concomitant administration of diclofenac and aspirin is
                                                                     50 not generally recommended because of the potential of
               DOSAGE FORMS AND STRENGTHS                               increased adverse effects including increased GI bleeding.
                                                                        (7.1)
       1.5% w/w topical solution (3)                                       Concomitant use of anticoagulants and diclofenac have a
                                                                        risk of serious GI bleeding higher than users of either drug
                       CONTRAINDICATIONS                             55 alone. (7 .2)


       Known hypersensitivity to diclofenac sodium. (4)                           USE IN SPECIFIC POPULATIONS
       History of asthma, urticaria, or allergic-type reactions after
    taking aspirin or other NSAIDs. (4)                                  Pregnancy: Not recommended for usc during pregnancy.
       Use in the perioperative period of coronary artery bypass 60 (8.1)
    graft (CABG) surgery. (4)                                            Nursing Mothers: Use with caution, as it is not known if
                                                                      diclofenac is excreted in human milk. (8.3)
                WARNINGS AND PRECAUTIONS                              See 17 for PATIENT COUNSELING INFORMATION and
                                                                      Medication Guide. Revised: 02/2009
       Serious and potentially fatal cardiovascular thrombotic 65 FULL PRESCRIBING INFORMATION: CONTENTS*
    events, myocardial infarction, and stroke can occur with          WARNING: CARDIOVASCULAR AND GASTROINTES-
    NSAID treatment. Use the lowest effective dose of                 TINAL RISK
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 221 of 232 PageID:
                                    8359

                                                       US 8,217,078 Bl
                                61                                                               62
    INDICATIONS AND USAGE                                         Sections or subsections omitted from the full prescribing
    DOSAGE AND ADMINISTRATION                                     information are not listed.
    2.1 General Instructions                                      FULL PRESCRIBING INFORMATION
    2.2 Special Precautions                                       WARNING: CARDIOVASCULAR AND GASTROINTES-
    DOSAGEFORMSANDSTRENGTHS                                       TINAL RISK
    CONTRAINDICATIONS
                                                                  Cardiovascular Risk
    WARNINGS AND PRECAUTIONS
    5.1 Cardiovascular Thrombotic Events                             Nonsteroidal anti-inflanunatory drugs (NSAIDs) may
    5.2 Gastrointestinal Effects-Risk of GI Ulceration, Bleed-          cause an increased risk of serious cardiovascular throm-
                                                                        botic events, myocardial infarction, and stroke, which
    ing, and Perforation                                       10
    5.3 Hepatic Effects                                                 can be fatal. This risk may increase with duration of use.
    5.4 Hypertension                                                    Patients with cardiovascular disease or risk factors for
    5.5 Congestive Heart Failure and Edema                              cardiovascular disease may be at greater risk [see Warn-
    5.6 Renal Effects                                                   ings and Precautions (5.1 )].
    5.7 Anaphylactoid Reactions                                15    PENNSAID        Topical Solution is contraindicated in the
    5.8 Skin Reactions                                                  peri-operative setting of coronary artery bypass graft
    5.9 Pregnancy                                                       (CABG) surgery [see Contraindications (4)].
    5.1 0 Preexisting Asthma                                      Gastrointestinal   Risk
    5.11 Sun Exposure                                                NSAIDs cause an increased risk of serious gastrointestinal
    5.12 Eye Exposure                                          20       adverse events including bleeding, ulceration, and per-
    5.13 Oral Nonsteroidal Anti-inflanunatory Drugs                     foration of the stomach or intestines, which can be fatal.
    5.14 Corticosteroid Treatment                                       These events can occur at any time during use and with-
    5.15 Inflannnation                                                  out warning symptoms. Elderly patients are at greater
    5.16 Hematological Effects                                          risk for serious gastrointestinal events [see Warnings and
    5.17 Monitoring                                            25       Precautions (5.2)].
    ADVERSE REACTIONS                                             1. Indications and Usage
    6.1 Clinical Studies Experience                                  PENNSAID Topical Solution is a nonsteroidal anti-in-
    6.2 Postmarketing Experience                                        flanu11atory drug (NSAID) indicated for the treatment of
    DRUG INTERACTIONS                                                   signs and symptoms of osteoarthritis of the knee(s).
    7.1 Aspirin                                                30
                                                                  2. Dosage and Administration
    7.2 Anticoagulants
    7.3 ACE-Inhibitors                                               2.1 General Instructions
    7.4 Diuretics                                                    For the relief of the signs and symptoms of osteoarthritis of
    7.5 Lithium                                                         the knee(s ), the recommended dose is 40 drops per knee,
    7.6 Methotrexate                                           35       4 times a day.
    7.7 Cyclosporine                                                 Apply PENNSAID Topical Solution to clean, dry skin.
    7.8 Oral Nonsteroidal Anti-inflammatory Drugs                    To avoid spillage, dispense PENNSAID 10 drops at a time
    7.9 Topical Treatments                                              either directly onto the knee or first into the hand and
    USE IN SPECIFIC POPULATIONS                                         then onto the knee. Spread PENNSAID Topical Solution
    8.1 Pregnancy                                              40       evenly around front, back and sides of the knee. Repeat
    8.2 Labor and Delivery                                              this procedure until 40 drops have been applied and the
    8.3 Nursing Mothers                                                 knee is completely covered with solution.
    8.4 Pediatric Use                                                To treat the other knee, if symptomatic, repeat the proce-
    8.5 Geriatric Use                                                   dure.
    10. OVERDOSAGE                                             45
                                                                     Application of PENNSAID Topical Solution in an amount
    11. DESCRIPTION                                                     exceeding or less than the recommended dose has not
    12. CLINICAL PHARMACOLOGY                                           been studied and is therefore not recommended.
    12.1 Mechanism of Action
                                                                     2.2 Special Precautions
    12.2 Pharmacodynamics
    12.3 Pharmacokinetics                                      50    Avoid   showering/bathing for at least 30 minutes after the
    12.4 Platelets                                                      application of PENNSAID Topical Solution to the
    NONCLINICAL TOXICOLOGY                                              treated knee.
    13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility        Wash   and dry hands after use.
    13.2 Animal Toxicology and/or Pharmacology                       Do not apply PENNSAID Topical Solution to open
    14. CLINICAL STUDIES                                       ss       wounds.
    14.1 Pivotal Studies in Osteoarthritis of the Knee               Avoid contact of PENNSAID Topical Solution with eyes
    16. HOW SUPPLIED/STORAGE AND HANDLING                               and mucous membranes.
    17. PATIENT COUNSELING INFORMATION                               Do not apply external heat and/or occlusive dressings to
    17.1 Medication Guide                                               treated knees.
    17.2 Cardiovascular Effects                                60
    17.3 Gastrointestinal Effects                                    Avoid   wearing clothing over the PENNSAID Topical Solu-
    17.4 Hepatotoxicity                                                 tion-treated knee until the treated knee is dry.
    17.5 Adverse Skin Reactions                                      Protect the treated kneels) from sunlight.
    17.6 Weight Gain and Edema                                       Wait until the treated area is dry before applying sunscreen,
    17.7 Anaphylactoid Reactions                               65       insect repellant, lotion, moisturizer, cosmetics, or other
    17.8 Effects during Pregnancy                                       topical medication to the same knee you have just treated
    17.9 Eye Exposure                                                   with PENNSAID Topical Solution.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 222 of 232 PageID:
                                    8360

                                                          US 8,217,078 Bl
                                  63                                                                   64
    3. Dosage Fonns and Strengths                                             neither of these risk factors. Other factors that increase
       1.5% w/w topical solution                                              the risk of GI bleeding in patients treated with NSAIDs
    4. Contraindications                                                      include concomitant use of oral corticosteroids or anti-
       PENNSAID Topical Solution is contraindicated in patients               coagulants, longer duration of NSAID therapy, smok-
          with a known hypersensitivity to diclofenac sodimn or               ing, use of alcohol, older age, and poor general health
          any other component ofPENNSAID Topical Solution.                    status. Most spontaneous reports offatal GI events are in
       PENNSAID Topical Solution is contraindicated in patients               elderly or debilitated patients and therefore, use special
          who have experienced astlnna, urticaria, or allergic-type           care when treating this population.
          reactions after taking aspirin or other NSAIDs. Severe,          To minimize the potential risk for an adverse GI event, use
          rarely fataL anaphylactic-like reactions to NSAIDs have 10          the lowest effective dose for the shortest possible dura-
          been reported in such patients [see Warnings and Pre-               tion. Remain alert for sigus and symptoms of GI ulcer-
          cautions (5.7, 5.10)].                                              ation and bleeding during diclofenac therapy and
       PENNSAID Topical Solution is contraindicated in the set-               promptly initiate additional evaluation and treatment if a
          ting of coronary artery bypass graft (CABG) surgery                 serious GI adverse event is suspected. For high-risk
          [see Warnings and Precautions (5.1)].                       15      patients, consider alternate therapies that do not involve
    5. Warnings and Precautions                                               NSAIDs.
       5.1 Cardiovascular Thrombotic Events                                5.3 Hepatic Effects
       Clinical trials of several oral COX-2 selective and nonse-          Borderline elevations (less than 3 times the upper limit of
          lective NSAIDs of up to three years duration have shown             the nonnal [ULN] range) or greater elevations of tran-
          an increased risk of serious cardiovascular (CV) throm- 20          saminases occurred in about 15% of oral diclofenac-
          botic events, myocardial infarction (MI). and stroke,               treated patients in clinical trials of indications other than
          which can be fatal. All NSAIDs, including PENNSAID                  acute pain. Of the markers of hepatic function, ALI
          and COX-2 selective and nonselective orally adminis-                (SGPT) is reconnnended for the monitoring of liver
          tered NSAIDS, may have a similar risk. Patients with                injury.
          known CV disease or risk factors for CV disease may be 25        In clinical trials of a oral diclofenac-misoprostol combi-
          at greater risk. To minimize the potential risk for an              nation product, meaningful elevations (i.e., more than 3
          adverse CV event in patients treated with an NSAID, use             times the ULN) ofAST (SGOT) occurred in about 2% of
          the lowest effective dose for the shortest duration pos-            approximately 5, 700 patients at some time during
          sible. Physicians and patients should remain alert for the          diclofenac treatment (ALI was not measured in all stud-
          development of such events, even in the absence of pre- 30          ies).
          vious CV symptoms. Infonn patients about the signs               In an open-label, controlled trial of3,700 patients treated
          and/or symptoms of serious CV events and the steps to               for 2-6 months, patients with oral diclofenac were moni-
          take if they occur.                                                 tared first at 8 weeks and 1,200 patients were monitored
       Two large, controlled, clinical trials of an orally adminis-           again at 24 weeks. Meaningful elevations ofALT and/or
          tered COX-2 selective NSAID for the treatment of pain 35            AST occurred in about 4% of the 3,700 patients and
          in the first 10-14 days following CABG surgery found an             included marked elevations (>8 times the ULN) in about
          increased incidence of myocardial infarction and stroke             1% of the 3,700 patients. In this open-label study, a
          [see Contraindications (4)].                                        higher incidence of borderline (less than 3 times the
       There is no consistent evidence that concurrent use of                 ULN), moderate (3-8 times the ULN), and marked (>8
          aspirin mitigates the increased risk of serious CV throm- 40        times the ULN) elevations ofALT or AS Twas observed
          botic events associated with NSAID use. The concurrent              in patients receiving diclofenac when compared to other
          use of aspirin and NSAIDs, such as diclofenac, does                 NSAIDs. Elevations in transaminases were seen more
          increase the risk of serious GI events [see Wamings and             frequently in patients with osteoarthritis than in those
          Precautions (5.2)].                                                 with rheumatoid arthritis. Almost all meaningful eleva-
       5.2 Gastrointestinal Effects-Risk of GI Ulceration, 45                 tions in transaminases were detected before patients
    Bleeding, and Perforation                                                 became symptomatic.
       NSAIDs, including diclofenac, can cause serious gas-                Abnonnal tests occurred during the first 2 months of
          trointestinal (GI) adverse events including bleeding,               therapy with oral diclofenac in 42 of the 51 patients in all
          ulceration, and perforation of the stomach, small intes-            trials who developed marked transaminase elevations. In
          tine, or large intestine, which can be fatal. These serious 50      postmarketing reports, cases of dmg-induced hepato-
          adverse events can occur at any time, with or without               toxicity have been reported in the first month, and in
          warning symptoms, in patients treated with NSAIDs.                  some cases, the first 2 months ofNSAID therapy.
          Only one in five patients who develop a serious upper GI         Postmarketing surveillance has reported cases of severe
          adverse event on NSAID therapy is symptomatic. Upper                hepatic reactions, including liver necrosis, jaundice, ful-
          GI ulcers, gross bleeding, or perforation caused by 55              minant hepatitis with and without jaundice, and liver
          NSAIDs occur in approximately 1% of patients treated                failure. Some of these reported cases resulted in fa tali-
          for 3-6 months, and in about 2-4% of patients treated for           ties or liver transplantation.
          one year. These trends continue with longer duration of          In a European retrospective population-based, case-con-
          use, increasing the likelihood of developing a serious GI           trolled study, 10 cases of oral diclofenac associated
          event at some time during the course of therapy. How- 60            drug-induced liver injury with current use compared
          ever, even short-tenn therapy is not without risk.                  with non-use of diclofenac were associated with a sta-
       Prescribe NSAIDs, including Petmsaid, with extreme cau-                tistically siguificant 4-fold adjusted odds ratio of liver
          tion in those with a prior history of ulcer disease or              injury. In this particular study, based on an overall num-
          gastrointestinal bleeding. Patients with a prior history of         ber of 10 cases ofliver injury associated with diclofenac,
          peptic ulcer disease and/or gastrointestinal bleeding 65            the adjusted odds ratio increased further with female
          who use NSAIDs have a greater than 10-fold increased                gender, doses of 150 mg or more, and duration of use for
          risk for developing a GI bleed compared to patients with            more than 90 days.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 223 of 232 PageID:
                                    8361

                                                        US 8,217,078 Bl
                                65                                                                   66
     Measure transaminases (ALI and AST) periodically in                    mended in patients with advanced renal disease. If
        patients receiving long-term therapy with diclofenac,               PENN SAID Topical Solution therapy is initiated, close
        because severe hepatotoxicity may develop without a                 monitoring of the patient's renal function is advisable.
        prodrome of distinguishing symptoms. The optimum                 5.7 Anaphylactoid Reactions
        times for making the first and subsequent transaminase           As with other NSAIDs, anaphylactoid reactions may occur
        measurements are not known. Based on clinical trial                 in patients without prior exposure to PENNSAID Topi-
        data and postmarketing experiences, monitor transami-               cal Solution. Do not prescribe PENNSAID Topical
        nases within 4 to 8 weeks after initiating treatment with           Solution to patients with the aspirin triad. This symptom
        diclofenac. However, severe hepatic reactions can occur             complex typically occurs in asthmatic patients who
        at any time during treatment with diclofenac. If abnor- 10
                                                                            experience rhinitis with or without nasal polyps, or who
        mal liver tests persist or worsen, if clinical signs and/or
                                                                            exhibit severe, potentially fatal bronchospasm after tak-
        symptoms consistent with liver disease develop, or if
                                                                            ing aspirin or other NSAIDs [see Contraindications (4)
        systemic manifestations occur (e.g., eosinophilia, rash,
        abdominal pain, diarrhea, dark urine, etc.), discontinue            and Warnings and Precautions (5.10]. Seek emergency
        PENNSAID illllllediately.                                   15
                                                                            help in cases where an anaphylactoid reaction occurs.
     To minimize the possibility that hepatic injury will become         5.8 Skin Reactions
        severe between transaminase measurements, inform                 Do not apply PENNSAID Topical Solution to open skin
        patients of the warning signs and symptoms of hepato-               wounds, infections, inflanlll1ations, or exfoliative der-
        toxicity (e.g., nausea, fatigue, lethargy, diarrhea, pmri-          matitis, as it may affect absorption and tolerability of the
        tus, jaundice, right upper quadrant tenderness, and "flu- 20        drug.
        like" symptoms), and the appropriate action to take if           NSAIDs, including PENNSAID Topical Solution, can
        these signs and symptoms appear.                                    cause serious skin adverse events such as exfoliative
     To minimize the potential risk for an adverse liver-related            dermatitis, Stevens-Johnson Syndrome (SJS), and toxic
        event in patients treated with PENNSAID, use the low-               epidermal necrolysis (TEN), which can be fatal. These
        est effective dose for the shortest duration possible. 25           serious events may occur without warning. Inform
        Exercise caution when prescribing PENNSAID with                     patients about the signs and symptoms of serious skin
        concomitant dmgs that are known to be potentially hepa-             manifestations, and discontinue use of the dmg at the
        totoxic (e.g. acetaminophen, certain antibiotics, antiepi-          first appearance of skin rash or any other signs ofhyper-
        leptics ). Caution patients to avoid taking unprescribed            sensitivity.
        acetaminophen while using Pennsaid.                         30
                                                                         5.9 Pregnancy
     5.4 Hypertension
                                                                         PENNSAID Topical Solution should not be used by preg-
     NSAIDs, including diclofenac, can lead to new onset or
                                                                            nant or nursing women or those intending to become
        worsening of preexisting hypertension, either of which
                                                                            pregnant.
        may contribute to the increased incidence ofCV events.
        Use NSAIDs, including Pennsaid, with caution in 35               5.1 0 Preexisting Asthma
        patients with hypertension. Monitor blood pressure (BP)          Patients with asthn1a may have aspirin-sensitive asthn1a.
        closely during the initiation of NSAID treatment and                The use of aspirin in patients with aspirin-sensitive
        throughout the course of therapy.                                   asthma has been associated with severe bronchospasm,
     Patients taking ACE inhibitors, thiazides or loop diuretics            which can be fatal. Since cross-reactivity, including
        may have impaired response to these therapies when 40               bronchospasm, between aspirin and other nonsteroidal
        taking NSAIDs.                                                      anti-inftannnatory dmgs has been reported in such aspi-
     5.5 Congestive Heart Failure and Edema                                 rin-sensitive patients, do not administer PENNSAID
     Fluid retention and edema have been observed in some                   Topical Solution to patients with this form of aspirin
        patients treated with NSAIDs, including PENNSAID                    sensitivity and use with caution in patients with preex-
        Topical Solution. Use PENNSAID Topical Solution 45                  isting asthn1a.
        with caution in patients with fluid retention or heart           5.11 Sun Exposure
        failure.                                                         Instmct patients to avoid exposure to natural or artificial
     5.6 Renal Effects                                                      sunlight on treated knee( s) because studies in animals
     Use caution when initiating treatment with Pennsaid in                 indicated topical diclofenac treatment resulted in an ear-
        patients with considerable dehydration.                     50      lier onset of ultraviolet light-induced skin tumors. The
     Long-tenn administration ofNSAIDs has resulted in renal                potential effects ofPENNSAID Topical Solution on skin
        papillary necrosis and other renal injury. Renal toxicity           response to ultraviolet damage in humans are not
        has also been seen in patients in whom renal prostaglan-            known.
        dins have a compensatory role in the maintenance of              5.12 Eye Exposure
        renal perfusion. In these patients, administration of an 55      Avoid contact of PENNSAID Topical Solution with eyes
        NSAID may cause a dose-dependent reduction in pros-                 and mucosa. Advise patients that if eye contact occurs,
        taglandin formation and, secondarily, in renal blood                innnediately wash out the eye with water or saline and
        flow, which may precipitate overt renal decompensation.             consult a physician if irritation persists for more than an
        Patients at greatest risk of this reaction are those with           hour.
        impaired renal function, heart failure, liver dysfunction, 60    5.13 Oral Nonsteroidal Anti-inflammatory Dmgs
        those taking diuretics and ACE inhibitors, and the eld-          Concomitant use of oral NSAIDs with PENNSAID Topi-
        erly. Discontinuation ofNSAID therapy is usually fol-               cal Solution resulted in a higher rate of rectal hemor-
        lowed by recovery to the pretreatment state.                        rhage, more frequent abnormal creatinine, urea and
     No information is available from controlled clinical studies           hemoglobin. Therefore, do not use combination therapy
        regarding the use of PENNSAID Topical Solution in 65                with PENNSAID Topical Solution and an oral NSAID
        patients with advanced renal disease. Therefore, treat-             unless the benefit outweighs the risk and conduct peri-
        ment with PENNSAID Topical Solution is not recom-                   odic laboratory evaluations.
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 224 of 232 PageID:
                                    8362

                                                                US 8,217,078 Bl
                                     67                                                                           68
       5.14 Corticosteroid Treatment                                               the following: dryness, erythema, induration, vesicles,
       PENNSAID Topical Solution cannot be expected to sub-                        paresthesia, pruritus, vasodilation, acne, and urticaria.
          stitute for corticosteroids or to treat corticosteroid insuf-            The most frequent of these reactions were dry skin
          ficiency. Abrupt discontinuation of corticosteroids may                   (32%), contact dermatitis characterized by skin
          lead to exacerbation of corticosteroid-response illness.                 erythema and induration (9% ), contact dennatitis with
          For patients on prolonged corticosteroid therapy, taper                  vesicles (2%) and pruritus (4% ). In one controlled trial,
          slowly if a decision is made to discontinue corticoster-                 a higher rate of contact dermatitis with vesicles (4%)
          oids.                                                                    was observed after treatment of 152 subjects with the
       5.15 Inflannnation                                                          combination of PENNSAID Topical Solution and oral
       The pharmacological activity ofPENNSAID Topical Solu- 10
                                                                                   diclofenac. In the open label uncontrolled long-tenn
          tion in reducing inflmnn1ation, and possibly fever, may
                                                                                    safety study, contact dennatitis occurred in 13% and
          diminish the utility of these diagnostic signs in detecting
                                                                                   contact dermatitis with vesicles in 10% of patients, gen-
          complications of presumed noninfectious, painful con-
          ditions.                                                                 erally within the first 6 months of exposure, leading to a
       5.16 Hematological Effects                                        15
                                                                                   withdrawal       rate for an application site event of 14%.
       The effects of PENNSAID Topical Solution on platelet                    Adverse Events Connnon to the NSAID Class.
          function were studied in 10 healthy subjects adminis-                 In controlled trials, subjects treated with PENNSAID To pi-
          tered 80 drops four times a day for 7 days. There was no                 cal Solution experienced some adverse events associ-
          significant change in platelet aggregation following one                 ated with the NSAID class more frequently than subjects
          week of treatment [see Clinical Pharmacology (12.4)]. 20                 using placebo (constipation, diarrhea, dyspepsia, nau-
       Anemia is sometimes seen in patients receiving NSAIDs.                       sea, flatulence, abdominal pain, edema; see Table 1).
          This may be due to fluid retention, occult or gross GI                   The combination of PENN SAID Topical Solution and
          blood loss, or an incompletely described effect upon                     oral diclofenac, compared to oral diclofenac alone,
          erythropoiesis. Check hemoglobin or hematocrit of                        resulted in a higher rate of rectal hemorrhage (3% vs.
          patients on PENNSAID Topical Solution if they exhibit 25                 less than 1%), and more frequent abnonnal creatinine
          any signs or symptoms of anemia or blood loss.                            (12% vs. 7%), urea (20% vs. 12%), m1d hemoglobin
       NSAIDs inhibit platelet aggregation and have been shown                      (13% vs. 9%), but no difference in elevation of liver
          to prolong bleeding time in some patients. Unlike aspi-                  transmninases.
          rin, their effect on platelet function is quantitatively less,        Table 1 lists all adverse reactions occurring in ~ 1% of
          of shorter duration and reversible. Carefully monitor 30                 patients receiving PENNSAID Topical Solution, where
          patients receiving PENNSAID Topical Solution who                         the rate in the PENNSAID Topical Solution group
          may be adversely affected by alterations in platelet func-               exceeded placebo, from seven controlled studies con-
          tion, such as those with coagulation disorders or patients               ducted in patients with osteoarthritis. Since these trials
          receiving anticoagulants.                                                were of different durations, these percentages do not
       5.17 Monitoring                                                   35        capture cumulative rates of occurrence.
       Because serious GI tract ulcerations m1d bleeding can
          occur without warning symptoms in patients taking                                                     TABLE I
          NSAIDs, monitor patients for signs or symptoms of GI
          bleeding. Check CBC and a chemistry profile periodi-                       Adverse Reactions occuning in 2;: 1% of patients treated with
          cally in patients on long-term treatment with NSAIDs. 40                        PENNSAID ®Topical Solution in placebo and oral
                                                                                                        diclofenac-controlled trials.
          Discontinue PENNSAID Topical Solution if abnom1al
          liver tests or renal tests persist or worsen.                                                                     PENNSAID®            Topical
    6. Adverse Reactions                                                                                                   Topical Solution     Placebo
       6.1 Clinical Studies Experience                                      Treatment Group:                                    N = 911         N = 332
                                                                            Adverse Reactiont                                     N(%)           N(%)
       Because clinical trials are conducted under widely varying 45
          conditions, adverse reaction rates observed in the clini-         Dry Skin (Application Site)                          292             17 (5)
          cal trials of a drug cannot be directly compared to rates         Contact Dermatitis (Application Site)                 83              6 (2)
                                                                            Dyspepsia                                             72 (8)         13
          in the clinical trials of another drug and may not reflect        Abdominal Pain                                        54 (6)         10
          the rates observed in practice.                                   Flatulence                                            35 (4)          1
       The data described below reflect exposure to PENNSAID 50 Pruritus (Application Site)                                       34 (4)          7 (2)
          Topical Solution of 911 patients treated between 4 and            Diarrhea                                              33 (4)          7 (2)
                                                                            Nausea                                                33 (4)          3 (1)
          12 weeks (mean duration of 49 days) in seven Phase 3              Pharyngitis                                           40 (4)         13 (4)
          controlled trials, as well as exposure of 793 patients            Constipation                                          29 (3)          1 (<1)
          treated in an open-label study, including 463 patients            Edema                                                 26 (3)          0
          treated for at least 6 months, and 144 patients treated for 55 Rash (Non-Application Site)                              25 (3)          5 (2)
                                                                            Infection                                             25 (3)          8
          at least 12 months. The population mean age was                   Ecchymosis                                            19 (2)
          approximately 60 years, 89% of patients were Cauca-               Dry Skin (Non-Application Site)                       19 (2)
          sians, 64% were females, and all patients had primary             Contact Dermatitis. vesicles                          18 (2)
          osteoarthritis. The most common adverse events with               (Application Site)
                                                                            Paresthesia (Non-Application Site)                    14 (2)          3 (<1)
          PENNSAID Topical Solution were application site skin 60 Accidental             Injury                                   22 (2)          7 (2)
          reactions. These events were the most connnon reason              Pruritus (Non-Application Site)                       15 (2)          2
          for withdrawing from the studies.                                 Sinusitis                                             10 (1)
       Application Site Reactions:                                          Halitosis                                             11 (1)
                                                                            Application Site Reaction                             11 (1)
       In controlled trials, the most conn11on treatment-related            (not otherwise specified)
          adverse events in patients receiving PENNSAID Topical 65
          Solution were application site skin reactions. Applica-           tPreferred Term according to COS TART
          tion site reactions were characterized by one or more of
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 225 of 232 PageID:
                                    8363

                                                           US 8,217,078 Bl
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       6.2 Postmarketing Experience                                              renal prostaglandin synthesis by the NSAID. Thus,
       In non-US post-marketing surveillance, the following                      when NSAIDs, including diclofenac, and lithium are
          adverse reactions have been reported during post-ap-                   administered concurrently, observe patients carefully
          proval use of PENNSAID Topical Solution. Because                       for signs of lithium toxicity.
          these reactions are reported voluntarily from a popula-             7.6 Methotrexate
          tion of uncertain size, it is not always possible to reliably       NSAIDs have been reported to competitively inhibit meth-
          estimate their frequency or establish a causal relation-               otrexate accumulation in rabbit kidney slices. This may
          ship to drug exposure.                                                 indicate that they could enhance the toxicity of methotr-
       Body as a whole: abdominal pain, accidental injury, aller-                exate. Use caution when NSAIDs, including diclofenac,
          gic reaction, asthenia, back pain, body odor, chest pain, 10           are administered concomitantly with methotrexate.
          edema, face edema, halitosis, headache, lack of dmg                 7.7 Cyclosporine
          effect, neck rigidity, pain                                         Diclofenac, like other NSAIDs, may affect renal prostag-
       Cardiovascular: palpitation, cardiovascular disorder                      landins and increase the toxicity of certain drugs. There-
       Digestive: diarrhea, dry mouth, dyspepsia, gastroenteritis,               fore, concomitant therapy with diclofenac may increase
          decreased appetite, mouth ulceration, nausea, rectal 15                cyclosporine's nephrotoxicity. Use caution when
          hemorrhage, ulcerative stomatitis                                      diclofenac is administered concomitantly with
       Metabolic and Nutritional: creatinine increased                           cyclosporine.
       Musculoskeletal: leg cramps, myalgia                                   7.8 Oral Nonsteroidal Anti-inflammatory Drugs
       Nervous: depression, dizziness, drowsiness, lethargy, par-             Concomitant use of oral NSAIDs with PENNSAID Topi-
          esthesia, paresthesia at application site                     20       cal Solution has been evaluated in one Phase 3 con-
       Respiratory: asthma, dyspnea, laryngismus, laryngitis,                    trolled trial and in combination with oral diclofenac,
          pharyngitis                                                            compared to oral diclofenac alone, resulted in a higher
       Skin and Appendages: At the Application Site: contact                     rate of rectal hemorrhage (3% vs. less than 1%), and
          dermatitis, contact dermatitis with vesicles, dry skin,                more frequent abnonnal creatinine (12% vs. 7%), urea
          pruritus, rash; Other Skin and Appendages Adverse 25                   (20% vs. 12%) and hemoglobin (13% vs. 9%). There-
          Reactions: eczema, rash, pmritus, skin discoloration,                  fore, do not use combination therapy with PENNSAID
          urticaria                                                              Topical Solution and an oral NSAID unless the benefit
       Special senses: abnormal vision, blurred vision, cataract,                outweighs the risk and conduct periodic laboratory
          ear pain, eye disorder, eye pain, taste perversion                     evaluations.
    7. Drug Interactions                                                30    7.9 Topical Treatments
       Drug interactions with the use of PENNSAID Topical                     Instruct patients that before applying sunscreen, insect
          Solution have not been studied. The following drug                     repellant, lotion, moisturizer, cosmetics, or other topical
          interactions [sections 7.1 to 7.7] are noted for oral                  medication to the same skin surface of the knee treated
          diclofenac sodium.                                                     with PENNSAID Topical Solution, they must wait until
       7.1. Aspirin                                                     35       the treated area is completely dry.
       When diclofenac is administered with aspirin, the binding           8. Use in Specific Populations
          of diclofenac to protein is reduced, although the clear-            8.1 Pregnancy
          ance offree diclofenac is not altered. The clinical sig-            Pregnancy Category C prior to 30 weeks gestation; Cat-
          nificance of this interaction is not known; however, as                egory D starting 30 weeks gestation.
          with other NSAIDs, concomitant administration of 40                 Teratogenic Effects:
          diclofenac and aspirin is not generally reconn11ended               There are no adequate and well-controlled studies of
          because of the potential of increased adverse effects.                 PENNSAID Topical Solution in pregnant women.
       7.2 Anticoagulants                                                        PENNSAID Topical Solution should not be used by
       The effects of anticoagulants such as warfarin and NSAIDs                 pregnant women as its safe use has not been adequately
          on GI bleeding are synergistic, such that users of both 45             determined and starting at 30 weeks gestation,
          drugs together have a risk of serious GI bleeding higher               diclofenac and other NSAIDs should be avoided by
          than users of either drug alone.                                       pregnant women as premature closure of the ductus
       7.3 ACE-Inhibitors                                                        arteriosus in the fetus may occur. Developmental studies
       NSAIDs may diminish the antihypertensive effect of                        in animals demonstrated that diclofenac sodium admin-
          angiotensin converting enzyme (ACE) inhibitors. Con- 50                istration did not produce teratogenicity despite the
          sider this interaction in patients taking NSAIDs con-                  induction of maternal toxicity and fetal toxicity in mice
          comitantly with ACE-inhibitors.                                        at doses up to 20 mg/kg/day (0.6-fold the maximum
       7.4 Diuretics                                                             recommended human dose [MRHD] of 154 mg/day
       Clinical studies, as well as post-marketing observations,                 based on body surface area comparison), and in rats and
          have shown that NSAIDs can reduce the natriuretic 55                   rabbits at doses up to 10 mg/kg/day (approximately 0.6-
          effect of furosemide and thiazides in some patients. The               fold and 1.3-fold the MRHD, respectively). Published
          response has been attributed to inhibition of renal pros-              reproductive and developmental studies of dimethy I sul-
          taglandin synthesis. During concomitant therapy with                   foxide (DMSO, the solvent used in PENNSAID Topical
          NSAIDs, observe the patient closely for signs of renal                 Solution) are equivocal as to potential teratogenicity.
          failure [see Warnings and Precautions (5.6)], as well as 60         Nonteratogenic Effects
          to assure diuretic efficacy.                                        In rats, matemally toxic doses of diclofenac were associ-
       7.5 Lithium                                                               ated with dystocia, prolonged gestation, reduced fetal
       NSAIDs have produced an elevation of plasma lithium                       weights and growth, and reduced fetal survival.
          levels and a reduction in renal lithium clearance. The              8.2 Labor and Delivery
          mean minimum lithium concentration increased 15% 65                 The eftects of PENNSAID Topical Solution on labor and
          and the renal clearance was decreased by approximately                 delivery in pregnant women are unknown. In rat studies
          20%. These effects have been attributed to inhibition of               matemal exposure to diclofenac, as with other NSAID
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 226 of 232 PageID:
                                    8364

                                                                US 8,217,078 Bl
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         drugs, known to inhibit prostaglandin synthesis,                     weight is 318.14. Its molecular formula is
         increased the incidence of dystocia, delayed parturition,            C14H10 Cl 2 NNa0 2 and it has the following structural
         and decreased offspring survival.                                    formula:
      8.3 Nursing Mothers
      It is not known whether this dmg is excreted in human
         milk; however, there is a case report in the literature                                                                                      107
                                                                                                                        0
         indicating that diclofenac can be detected at low levels in
         breast milk. Because many drugs are excreted in human


                                                                                               ~HI
         milk and because of the potential for serious adverse
                                                                     10
         reactions in nursing infants from PENNSAID Topical
         Solution, a decision should be made whether to discon-

                                                                                               ~Cl
         tinue nursing or to discontinue the drug, taking into
         account the importance of the drug to the mother.
      8.4 Pediatric Use                                              15
      Safety and effectiveness in pediatric patients have not been
         established.                                                      Each 1 mL of solution contains 16.05 mg of diclofenac
      8.5 Geriatric Use                                                       sodium. In addition, PENNSAID Topical Solution con-
      Of the 911 patients treated with PENNSAID Topical Solu-                 tains     the following inactive ingredients: dimethyl sul-
         tion in seven controlled, Phase 3 clinical trials, 444 sub- 20       foxide      USP (DMSO, 45.5% w/w), propylene glycol,
         jects were 65 years of age and over. There was no age-               alcohol, glycerin and purified water.
         related difference in the incidence of adverse events. Of      12. Clinical Pharmacology
         the 793 patients treated with PENNSAID Topical Solu-              12.1 Mechanism of Action
         tion in one open-labeled safety trial, 334 subjects were          The   mechanism of action of diclofenac is similar to that of
         65 years of age and over including 107 subjects 75 and 25            other     nonsteroidal anti-infiannnatory drugs. Diclofenac
         over. There was no difference in the incidence of adverse            inhibits the enzyme, cyclooxygenase (COX), an early
         events with long-term exposure to PENNSAID Topical                   component of the arachidonic acid cascade, resulting in
         Solution for this elderly population. As with any                    the   reduced formation of prostaglandins, thromboxanes
         NSAID, use caution in treating the elderly (65 years and             and     prostacylin. It is not completely understood how
         older) and it may be useful to monitor renal function       30       reduced       synthesis of these compounds results in thera-
         since they are more likely to have decreased baseline                peutic efficacy.
         renal function.                                                   12.2 Pharmacodynamics
      10. Overdo Sage                                                      Diclofenac,       the active component ofPENNSAID Topical
      There have been no known experiences of overdose with 35                Solution       has    anti-inflammatory, anti-nociception, and
         PENNSAID Topical Solution.                                           antipyretic       effects.
      Symptoms following acute NSAID overdose are usually                  12.3 Pharmacokinetics
         limited to lethargy, drowsiness, nausea, vomiting, and            After    topical administration to healthy human volunteers
         epigastric pain, which are generally reversible with sup-            of   single    and multiple maximum doses of PENNSAID
                                                                              Topical Solution, 40 drops (approximately 1.2 mL) to
         portive care. Gastrointestinal bleeding can occur. Hyper- 40
                                                                              each knee (80 drops total dose), the following diclofenac
         tension, acute renal failure, respiratory depression and
                                                                              phannacokinetic parameters were obtained: (see Table
         coma may occur, but are rare. Anaphylactoid reactions
                                                                              2).
         have been reported with therapeutic ingestion of
         NSAIDs, and may occur following an overdose.                                                       TABLE2
      Manage patients using symptomatic and supportive care 45
         following an NSAID overdose. There are no specific                                                                                        for 7
         antidotes. Emesis is not recommended due to a possibil-
         ity of aspiration and subsequent respiratory irritation by                                                 Diclofenac sodium
         DMSO contained in PENNSAID Topical Solution. Acti-
         vated charcoal (60 to 100 g in adults, 1 to 2 g/kg in 50                                                             Norma! Adults [N = 19]
                                                                                                 Normal Adults [N 18]            (Age: 18-55 years)
         children) and/or osmotic cathartic may be indicated in         Pharrnacokinetic            (Age: 18-55 years)              Multiple Dose
         patients seen within 4 hours of ingestion with symptoms        P:uameters                      Single Dose          Four times daily for 7 days
         or following a large overdose (5 to 10 times the usual
                                                                                                  177.5 ± 72.6 ng · hlmL       695.4 ± 348.9 ng · h/mL
         dose). Forced diuresis, alkalinization of urine, hemodi-                                 196.3 ± 68.5 ng · hlmL       745.2 ± 374.7 ng · h/mL
                                                                     55
         alysis, or hemoperfusion may not be useful due to high                                       8.1 5.9 ng/mL                19.4 9.3 ng/mL
         protein binding.                                                                               11.0±6.4                       4.0 ± 6.5
                                                                                                        36.7 ± 20.8                  79.0 ± 38.1
      For additional information about overdose treatment, call a                                      0.024 ± 0.010                0.011 ± 0.004
         poison control center (1-800-222-1222).                                                       244.7 84.7 1
    11. Description
                                                                     60 1Apparent total body clearance
      PENNSAID Topical Solution is a clear, colorless to faintly
         pink-orange solution for topical application.                     Absorption
      PENNSAID Topical Solution contains 1.5% w/w                          Diclofenac systemic exposure from PENNSAID applica-
         diclofenac sodium, a benzene-acetic acid derivative that             tion (4 times daily for 1 week) was approximately 1/J of
         is a nonsteroidal anti-infiannnatory drug (NSAID), des- 65           the diclofenac systemic exposure from the Solaraze (di-
         ignated chemically as 2-[(2,6-dichlorophenyl)amino]                  clofenac topical gel) application (twice daily for 4
         benzeneacetic acid, monosodium salt. The molecular                   weeks).
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 227 of 232 PageID:
                                    8365

                                                              US 8,217,078 Bl
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       Distribution                                                            up to 0.035% diclofenac sodium (a 43-fold lower
       Diclofenac is more than 99% bound to humau serum pro-                   diclofenac sodium concentration thau present in
          teins, primarily to albumin.                                         PENNSAID Topical Solution) resulted in an earlier
       Diclofenac diffuses into aud out of the synovial fluid. Dif-            mediau time of onset of tumors.
          fusion into the joint occurs when plasma levels are              Mutagenesis: Diclofenac was not mutagenic or clastogenic
          higher thau those in the synovial fluid, after which the             in a battery of genotoxicity tests that included the bac-
          process reverses aud synovial fluid levels are higher than           terial reverse mutation assay, in vitro mouse lymphoma
          plasma levels. It is not known whether diffl!sion into the           point mutation assay, chromosomal aberration studies in
          joint plays a role in the effectiveness of diclofenac.               Chinese hamster ovarian cells in vitro, and in vivo rat
       Metabolism                                                    10
                                                                               chromosomal aberration assay of bone marrow cells.
       Five diclofenac metabolites have been identified in human
                                                                           Impainnent of Fertility: Fertility studies have not been
          plasma aud urine. The metabolites include 4'-hydroxy-,
                                                                               conducted with Pe1msaid Topical Solution. Diclofenac
          5-hydroxy-, 3'-hydroxy-, 4',5-dihydroxy- aud 3'-hy-
          droxy-4'-methoxy diclofenac. The major diclofenac                    sodium administered to male and female rats at doses up
          metabolite, 4'-hydroxy-diclofenac, has very weak phar- 15            to 4 mg/kg/day (1.4-fold of the MRHD ofPENNSAID
          macologic activity. The formation of 4'-hydroxy                      Topical Solution based on apparent bioavailability and
          diclofenac is primarily mediated by CPY2C9. Both                     body surface area comparison) did not affect fertility.
          diclofenac and its oxidative metabolites undergo glucu-              Studies have not been conducted to determine the safety
          ronidation or sulfation followed by biliary excretion.               ofDMSO on fertility.
          Acylglucuronidation mediated by UGT2B7 and oxida- 20             13.2 Animal Toxicology and/or Pharmacology
          tion mediated by CPY2C8 may also play a role in                  Ocular     Effects
          diclofenac metabolism. CYP3A4 is responsible for the             No adverse effects were observed using indirect ophthal-
          formation of minor metabolites, 5-hydroxy and 3'-hy-                 moscopy after multiple-daily dermal application to rats
          droxy-diclofenac.                                                    for 26 weeks and minipigs for 52 weeks of DMSO at
       Excretion                                                     25        twice the concentration found in PENNSAID Topical
       Diclofenac is eliminated through metabolism and subse-                  Solution. Published studies of dennal or oral adminis-
          quent urinary and biliary excretion of the glucuronide               tration   of DMSO to rabbits, dogs and pigs described
          and the sulfate conjugates of the metabolites.                       refractive changes of lens curvature and cortical fibers
       Little or no free unchauged diclofenac is excreted in the               indicative of myopic changes aud/or incidences of lens
          urine.                                                     30        opacity    or discoloration when evaluated using slit-lamp
       Special Populations                                                     biomicroscopy examination, although no ocular abnor-
       Pediatric: The pharmacokinetics of PENNSAID has not                     malities were observed in rhesus monkeys during daily
          been investigated in pediatric patients.                             oral or dermal treatment with DMSO for 9 to 18 months.
       Race: Pharmacokinetic differences due to race have not           14. Clinical Studies
          been studied.                                              35     14.1 Pivotal Studies in Osteoarthritis of the Knee
        12.4 Platelets                                                     The use of PENNSAID Topical Solution for the treatment
       The effect of PENNSAID Topical Solution on platelet                     of the signs aud symptoms of osteoarthritis of the knee
          fimction was evaluated in 10 healthy human volunteers                was evaluated in two double-blind controlled trials con-
          as a sub-study of a multiple-dose pharmacokinetic study              ducted in the US and Canada, involving patients treated
          [see Pharmacokinetics (12.3)]. Average (range) platelet 40           with PENNSAID Topical Solution at a dose of 40 drops
          aggregation time following stimulation with adenosine                four times a day for 12 weeks. PENNSAID Topical
          diphosphate, collagen, epinephrine aud arachidonic acid              Solution was compared to topical placebo (2.3% DMSO
          was 101.3% (73.3-128.1), 99.8% (69.6-112.9), 109.9%                  with other excipients) and/or topical vehicle solution
          (66.2-178.1) and 99.0% (15.5-126.6) of baseline value,               (45.5% w/w DMSO with other excipients), applied
          respectively. These results indicate that there was no 45            directly to the study knee. In both trials, PENNSAID
          effect on platelet aggregation after application of the              Topical Solution treatment resulted in statistically sig-
          maximum clinical dose for 7 days [see Phannacokinet-                 nificant   clinical improvement compared to placebo aud/
          ics (12.3)].                                                         or vehicle, in all three primary efficacy variables-pain,
    13. Nonclinical Toxicology                                                 physical fimction (Western Ontario and McMaster Uni-
        13.1 Carcinogenesis, Mutagenesis, Impainnent of Fertil- 50             versities   LK3.1 OA Index (WOMAC) pain and physical
    ity.                                                                       function dimensions) and Patient Overall Health Assess-
       Carcinogenicity studies in mice and rats administered                   ment (POHA)/Patient Global Assessment (PGA).
          diclofenac sodium as a dietary constituent for 2 years               Numerical results are stllllmarized in Tables 3 and 4.
          resulted in no significant increases in tumor incidence at
          does up to 2 mg/kg/day corresponding to approximately 55                                         TABLE3
          0.35- and 0.7-fold (mouse aud rat, respectively) of the
                                                                              Change in treatment outcomes after 12 weeks of treatment in one
          maximum recommended human topical dose (MRHD)                               study of efficacy of PENNS AID® Topical Solution
          ofPENNSAID Topical Solution (based on apparent bio-
          availability and body surface area comparison).                                                                 Study I
       In a dermal carcinogenicity study conducted in albino 60                                     Mean baseline score and mean change in efficacy
                                                                                                          variables after 12 weeks of treatment
          mice, daily topical applications of diclofenac sodium for
          two years at concentrations up to 0.035% diclofenac                                       Mean
          sodium (a 43-fold lower diclofenac sodium concentra-                                     Baseline     PENNSAID®
          tion than present in PENNSAID Topical Solution) did           Efficacy Variable           score           N= 154

          not increase neoplasm incidence.                           65 WOMAC pain score              13              -6.0            -4.7      -4.7
       In a photococarcinogenicity study conducted in hairless          (Likert 3.1, 0-20)
          mice, topical application of diclofenac sodium at doses
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 228 of 232 PageID:
                                    8366

                                                                                                       US 8,217,078 Bl
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                               TABLE 3-continued                                                                                          Although serious CV events can occur without warning
                                                                                                                                          symptoms, instruct patients to be alert for the signs and
            Change in treatment outcomes after 12 weeks of treatment in one                                                               symptoms of chest pain, shortness of breath, weakness,
                 study of efficacy ofpENNSAID ®Topical Solution
                                                                                                                                          slurring of speech, and to ask for medical advice when
                                                   Study I                                                                                observing any indicative sign or symptoms. Inform
                              Mean baseline score and mean change in efficacy                                                             patients of the importance of this follow-up [see Warn-
                                   variables after 12 weeks of treatment
                                                                                                                                          ings and Precautions (5.1 )].
                              Mean                                                      Topical  Topical                               17.3 Gastrointestinal Effects
                             Baseline               PENNSAID®                          placebo 1 vehicle2                              PENNSAID Topical Solution, like other NSAIDs, may
    Efficacy Variable         score                   N 154                            N= 155 N 161                             10
                                                                                                                                          cause GI discomfort and, rarely, serious GI side effects,
    WOMAC physical              42                           -15.7                        -12.3               -12.1                       such as ulcers and bleeding, which may result in hospi-
    function (Likert 3.1,                                                                                                                 talization and even death. Although serious GI tract
    0-68)
    POHA (0-4)                     2.3                         -1.0                         -0.4                -0.6                      ulcerations and bleeding can occur without warning
                                                                                                                                15
                                                                                                                                          symptoms, inform patients to be alert for the signs and
                                                                                                                                          symptoms of ulceration and bleeding, and to ask for
                                                                                                                                          medical advice when observing any indicative sign or
                                                                                                                                          symptoms including epigastric pain, dyspepsia, melena,
                                           TABLE4                                                                                         and hematemesis. Instruct patients of the importance of
                                                                                                                               20         this follow-up [see Warnings and Precautions (5.2)].
       Change in treatment outcomes after 12 weeks of treatment in one study
                     of efficacy ofpENNSAID Topical Solution
                                                                                                                                       17.4 Hepatoxicity
                                                                                                                                       Inform patients of the warning signs and symptoms of
                                                                     Study II                                                             hepatotoxicity (e.g., nausea, fatigue, lethargy, pnrritus,
                               Mean baseline score and mean change in efficacy                                                            jaundice, right upper quadrant tenderness, and "flu-like"
                              _ _....:v"'ar-"'ia"'-bl"'es::..:a:.::ft""er'-'1'-"2-"w'-"'e""ek,_s.o;.of'-'tr"-'e""at"'-m""en"-'t-- 25
                                                                                                                                          symptoms). If these occur, instruct patients to stop
                                Mean Baseline                   PENNS AID                  Topical vehicles 1                             therapy with PENNSAID Topical Solution and seek
    Efficacy Variable              score                          N=164                        N=162                                      immediate medical therapy [see Warnings and Precau-
    WOMAC                                 13                            -5.9                           -4.4                               tions (5.3)].
    score          3.1.                                                                                                                17.5 Adverse Skin Reactions
    0-20)                                                                                                                      30
                                                                      -15.3                          -10.3
                                                                                                                                       PENNSAID Topical Solution, like other NSAIDs, can
    WOMAC physical                        42
    fw1ction (LikeJt                                                                                                                      cause serious systemic skin side effects such as exfolia-
    3.1, 0-68)                                                                                                                            tive dermatitis, SJS, and TEN, which may result in hos-
    PGA (0-4)                               3.1                         -1.3                           -1.0                               pitalizations and even death. Although serious systemic
    1vehicle formulation included 45.5% DMSO
                                                                                                                               35
                                                                                                                                          skin reactions may occur without warning, instruct
                                                                                                                                          patients to be alert for the signs and symptoms of skin
    16. How Supplieci/Storage and Handling                                                                                                rash and blisters, fever, or other signs ofhypersensitivity
      PENNSAID Topical Solution is supplied as a clear, color-                                                                            such as itching, and to ask for medical advice when
         less to faintly pink-orange solution containing 16.05 mg                                                                         observing any indicative signs or symptoms. [see Warn-
         of diclofenac sodium per mL of solution, in a white high 40                                                                      ings and Precautions (5.8)].
         density polyethylene bottle with a white low-density                                                                          Advise patients to stop PENNSAID Topical Solution
         dropper cap.                                                                                                                     immediately if they develop any type of generalized rash
      16.1 NDC Number & Size                                                                                                              and contact their physicians as soon as possible.
                                                                                                                                       PENNSAID Topical Solution can cause a localized skin
                                                                                                                               45         reaction at the application site. Advise patients to contact
                                                                                                                                          their physicians as soon as possible if they develop any
                15 mL bottle (physician sample)                       NDC #23635-310-11
                60 mL bottle                                          NDC #23635-310-60                                                   type oflocalized application site rash.
               150 mL bottle                                          NDC #23635-310-15                                                Instruct patients not to apply PENNSAID Topical Solution
                                                                                                                                          to open skin wounds, infections, inflammations, or exfo-
                                                                                                                               50         liative dennatitis, as it may affect absorption and reduce
      16.2 Storage                                                                                                                        tolerability of the drug.
      Store at 25° C. (77° F.); excursions permitted to 15-30° C.                                                                      Instruct patients to wait until the area treated with Peunsaid
         (59-86° F.) [See USP Controlled Room Temperature].                                                                               topical solution is completely dry before applying sun-
    17. Patient Counseling Information                                                                                                    screen, insect repellant, lotion, moisturizer, cosmetics,
      See Medication Guide.                                       55                                                                      or other topical medication.
      17.1 Medication Guide                                                                                                            Instruct patients to minimize or avoid exposme of treated
                                                                                                                                          knee( s) to natural or artificial sunlight.
      Inform patients of the following information before initi-                                                                       17.6 Weight Gain and Edema
         ating therapy with an NSAID and periodically during                                                                           Instruct patients to promptly report to their physician signs
         the course of ongoing therapy. Encourage patients to 60                                                                          or symptoms of unexplained weight gain or edema fol-
         read the NSAID Medication Guide that accompanies                                                                                 lowing treatment with PENNSAID Topical Solution
         each prescription dispensed prior to using PENNSAID                                                                              [see Warnings and Precautions (5.5)].
         Topical Solution.                                                                                                             17.7 Anaphylactoid Reactions
      17.2 Cardiovascular Effects                                                                                                      Inforn1 patients of the signs of an anaphylactoid reaction
      PENNSAID Topical Solution, like other NSAIDs, may 65                                                                                (e. g., difficulty breathing, swelling of the face or throat).
         cause serious CV side effects, such as MI or stroke,                                                                             If these occur, instruct patients to seek immediate emer-
         which may result in hospitalization and even death.                                                                              gency help [see Warnings and Precautions (5.7)].
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 229 of 232 PageID:
                                    8367

                                                         US 8,217,078 Bl
                                  77                                                                      78
      17.8 Effects During Pregnancy                                      Do not take an NSAID medicine:
      Instmct patients who are pregnant or intending to become              if you had an asthma attack, hives, or other allergic
        pregnant not to use Pennsaid Topical Solution. [see Use                reaction with aspirin or any other NSAID medicine
        in Specific Populations (8.1) and Impairment of Fertility           for pain right before or after heart bypass surgery
         (13.1)]                                                      Tell your healthcare provider:
      17.9 Eye Exposure                                                  about all of your medical conditions.
      Instmct patients to avoid contact of PENNSAID Topical              about all of the medicines you take. NSAIDs and some
         Solution with the eyes and mucosa. Advise patients that            other medicines can interact with each other and cause
        if eye contact occurs, immediately wash out the eye with            serious side effects. Keep a list of your medicines to
                                                                   10
        water or saline and consult a physician if irritation per-          show to your healthcare provider and phannacist.
         sists for more than an hour.                                    if you are pregnant. NSAID medicines should not be used
    Revised -02/2009r                                                       by pregnant women late in their pregnancy.
    Manufactured for:                                                    if you are breastfeeding. Talk to your doctor.
    Mallinckrodt Brand Phannaceuticals, Inc.                          What are the possible side effects of Non-Steroidal Anti-
                                                                   15 Inflammatory Dmgs (NSAIDs)?
    Hazelwood, Mo. 63042 USA
    Manufactured By:
    Nuvo Manufacturing (a division ofNuvo Research Inc.)
    Varennes, Quebec, Canada BX 1P7                                                Serious side effects include:
                                                                    20
                          Medication Guide                                          heart attack
                                                                                    stroke
                                                                                    high blood pressure
                                 For                                                heart failure from body swelling (fluid retention)
                                                                                    kidney problems including kidney failure
                                                                                    bleeding and ulcers in the stomach and intestine
        Non-steroidal Anti-Inflammatory Dmgs (NSAIDS)               25
                                                                                    low red blood cells (anemia)
                                                                                    life-threatening skin reactions
        (See the End of this Medication Guide for a List of                         life-threatening allergic reactions
                 Prescription NSAID Medicines.)                                     liver problems including liver failure
                                                                                    asthma attacks in people who have asthma
                                                                                    Other side effects include:
    What is the most important information I should know about 30
    medicines called Non-Steroidal Anti-Inflammatory Dmgs
    (NSAIDs)?
                                                                                 diarrhea
      NSAID medicines may increase the chance of a heart                         gas
        attack or stroke that can lead to death. This chance                     heartburn
        increases:                                             35                nausea
        with longer use ofNSAID medicines                                        vomiting
                                                                                 dizziness
        in people who have heart disease
      NSAID medicines should never be used right before or
        after a heart surgery called a "coronary artery bypass    Get emergency help right away if you have any of the follow-
        graft (CABG)."                                         40 ing symptoms:
      NSAID medicines can cause ulcers and bleeding in the
        stomach and intestines at any time during treatment.
        Ulcers and bleeding:
                                                                         shortness of breath or trouble slurred speech
        can happen without warning symptoms                              breathing                      swelling of the face or throat
        may cause death                                        45        chest pain
      The chance of a person getting an ulcer or bleeding                weakness in one part or side
        increases with:                                                  of your body
        taking medicines called "corticosteroids" and "antico-
           agulants"                                              Stop your NSAID medicine and call your healthcare provider
        longer use                                             50 right away if you have any of the following symptoms:
        smoking
        drinking alcohol
        older age
        having poor health                                            nausea                            there is blood in your bowel
                                                                      more tired or weaker than usual movement or it is black and
      NSAID medicines should only be used:                     55
                                                                      itching                           sticky like tar
        exactly as prescribed                                         your skin or eyes look yellow     Lmusual weight gain
        at the lowest dose possible for your treatment                stomach pain                      skin rash or blisters with fever
        for the shortest time needed                                  flu-like symptoms                 swelling of the arms and legs,
                                                                      vomit blood                       hands and feet
      What are Non-Steroidal Anti-Inflammatory Dmgs
        (NSAIDs)?                                              60
      NSAID medicines are used to treatpainandredness, swell-     These are not all the side effects with NSAID medicines. Talk
        ing, and heat (inflammation) from medical conditions      to your healthcare provider or pham1acist for more informa-
        such as:                                                  tion about NSAID medicines.
        different types of arthritis                              Other information about Non-Steroidal Anti-Inflannnatory
        menstmal cramps and other types of short-term pain     65 Dmgs (NSAIDs):
      Who should not take a Non-Steroidal A.nti-Inflanm1atory        Aspirin is an NSAID medicine but it does not increase the
        Dmg (NSAID)?                                                    chance of a heart attack. Aspirin can cause bleeding in
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 230 of 232 PageID:
                                    8368

                                                               US 8,217,078 Bl
                                     79                                                                         80
        the brain, stomach, and intestines. Aspirin can also cause                Step 2. Your total dose for each kuee is 40 drops of
        ulcers in the stomach and intestines.                                        PENNSAID® Topical Solution. You will use 10 drops at a
      Some of these NSAID medicines are sold in lower doses                          time. Put 10 drops ofPENNSAID® Topical Solution either
        without a prescription (over-the-counter). Talk to your                      on your hand or directly on your knee. See FIG. lOA.
        healthcare provider before using over-the-counter                         FIG. 1. Dispense 10 drops ofPENNSAID® at a time
        NSAIDs for more than 10 days.                                             Step 3. Spread PENNSAID Topical Solution evenly on the
    NSAID Medicines that Need a Prescription                                         front, back and sides of your knee. Repeat this step 4 times
                                                                                     so that your kuee is completely covered with a total of 40
                                                                                     drops ofPENNSAID®Topical Solution.
                                                                               10    See FIGS. lOB & lOC.
    Generic Name         Tradename                                                FIG. 2. SpreadPENNSAID® evenly on the front, and sides of
                                                                                  your kuee
    Celecoxib            Celebrex
    Diclofenac           Flector, Cataflam, Voltaren, Attbrotec TM                FIG. 3. Spread PENNSAID® evenly on the back of your kuee
                         (combined with misoprostol), PENNSAID                    Step 4. Repeat steps 2 and 3 for the other kuee if needed.
                         Topical Solution                                      15 After you use PENNSAID® Topical Solution:
    Diflunisal           Dolobid                                                  Do not
    Etodolac             Lodine, LodineXL
    Fenoprofen           Nalfon, Nalfon200                                           cover your kuee with clothing until your knee is completely
    Flurbirofen          Ansaid                                                         dry
    Ibuprofen            Motrin, Tab-Pro fen, Vicoprofen* (combined                  put sunscreen, insectrepellant, lotion, moisturizer, cosmet-
                         with bydrocodone), Combunox TM
                                                                               20       ics, or other topical medicines on your kuee until it is
                         (combined with oxycodone)
    Indomethacin         Indocin, IndocinSR, Indo-Lemmon ™,                             completely dry
                         Indomethagan TM                                             take a shower or a bath for at least 30 minutes after you put
    Ketoprofen           Oruvail                                                        PENNSAID® Topical Solution on yourkuee(s).
    Ketorolac            Toradol                                                     use heating pads or apply bandages to the skin where you
    Mefenamic Acid       Ponstel
    Meloxicam            Mabie                                                 25       have applied PENNSAID® Topical Solution.
    Nabumetone           Relafen                                                     expose your skin to sunlight or artificial light (tanning
    Naproxen             NarJrosyn,An:lprc,x, ;\.najprm<DS, EC-Naproxyn,                booths) where you have put PENNSAID® Topical Solu-
                                                (copackaged with lansoprazole)          tion.
    Oxaprozin            Daypro
    Piroxicam            Feldene                                                  How should X store PENNSAID® Topical Solution?:
    Sulindac             Clinoril                                              30    Store PENNSAID® Topical Solution between 59° F. to 86°
    Tolmetin             To lectin, To lectin DS, Tolectin600                           F. (15° C. to 30° C.).
                                                                                  Keep PENNSAID® Topical Solution and all medicines out of
                                                                                  the reach of children.
                                                                                     All patents, publications, scientific articles, web sites, and
    This Medication Guide has been approved by the U.S. Food 35 other documents and materials referenced or mentioned
    and Drug Administration.                                                      herein are indicative of the levels of skill of those skilled in the
    Revised: Month Year                                                           art to which the invention pertains, and each such referenced
                                                                                  document and material is hereby incorporated by reference to
                       Patient Instructions for Use                               the same extent as if it had been incorporated by reference in
                                                                               40 its entirety individually or set forth herein in its entirety.
                           PENNSAID [pen/sed]                                     Applicants reserve the right to physically incorporate into this
                                                                                  specification any and all materials and information from any
                             (diclofenac sodium)                                  such patents, publications, scientific articles, web sites, elec-
                                                                                  tronically available information, and other referenced mate-
                               Topical Solution                                45 rials or documents.
                                                                                     The written description portion of this patent includes all
    Your doctor has prescribed PENNSAID® Topical Solution to                      claims. Furthennore, all claims, including all original claims
    treat your pain from osteoarthritis in your kuee(s) and help                  as well as all claims from any and all priority documents, are
    you manage your daily activities better.                                      hereby incorporated by reference in their entirety into the
    Before you use PENNSAID(B:J Topical Solution:                              50 written description portion of the specification, and Appli-
       Apply PENNSAID® Topical Solution exactly as your doc-                      cants reserve the right to physically incorporate into the writ-
          tor tells you. Do not apply PENNSAID® Topical Solu-                     ten description or any other portion of the application, any and
          tion anywhere on your body other than where your doc-                   all such claims. Thus, for example, under no circumstances
          tor tells you.                                                          may the patent be interpreted as allegedly not providing a
       Apply PENNSAID® Topical Solution on dean, dry skin 55 written description for a claim on the assertion that the precise
          that does not have any cuts, infections or rashes.                      wording of the claim is not set forth in haec verba in written
       Use PENNSAIDRI Topical Solution 4 times each day on                        description portion of the patent.
          your kuee(s ).                                                             The claims will be interpreted according to law. However,
       Do not get PENNSAID® Topical Solution in your eyes,                        and notwithstanding the alleged or perceived ease or diffi-
          nose or mouth. Only use PENNSAID® Topical Solution 60 culty of interpreting any claim or portion thereof, under no
          on your skin (topical use). If you get PENNSAID®                        circumstances may any adjustment or amendment of a claim
          Topical Solution in your eyes, rinse your eyes right away               or any portion thereof during prosecution of the application or
          with water or saline. Call your doctor if your eyes are                 applications leading to this patent be interpreted as having
          irritated for more than one hour.                                       forfeited any right to any and all equivalents thereof that do
    Steps for using PENNSAIDCID Topical Solution:                              65 not form a part of the prior art.
    Step 1. Wash your hands with soap and water before and after                     All of the features disclosed in this specification may be
       applying PENNSAID® Topical Solution.                                       combined in any combination. Thus, unless expressly stated
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 231 of 232 PageID:
                                    8369

                                                          US 8,217,078 Bl
                                  81                                                                   82
    otherwise, each feature disclosed is only an example of a           specifically to any individual member or any subgroup of
    generic series of equivalent or similar features.                   members of the Markush group.
       It is to be understood that while the invention has been            Other nonlimiting embodiments are within the following
    described in conjtmction with the detailed description              claims. The patent may not be interpreted to be limited to the
    thereof, the foregoing description is intended to illustrate and    specific examples or nonlimiting embodiments or methods
    not limit the scope of the invention, which is defined by the       specifically and/or expressly disclosed herein. Under no cir-
    scope of the appended claims. Thus, from the foregoing, it          cumstances may the patent be interpreted to be limited by any
    will be appreciated that, although specific nonlimiting             statement made by any Examiner or any other official or
    embodiments of the invention have been described herein for         employee of the Patent and Trademark Office unless such
    the purpose of illustration, various modifications may be 10 statement is specifically and without qualification or reserva-
    made without deviating from the spirit and scope of the inven-      tion expressly adopted in a responsive writing by Applicants.
    tion. Other aspects, advantages, and modifications are within          What is claimed is:
    the scope of the following claims and the present invention is         1. A method for applying topical agents to a knee of a
    not limited except as by the appended claims.                       patient with pain, said method comprising:
       The specific methods and compositions described herein 15           applying a first medication consisting of a topical
    are representative of preferred nonlimiting embodiments and               diclofenac preparation to an area of the knee of said
    are exemplary and not intended as limitations on the scope of             patient to treat osteoarthritis of the knee of said patient,
    the invention. Other objects, aspects, and embodiments will               wherein the topical diclofenac preparation comprises a
    occur to those skilled in the art upon consideration of tllis             therapeutically effective amount of diclofenac and
    specification, and are encompassed within the spirit of the 20            40-50% w/w dimethyl sulfoxide;
    invention as defined by the scope of the claims. It will be            waiting for the treated area to dry; and
    readily apparent to one skilled in the art that varying substi-        subsequently applying a second medication consisting of a
    tutions and modifications may be made to the invention dis-               topical medication, which is other than said first medi-
    closed herein without departing from the scope and spirit of              cation and is selected from the group consisting of an
    the invention. The invention illustratively described herein 25           NSAID, tretinoin, minoxidil, a corticosteroid, to said
    suitably may be practiced in the absence of any element or                treated area after said treated area is dry, wherein said
    elements, or limitation or limitations, which is not specifi-             subsequent application occurs during a course of treat-
    cally disclosed herein as essential. Thus, for exan1ple, in each          ment of said patient with said topical diclofenac prepa-
    instance herein, in nonlimiting embodiments or examples of                ration.
    the present invention, the terms "comprising", "including", 30         2. The method according to claim 1, wherein said
    "containing", etc. are to be read expansively and without           diclofenac preparation comprises about 45.5% w/w dimethyl
    limitation. The methods and processes illustratively                sulfoxide.
    described herein suitably may be practiced in differing orders         3. The method according to claim1, wherein said thera-
    of steps, and that they are not necessarily restricted to the       peutically effective amount of diclofenac is 1.5% w/w
    orders of steps indicated herein or in the claims.               35 diclofenac sodium.
       The terms and expressions that have been employed are               4. The method according to claim 1, wherein said
    used as tenus of description and not oflimitation, and there is     diclofenac preparation further comprises ethanol, propylene
    no intent in the use of such tem1s and expressions to exclude       glycol, glycerine, and water.
    any equivalent of the features shown and described or por-             5. The method according to claim1, wherein said thera-
    tions thereof, but it is recognized that various modifications 40 peutically effective amount of diclofenac comprises a phar-
    are possible witllin the scope of the invention as claimed.         maceutically acceptable salt of diclofenac selected from a
    Thus, it will be understood that although the present invention     sodium salt, a potassium salt, a diethylamine salt, or an epo-
    has been specifically disclosed by various nonlimiting              lamine salt.
    embodiments and/ or preferred nonlimiting embodiments and              6. The method according to claim1, wherein said step of
    optional features, any and all modifications and variations of 45 subsequently applying comprises subsequently applying said
    the concepts herein disclosed that may be resorted to by those      second medication, which is an NSAID.
    skilled in the art are considered to be within the scope of this       7. The method according to claim 6, wherein said topical
    invention as defined by the appended claims.                        medication other than said first medication comprises a medi-
       The invention has been described broadly and generically         cal compound or composition in an amount sufficient to
    herein. Each of the narrower species and sub generic group- 50 induce a desired biological, pharmaceutical, or therapeutic
    ings falling within the generic disclosure also form part of the    result, wherein the result relates to alleviation of a sign, a
    invention. This includes the generic description of the inven-      symptom, or a cause of a disease or disorder or condition, or
    tion with a proviso or negative limitation removing any sub-        any other desired alteration of a biological system.
    ject matter from the genus, regardless of whether or not the           8. The method according to claim 1, wherein the topical
    excised material is specifically recited herein.                 55 medication other than said first medication is tretinoin.
       It is also to be understood that as used herein and in the          9. The method according to claim 5, wherein said thera-
    appended claims, the singular fom1s "a," "an," and "the"            peutically effective amount of diclofenac comprises
    include plural reference unless the context clearly dictates        diclofenac sodium.
    otherwise, the tenn "X and/or Y" means "X" or "Y" or both              10. The method according to claim1, wherein the topical
    "X" and "Y", and the letter "s" following a noun designates 60 medication other than said first medication is minoxidil.
    both the plural and singular forms of that noun. In addition,          11. The method according to claim1, wherein the topical
    where features or aspects of the invention are described in         medication other than said first medication is a corticosteroid.
    terms of Markush groups, it is intended, and those skilled in          12. A method for applying topical agents to a knee of a
    the art will recognize, that the invention embraces and is also     patient with pain, said method comprising:
    thereby described in terms of any individual member and any 65         applying a first medication consisting of a topical
    subgroup of members of the Markush group, and applicants                  diclofenac preparation to an area of the knee of said
    reserve the right to revise the application or claims to refer            patient to treat osteoarthritis of the knee of said patient,
Case 1:14-cv-07992-NLH-AMD Document 254-3 Filed 02/06/17 Page 232 of 232 PageID:
                                    8370

                                                        US 8,217,078 Bl
                                 83                                                                 84
         wherein the topical diclofenac preparation comprises a           patient to treat osteoarthritis of the knee of said patient,
         therapeutically effective amount of diclofenac and               wherein the topical diclofenac preparation comprises a
         40-50% w/w dimethyl sulfoxide;                                   therapeutically effective amount of diclofenac and
       waiting for the treated area to dry; and                           40-50% w/w dimethyl sulfoxide;
       subsequently applying a second medication consisting of a       waiting for the treated area to dry; and
         topical medication, which is other than said first medi-       subsequently applying a second medication consisting of a
         cation and comprises an NSAID, to said treated area              topical medication, which is other than said first medi-
         after said treated area is dry, wherein said subsequent          cation and comprises a corticosteroid, to said treated
         application occurs during a course of treatment of said          area after said treated area is dry, wherein said subse-
         patient with said topical diclofenac preparation.        10      quent application occurs during a course of treatment of
       13. The method according to claim 12, wherein said thera-          said patient with said topical diclofenac preparation.
    peutically effective amount of diclofenac is 1.5% w/w               15. The method according to claim14, wherein said thera-
    diclofenac sodium.                                               peutically effective amount of diclofenac is 1.5% w/w
       14. A method for applying topical agents to a knee of a       diclofenac sodiUlll.
    patient with pain, said method comprising:                    15
       applying a first medication consisting of a topical
         diclofenac preparation to an area of the knee of said                               * * * * *
